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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

             In re:                                                   Chapter 11

             VIRGIN ORBIT HOLDINGS, INC., et al., 1                   Case No. 23-10405 (___)

                                              Debtors.                (Joint Administration Requested)


                               CERTIFICATION OF DEBTORS’ CREDITOR MATRIX

                      In accordance with rule 1007(a) of the Federal Rules of Bankruptcy Procedure and rule

         1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

         Bankruptcy Court for the District of Delaware (the “Local Rules”), a list of creditors (the

         “Creditor Matrix”) of the above-captioned debtors and debtors in possession (the “Debtors”) is

         filed by attachment hereto.

                      The Creditor Matrix has been prepared from the Debtors’ books and records. The

         undersigned, Daniel M. Hart, President and Chief Executive Officer of the Debtors, hereby

         certifies that the Creditor Matrix contains the names and addresses of all creditors of the Debtors

         that could be ascertained after diligent inquiry, based on a review of the Debtors’ books and records

         and is consistent with the information contained therein. To the extent practicable, the Creditor

         Matrix complies with Local Rule 1007-1(a). The Debtors reserve the right to amend or supplement

         the Creditor Matrix as necessary.

                      Although the information contained in the Creditor Matrix is based on a review of the

         Debtors’ books and records, the Debtors have not completed a comprehensive legal and/or factual



         1
           The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification number, are:
         Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco USA, Inc. (0492); Virgin
         Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ address is 4022 East Conant Street, Long Beach,
         CA 90808.

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         investigation with regard to possible defenses of the Debtors and their estates to any claims of the

         potential claimants included in the Creditor Matrix. In addition, certain of the parties included in

         the Creditor Matrix may not hold outstanding claims as of the date hereof, and therefore may not

         be creditors of the Debtors and their estates for purposes of these chapter 11 cases. Therefore, the

         Creditor Matrix does not and should not be deemed or otherwise construed to constitute either

         (i) a waiver of any defense of the Debtors and their estates to any claims that may be asserted

         against the Debtors and their estates or (ii) an acknowledgement or admission of the validity,

         priority, or amount of any claims that may be asserted against the Debtors and their estates.


             Dated: April 4, 2023              /s/ Daniel M. Hart
                                               Daniel M. Hart
                                               President and Chief Executive Officer




30245900.1

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                    NAME                                            ADDRESS                                                CITY           STATE   POSTALCODE       COUNTRY
(ACDI) ‐ AMERICAN COMPUTER DEVELOPMENT,
INC.                                    7435 NEW TECHNOLOGY WAY STE A                                          FREDERICK                  MD      21703
1800 M STREET OWNER, LP                 PO BOX 21525                                                           NEW YORK                   NY      10087‐1526
1800 M STREET REIT, LP                  1170 PEACHTREE STREET NE, SUITE 600                                    ATLANTA                    GA      30309

1960 GRAND OFFICE OWNER 1, L.P.             ATTN: NIKKI JAZVEC, C/O CUSHMAN & WAKEFIELD OF CA, PO BOX 841045 LOS ANGELES                  CA      90084‐1045
2BROTHERS MOBILE DETAILING                  45114 TREVOR AVE, SUITE 104                                      LANCASTER                    CA      93534
3 STAR INC                                  9487 KING AIR CT, STE C                                          ASHLAND                      VA      23005

36TH WING ANDERSEN AFB PACIFIC AIR FORCES   UNIT 14043                                                         YIGO                       GU
3D HYBRID SOLUTIONS INC.                    1328 CABOT LANE                                                    SCHAUMBURG                 IL      60193
3D MACHINE COMPANY, INC                     4790 EAST WESLEY DRIVE                                             ANAHEIM                    CA      92807
3D MATERIAL TECHNOLOGIES, LLC               790 FENTRESS BLVD                                                  DAYTONA BEACH              FL      32114
3D SYSTEMS                                  333 THREE D SYSTEMS CIRCLE                                         ROCK HILL                  SC      29730
3E COMPANY                                  3207 GREY HAWK COURT, SUITE 200                                    CARLSBAD                   CA      92010
3I FUND                                     140 BROADWAY, 38TH FLOOR                                           NEW YORK                   NY      10005
3M CERADYNE, INC                            1922 BARRANCA PARKWAY                                              IRVINE                     CA      92606‐4826
3M HEALTH AND SAFETY SERVICES               PO BOX 844127                                                      DALLAS                     TX      75284‐4127

3RD DIMENSION INDUSTRIAL 3D PRINTING CO.    17075 OAK RIDGE ROAD                                               WESTFIELD                  IN      46074
45TH SPACE WING                             1201 EDWARD H. WHITE II STREET                                     PATRICK AFB                FL      32925‐3299
4MEDIA GROUP, INC.                          702 SE 5TH STREET, SUITE 50                                        BENTONVILLE                AR      72712
5WHYS CONSULTING, INC.                      16458 BOLSA CHICA STREET #207                                      HUNTINGTON BEACH           CA      92649
603 MANUFACTURING, LLC                      21 PARK AVE                                                        HUDSON                     NH      03051‐3985
6KITES, INC.                                2525 ARAPAHOE AVE. SUITE E4‐408                                    BOULDER                    CO      80302
7TH FUTURE, LLC                             2811 FRANCIS AVE #202                                              LOS ANGELES                CA      90005
80/20 INC.                                  1701 COUNTY RD 400 E                                               COLUMBIA CITY              IN      46725
9TO5 SEATING                                3211 JACK NORTHROP AVE.                                            HAWTHORNE                  CA      90250
A & G LABEL & TAG DBA KENMORE LABEL AND
TAG                                         30625 SOLON ROAD, SUITE H                                          SOLON                      OH      44139
A & M ELECTRONICS INC                       25018 AVENUE KEARNY                                                VALENCIA                   CA      91355
A TO Z PROMOTIONS, INC                      800 WINNECONNE AVENUE                                              NEENAH                     WI      54956
A&A AEROSPACE, INC.                         1655 COTA AVE                                                      LONG BEACH                 CA      90813
A&A MACHINE & DEVELOPMENT CO. INC.          16625 GRAMERCY PLACE                                               GARDENA                    CA      90247
A&D PRECISION MFG., INC.                    4751 E. HUNTER AVE.                                                ANAHEIM                    CA      92807
A&E STEEL, INC.                             1394 E 9TH STREET                                                  POMONA                     CA      91766
A&G ELECTROPOLISH, INC.                     18330 WARD STREET                                                  FOUNTAIN VALLEY            CA      92708
A&H TOOLING                                 17109 EDWARDS ROAD                                                 CERRITOS                   CA      90703
A&M FASTENER SERVICES INC                   1135 N MCKINLEY AVE                                                LOS ANGELES                CA      90059
A&P TECHNOLOGY, INC.                        4595 EAST TECH DRIVE                                               CINCINNATI                 OH      45245
A&W PRECISION MACHINING, INC                16320 S. MAIN STREET                                               GARDENA                    CA      90248
A.B. TOOLS, INC.                            1051 AVIATION BLVD                                                 LINCOLN                    CA      95648
A.C. CHARANIA                               3150 WILSHIRE BLVD. APT 1607                                       LOS ANGELES                CA      90010
A.H. SYSTEMS, INC.                          9710 COZYCROFT AVE.                                                CHATSWORTH                 CA      91311
A.I. SOLUTIONS, INC.                        4500 FORBES BOULEVARD SUITE 300                                    LANHAM                     MD      20706
A.M. CASTLE & CO.                           1420 KENSINGTON ROAD, SUITE 220                                    OAK BROOK                  IL      60523
A.P. MØLLER‐MAERSK A/S                      ESPLANADEN 50, 1263 COPENHAGEN K                                   COPENHAGEN                 WY      NA           DENMARK
A2B TAXIS (TRURO) LTD                       THE OLD SANCTUARY, POLISKEN FARM, TRISPEN                          TRURO                              TR4 9AU      UNITED KINGDOM

A2B TRANSPORT SERVICES CORNWALL LTD.        THE OLD SANCTUARY, POLISKEN FARM                                   TRSIPEN, TRURO, CORNWALL           TR4 9AU      UNITED KINGDOM
AA TANKS                                    25110 THOMAS DR                                                    WARREN                     MI      48091
AA/EEO COMPLIANCE GROUP, INC.               5516 WEST 142ND STREET                                             HAWTHORNE                  CA      90250‐6626
AAA FLUTING & MACHINING LLC                 15723 LEAHY AVE                                                    BELLFLOWER                 CA      90706
AAA FLUTING & MACHINING, LLC                14044 GARFIELD AVE. SUITE J                                        PARAMOUNT                  CA      90723
AAA PLATING & INSPECTION, INC.              424 E. DIXON ST.                                                   COMPTON                    CA      90222
AAC CLYDESPACE                              DAG HAMMARSKJÖLDS VÄG 48                                           UPPSALA                            SE‐751 83    SWEDEN
AAE AEROSPACE                               5382 ARGOSY AVE.                                                   HUNTINGTON BEACH           CA      92649
AB 360 SPACE INC.                           1942 BROADWAY ST, STE 314C                                         BOULDER                    CO      80302
ABALTA TECHNOLOGIES, INC.                   9444 WAPLES STREET, SUITE 280                                      SAN DIEGO                  CA      92121
ABBRUZZESE, PAUL J.                         ADDRESS ON FILE
ABC SHEET METAL                             2871 E. LA CRESTA AVE                                              ANAHEIM                    CA      92806
ABC TEST COMPANY                            13306 WIMBLEDON OAKS DR.                                           HOUSTON                    TX      77065
ABDELFATAH, SARA                            ADDRESS ON FILE
ABEL RODRIGUEZ                              CAL STATE LONG BEACH                                               LONG BEACH                 CA      90808
ABI ENGINEERING                             12143 RIVERA ROAD                                                  WHITTIER                   CA      90606
ABI ENGINEERING CONSULTANTS, INC.           1701 E EDINGER AVE                                                 SANTA ANA                  CA      92705
ABOUELGUBEIN, RULA                          ADDRESS ON FILE
ABRACON LLC                                 2 FARADAY, SUITE B                                                 IRVINE                     CA      92618
ABRAHAM, FAHMI                              ADDRESS ON FILE
ABRAMSON LEVIN & GINDI LLP                  11846 VENTURA BLVD, SUITE 100                                      STUDIO CITY                CA      91604
ABSOLUTE SOFTWARE COMPANY                   1400 – 1055 DUNSMUIR ST                                            VANCOUVER                          V7X 1K8      CANADA
ABSOLUTE‐DSI                                P.O. BOX 985                                                       MURRIETA                   CA      92564
AC&A, LLC. (DBA APPLIED COMPOSITES)         20431 NORTH SEA CIRCLE                                             LAKE FOREST                CA      92630
AC&A, LLC. (DBA APPLIED COMPOSITES)         25671 COMMERCENTRE DRIVE                                           LAKE FOREST                CA      92630
ACA INTERNATIONAL LLC                       4228 WASHINGTON ST SUITE 101                                       ROSLINDALE                 MA      02131
ACA INTERNATIONAL, LLC                      129 NEWBURY ST 2ND FLOOR                                           BOSTON                     MA      02116
ACACIAS ADMINISTRACIONES Y ASESORES SA DE
CV                                          MIGUEL DE MENDOZA 64                                               MEXICO                             1600         MEXICO
ACALIN CREATIVE DBA PAULINE ACALIN          2613 SOUTH PACIFIC AVENUE                                          SANTA ANA                  CA      92704
ACCELERATE COMPUTER TRAINING                200 PINE AVENUE, STE 280                                           LONG BEACH                 CA      90802‐3037
ACCELERATED IMPROVEMENT LTD                 30 FENNYLAND LANE                                                  KENILWORTH                         CV8 2RS      UNITED KINGDOM
ACCESS INTELLIGENCE                         PO BOX 775986                                                      CHICAGO                    IL      60677‐5986
ACCURATE ALLOYS, INC.                       5455 IRWINDALE AVE                                                 IRWINDALE                  CA      91706
ACCURATE BUSHING COMPANY                    443 NORTH AVE                                                      GARWOOD                    NJ      07027

ACCURATE SCREW MACHINE CORPORATION          10 AUDREY PLACE                                                    FAIRFIELD                  NJ      07004
ACCUTECH INSTRUMENTATION, INC               2108 CROWN VIEW DRIVE                                              CHARLOTTE                  NC      28227
ACCUTURN CORPORATION                        7189 OLD 215 FRONTAGE ROAD                                         MORENO VALLEY              CA      92553
ACD LLC                                     2321 SOUTH PULLMAN STREET                                          SANTA ANA                  CA      92705
ACE AMERICAN INSURANCE COMPANY              436 WALNUT STREET                                                  PHILADELPHIA               PA      19106
ACE CLEARWATER ENTERPRISES, INC             19815 MAGELLAN DRIVE                                               TORRANCE                   CA      90502




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                   NAME                                               ADDRESS                                                CITY       STATE    POSTALCODE           COUNTRY
ACE CRANE SERVICE, INC.                    8221 WILCOX AVE                                                       CUDAHY                CA       90201
ACE SAW & SUPPLY                           5420 KATELLA AVE.                                                     LOS ALAMITOS          CA       90720
ACE STAINLESS SUPPLY                       2610 S. YALE ST.                                                      SANTA ANA             CA       92704
ACE TECHNOLOGY CONSULTING LLC              1219 HILLCREST DRIVE                                                  EULESS                TX       76039
ACE TUBE BENDING                           14 JOURNEY                                                            ALISO VIEJO           CA       92656
ACI HOIST & CRANE                          2721 NE 4TH AVE                                                       POMPANO BEACH         FL       33064
ACITYDISCOUNT.COM                          6286 DAWSON BLVD                                                      NORCROSS              GA       30093
ACL AIRSHOP                                500 PARK COMMERCE RD                                                  GREENVILLE            SC       29611
ACME CRYOGENICS, INC.                      2801 MITCHELL AVE.                                                    ALLENTOWN             PA       18031
ACME TUBE BENDING                          3180 W. 11 MILE ROAD.                                                 BERKLEY               CA       48072
ACOF INVESTMENT MANAGEMENT, LLC            3411 SILVERSIDE ROAD TATNALL, BUILDING #104                           WILMINGTON            DE       19810
ACOPIAN TECHNICAL COMPANY                  131 LOOMIS ST                                                         EASTON                PA       18045
ACOSTA, HECTOR                             ADDRESS ON FILE
ACOSTA, HECTOR                             ADDRESS ON FILE
ACP COMPOSITES, INC.                       78 LINDBERGH AVE.                                                     LIVERMORE             CA       94551
ACREE TECHNOLOGIES, INC.                   1037 SHARY CIRCLE, SUITE E                                            CONCORD               CA       94518‐4700
ACROLAB LTD.                               7475 TRANSBY AVE                                                      WINDSOR               ON       N8322B7       CANADA
ACTION DUCT CLEANING COMPANY, INC.         2333 LINCOLN AVE.                                                     ALTADENA              CA       91001
ACTION SALES & METAL CO., INC.             1625 E. PACIFIC COAST HWY                                             WILMINGTON            CA       90744

ACTIVE INVESTMENT ENTERPRISES DBA QDS 1    2361 S. ROBERTSON BLVD, STE A                                         LOS ANGELES           CA       90034

ACTIVE INVESTMENT ENTERPRISES DBA QDS 1    533 GLENDALE BLVD., SUITE 102                                         LOS ANGELES           CA       90026
ACV LOGISTICS, LLC                         2215 PASEO DE LAS AMERICAS, SUITE 25                                  SAN DIEGO             CA       92154
ADALET                                     4801 WEST 150TH STREET                                                CLEVELAND             OH       44135
ADAMS & ROBINSON ENTERPRISES, INC. (DBA
SCIENTIFIC REFRIGERATION)                  16511 BURKE LANE                                                      HUNTINGTON BEACH      CA       92647

ADAMS MANUFACTURING & ENGINEERING INC 8641 N. 79TH AVE                                                           PEORIA                AZ       85345

ADAMS MANUFACTURING & ENGINEERING INC      P.O.BOX 2076                                                          LITCHFIELD            AZ       85340
ADAMS, BENNY JOHN                          ADDRESS ON FILE
ADAMS, FATIMAH                             ADDRESS ON FILE
ADAMS, LINDSEY M.                          ADDRESS ON FILE
ADDITION MANUFACTURING TECHNOLOGIES
LLC                                        1637 KINGSVIEW DRIVE                                                  LEBANON               OH       45036
ADDITIVE MANUFACTURING & ENGINEERING,
INC.                                       128 HALL BRYANT CIRCLE                                                HUNTSVILLE            AL       35806
ADDITIVE MANUFACTURING LLC                 21088 BAKE PARKWAY, SUITE 106                                         LAKE FOREST           CA       92630
ADDITIVE MANUFACTURING LLC                 5988 EDMOND ST                                                        LAS VEGAS             NV       89118
ADDITIVE MANUFACTURING TECHNOLOGIES
INC.                                       1200 BMC DR. STE. 800                                                 CEDAR PARK            TX       78613
ADDITIVE METAL ALLOYS LTD                  427 WEST DUSSEL DRIVE                                                 MAUMEE                CA       43537
ADDMAN ENGINEERING LLC                     9201 COCKLESHELL CT STE 2                                             BONITA SPRINGS        FL       34135
ADDVALUE INNOVATION PTE LTD                8 TAI SENG LINK, LEVEL 5 (WING 2)                                     SINGAPORE                                    CHINA
ADEL WIGGINS GROUP                         5000 TRIGGS ST.                                                       LOS ANGELES           CA       90022
ADEPT FASTENERS                            28709 INDUSTRY DRIVE                                                  VALENCIA              CA       91355
ADEPT FASTENERS, INC.                      27949 HANCOCK PARKWAY                                                 VALENCIA              CA       91355‐4116
ADMET, INC.                                51 MORGAN DRIVE                                                       NORWOOD               MA       02062

ADO PROFESSIONAL SOLUTIONS, INC. DBA LHH   10151 DEERWOOD PARK BLVD 200‐400                                      JACKSONVILLE          FL       32256
ADOBE SYSTEMS INC.                         345 PARK AVENUE                                                       SAN JOSE              CA       95110‐2704
ADORAMA                                    42 WEST 18TH STREET                                                   NEW YORK              NY       10011
ADRANOS, INC.                              281 WIN HENTSCHEL BLVD., PURDUE RESEARCH PARK                         WEST LAFAYETTE        IN       47906
ADT                                        PO BOX 371878                                                         PITTSBURGH            PA       15250‐7878
ADVANCE TUBE ENGINEERING, INC.             18211 ENTERPRISE LANE, UNIT C                                         HUNTINGTON BEACH      CA       92648

ADVANCED CABLE & COMMUNICATIONS, INC       8948 YUBA RIVER AVE                                                   FOUNTAIN VALLEY       CA       92708
ADVANCED CIRCUITS, INC                     21101 E. 32ND PARKWAY                                                 AURORA                CO       80011
ADVANCED COMPUTER AUTOMOTIVE, INC          5101 E WILLOW STREET                                                  LONG BEACH            CA       90815
ADVANCED CUSTOM MANUFACTURING              15126 SIERRA BONITA LANE                                              CHINO                 CA       91710
ADVANCED ENGINEERING & EDM, INC            13007 KIRKHAM WAY                                                     POWAY                 CA       92064
ADVANCED ENGINEERING & EDM, INC.           12007 KIRKHAM WAY                                                     POWAY                 CA       92064
ADVANCED INDUSTRIAL SOLUTIONS              48 MAXWELL                                                            IRVINE                CA       92618
ADVANCED INTEGRATED TOOLING SOLUTIONS,
LP                                         29700 COMMERCE                                                        CHESTERFIELD          MI       48051
ADVANCED INTEGRATION TECHNOLOGY LP         2805 E. PLANO PARKWAY, SUITE 300                                      PLANO                 TX       75074

ADVANCED INTEGRATION, LLC. (DBA ADVINT)    6880 TUSSING ROAD                                                     REYNOLDSBURG          OH       43068

ADVANCED MATERIALS JOINING CORPORATION
DBA ADVANCED TECHNOLOGY COMPANY            2858 E. WALNUT STREET                                                 PASADENA              CA       91107
ADVANCED MOBILE PROPULSION TEST            1334 AIRPORT ROAD                                                     DURANGO               CO       81303
ADVANCED PRINTING & GRAPHICS, INC.         244 EAST AVENUE K‐10 #105                                             LANCASTER             CA       93535
ADVANCED SOLUTIONS, INC.                   7815 SHAFFER PARKWAY                                                  LITTLETON             CO       80127
ADVANCED SPACE                             2100 CENTRAL AVE, SUITE 102                                           BOULDER               CO       80301
ADVANCED TECHNOLOGY COMPANY                2858 E. WALNUT ST.                                                    PASADENA              CA       91107
ADVANCED TECHNOLOGY INTERNATIONAL          315 SIGMA DRIVE                                                       SUMMERVILLE           SC       29486

ADVANCED TEST EQUIPMENT CORPORATION        10401 ROSELLE STREET                                                  SAN DIEGO             CA       92121
ADVANCED WEST COMPOSITES                   2074 OCEAN WAY                                                        LAGUNA BEACH          CA       92651
AE BBAI AGGREGATOR LP                      2500 N MILITARY TRL STE 470                                           BOCA RATON            FL       33431‐6353
AE INDUSTRIAL PARTNERS                     6700 BROKEN SOUND PARKWAY NW                                          BOCA RATON            FL       33487
AE RED AGGREGATOR LP                       2500 N MILITARY TRL STE 470                                           BOCA RATON            FL       33431‐6353
AE TECHRON INC.                            2507 WARREN STREET                                                    ELKHART               IN       46516
AECOM TECHNICAL SERVICES, INC.             3995 VIA ORO AVENUE                                                   LONG BEACH            CA       90810
AEGIS MANAGING AGENCY LIMITED              25 FENCHURCH AVENUE                                                   LONDON                         EC3M 5AD      UNITED KINGDOM
AEGIS SYNDICATEHCC SYNDICATECHAUCER
SYNDICATE                                  AEGIS MANAGING AGENCY LIMITED, 25 FENCHURCH AVENUE                    LONDON                         EC3M 5AD      UNITED KINGDOM
AEK TECHNOLOGY, INC.                       13041 BRADLEY AVE                                                     SYLMAR                CA       91342
AERIAL VIEW SYSTEMS, INC.                  15467 CHEMICAL LANE                                                   HUNTINGTON BEACH      CA       92649




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AERION TECHNOLOGIES CORPORATION             1900 EMBARCADERO ROAD, SUITE 101                                  PALO ALTO           CA       94303
AERO BENDING COMPANY                        560 AUTO CENTER DR                                                PALMDALE            CA       93551
AERO DYNAMIC MACHINING, INC.                7472 CHAPMAN AVENUE                                               GARDEN GROVE        CA       92841
AERO PACIFIC CORPORATION                    588 PORTER WAY                                                    PLACENTIA           CA       92870
AERO SPECIALTIES, INC                       11175 W. EMERALD                                                  BOISE               ID       83713
AERO TEC LABORATORIES, INC                  45 SPEAR ROAD                                                     RAMSEY              NJ       07446
AEROBASE GROUP INC                          3555 AGRICULTURAL CENTER DR.                                      ST. AUGUSTINE       FL       32092
AEROJET ROCKETDYNE HOLDINGS, INC.           1209 ORANGE STREET, CORPORATION TRUST CENTER                      WILMINGTON          DE       19801
AEROJET ROCKETDYNE, INC.                    8900 DE SOTO AVENUE                                               CANOGA PARK         CA       91309
AERO‐MECHANICAL ENGINEERING, INC            5945 ENGINEER DR                                                  HUNTINGTON BEACH    CA       92649
AEROMET INDUSTRIES, INC.                    739 SOUTH ARBOGAST STREET                                         GRIFFITH            IN       46319
AEROS INC.                                  1512 UNIVERSITY DR.                                               LAWRENCE            KS       66044
AEROSERVICIOS USA, INC.                     3750 NW 49 STREET                                                 MIAMI               FL       33142
AEROSONIC, LLC                              1212 N. HERCULES AVENUE                                           CLEARWATER          FL       33765
AEROSPACE ENGINEERING CORP.                 2632 SATURN STREET                                                BREA                CA       92821

AEROSPACE FABRICATION & MATERIALS, LLC      5147 208TH STREET WEST                                            FARMINGTON          MN       55024
AEROSPACE INDUSTRIES ASSOCIATION            1000 WILSON BOULEVARD, SUITE 1700                                 ARLINGTON           VA       22209‐3901
AEROSPACE INDUSTRIES ASSOCIATION            PO BOX 759491                                                     BALTIMORE           MD       21275‐9491
AEROSPACE OPERATIONS, LLC                   3560 IDLEWOOD LOOP                                                LADY LAKE           FL       32162

AEROSPACE PRODUCTS AND SERVICES, INC.       30033 TECHNOLOGY DRIVE, 101                                       MURRIETA            CA       92563
AEROSPACE SERVICES INTERNATIONAL, LLC       4758 NORTHRIDGE DR                                                PALMDALE            CA       93551
AEROSPACE TESTING ENGINEERING AND
CERTIFICATION, INC. DBA AEROTEC             6100 4TH AVE S, STE.300                                           SEATTLE             WA       98108
AEROTEC INC                                 6100 4TH AVE. S., STE. 300                                        SEATTLE             WA       98108
AEROTECH PRECISION MACHINING, INC.          42541 6TH ST, E UNIT 17                                           LANCASTER           CA       93535
AEROTHREADS, INC                            4511 KNOX ROAD, SUITE 102                                         COLLEGE PARK        MD       20740
AERY AVIATION, LLC                          305 CHEROKEE DRIVE                                                NEWPORT NEWS        VA       23602

AFFILIATED CONSTRUCTION SERVICES, INC.      633 LIBERTY DRIVE                                                 VERONA              WI       53593
AFM INDUSTRIES INC                          1805 E. VIA BURTON                                                ANAHEIM             CA       92831
AFS AVIATION LTD.                           LASHAM AIRFIELD                                                   ALTON                        GU34 5SP      UNITED KINGDOM
AG PRODUCTS INC. DBA WILDFACTORY            4656 ADOHR LANE                                                   CAMARILLO           CA       93012
AGENZIA SPAZIALE ITALIANA ‐ ASI             VIA DEL POLITECNICO                                               ROME                RM       00133         ITALY
AGGREKO, LLC                                4607 WEST ADMIRAL DOYLE DRIVE                                     NEW IBERIA          LA       70560
AGILE SPACE INDUSTRIES, INC.                1514 MAIN AVE.                                                    DURANGO             CO       81301
AGUILAR, EDUARDO A                          ADDRESS ON FILE
AGUILAR, RUBEN ANTHONY                      ADDRESS ON FILE
AGUIRRE, EDDIE                              ADDRESS ON FILE
AHEDO, JOHNYREY                             ADDRESS ON FILE
AHEDO, JOHNYREY MARCUS                      ADDRESS ON FILE
AHMAD, KAREEM                               ADDRESS ON FILE
AHUMADA, ERNIE RUBEN                        ADDRESS ON FILE
AHUMADA, RAMIRO                             ADDRESS ON FILE
AI REDEFINED                                400, MCGILL ST, SUITE 300                                         MONTREAL            QC       H2Y 2G1       CANADA
AIG                                         777 S FIGUEORA ST, 18TH FL                                        LOS ANGELES         CA       90017
AIG                                         AON RISK INSURANCE SERVICES WEST INC, PO BOX 19640                IRVING              CA       92623
                                            AON RISK INSURANCE SERVICES, NORTHEAST, INC., 100 WESTMINSTER
AIG                                         ST, 10TH FLOOR                                                    PROVIDENCE          RI       02903
                                            NATIONAL FIRE INSURANCE COMPANY OF PITTSBURGH, PA., 1271
AIG                                         AVENUE OF THE AMERICAS, 37TH FLOOR                                NEW YORK            NY       10020
AIKEN, BROADUS DARRYL                       ADDRESS ON FILE
AIR & LIQUID SYSTEMS INC.                   1426 MAGAZINE ST                                                  NEW ORLEANS         LA       70130
AIR CLEANING SPECIALISTS, INC.              11088 GRAVOIS INDUSTRIAL COURT                                    ST. LOUIS           MO       63128
AIR COST CONTROL US, LLC                    13800 NW 2ND STREET, SUITE 100                                    SUNRISE             FL       33325
AIR COST CONTROL USA, LLC                   13800 NW 2ND STREET SUITE 100                                     SUNRISE             FL       33325
AIR FORCE ASSOCIATION                       1501 LEE HIGHWAY, 4TH FLOOR                                       ARLINGTON           VA       22209
AIR PRODUCTS AND CHEMICALS                  1940 AIR PRODUCTS BLVD.                                           ALLENTOWN           PA       18106‐5500
AIR PRODUCTS AND CHEMICALS                  ATTN: SEIFI GHASEMI, 7201 HAMILTON BOULEVARD                      ALLENTOWN           PA       18195
AIR PRODUCTS AND CHEMICALS, INC.            7201 HAMILTON BLVD.                                               ALLENTOWN           PA       18195‐1501
AIR PRODUCTS PLC                            TWO MILLENNIUM GATE WESTMERE DRIVE                                CREWE                        CW1 6AP       UNITED KINGDOM
AIR SCIENCE USA, LLC                        120 6TH STREET PO BOX 62296                                       FORT MYERS          FL       33906
AIRBUS AMERICAS, INC.                       2550 WASSER TERRACE #9100                                         HERNDON             VA       20171
AIRCRAFT & COMMERCIAL ENTERPRISES           800 N. RIVER RD                                                   DERBY               KS       67037

AIRCRAFT AND COMMERCIAL ENTERPRISES, INC.   800 N. RIVER STREET                                               DERBY               KS       67037
AIRCRAFT EXTRUSION CO.                      180 ERMA COURT                                                    CHICO,              CA       95928
AIRCRAFT HARDWARE WEST                      2180 TEMPLE AVE.                                                  LONG BEACH          CA       90805
AIRCRAFT SPRUCE WEST                        225 AIRPORT CIRCLE                                                CORONA              CA       92880
AIRCRAFT WELDING INC.                       26670 LAKELAND BLVD.                                              EUCLID              OH       44132
AIRCREW DIRECT.COM LTD.                     PURE OFFICE, BROOKS DRIVE                                         CHEADLE                      SK8 3TD       UNITED KINGDOM
AIRGAS CA                                   38012 6TH STREET EAST                                             PALMDALE            CA       93550
AIRGAS USA, LLC                             1122 W ROSECRANS AVE                                              GARDENA             CA       90247
AIRMAN OPS                                  COLLINS SQUARE TOWER FIVE, LEVEL 23 727 COLLINS STREET            MELBOURNE                    3008          AUSTRALIA
AIRMO, INC.                                 9445 EVERGREEN BLVD. NW                                           MINNEAPOLIS         MN       55433
AIRPORT RESTAURANTS, INC                    4555 W. AVENUE G, STE 22                                          LANCASTER           CA       93536
AIRSPACE TECHNOLOGIES, INC.                 5909 SEA OTTER PLACE, STE 200                                     CARLSBAD            CA       92010
AIRTECH INTERNATIONAL                       5700 SKYLAB RD                                                    HUNTINGTON BEACH    CA       92647
AITECH DEFENSE SYSTEMS, INC.                19756 PRAIRIE STREET                                              CHATSWORTH          CA       91311
AIVALIOTIS, ALEXANDER M.                    ADDRESS ON FILE
AKIN GUMP STRAUSS HAUER & FELD LLP          2001 K STREET, NW                                                 WASHINGTON          DC       20006
AKKT TOOL INC.                              512 DAWSON DR. SUITE 4N                                           CAMARILLO           CA       93012
AKREY, KEVIN PATRICK                        ADDRESS ON FILE
AKRON RUBBER DEVELOPMENT LABORATORY,
INC.                                        300 KENMORE BLVD                                                  AKRON               OH       44301
AKTION INC. (DBA AKTION SUPPLY INC.)        28310 AVENUE CROCKER UNIT A                                       VALENCIA            CA       91355
ALAEE, HADI                                 ADDRESS ON FILE
ALAS, EVELYN PATRICIA                       ADDRESS ON FILE
ALASKA AEROSPACE CORPORATION                4300 B STREET, SUITE 101                                          ANCHORAGE           AK       99503
ALBEDO SPACE CORPORATION                    2717 S CHEROKEE STREET                                            ENGLEWOOD           CO       80110




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ALBRECHT, MARK                             ADDRESS ON FILE
ALCOA FASTENING SYSTEMS                    3990 A HERITAGE OAK CT                                              SIMI VALLEY               CA      93063
ALDERSON, DAVID BRADLEY                    ADDRESS ON FILE
                                           SUMITOMO FUDOSAN SHIBADAIMON‐NICHOME BLDG.2F, 2‐11‐8
ALE                                        SHIBADAIMON, MINATO‐KU                                              TOKYO                             105‐0012     JAPAN
ALE CO., LTD.                              KAWAMOTO BLDG 2F, 2‐21‐1 AKASAKA, MINATO‐KY                         TOKYO                             107‐0052     JAPAN
ALEJANDREZ, VIRGINIA                       ADDRESS ON FILE
ALEJANDREZ, VIRGINIA MONTERROSA            ADDRESS ON FILE
ALEJANDRO ORTIZ CONSULTING PLLC DBA SMPS
LEGAL                                      3828 STANFORD AVE                                                   DALLAS                    TX      75225
ALERT MEDIA                                901 SOUTH MOPAC EXPRESSWAY BUILDING 3, SUITE 500                    AUSTIN                    TX      78746
ALERT TUBING FABRICATORS                   8019 COMMERCIAL AVE                                                 LOVES PARK                IL      61111
ALEXANDER, DAYLE                           ADDRESS ON FILE

ALEXANDER'S PRECISION MACHINING, INC.      15731 CHEMICAL LANE                                                 HUNTINGTON BEACH          CA      92649
ALEXIOU PACIFIC LLC                        24 CORTE VIZCAYA                                                    SAN CLEMENTE              CA      92673
ALEXIOU, THOMAS                            ADDRESS ON FILE
ALFARO, CRUZ                               ADDRESS ON FILE
ALGELA INC. (DBA PIRTEK LONG BEACH)        3299 WALNUT AVE.                                                    SIGNAL HILL               CA      90755
ALICAT SCIENTIFIC, INC.                    7641 N BUSINESS PARK DRIVE                                          TUCSON                    AZ      85743
ALIGNED CAE LLC                            4801 EAGLE SPRINGS CT                                               CLARKSTON                 MI      48348
ALIVANERA, BRIAN                           ADDRESS ON FILE
ALKEMIX CORPORATION                        23986 ALISO CREEK ROAD, SUITE 310                                   LAGUNA NIGUEL             CA      92677
ALL 4 ELECTRIC                             4828 ADENMOOR AVE.                                                  LAKEWOOD                  CA      90713
ALL AMERICAN ACOUSTICS INC                 12821 WESTERN AVE SUITE C                                           GARDEN GROVE              CA      92841
ALL GLASS & PLASTICS, INC.                 42320 10TH STREET WEST                                              LANCASTER                 CA      92782
ALL INDUSTRIAL TOOL SUPPLY                 5488 MCFADDEN AVE                                                   HUNTINGTON BEACH          CA      92649
                                           ATTN: HISATO TERUYAMA, SHIODOME CITY CENTER, 1‐5‐2 HIGASHI‐
ALL NIPPON AIRWAYS TRADING CO., LTD.       SHIMBASHI, MINATO‐KU                                                TOKYO                             105‐7140     JAPAN
ALL POWER MANUFACTURING COMPANY            12141 MOLETTE STREET                                                SANTA FE SPRINGS          CA      90670
ALL SPEC WELDING SOLUTIONS INC.            10406 ENTERPRISE ST                                                 RANCHO CUCAMONGA          CA      91730
ALL TIME MACHINE INC.                      2050 S. DEL RIO WAY                                                 ONTARIO                   CA      91761
ALL VALLEY RV CENTER, INC.                 1525 SIERRA HWY                                                     ACTON                     CA      93510
ALL WORLD MACHINERY SUPPLY, INC.           6164 ALL WORLD WAY                                                  ROSCOE                    IL      61073
ALLAN AIRCRAFT SUPPLY CO., LLC             11643 VANOWEN STREET                                                NORTH HOLLYWOOD           CA      91605
ALLAR, JEFFREY MICHAEL                     ADDRESS ON FILE
ALLBLACK CO., INC.                         13090 PARK STREET                                                   SANTA FE SPRINGS          CA      90670
ALLCOMP INC.                               209 PUENTE AVE                                                      CITY OF INDUSTRY          CA      91746
ALLEN PRINTING & GRAPHIC DESIGN            3244 E. WILLOW STREET                                               SIGNAL HILL               CA      90755
ALLEN, ANGELA CHARMELL                     ADDRESS ON FILE
ALLEN, BRYCE                               ADDRESS ON FILE
ALLEN, DARRYL                              ADDRESS ON FILE
ALLEN, RUDY                                ADDRESS ON FILE
ALLENDER, DANA                             ADDRESS ON FILE
ALLIANCE FUNDING GROUP                     3745 W. CHAPMAN AVE SUITE 200                                       ORANGE                    CA      92868

ALLIANCE INDUSTRIAL REFRIGERATION SERVICES 20311 PASEO DEL PRADO                                               WALNUT                    CA      91789
ALLIANCE INDUSTRIAL REFRIGERATION
SERVICES, INC.                             20311 PASEO DEL PRADO                                               WALNUT                    CA      91789

ALLIANZ GLOBAL CORPORATE & SPECIALTY SE    KÖNIGINSTRASSE 28                                                   MUNICH                            80802        GERMANY
ALLIANZ GLOBAL RISKS US INSURANCE
COMPANY                                    225 W. WASHINGTON STREET, SUITE 1800                                CHICAGO                   IL      60606
ALLIED ELECTRONICS, INC.                   40 WEST COCHRAN STREET, SUITE 108                                   SIMI VALLEY               CA      93065
ALLIED ELECTRONICS, INC.                   7151 JACK NEWELL BLVD S.                                            FORT WORTH                TX      76118
ALLIED HIGH TECH PRODUCTS, INC.            2376 E. PACIFICA PLACE                                              RANCHO DOMINGUEZ          CA      90220
ALLIED INDUSTRIAL SYSTEMS, INC.            1240 N. BLUE GUM ST.                                                ANAHEIM                   CA      92806
ALLIED MINERAL PRODUCTS INC                2700 SCIOTO PARKWAY                                                 COLUMBUS                  OH      43221
ALLIED NATIONWIDE SECURITY, INC            7116 VALJEAN AVE.                                                   VAN NUYS                  CA      91406
ALLIED NATIONWIDE SECURITY, INC.           7247 HAYVENHURST AVE. SUITE A‐7                                     Lake Balboa               CA      91406
ALLIED WIRE & CABLE, INC.                  101 KESTREL DRIVE                                                   COLLEGEVILLE              PA      19426
ALLIED WORLD INSURANCE COMPANY             550 S. HOPE STREET, SUITE 1825                                      LOS ANGELES               CA      90071
ALLITIX INC                                8095 SCHOLARSHIP                                                    IRVINE                    CA      92612
ALLOY MACHINING SERVICES, INC.             2808 SUPPLY AVE.                                                    COMMERCE                  CA      90040
ALLOY PRODUCTS CORP.                       1045 PERKINS AVENUE                                                 WAUKESHA                  WI      53186
ALLOY VALVES AND CONTROL, INC              3210 S. SUSAN STREET                                                SANTA ANA                 CA      92704
ALL‐PAC PACKAGING SUPPLIES                 TREVILSON BUSINESS PARK                                             NEWQUAY                           TR8 5JF      UNITED KINGDOM
ALL‐PHASE ELECTRIC SUPPLY CO.              610 WEST AVENUE O                                                   PALMDALE                  CA      93551
ALL‐SPEC INDUSTRIES                        5228 US HWY 421 N.                                                  WILMINGTON                NC      28401
ALL‐SPEC INDUSTRIES                        6650 CONCORD PARK DR                                                HOUSTON                   TX      77040
ALL‐SPEC INDUSTRIES                        PO BOX 679472                                                       DALLAS                    TX      75267‐9472
ALL‐SPEC INDUSTRIES                        PO BOX 890811                                                       CHARLOTTE                 NC      28289‐0811
ALLSPICE, INC.                             444 SOMERVILLE AVE                                                  SOMMERVILLE               MA      02143
ALL‐WAYS METAL, INC.                       401 E. ALONDRA BLVD.                                                GARDENA                   CA      90248
ALM POSITIONERS, INC                       8080 CENTINNIEAL EXPRESS WAY                                        ROCK ISLAND               IL      61201
ALMEIDA ROTENBERG E BOSCOLI ADVOCACIA
(DBA DEMAREST)                             AV. PEDROSO DE MORAIS                                               SAO PAULO                         05419‐001    BRAZIL
ALOFT MEDIA, LLC                           1827 MANNING AVE, STE 4                                             LOS ANGELES               CA      90025
ALOFT MEDIA, LLC                           PO BOX 721085                                                       SAN JOSE                  CA      95172
ALPHA OMEGA INSTRUMENTS CORP.              40 ALBION ROAD, SUITE 100                                           LINCOLN                   RI      02865
ALPHA OMEGA INSTRUMENTS CORP.              4140 WORLD HOUSTON PARKWAY                                          HOUSTON                   TX      77032
ALTAIR ENGINEERING, INC.                   1820 E. BIG BEAVER ROAD                                             TROY                      MI      48083
ALTERNATIVE HOSE INC.                      1251 SUNSHINE WAY                                                   ANAHEIM                   CA      92806
ALTIUM, INC.                               4225 EXECUTIVE SQUARE, SUITE 800                                    LA JOLLA                  CA      92037
ALTUS NETWORK SOLUTIONS, INC.              4920 ATLANTA HIGHWAY, SUITE 313                                     ALPHARETTA                GA      30004
ALVA MANUFACTURING, INC.                   236 E ORANGETHORPE AVE.                                             PLACENTIA                 CA      92870
ALVAREZ, RICHARD                           ADDRESS ON FILE
ALVAREZ, RICHARD                           ADDRESS ON FILE
ALVAREZ, SANDRA                            ADDRESS ON FILE
ALVERSTOKE HOLDINGS LLC                    143 EAST 69TH STREET                                                NEW YORK                  NY      10021
AM EQUIPMENT                               402 E. HAZEL STREET                                                 JEFFERSON                 OR      97352




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AMA CONSULTING ENGINEERS, P.C.            2101 E. EL SEGUNDO BLVD, SUITE 303                                EL SEGUNDO            CA     90245
AMAMCO TOOL & SUPPLY CO., INC.            130 LEE JOYAL ROAD                                                DUNCAN                SC     29334
AMAZON CAPITAL SERVICES, INC              410 TERRY AVENUE NORTH                                            SEATTLE               WA     98109
AMAZON PAYMENTS UK LIMITED                LOCKBOX 0462, PO BOX 148                                          SHEFFIELD                    S98 1HR    UNITED KINGDOM
AMAZON WEB SERVICES INC                   PO BOX 84023                                                      SEATTLE               WA     98124‐8423
AMAZON.COM                                1200 12TH AVE, ATE 1200                                           SEATTLE               WA     98144
AMAZON.COM                                P.O. BOX 530958                                                   ATLANTA               GA     30353‐0958
AMAZON.COM, INC                           PO BOX 84023                                                      SEATTLE               WA     98124‐8423
AMBERWICK CORPORATION                     2304 W. 16TH STREET                                               LONG BEACH            CA     90813
AMBROSE, SETH P                           ADDRESS ON FILE

AMERICAN AEROSPACE TECHNICAL ACADEMY      117 E. COLORADO BLVD. #600                                        PASADENA              CA    91101

AMERICAN AUTOMATED ENGINEERING, INC       5382 ARGOSY AVENUE                                                HUNTINGTON BEACH      CA    92649
AMERICAN BENEFITS GROUP                   PO BOX 1209                                                       NORTHAMPTON           MA    01061‐1209
AMERICAN BOA, INC.                        1420 REDIT RD                                                     CUMMING               GA    30040
AMERICAN CNC INC.                         12430 MONTAGUE STREET UNIT 207                                    PACOIMA               CA    91331

AMERICAN COMPUTER DEVELOPMENT, INC.   7435 NEW TECHNOLOGY WAY, SUITE A                                      FREDERICK             MD    21703
AMERICAN CONTINENTAL GROUP, INC.      SOUTH TOWER, 1800 M ST NW, SUITE 500                                  WASHINGTON            DC    20036
AMERICAN DRILLING CO.                 3201 W EL SEGUNDO BLVD.                                               HAWTHORNE             CA    90250
AMERICAN DURAFILM                     P.O. BOX 6770                                                         HOLLISTON             MA    01746
AMERICAN DYNAMIC SERVICES, INC.       2275 HUNTINGTON DRIVE #115                                            SAN MARINO            CA    91108
AMERICAN GALVANO, INC                 421 KANSAS STREET                                                     REDLANDS              CA    92373
                                      AMERICAN HOME ASSURANCE COMPANY, 1271 AVENUE OF THE
AMERICAN HOME ASSURANCE COMPANY (AIG) AMERICAS, 37TH FLOOR                                                  NEW YORK              NY    10020

AMERICAN HOME ASSURANCE COMPANY (AIG) AMERICAN HOME ASSURANCE COMPANY (AIG), 175 WATER STREET               NEW YORK              NY    10038
                                         WILLIS TOWERS WATSON INSURANCE SERVICES WEST, INC., 801 S
AMERICAN HOME ASSURANCE COMPANY (AIG) FIGUEROA ST, STE 800                                                  LOS ANGELES           CA    90017
AMERICAN INTERNATIONAL GROUP, INC. DBA
AIG                                      777 S. FIGUEROA AVE                                                LOS ANGELES           CA    90017
AMERICAN IRON WORKS                      201 ARLINGTON DRIVE                                                YUKON                 OK    73099
AMERICAN MAGNETICS, INC.                 112 FLINT ROAD                                                     OAK RIDGE             TN    37830
AMERICAN METAL ENTERPRISES INC.          15855 CHEMICAL LN.                                                 HUNTINGTON BEACH      CA    92649
AMERICAN OUTPOST                         2458 EMERY HWY                                                     MACON                 GA    31217
AMERICAN PRECISION HYDRAULICS DBA
AMERICAN PRECISION ASSEMBLY              5601 RESEARCH DRIVE                                                HUNTINGTON BEACH      CA    92649
AMERICAN REGISTRY FOR INTERNET NUMBERS,
LTD                                      PO BOX 232290                                                      CENTERVILLE           VA    20120
AMERICAN SAFETY PRODUCTS                 2800 S. MAIN ST., UNIT B                                           SANTA ANA             CA    92707
AMERICAN SAFETY SERVICES, INC            3209 LANDCO DRIVE                                                  BAKERSFIELD           CA    93308
AMERICAN SEAL & ENGINEERING CO. INC      295 INDIAN RIVER RD                                                ORANGE                CT    06477
AMERICAN SPECIALTY INSULATION INC        2130 EAST BRUNDAGE LANE                                            BAKERSFIELD           CA    93307
AMERICAN SPECIALTY INSULATION, INC. (DBA
A.S.I., INC.)                            2130 EAST BRUNDAGE LANE                                            BAKERSFIELD           CA    93308
AMERICAN STOCK TRANSFER & TRUST
COMPANY, LLC                             6201 15TH AVENUE                                                   NEW YORK              NY    10005
AMERICAN STOCK TRANSFER & TRUST
COMPANY, LLC                             PO BOX 12893                                                       PHILADELPHIA          CA    19176‐0893
AMERICAN TELECONFERENCING SERVICES, LTD.
(PGI)                                    2300 LAKEVIEW PARKWAY, STE 300                                     ALPHARETTA            GA    30009
AMERICAN WELDING, INC.                   41614 102ND STREET EAST                                            PALMDALE              CA    93591
AMERICAS GENERATORS, INC                 8511 NW 61ST STREET                                                MIAMI                 FL    33166
AMERIDRIVES POWER TRANSMISSION           1680 CORNELL ROAD                                                  GREEN BAY             WI    54313
AMERIFLEX, INC                           2390 RAILROAD ST                                                   CORONA                CA    92880
AMERITRAIL, INC (RANCH KING TRAILERS)    1005 S. FROBT STREET                                               BELLVILLE             TX    77413
AMETEK                                   9250 BROWN DEER ROAD                                               SAN DIEGO             CA    92121
AMEY, DARRELL DOMINIQUE                  ADDRESS ON FILE
AMG TORRANCE, LLC                        2535 MARICOPA ST                                                   TORRANCE              CA    90503
AMI MACHINING                            23 ABBEY LANE                                                      MIDDLEBORO            MA    02346
AMORIM                                   26112 110 STREET                                                   TREVOR                WI    53179
AMPHENOL CANADA CORPORATION              5950 14TH AVENUE                                                   MARKHAM               ON    L3S 4M4      CANADA
AMPHENOL CORPORATION                     40‐60 DELAWARE AVE                                                 SIDNEY                NY    13838

AMPHENOL NELSON DUNN TECHNOLOGIES, INC.   17707 VALLEY VIEW AVE                                             CERRITOS              CA    90703
AMPLIFIER RESEARCH CORPORATION            160 SCHOOLHOUSE RD                                                SOUDERTON             PA    18964
AM‐PM DOOR, INC.                          9723 TELFAIR AVE                                                  PACOIMA               CA    91331
AMPT CO                                   1334 AIRPORT ROAD                                                 DURANGO               CO    81303
AMPTEC RESEARCH CORPORATION               14101 HWY 290 W STE 2000‐C                                        AUSTIN                TX    78737
AMRO FABRICATING CORPORATION              1430 AMRO WAY                                                     SOUTH EL MONTE        CA    91733
AMS COLLECTIVE INC                        821 PITKIN ST U#8                                                 FRISCO                CO    80443
AMSAFE BRIDPORT LTD.                      THE COURT, WEST STREET                                            BRIDPORT                    DT6 3QU      UNITED KINGDOM
AMTEC SOLUTIONS GROUP                     4808 BRADFORD DRIVE                                               HUNTSVILLE            AL    35805
AMTRUST EXEC                              233 NORTH MICHIGAN AVE, SUITE 1200                                CHICAGO               IL    60601

ANA HOLDINGS INC.                         SHIODOME CITY CENTER, 1‐5‐2 HIGASHI‐SHIMBASHI, MINATO‐KU          TOKYO                                    JAPAN
ANALEX CORPORATION                        3076 CENTREVILLE RD STE 200                                       HERNDON               VA    20171
ANALOG DEVICES, INC.                      ONE ANALOG WAY                                                    WILMINGTON            MA    01887
ANALYTICAL GRAPHICS, INC.                 220 VALLEY CREEK BLVD                                             EXTON                 PA    19341
ANALYTICAL MECHANICS ASSOCIATES, INC.     21 ENTERPRISE PARKWAY STE 300                                     HAMPTON               VA    23666
ANALYTICAL SPACE INC.                     501 MASSACHUSETTS AVENUE                                          CAMBRIDGE             MA    02139
ANAND, VIJAY G                            ADDRESS ON FILE
ANAPLAN, INC.                             50 HAWTHORNE STREET                                               SAN FRANCISCO         CA    94105
ANAPLAN, INC.                             625 2ND ST. SUITE 101                                             SAN FRANCISCO         CA    94105
ANCRA INTERNATIONAL LLC                   601 S. VINCENT AVE,                                               AZUSA                 CA    91702
ANDEA CORP.                               3 POINTE DRV, SUITE 317                                           BREA                  CA    92821
ANDERSON MATERIALS EVALUATION, INC.       9051 RED BRANCH ROAD, SUITE C                                     COLUMBIA              MD    21045
ANDERSON, CHRISTOPHER STEVEN              ADDRESS ON FILE
ANDERSON, KATARZYNA ANNA                  ADDRESS ON FILE
ANDERSON, NEWTON                          ADDRESS ON FILE




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ANDERSON, NEWTON E                       ADDRESS ON FILE
ANDERSON, PAUL                           ADDRESS ON FILE
ANDO ELECTRIC MOTORS, INC                1999 WEST ANAHEIM STREET                                          LONG BEACH                CA       90813
ANDON ELECTRONICS CORPORATION            4 COURT DRIVE                                                     LINCOLN                   RI       02865
ANDON SPECIALTIES, INC.                  2720 REED ROAD, SUITE 280                                         HOUSTON                   TX       77051
ANDRES CARDENAS                          ADDRESS ON FILE
ANDREW RYAN HOBBERCHALK (DBA ANDY'S
MOBILE WELDING)                          9856 EAST AVE S4                                                  LITTLE ROCK               CA       93543
ANDREW SHIRALI                           ADDRESS ON FILE
ANDREW TOACHE                            ADDRESS ON FILE
ANDYLOOS LTD                             FOLEY DRIVE, FOLEY BUSINESSPARK                                   KIDDERMINSTER                      DY11          UNITED KINGDOM
ANDYLOOS LTD.                            FAIRPARK SCHOOL ROAD SUMMERCOURT                                  NEWQUAY                            TR8 5EA       UNITED KINGDOM
ANDY'S MOBILE WELDING                    9856 EAST AVE. S4                                                 LITTLE ROCK               CA       93543
ANEMO ENGINEERING BVBA                   VEURNESTRAAT 4F                                                   LEISELE                            8691          BELGIUM
ANGEL CITY FLYERS, LLC                   2901‐F E. SPRING ST                                               LONG BEACH                CA       90806
ANGKASA‐X INNOVATION SDN. BHD.           15A‐16A WISMA YEAP CHOR EE                                        GEORGETOWN                         10350         MALAYSIA
ANGSTROM TECHNOLOGY                      3509 3 MILE ROAD NW SUITE 3                                       GRAND RAPIDS              MI       49534
ANGULO, GABRIEL RAMSES                   ADDRESS ON FILE
ANGUS SYSTEMS GROUP INC                  1100 PEACHTREE ST. SUITE 200                                      ATLANTA                   GA       30309
ANILLO INDUSTRIES INC.                   2090 NORTH GLASSELL STREET                                        ORANGE                    CA       92865
ANIMAL CAPTURE WILDLIFE CONTROL          PO BOX 400                                                        SHAFTER                   CA       95263
ANKROM, MARK EDWARD                      ADDRESS ON FILE
ANSYS, INC                               2600 ANSYS DRIVE                                                  CANONSBURG                PA       15317
ANTELOPE VALLEY CHEVROLET                1160 WEST MOTOR LANE                                              LANCASTER                 CA       93535
ANTHELION HELICOPTERS                    3200 AIRFLITE WAY                                                 LONG BEACH                CA       90807
ANTHONY'S GRILL                          16940 STATE HIGHWAY 14, STE B                                     MOJAVE                    CA       93501
ANV GLOBAL SERVICES INC.                 200 HUDSON STREET                                                 JERSEY CITY               NJ       07311
AON                                      2277 FAIR OAKS BLVD., SUITE 250                                   SACRAMENTO                CA       95825
AON (BERMUDA) LTD.                       AON HOUSE, 30 WOODBOURNE AVENUE                                   PEMBROKE HM 08                                   BERMUDA
AON CONSULTING INC.                      2570 NORTH FIRST STREET                                           SAN JOSE                  CA       95131
AON RISK INS. SERVICES WEST              199 FREMONT STREET SUITE 1500                                     SAN FRANCISCO             CA       94105
AON RISK INS. SERVICES WEST              2277 FAIR OAKS BLVD, SUITE 250                                    SACRAMENTO                CA       95825
AON RISK SERVICES                        ATTN: MATTHEW MEYER, 1900 16TH STREET, SUITE 1000                 DENVER                    CO       80202

AP&C ADVANCED POWDERS & COATINGS, INC.   241 ALLEE DU GOLF                                                 SAINT‐EUSTACHE                     J7R 0L5       CANADA

AP&C ADVANCED POWDERS & COATINGS,INC     241 RUE ALLE DU GOLF                                              ST‐EUSTACHE               QC       J7R 0L5       CANADA
APALATEGUI, EDWARD                       ADDRESS ON FILE
APCT, INC.                               3495 DE LA CRUZ BLVD                                              SANTA CLARA               CA       95054
APEX TOOL GROUP, LLC                     670 INDUSTRIAL DRIVE                                              LEXINGTON                 SC       29072
APEX WAVES, LLC                          1624 OLD APEX RD.                                                 CARY                      NC       27513
API TECHNICAL SERVICES                   709 MIDDLE GROUND BLVD SUITE B‐105                                NEWPORT NEWS              VA       23606
API TECHNOLOGIES CORP.                   38166 OLD STAGE ROAD                                              DELMAR                    DE       19940
API TECHNOLOGIES CORPORATION             400 NICKERSON ROAD                                                MALBOROUGH                MA       01752
API WEINSCHEL, INC                       5305 SPECTRUM DRIVE                                               FREDERICK                 MD       21703
APMET                                    500 PROVIDENCE MAIN STREET NW, #7108                              HUNTSVILLE                AL       35806
APOGEE DESIGNS, LTD.                     101 KANE STREET                                                   BALTIMORE                 MD       21224

APOLLO HYBRID VALUE MANAGEMENT, L.P.     9 WEST 57TH STREET, 43RD FLOOR                                    NEW YORK                  NY       10019
APONTE, DIANA                            ADDRESS ON FILE
APPEXTREMES, LLC. (DBA CONGA)            PO BOX 7839                                                       BROOMFIELD                CO       80021
APPLE RUBBER PRODUCTS INC.               310 ERIE STREET                                                   LANCASTER                 NY       14086
APPLE, INC.                              1 INFINITE LOOP                                                   CUPERTINO                 CA       95014
APPLE, INC.                              3200 SEPULVEDA BLVD.                                              MANHATTAN BEACH           CA       90266
APPLIED AEROSPACE STRUCTURES CORP.       3437 SOUTH AIRPORT WAY                                            STOCKTON                  CA       95206
APPLIED AVIONICS, INC.                   3201 SANDY LANE                                                   FORTH WORTH               TX       76112
APPLIED COMPOSITES HOLDINGS, LLC         25671 COMMERCENTRE DRIVE                                          LAKE FOREST               CA       92630

APPLIED FLOW TECHNOLOGY CORPORATION      2955 PROFESSIONAL PLACE SUITE 301                                 COLORADO SPRINGS          CO       80904
APPLIED MICROBIOLOGICAL SERVICES         1538 W, GAYLORD ST.                                               LONG BEACH                CA       90813
APPLIED PLASTICS TECHNOLOGY, INC.        45 BROADCOMMON RD.                                                BRISTOL                   RI       02809
APPLISCALE SP                            UL. ZYCZKOWSKIEGO 14                                              KRAKOW                                           POLAND
APPLUS RTD USA, INC.                     3 SUGAR CREEK CENTER BLVD., SUITE 600                             SUGAR LAND                TX       77478
A‐P‐T RESEARCH, INC.                     4950 RESEARCH DRIVE                                               HUNTSVILLE                AL       35805
APTEK LABORATORIES, INC.                 28570 LIVINGSTON AVENUE                                           VALENCIA                  CA       91355
APV MANUFACTURING & ENGINEERING
COMPANY                                  7422 WALNUT AVE                                                   BUENA PARK                CA       90620‐1762
AQUA BACKFLOW & CHLORINATION, INC.       1060 NORTHGATE ST. STE. C                                         RIVERSIDE                 CA       92507
AQUENT, LLC DBA VITAMIN T                5670 WILSHIRE BLVD #1000                                          LOS ANGELES               CA       90036
AR TECH                                  16246 VALLEY BLVD                                                 FONTANA                   CA       92335
ARAMARK REFRESHMENTS SERVICES            17044 MONTANERO AVENUE                                            CARSON                    CA       90746
ARBON EQUIPMENT CORPORATION              22607 OLD CANAL RD                                                YORBA LINDA               CA       92887
ARBON EQUIPMENT DBA RITE‐HITE
CORPORATION                              25464 NETWORK PLACE                                               CHICAGO                   IL       60673
ARC DOCUMENT SOLUTIONS, LLC              PO BOX 511580                                                     LOS ANGELES               CA       90051‐8135
ARC MACHINES, INC.                       14320 ARMINTA STREET                                              PANORAMA CITY             CA       91402
ARCH INSURANCE GROUP INC.                HARBORSIDE 3, 210 HUDSON STREET, SUITE 300                        JERSEY CITY               NJ       07311
ARCH REINSURANCE LTD                     WATERLOO HOUSE, 100 PITTS BAY ROAD                                PEMBROKE                           HM08          BERMUDA
ARCTIC SLOPE TECHNICAL SERVICES, INC.    7000 MUIRKIRK MEADOWS DRIVE, SUITE 100                            BELTSVILLE                MD       20705
ARCTION LTD.                             TEHASKATU 24 B                                                    KUOPIO                             70620         FINLAND
ARDE, INC.                               875 WASHINGTON AVE                                                CARLSTADT                 NJ       07072
ARELLANO, LEXIE MARIE                    ADDRESS ON FILE
AREMCO PRODUCTS INC                      707‐B EXECUTIVE BLVD., P.O. BOX 517                               VALLEY COTTAGE            NY       10989
ARES CORPORATION                         1290 HOWARD AVENUE, SUITE 319                                     BURLINGAME                CA       94010
ARGONAUT INSURANCE COMPANY (RT
SPECIALTY)                               ARGONAUT INSURANCE COMPANY, 90 PITTS BAY ROAD                     PEMBROKE                           HM 08         BERMUDA
ARGONAUT INSURANCE COMPANY (RT
SPECIALTY)                               ARGONAUT INSURANCE COMPANY, 175 E HOUSTON ST, STE 1300            SAN ANTONIO               TX       78205
ARGONAUT INSURANCE COMPANY (RT           ARGONAUT INSURANCE COMPANY, 225 W WASHINGTON ST, 24TH
SPECIALTY)                               FLOOR                                                             CHICAGO                   IL       60606




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ARGONAUT INSURANCE COMPANY (RT              ARGONAUT INSURANCE COMPANY, ATTN: ARGO PRO UNDERWRITING,
SPECIALTY)                                  PO BOX 469012                                                      SAN ANTONIO             TX       78246
ARGONAUT INSURANCE COMPANY (RT
SPECIALTY)                                  R‐T SPECIALTY, LLC, 1345 AVENUE OF THE AMERICAS, 4TH FLOOR         NEW YORK                NY       10105
ARIANESPACE INC.                            5335 WISCONSIN AVENUE NW, SUITE 520                                WASHTINGTON             DC       20015

ARIKA METALS INC (DBA UNIVERSAL METALS)     1020 RAILROAD STREET                                               CORONA                  CA       92882
ARMAG CORPORATION                           300 ARMAG AVE                                                      BARDSTOWN               KY       40004
ARMANINO LLP                                12657 ALCOSTA BLVD., SUITE 500                                     SAN RAMON               CA       94583

ARNOLD P. PETER, APC, DBA PETER LAW GROUP   1230 ROSECRANS AVENUE, SUITE 210                                   MANHATTAN BEACH         CA       90266
ARNOTT PERFORMANCE, LLC                     116 INFIELD COURT                                                  MOORESVILLE             NC       28117
ARQIT LIMITED                               1ST FLOOR 3 MORE LONDON RIVERSIDE, MORE LONDON PLACE               LONDON                           SE1 2RE      UNITED KINGDOM
ARQIT LTD.                                  ATTN: DAVID WILLIAMS, 3 MORE LONDON RIVERSIDE                      LONDON                           SE1 2RE      UNITED KINGDOM
ARQIT QUANTUM INC.                          3 MORE LONDON RIVERSIDE                                            LONDON                           SE1 2RE      UNITED KINGDOM
ARQIT, INC.                                 1201 N GARFIELD ST, APT 217                                        ARLINGTON               VA       22201‐6809
ARREDONDO, ANDREW MARTIN                    ADDRESS ON FILE
ARREDONDO, MICHAEL                          ADDRESS ON FILE
ARROW CRANEHOIST CORP.                      12714 CARMENITA ROAD                                               SANTA FE SPRINGS        CA       90670
ARROW ELECTRONICS, INC.                     7459 S. LIMA                                                       ENGLEWOOD               CO       80112‐3879
ARROW ELECTRONICS, INC.                     9201 E DRY CREEK RD                                                CONTENNIAL              CO       80112
ART CENTER COLLEGE OF DESIGN                1700 LIDA STREET,                                                  PASADENA                CA       91103

ARTCRAFT PLATING AND FINISHING CO INC       76 E. SANTA ANITA AVE.                                             BURBANK                 CA       91502
ARTHUR J GALLAGHER RISK MANAGEMENT
SERVICES, INC.                              2850 GOLF ROAD                                                     ROLLING MEADOWS         IL       60008
ARTHUR J. GALLAGHER & CO. INSURANCE
BROKERS OF CALIFORNIA, INC.                 2850 GOLF ROAD                                                     ROLLING MEADOWS         IL       60008
ARTHUR J. GALLAGHER (UK) LIMITED            THE WALBROOK BUILDING, 25 WALBROOK                                 LONDON                           EC4N 8AW     UNITED KINGDOM
ARTHUR J. GALLAGHER RISK MANGEMENT
SERVICES, INC.                              250 PARK AVENUE, 3RD FLOOR                                         NEW YORK                NY       10177
AS AND D, LLC                               7000 MUIRKIRK MEADOWS DRIVE, SUITE 100                             BELTSVILLE              MD       20705
ASB AVIONICS                                1032 SABOVICH STREET                                               MOJAVE                  CA       93501
ASC PROCESS SYSTEMS                         28402 LIVINGSTON AVE                                               VALENCIA                CA       91355
ASCENT AEROSPACE, LLC                       16445 23 MILE RD.                                                  MACOMB TOWNSHIP         MI       48042
ASCHBRENNER, RIC                            ADDRESS ON FILE
ASCOT HOLDING COMPANY LLC                   55 W 46TH STREET, 26TH FLOOR                                       NEW YORK                NY       10036
ASHCROFT INC.                               250 E. MAIN STREET                                                 STRATFORD               CT       06614
ASHDOWN, IAN                                ADDRESS ON FILE
ASHLEY BLASIOLE                             ADDRESS ON FILE
ASI FINANCIAL SERVICES                      3801 WEST TEMPLE AVE, BLD 35                                       POMONA                  CA       91768
ASM INTERNATIONAL                           9639 KINSMAN ROAD                                                  NOVELTY                 OH       44072
ASRC FEDERAL ASTRONAUTICS, LLC.             289 DUNLOP BLVD, BUILDING 300                                      HUNTSVILLE              AL       35824
ASSOCIATED SPRING                           1434 W.EDGERTON AVE                                                MILWAUKEE               WI       53207
ASSOCIATED STUDENTS, CSUF ‐ AGENCY
ACCOUNT                                     800 N. STATE COLLEGE BLVD.                                         FULLERTON               CA       92831
ASSURE SPACE, LLC                           3 BETHESDA METRO CENTER, SUITE 700                                 BETHESDA                MD       20814
ASSURED PARTNERS                            450 S ORANGE AVENUE, 4TH FLOOR                                     ORLANDO                 FL       32801
AST BEARINGS LLC                            P.O. BOX 98412                                                     CHICAGO                 IL       60693‐8412
ASTM INTERNATIONAL                          100 BARR HARBOR DRIVE                                              WEST CONSHOHOCKEN       PA       19428
ASTREOS                                     8 ALLÉE DU VIGNOBLE                                                REIMS                            51100        FRANCE
ASTRO ALUMINUM TREATING CO., INC            11040 PALMER AVE                                                   SOUTH GATE              CA       90280
ASTRO MECHANICAL TESTING LABORATORY,
INC.                                        3820 MEDFORD ST.                                                   LOS ANGELES             CA       90063
ASTRO PAK                                   12201 PANGBORN AVENUE                                              DOWNEY                  CA       90241
ASTRO PAK                                   270 BAKER STREET EAST SUITE 100                                    COSTA MESA              CA       92626
ASTRONICS TEST SYSTEMS, INC.                4 GOODYEAR                                                         IRVINE                  CA       92618
ASTROSCALE HOLDINGS INC.                    1‐16‐4 KINSHI SUMIDA‐KU                                            TOKYO                            130‐0013     JAPAN
ASTRO‐TEK INDUSTRIES INC.                   1198 N. KRAEMER BLVD                                               ANAHEIM                 CA       92806
ASTROTELOS, LLC                             218 FORKNER DRIVE, APT F                                           DECATUR                 GA       30030
ASTURIAS, DANIEL                            ADDRESS ON FILE
ASTURIAS, SYLVIA                            ADDRESS ON FILE
ASTURIAS, SYLVIA A                          ADDRESS ON FILE
ASU RESEARCH ENTERPRISE                     1475 N. SCOTTSDALE ROAD, SUITE 161                                 SCOTTSDALE              AZ       85257
ASUEGA, ROY                                 ADDRESS ON FILE
AT&T                                        PO BOX 5014                                                        CAROL STREAM            IL       60197‐5014
AT&T                                        PO BOX 5019                                                        CAROL STREAM            CA       60197‐5019
AT&T                                        WHITACRE TOWER, 208 S AKARD ST                                     DALLAS                  TX       75201
ATA ENGINEERING INC                         13290 EVENING CREEK DRIVE S, SUITE 250                             SAN DIEGO               CA       92128

ATCOM SERVICES INC. (DBA LANSHACK.COM)      155 MEADOW RD., SUITE 100                                          CLARK                   NJ       07066
A‐THRONE CO., INC                           1850 E. 33RD ST.                                                   LONG BEACH              CA       90807
ATI SPECIALTY MATERIALS                     2020 ASHCRAFT AVENUE                                               MONROE                  NC       28110
ATKINSON, GRANT                             ADDRESS ON FILE
ATL II ADVISOR LP                           245 PARK AVENUE, 38TH FLOOR                                        NEW YORK                NY       10167
ATLANTIC CASTING & ENGINEERING, CORP.       810 BLOOMFIELD AVE                                                 CLIFTON                 NJ       07012
ATLANTIC SIGNAL LLC                         900 SW 39TH STREET                                                 TOPEKA                  KS       66609
ATLAS COPCO                                 3301 CROSS CREEK PARKWAY                                           AUBURN                  MI       48326
ATLAS COPCO                                 48434 MIEMONT DRIVE                                                FREMONT                 CA       94538
ATLAS COPCO                                 6416 INDUCON DRIVE WEST                                            SANDBORN                NY       14132
ATLAS COPCO                                 DEPT CH 19511                                                      PALATINE                IL       60055‐9511
ATLAS COPCO TOOLS AND ASSEMBLY SYSTEM
LLC                                         3301 CROSS CREEK PARKWAY                                           AUBURN HILLS            MI       48326
ATLAS SPACE OPERATIONS                      10850 TRAVERSE HIGHWAY STE 2225                                    TRAVERSE CITY           MI       49684
ATLAS SPACE OPERATIONS, INC                 10850 E. TRAVERSE HWY., SUITE 2225                                 TRAVERSE CITY           MI       49684
ATLAS TESTING LABORATORIES                  9820 6TH STREET                                                    RANCHO CUCAMONGA        CA       91730
ATLASSIAN PTY, LTD.                         1098 HARRISON ST                                                   SAN FRANCISCO           CA       94103
ATLASSIAN PTY, LTD.                         LEVEL 6, 341 GEORGE ST                                             SYDNEY                                        AUSTRALIA
ATMA, PETER NOAH                            ADDRESS ON FILE




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ATMOSPHERIC & SPACE TECHNOLOGY
RESEARCH ASSOCIATES DBA ORION SPACE
SOLUTIONS                                282 CENTURY PL, #1000                                           LOUISVILLE            CO       80027
ATMOSPHERIC AND ENVIRONMENTAL
RESEARCH, INC.                           131 HARTWELL AVENUE                                             LEXINGTON             MA       02421
ATRI INSURANCE SERVICES                  165 BROADWAY                                                    NEW YORK              NY       10006

ATS WORKHOLDING, LLC DBA ATS SYSTEMS     30222 ESPERANZA                                                 RANCHO SANTA MARGARITA CA      92688
ATT METROLOGY SERVICES                   30210 SE 79TH ST. SUITE 100                                     ISSAQUAH               WA      98027
AUBE, AUSTIN HUNTER                      ADDRESS ON FILE
AUBURN TECHNOLOGY CORPORATION            1093 E LYNN DR                                                  MULVANE               KS       67110
AUDREY HIGGINS                           ADDRESS ON FILE
AURAND, TANNER MICHAEL                   ADDRESS ON FILE
AURORA BEARING COMPANY                   901 AUCUTT RD                                                   MONTGOMERY            IL       60538
AURORA CASTING & ENGINEERING, INC.       1790 E. LEMONWOOD DR.                                           SANTA PAULA           CA       93060
AURORA INSIGHT INC                       3001 BRIGHTON BLVD, SUITE 2593                                  DENVER                CO       80216
AURORA PROPULSION TECHNOLOGIES OY        A GRID OTAKAARI 5, 02150                                        ESPOO                                       FINLAND
AURORA PROPULSION TECHNOLOGIES OY        OTAKAARI                                                        ESPOO                          2150         FINLAND
AUSTALIAN GOVERNMENT                     SCIENCE PARTNERSHIPS, DST GROUP, PO BOX 1500                    EDINBURGH                      5111         AUSTRALIA
AUSTEN ROBINSON                          ADDRESS ON FILE
AUSTIN UNDERWOOD                         ADDRESS ON FILE
AUTHORIZE.NET LLC                        PO BOX 8999                                                     SAN FRANCISCO         CA       94128
AUTODESK, INC.                           111 MCINNIS PARKWAY                                             SAN RAFAEL            CA       94903
AUTOMATED MANUFACTURING, INC.            PO BOX 3771                                                     CHATSWORTH            CA       91313
AUTOMATED SOLUTIONS LLC                  4101 US HWY 321A                                                GRANITE FALLS         NC       28630
AUTOMATIONDIRECT.COM                     3505 HUTCHINSON ROAD                                            CUMMING               GA       30040
AUTOMOTIVE RACING PRODUCTS               1863 EASTMAN AVE.                                               VENTURA               CA       93003
AUTOZONE STORES LLC                      PO BOX 116067                                                   ATLANTA               GA       30368
AVALON ENVIRONMENTAL SERVICES            14700 S. AVALON BLVD.                                           GARDENA               CA       90248
AVALON TRANSPORTATION                    1000 CORPORATE POINTE, #150                                     CULVER CITY           CA       90230
AVANCED PRINTING & GRAPHICS, INC.        244 EAST AVENUE K‐10 #105                                       LANCASTER             CA       93535
AVEPOINT, INC.                           525 WASHINGTON BLVD, SUITE 1400                                 JERSEY CITY           NJ       07310
AVEREST, INC                             PO BOX 45151                                                    ATLANTA               GA       30320
AVFUEL CORPORATION                       47 W. ELLSWORTH                                                 ANN ARBOR             MI       48108
AVIACOM LTD                              PO BOX 725                                                      WEST END                       GU24 9FL     UNITED KINGDOM
AVIALL,INC.                              2750 REGENT BLVD., DALLAS FORT WORTH AIRPORT                    DALLAS                TX       75261
AVIANA GLOBAL TECHNOLOGIES INC           915 W IMPERIAL HIGHWAY, SUITE 100                               BREA                  CA       92821
AVIATION ATTACHE, LLC                    102 2ND AVE NE, SUITE 101 B                                     ST. PETERSBURG        FL       33701
AVIATION EQUIPMENT PROCESSING            1571 MACARTHUR BLVD                                             COSTA MESA            CA       92626
AVIATION FUEL HANDLING TECHNOLOGY        971 MALLARD CT                                                  LINCOLN               CA       95648
AVIATION STRIPING, INC.                  47787 RAINBOW CANYON RD, PO BOX 890847                          TEMECULA              CA       92592
AVIBANK MFG., INC.                       11500 SHERMAN WAY                                               NORTH HOLLYWOOD       CA       91605
AVILA, CECILIA                           ADDRESS ON FILE
AVILA, JESSE                             ADDRESS ON FILE
AVINASH MIRCHANDANI                      43100 30TH STREET WEST, APT 102                                 LANCASTER             CA       93536
AVIVA METALS, INC.                       2929 W 12TH STREET                                              HOUSTON               TX       77008
AVNET ELECTRONICS MARKETING              2211 SOUTH 47TH STREET                                          PHOENIX               AZ       85034
AVONIX IMAGING, LLC                      6705 WEDGEWOOD CT N.                                            MAPLE GROVE           MN       55311
AVORS MEDICAL GROUP                      42135 10TH STREET WEST SUITE 101                                LANCASTER             CA       93534
                                                                                                         AYLESBURY,
AVS UK LTD                              WESTCOTT INNOVATION CENTRE                                       BUCKINGHAMSHIRE                HP180XB      UNITED KINGDOM
AV‐TECH INDUSTRIES                      1180 CORPORATE DRIVE WEST                                        ARLINGTON             TX       76006
AV‐TECH INDUSTRIES                      12238 HAWKINS ST                                                 SANTA FE SPRINGS      CA       90670
AWAC                                    550 SOUTH HOPE STREET, SUITE 1825                                LOS ANGELES           CA       90071
AWAC BERMUDA                            "SUBJECT TO CONTINUED DILIGENCE*"
AWARDCO, INC.                           2080 W 400 N, SUITE 200                                          LINDON                UT       84042
AXA XL                                  100 CONSTITUTION PLAZA, 17TH FLOOR                               HARTFORD              CT       06103
                                        CLIP NIHONBASHI BUILDING 2‐3F, 3‐3‐3 NIHONBASHI‐HONCHO, CHUOU‐
AXELSPACE CORPORATION                   KU                                                               TOKYO                          103‐0023     JAPAN
AXIOM ELECTRONICS LLC                   19545 NW VON NEUMANN DR, #200                                    HILLSBORO             OR       97006
AXIOM ELECTRONICS LLC                   9845 NE ECKERT DRIVE, STE 200                                    HILLSBORO             OR       97006‐7015
AXIS                                    725 SOUTH FIGUEROA STREET, SUITE 3800                            LOS ANGELES           CA       90017
AXIS COMMUNICATIONS, INC.               300 APOLLO DR.                                                   CHELMSFORD            MA       01824
AXIS INSURANCE COMPANY                  111 S. WACKER DRIVE, SUITE 3500                                  CHICAGO               IL       60606
                                        AXIS SURPLUS INSURANCE COMPANY, 725 SOUTH FIGUEROA ST, STE
AXIS SURPLUS INSURANCE COMPANY (AMWINS) 3800                                                             LOS ANGELES           CA       90017
AXXIS CORPORATION                       1535 NANDINA AVE.                                                PERRIS                CA       92571
AYERS, JOSHUA P                         ADDRESS ON FILE
AYERS, SMITHDEAL & BETTIS, P.C.         409 MAIN STREET                                                  GREENWOOD             SC       29646
AZ TECHNOLOGY, INC.                     180 WEST PARK LOOP NW, DONALD R WILKES BLDG                      HUNTSVILLE            AL       35806
AZARTASH‐NAMIN, SOLMOZ KATHLEEN         ADDRESS ON FILE
AZELIS AMERICAS CASE, LLC               225 PICTORIA DRIVE, SUITE 550                                    CINCINNATI            OH       45246
AZELIS AMERICAS CASE, LLC               3857 MILLER PARK DRIVE                                           GARLAND               TX       75042

AZENDENT PARTNERS, LLC DBA TEAM VENTI    1779 WELLS BRANCH PARKWAY, #110B‐372                            AUSTIN                TX       78728
AZIZA JAPPIE                             812A NW 49TH ST.                                                SEATTLE               WA       98107
AZURIE SPACE MISSION STUDIOS LTD         KEMP HOUSE 160 CITY ROAD                                        LONDON                         EC1V 2NX     UNITED KINGDOM
AZUSA PIPE AND TUBE BENDING              766 N. TODD AVENUE                                              AZUSA                 CA       91702
B&G PACIFIC                              416 CHALAN SAN ANTONIO                                          TAMUNING              GU       96913        GUAM
B&H PHOTO VIDEO                          PO BOX 8698                                                     NEW YORK              NY       10116
B. SKELTON CONSTRUCTION INC.             5234 W. AVE. M‐2                                                QUARTZ HILL           CA       93536
B2SPACE LTD                              MERLIN HOUSE 1 LANGSTONE BUSINESS PARK, PRIORY DRIVE            NEWPORT                        NP18 2HJ     UNITED KINGDOM
BACHARACH, BRETT                         ADDRESS ON FILE
BACK2BACK PRODUCTIONS LIMITED            UNIT 3, 1 CLIFTON MEWS, CLIFTON HILLS                           BRIGHTON                       BNI 3HR      UNITED KINGDOM
BADS, LTD.                               4920 E. LA PALMA AVE.                                           ANAHEIM               CA       92807
BAE SYSTEMS AEROSPACE & DEFENSE GROUP,
INC                                      7822 S. 46TH STREET                                             PHOENIX               AZ       85044
BAE SYSTEMS LLC                          2000 NORTH 15TH STREET, 11TH FLOOR                              ARLINGTON             VA       22201
BAE SYSTEMS TECHNOLOGY SOLUTIONS &
SERVICES INC.                            1501 SABOVICH STREET                                            MOJAVE                CA       93501
BAE SYSTEMS, ORDNANCE SYSTEMS INC.       4509 WEST STONE DRIVE                                           KINGSPORT             TN       37660




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BAE, JINWOO                                  ADDRESS ON FILE
BAEZA, OLEGARIO                              ADDRESS ON FILE
BAGHOUSE & INDUSTRIAL SHEET METAL
SERVICES, INC                                1731 POMONA ROAD                                                    CORONA               CA       92880
BAHENA, CARLOS GERARDO                       ADDRESS ON FILE

BAHRAIN NATIONAL SPACE SCIENCE AGENCY        2ND FLOOR, BLDG 702, RD. 1510, BLK.115 HIDD, P.O. BOX 5115          AL HIDD                                    BAHRAIN
BAILEIGH INDUSTRIAL INC.                     1625 DUFEK DE.                                                      MANITOWOC            WI       54220
BAKER INTERNATIONAL, INC. (DBA AS JL BAKER
& SONS)                                      131 J.L. BAKER STREET, HARMON INDUSTRIAL PARK                       TAMUNING             GU       96913
BAKER, STEPHEN                               ADDRESS ON FILE
BAKERSFIELD PIPE AND SUPPLY, INC             PO BOX 60006                                                        LOS ANGELES          CA       90060‐0006
BALANCING SERVICE COMPANY                    5512 6TH AVE S                                                      SEATTLE              WA       98108
BALBAS, JERRY TOLENTINO                      ADDRESS ON FILE
BALL AEROSPACE & TECHNOLOGIES                10 LONGS PEAK DRIVE                                                 BROOMFIELD           CO       80021
BALL SYSTEMS, INC.                           16469 SOUTHPARK DRIVE                                               WESTFIELD            IN       46074
BALL SYSTEMS, INC. DBA BALL SYSTEMS
TECHNOLOGIES                                 16469 SOUTHPARK DRIVE                                               WESTFIELD            IN       46074
BALLAST POINT                                110 N MARINA DR                                                     LONG BEACH           CA       90803
BALLCO MANUFACTURING CO.                     2375 E. LIBERTY ST.                                                 AURORA               IL       60502
BALLENGER MOTORSPORTS, INC.                  8052 ELM DR SUITE G                                                 MECHANICSVILLE       VA       23111
BALLYMORE COMPANY                            501 GUNNARD CARLSON DRIVE                                           COATESVILLE          PA       19320
BALU CONSULTING LLC                          740 IDLEWILD DRIVE                                                  DILLON               CO       80435
BAMKO, LLC                                   11620 WILSHIRE BLVD., SUITE 360                                     LOS ANGELES          CA       90025

BAMKO,LLC DBA TANGERINE PROMOTIONS           11620 WILSHIRE BLVD., STE. 360                                      LOS ANGELES          CA       90025
BANDLA, SIRISHA                              ADDRESS ON FILE
BANK OF THE WEST (DBA NETAPP CAPITAL
SOLUTIONS)                                   180 MONTGOMERY STREET                                               SAN FRANCISCO        CA       94105

BANSBACH EASYLIFT OF NORTH AMERICA, INC.     50 WEST DR                                                          MELBOURNE            FL       32904
BAR AVIATION INC.                            1109 FATHER CAPODANNO BLVD.                                         STATEN ISLAND        NY       10306
BARAJAS, RONALD D                            ADDRESS ON FILE
BARATTA, ALEXANDER R                         ADDRESS ON FILE
BARBEE VALVE & SUPPLY                        745 MAIN STREET                                                     CHULA VISTA          CA       91911
BARBER NICHOLS, INC                          ATTN: MATT MALONE, 6325 WEST 55TH AVENUE                            ARVADA               CO       80002
BARBER WELDING & MFG. CO.                    7171 SCOUT AVENUE                                                   BELL GARDENS         CA       90201
BARCODES INC.                                200 W. MONROE 10TH FLOOR                                            CHICAGO              IL       60606
BARD, STEVEN                                 ADDRESS ON FILE
BARGERON, YVETTE LYNN                        ADDRESS ON FILE
BARKENS HARD CHROME, INC.                    239 E. GREENLEAF BLVD.                                              COMPTON              CA       90220
BARKEY, DYLAN                                ADDRESS ON FILE
BARNES, SARAH                                ADDRESS ON FILE
BARNES, SARAH M                              ADDRESS ON FILE
BARNHARDT MANUFACTURING COMPANY DBA
NCFI POLYURETHANES                           1515 CARTER STREET                                                  MOUNT AIRY           NC       27030
BARR AVIATION INC.                           ATTN: BILLY RUMZI, 1109 FATHER CAPODANNO BLVD                       STATEN ISLAND        NY       10306
BARRETO, MARTA AMELIA                        ADDRESS ON FILE
BARRIENTOS, JEFFREY                          ADDRESS ON FILE
BART MANUFACTURING, INC.                     3787 SPINNAKER COURT                                                FREMONT              CA       94538
BARTA, CHRISTOPHER PAUL                      ADDRESS ON FILE
BARTHEL, FRANZISKA                           ADDRESS ON FILE
BASEL, JAMES                                 ADDRESS ON FILE
BASEL, JAMES PATRICK                         ADDRESS ON FILE
BASILIO, RALPH                               ADDRESS ON FILE
BASLER, INC.                                 855 SPRINGDALE DRIVE, SUITE 203                                     EXTON                PA       19341
BASSETT‐PARKINS, TRENTON                     ADDRESS ON FILE
BATISTA, GEOFF                               ADDRESS ON FILE
BATTAGLIA, NICOLAS                           ADDRESS ON FILE
BAUGHN ENGINEERING, INC.                     2815 METROPOLITAN PLACE                                             POMONA               CA       91767
BAY CITY FLYERS, LLC (DBA AERO CITY JETS)    2901 E SPRING STREET, STE F                                         LONG BEACH           CA       90806
BAY ENGINEERING INNOVATIONS, INC             11 YORK ST                                                          MALVERNE             NY       11565
BAY MEDICAL PRODUCTS, LLC.                   2710 NORTHRIDGE DR. NW SUITE B                                      WALKER               MI       49544
BAY SHORE ELECTRIC, INC                      34011 ALCAZAR DR                                                    DANA POINT           CA       92629
BCD ELECTRONICS LTD.                         3823 HENNING DRIVE, SUITE 221                                       BURNABAY             BC       V5C6P3       CANADA
BCG FEDERAL CORPORATION                      4800 HAMPDEN LANE, SUITE 1200                                       BETHESDA             MD       20814
BD COMPRESSOR SERVICE                        5933 AMOS AVE                                                       LAKEWOOD             CA       90712
BDO                                          1888 CENTURY PARK EAST 4TH FLOOR                                    LOS ANGELES          CA       90067
BDO USA, LLP                                 515 S FLOWER ST, 47TH FLOOR                                         LOS ANGELES          CA       90071

BDR INDUSTRIES INC D/B/A RND ENTERPRISES     820 E. AVE, L‐12                                                    LANCASTER            CA       93535
BEACON GLOBAL STRATEGIES LLC                 2101 L ST NW STE 800                                                WASHINGTON           DC       20037
BEACON GLOBAL STRATGIES                      800 17TH STREET SW, SUITE 600                                       WASHINGTON           DC       20006
BEAGLE MEDIA LTD                             THE SHEPHERDS BLDG, CHARECROFT WAY                                  LONDON                        W14 0EE      UNITED KINGDOM
BEAM, ERICA                                  ADDRESS ON FILE
BEARING MAN GROUP (PTY) LTD                  3 DROSTE CRESCENT, DROSTE PARK EXT 7                                JEPPESTOWN                    2001         SOUTH AFRICA
BEASLEY, ERIK                                ADDRESS ON FILE
BEAVERS, DONOVAN MICHAEL                     ADDRESS ON FILE
BEAVERS, ELLIOTT                             ADDRESS ON FILE
BECKER AVIONICS, INC                         10376 USA TODAY WAY                                                 MIRAMAR              FL       33025
BED ROCK INC (DBA TRI STATE MOTOR TRANSIT
COMPANY)                                     17235 N 75TH AVE, STE D175                                          GLENDALE             AZ       85308
BEECH SYSTEMS, INC.                          2635 PROSPECT AVE                                                   LA CRESCENTA         CA       91214
BEECHWOODS SOFTWARE, INC.                    123 NORTH WASHINGTON ST.                                            BOSTON               MA       02114
BELACIC, MICHELLE DENISE                     ADDRESS ON FILE
BELCHER, LESLIE                              ADDRESS ON FILE
BELCHER, LESLIE H.R.                         ADDRESS ON FILE
BELL ELECTRONICS NW, INC.                    1150 RAYMOND AVE SW                                                 RENTON               WA       98057
BELL FOUNDRY COMPANY                         5310 SOUTHERN AVE.                                                  SOUTH GATE           CA       90280
BELL, DANIEL                                 ADDRESS ON FILE
BELLEVILLE WIRE CLOTH COMPANY, INC.          18 RUTGERS AVENUE                                                   CEDAR GROVE          NJ       07009




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BELLOWS MFG & RESEARCH                      860 ARROYO ST                                                    SAN FERNANDO         CA     91340

BELMONT EQUIPMENT AND TECHNOLOGIES          32055 EDWARD AVENUE                                              MADISON HEIGHTS      MI    48071
BEMCO INC.                                  2255 UNION PLACE                                                 SIMI VALLEY          CA    93065
BEN THOMAS                                  ADDRESS ON FILE
BENCHDEPOT                                  23949 TECATE MISSION ROAD                                        TECATE               CA    91963
BENCHMARK SPACE SYSTEMS, INC.               44 LAKESIDE AVE, STE 112                                         BURLINGTON           VT    05401
BENITES, DANIEL ERIC                        ADDRESS ON FILE
BENITES, JUSTIN B                           ADDRESS ON FILE
BENMO LLC                                   20630 LEAPWOOD AVE., SUITE F                                     CARSON               CA    90746
BENNER METALS CORPORATION                   1220 S. STATE COLLEGE BLVD.                                      FULLERTON            CA    92834
BENTON, RICHARD K                           ADDRESS ON FILE
BENZ SANITATION                             PO BOX 1750                                                      TEHACHAPI            CA    93581‐1750
BERENDSEN FLUID POWER, INC                  401 SOUTH BOSTON, STE 1200                                       TULSA                OK    74103
BERGLAND, MICHAEL                           ADDRESS ON FILE
BERGMANS MECHATRONICS, LLC                  8311 WHITESBURG WAY, UNIT 510                                    HUNTSVILLE           AL    35802
BERKLEY                                     757 THIRD AVENUE, 10TH FLOOR                                     NEW YORK             NY    10017
BERKLEY INSURANCE COMPANY                   BERKLEY INSURANCE COMPANY, 475 STEAMBOAT RD                      GREENWICH            CT    06830

BERKLEY PROFESSIONAL LIABILITY              757 THIRD AVENUE, 10TH FLOOR, 757 THIRD AVENUE, 10TH FLOOR       NEW YORK             NY    10017
BERKLEY PROFESSIONAL LIABILITY              ATTN: GARRETT YARDUMIAN, 757 THIRD AVENUE, 10TH FLOOR            NEW YORK             NY    10017
BERKSHIRE                                   1314 DOUGLAS STREET, SUITE 1400                                  OMAHA                NE    68102
BERKSHIRE HATHAWAY HOMESERVICES TROTH,
REALTORS                                    1801 WEST AVENUE K                                               LANCASTER            CA    93534

BERKSHIRE HATHAWAY SPECIALTY INSURANCE      85 BROAD STREET, 7TH FLOOR                                       NEW YORK             NY    10004
BERKSHIRE HATHWAY INC.                      1209 ORANGE STREET, CORPORATION TRUST CENTER                     WILMINGTON           DE    19801
BERMUDEZ, ADRIAN                            ADDRESS ON FILE
BERNDT, JON                                 ADDRESS ON FILE
BERNSTEIN INVESTMENT PARTNERS LLC           634 LOWELL AVE                                                   PALO ALTO            CA    94301‐3817
BESS, MICHAEL                               ADDRESS ON FILE
BESS, MICHAEL P                             ADDRESS ON FILE
BEST WESTERN PLUS                           2038 W AVE I                                                     LANCASTER            CA    93536
BETA CAE SYSTEMS                            29800 MIDDLEBELT ROAD, SUITE 100                                 FARMINGTON HILLS     CA    48334
BETATRONIX                                  125 COMAC STREET                                                 RONKONKOMA           NY    11779
BETTENCOURT, KINSEY R                       ADDRESS ON FILE
BETTER ENGINEERING MFG                      8361 TOWN CENTER CT                                              BALTIMORE            MD    21236
BETTER EVERY DAY STUDIOS, LLC               1821 S PATTON AVE.                                               SAN PEDRO            CA    90732
BEYER, JACK                                 ADDRESS ON FILE
BEYOND GRAVITY SWEDEN AB                    SOLHUSGATAN 11                                                   GOTHENBURG                 SE‐40515      SWEDEN
BEYONDTRUST CORPORATION                     11695 JOHNS CREEK PKWY, SUITE 200                                JOHNS CREEK          GA    30097
BFK SOLUTIONS LLC                           16924 LIVORNO DRIVE                                              PACIFIC PALISADES    CA    90272
BHC CRANE, LLC                              2190 WEST WILLOW STREET                                          LONG BEACH           CA    90810
BID‐ON‐EQUIPMENT.COM, INC.                  1301 PYOTT ROAD, SUITE 203                                       LAKE IN THE HILLS    IL    60156
BIELE, FRANK                                ADDRESS ON FILE
BIFFA WASTE SERVICES LTD                    CORONATION ROAD, CRESSEX,                                        HIGH WYCOMBE               HP12 3TZ      UNITED KINGDOM
BIG ASS HOLDING, LLC (DBA BIG ASS FANS)     2348 INNOVATION DRIVE                                            LEXINGTON            KY    40511
BIGBEAR.AI LLC                              ATTN: MANDY LONG, 6811 BENJAMIN FRANKLIN DR. SUITE 200           COLUMBIA             MD    21046

BIGGER BANG COMMUNICATIONS LIMITED          1 SPRINGVALE TERRACE, GREATER, HAMMERSMITH                       LONDON                     W14 0AE       UNITED KINGDOM
BILLOCK, SEAN                               ADDRESS ON FILE
BILLOCK, SEAN MICHAEL                       ADDRESS ON FILE
BILL'S TEST VENDOR                          4022 E. CONANT ST.                                               LONG BEACH           CA    90808
BIOPAC SYSTEMS, INC.                        42 AERO CAMINO                                                   GOLETA               CA    93117
BIOSENSE INC.                               2616 PEARTREE LANE                                               SAN JOSE             CA    95121
BIPPERT, ERIC RYAN                          ADDRESS ON FILE
BISCO INDUSTRIES                            1500 N. LAKEVIEW AVE                                             ANAHEIM              CA    92807
BISCO INDUSTRIES                            20301 VENTURA BLVD, # 112                                        WOODLAND HILLS       CA    91364
BISCO INDUSTRIES                            5065 E HUNTER AVE                                                ANAHEIM              CA    92807
BISON GROUP LIMITED                         14 WICKLIFFE STREET                                              DUNEDIN                    9016          NEW ZEALAND
BIZON GROUP INC. (DBA CONEXWEST)            800 AVENUE H                                                     SAN FRANCISCO        CA    94130
BIZTEK INTERNATIONAL, LLC                   622 MANORWOOD LANE                                               LOUISVILLE           CO    80027
BJB ENTERPRISES, INC.                       14791 FRANKLIN                                                   TUSTIN               CA    92708
BJG NELSON HOLDINGS, INC. (DBA ULTRASONIC
POWER CORPORATION)                          239 E. STEPHENSON ST.,                                           FREEPORT             IL    61032
BLACK GOLD INDUSTRIES                       527 N. RICE AVENUE                                               OXNARD               CA    93030
BLACK ORCHID LABS, LLC                      1508, 161 GRANT AVENUE                                           JERSEY CITY          NJ    07305
BLACKBURN, JUSTIN                           ADDRESS ON FILE
BLACKBURN, JUSTIN RAY                       ADDRESS ON FILE
BLACKHAWK EQUIPMENT                         5295 VIVIAN STREET                                               ARVADA               CO    80002

BLACKHAWK INDUSTRIAL DISTRIBUTION, INC.     1401 SW EXPRESSWAY DRIVE                                         BROKEN ARROW         OK    74012

BLACKHAWK INDUSTRIAL DISTRIBUTION, INC.     1501 SW EXPRESSWAY DRIVE                                         BROKEN ARROW         OK    74012
BLACKLINE, INC.                             21300 VICTORY BLVD                                               WOODLAND HILLS       CA    91367
BLACKROCK ADVISORS, LLC                     1209 ORANGE STREET, CORPORATION TRUST CENTER                     WILMINGTON           DE    19801
BLACKSKY TECHNOLOGY INC.                    13241 WOODLAND PARK RD. STE.300                                  HERNDON              VA    20171
BLACKSTONE TACTICAL OPPORTUNITIES
ADVISORS, LLC                               345 PARK AVENUE                                                  NEW YORK             NY    10154
BLACKWELL, DAVID                            ADDRESS ON FILE
BLADONMORE INC (BLADONMORE LTD)             1240 ROSECRANS AVENUE, SUITE 120                                 MANHATTAN BEACH      CA    90266
BLADONMORE, INC.                            1240 ROSECRANS AVENUE                                            MANHATTAN BEACH      CA    90266
BLAIR‐MARTIN CO., INC.                      1500 E BURNETT STREET                                            SIGNAL HILL          CA    90755
BLANCO, NELSON                              ADDRESS ON FILE
BLANCO, NELSON STEVE                        ADDRESS ON FILE
BLASIOLE, ASHLEY                            ADDRESS ON FILE
BLASTRITE SERVICES, INC.                    32072 BAYWOOD STREET                                             LAKE ELSINORE        CA    92532
BLAYLOCK, DARRYL R.                         ADDRESS ON FILE
BLISH, ADAM P                               ADDRESS ON FILE
BLISS, ROBERT W                             ADDRESS ON FILE
BLOUNT, DEJON                               ADDRESS ON FILE




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BLUA, JAMES M                             ADDRESS ON FILE
BLUCO CORPORATION                         1510 FRONTENAC ROAD                                               NAPERVILLE           IL       60565
BLUE CANYON TECHNOLOGIES (BCT)            2550 CRESCENT DRIVE                                               LAFAYETTE            CO       80026
BLUE FIRE MANUFACTURING LLC               5405 PERRY DRIVE                                                  WATERFORD            MI       48329
BLUE ORIGIN, LLC                          21218 76TH AVENUE                                                 KENT                 WA       98032
BLUE TORCH CAPITAL LP                     150 EAST 58TH STREET, 18TH FLOOR                                  NEW YORK             NY       10155
BLUELINE INDUSTRIAL                       18350 WARD STREET                                                 FOUNTAIN VALLEY      CA       92708
BLY, EVAN A.                              ADDRESS ON FILE
BMG RIGHTS MANAGEMENT (US) LLC            ONE PARK AVENUE, FLOOR 18                                         NEW YORK             NY       10016
BOARD OF EQUALIZATION                     P.O. BOX 942879                                                   SACRAMENTO           CA       94279‐3535
BOB BRINK, INC                            165 STEUBEN ST.                                                   WINONA               MN       55987
BOB LEWIS MACHINE CO., INC                1324 W 135TH STREET                                               GARDENA              CA       90247
BOBBI WATERDOWN                           ADDRESS ON FILE
BOC LIMITED                               FORGE, 43 CHURCH STREET WEST                                      WOKING                        GU21 6HT      UNITED KINGDOM

BOC UK                                    43 CHURCH STREET WEST, FORGE                                      WOKING               SURREY   GU21 6HT      UNITED KINGDOM
BOCA BEARING COMPANY                      1420 NEPTUNE DRIVE SUITE A                                        BOYNTON BEACH        FL       33426
BODYCOTE THERMAL PROCESSING               3370 BENEDICT WAY                                                 HUNTINGTON PARK      CA       90255
BODYCOTE THERMAL PROCESSING               515 W. APRA ST.                                                   RANCHO DOMINGUEZ     CA       90220
BODYCOTE THERMAL PROCESSING, INC.         12750 MERIT DRIVE STE. 1400                                       DALLAS               TX       75251
BOEDEKER PLASTICS, INC.                   904 W 6TH STREET                                                  SHINER, LAVACA       TX       77984
BOEING DEFENCE AUSTRALIA LTD              GPO BOX 767                                                       BRISBANE                      QLD 4001      AUSTRALIA

BOEING DIGITAL SOLUTIONS, INC. DBA JEPPESEN 55 INVERNESS DRIVE EAST                                         ENGLEWOOD            CO       80112
BOEING DISTRIBUTION SERVICES INC.           1300 CORPORATE CENTER WAY                                       WELLINGTON           FL       33414
                                            GLOBAL BANKING AND GLOBAL MARKETS, DIVISIONS OF BANK OF
BOFA SECURITIES, INC.                       AMERICA CORPORATION                                                                  NY
BOHR, TIMOTHY                               ADDRESS ON FILE
BONDAREV, GEORGE                            ADDRESS ON FILE
BONGIORNO, MICHAEL                          ADDRESS ON FILE
BONNER, TARIQ BILAL                         ADDRESS ON FILE
BOONLUA, LODLIRS                            ADDRESS ON FILE
BOOT BARN                                   15345 BARRANCA PARKWAY                                          IRVINE               CA       92618
BOOT WORLD, INC.                            7270 TRADE ST. SUITE 101                                        SAN DIEGO            CA       92121
BOOZ ALLEN HAMILTON INC                     8283 GREENSBORO DRIVE                                           MCLEAN               VA       22102
BORENSTEIN, ELAN                            ADDRESS ON FILE
BORRMANN METAL CENTER INC.                  110 W OLIVE AVE                                                 BURBANK              CA       91502
BOSTON, DERRICK                             ADDRESS ON FILE
BOSTON, DERRICK O                           ADDRESS ON FILE
BOUDREAU, LORI ANN                          ADDRESS ON FILE
BOURGUIGNON, JEAN‐LOUP                      ADDRESS ON FILE
BOWHEAD                                     667 MADISON AVE., 5TH FLOOR                                     NEW YORK             NY       10065

BOWHEAD SPECIALTY UNDERWRITERS, INC.      667 MADISON AVENUE, 5TH FLOOR                                     NEW YORK             NY       10065
BOWMAN PLATING CO., INC                   2631 E. 126TH STREET                                              COMPTON              CA       90222
BOXX COMMUNICATIONS LLC                   3685 MOTOR AVE SUITE 105                                          LOS ANGELES          CA       90034
BOXX COMMUNICATIONS LLC                   3685 MOTOR AVE, SUITE 120                                         LOS ANGELES          CA       90034
BOYKO, VLADIMIR                           ADDRESS ON FILE
BRADFORD SPACE HOLDINGS, INC.             250 PARK AVENUE, 7TH FLOOR                                        NEW YORK             NY       10177
BRADLEY NEWGENT                           ADDRESS ON FILE
BRADLEY, JOHN F.                          ADDRESS ON FILE
BRADY, STUART CARL                        ADDRESS ON FILE
BRAGG CRANE & RIGGING                     6242 PARAMOUNT BLVD                                               LONG BEACH           CA       90805
BRAGG INVESTMENT COMPANY INC. (DBA
COASTLINE EQUIPMENT)                      6188 PARAMOUNT BLVD                                               LONG BEACH           CA       90805
BRAGG INVESTMENT COMPANY INC. (DBA
COASTLINE EQUIPMENT)                      PO BOX 727                                                        LONG BEACH           CA       90801
BRANDCO                                   2301 P STREET                                                     BAKERSFIELD          CA       93301
BRANDCO                                   PO BOX 1631                                                       BAKERSFIELD          CA       93002‐1631
BRAY SALES SOUTHERN CALIFORNIA            461 SOUTH DUPONT AVENUE                                           ONTARIO              CA       91761
BRAZILIAN AREA FORCES                     RIO DE JANEIRO , SANTOS DUMONT IAP, RJ.                                                                       BRAZIL
BRAZILIAN SPACE AGENCY                    SPO AREA 5 QUADRA 3 ‐ BLOCO “A”, SALA 240                         BRASILIA             CEP      70 610 200    BRAZIL
BREAKTHROUGH INITIATIVES                  18 BUSHNELL RD                                                    MOUNTAIN VIEW        CA       94040
BREAZEALE & CO. LLC                       4644 HUNTLEY DR.                                                  ELLICOTT CITY        MD       21043
BREAZEALE, GREGORY A.                     ADDRESS ON FILE
BREEN, KEVIN                              ADDRESS ON FILE
BRENNAN INDUSTRIES INC                    20411 BARENTS SEA CIRCLE                                          LAKE FOREST          CA       92630
BRENNER, AARON                            ADDRESS ON FILE
BRENT LLC                                 28 BRENT RD                                                       LEXINGTON            MA       02420
BREUHAUS, ERIC                            ADDRESS ON FILE
BRIGGS, ERIC                              ADDRESS ON FILE
BRIGGS, ERIC B                            ADDRESS ON FILE
BRIGHAM, KEVIN                            ADDRESS ON FILE
BRILLIANT GIFTS ALSO BRILLIANT MADE       3060 KERNER BLVD, STE K                                           SAN RAFAEL           CA       94901
BRILLIANT GIFTS LLC                       3060 KERNER ST, SUITE K                                           SAN RAFAEL           CA       94901
BRINAS, AUGUST                            ADDRESS ON FILE
BRINAS, AUGUST NINO FRANCO                ADDRESS ON FILE
BRISKHEAT                                 4800 HILTON CORPORATE DRIVE                                       COLUMBUS             OH       43232
BRISTAL METAL PRODUCTS                    27070 DETROIT ROAD, SUITE 108                                     WESTLAKE             OH       44145
BRISTAL METAL PRODUCTS, INC.              27070 DETROIT ROAD SUITE 10                                       WESTLAKE             OH       44145
BRITISH BROADCASTING CORPORATION DBA
BBC STUDIOS PRODUCTIONS LIMITED           1 TELEVISION CENTRE, 101 WOOD LANE                                LONDON                        W12 7FA       UNITED KINGDOM
BROADCOM INC.                             1320 RIDDER PARK DRIVE                                            SAN DIEGO            CA       95131
BROADRIDGE INVESTOR COMMUNICATION
SOLUTIONS, INC.                           51 MERCEDES WAY                                                   EDGEWOOD             NY       11717
BROADWAY GLASS & MIRROR, INC.             2523 EAST BROADWAY                                                LONG BEACH           CA       90803
BRON AEROTECH                             200 RIO GRANDE BLVD                                               DENVER               CO       80223
BROOK, BRYAN JAMES                        ADDRESS ON FILE
BROOKE OWENS FELLOWSHIP                   8437 HOLLY LEAF DRIVE                                             MCLEAN               VA       22102
BROOKE OWENS FELLOWSHIP                   C/O CASSIE LEE, PO BOX 6201                                       DENVER               CO       80206
BROOKMAN, WESLEY ARTHUR                   ADDRESS ON FILE




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BROUWERIJ WEST                               110 E. 22ND STREET, WAREHOUSE NO.9                               SAN PEDRO            CA     90731
BROWN AVIATION TOOL SUPPLY CO.               2536 S.E. 15TH STREET                                            OKLAHOMA CITY        OK     73129
BROWN, ADAM                                  ADDRESS ON FILE
BROWN, CHRISTOPHER DEREK                     ADDRESS ON FILE
BROWN, DANIEL                                ADDRESS ON FILE
BROWN, GRALEN D                              ADDRESS ON FILE
BROWN, IRA DON                               ADDRESS ON FILE
BROWN, MATTHEW                               ADDRESS ON FILE
BROWN, MATTHEW COREY                         ADDRESS ON FILE
BRPH ARCHITECTS‐ENGINEERS, INC.              5700 N HARBOR CITY BLVD # 400                                    MELBOURNE            FL    32940
BRUDNER, ALEXANDER HENRY                     ADDRESS ON FILE
BRUEL AND KJAER NORTH AMERICA, INC.          3079 PREMIERE PARKWAY, SUITE 120                                 DULUTH               GA    30097
BRUIN GEOTECHNICAL SERVICES, INC.            1817 EAST AVENUE Q, UNIT A‐1                                     PALMDALE             CA    93550
BRUNNER ENTERPRISES INC                      455 CENTER ROAD                                                  WEST SENECA          NY    14224
BRYAN CAVE LEIGHTON PAISNER LLP              211 N BROADWAY, SUITE 3600                                       ST. LOUIS            MO    53102
BSI                                          12950 WORLDGATE DRIVE, SUITE 800                                 HERNDON              VA    20170‐6001
BT CANVAS                                    17392 MARKEN LANE                                                HUNTINGTON BEACH     CA    92647
BTG LABS                                     5129 KIELEY PLACE                                                CINCINNATI           OH    45217
BUCHBINDER, MICHAEL                          ADDRESS ON FILE
BUCKEYE FABRICATING COMPANY                  245 S. PIONEER BLVD.                                             SPRINGBORO           OH    45066
BUCKS LANDSCAPE MATERIALS AND POND SHOP
INC.                                         2600 TAFT HWY                                                    BAKERSFIELD          CA    93313
BUCKS LANDSCAPE MATERIALS AND POND SHOP
INC.                                         PO BOX 78831                                                     BAKERSFIELD          CA    93383
BUDGET MIRRORS DIRECT                        1881 THREE MILE DRIVE                                            RENO                 NV    89509

BUEHLER, A DIVISION OF ILLINOIS TOOL WORKS   41 WAUKEGAN RD                                                   LAKE BLUFF           IL    60044
BUEHLER, BRANDON KYLE                        ADDRESS ON FILE
BUENROSTRO, MIGUEL                           ADDRESS ON FILE
BUENROSTRO, MIGUEL                           ADDRESS ON FILE
BUNDY, CHRIS                                 ADDRESS ON FILE
BUNDY, CHRIS                                 ADDRESS ON FILE
BUNNATH, POUMARA JIMMY                       ADDRESS ON FILE
BUNTIN, PARKER                               ADDRESS ON FILE
BUNTING, MARY                                ADDRESS ON FILE
BUNTING, STEVEN THOMAS                       ADDRESS ON FILE
BUONAGUIDI, DARREN                           ADDRESS ON FILE
BUREAU VERITAS NORTH AMERICA, INC            22345 ROETHEL DR                                                 NOVI                 MI    48375
BURGOS, NATALIE ANN                          ADDRESS ON FILE
BURKETT, DANIEL                              ADDRESS ON FILE
BURNS, BROOKE                                ADDRESS ON FILE
BURT PROCESS EQUIPMENT, INC                  100 OVERLOOK DRIVE                                               HAMDEN               CT    06514
BURY, CHRISTOPHER EDWARD                     ADDRESS ON FILE
BUSCH, RUTHANNE                              ADDRESS ON FILE
BUSCH, TIMOTHY MICHAEL                       ADDRESS ON FILE
BUSINESS CLASS AVIATION, INC                 3068 WOODLEY CT.                                                 ROSAMOND             CA    93560
BUSINESS WIRE, INC.                          101 CALIFORNIA STREET, 20TH FLOOR                                SAN FRANCISCO        CA    94111
BUSTER LIGHTING DESIGN                       1039 ANTELOPE PLACE                                              NEWBURY PARK         CA    91320
BUTTERBREDT, KEITH                           ADDRESS ON FILE
BUZZA, TIMOTHY                               ADDRESS ON FILE
BYERS & BUTLER, INC                          3383 OLIVE AVENUE                                                SIGNAL HILL          CA    90755
BYRD, NATHAN MONTE                           ADDRESS ON FILE
C&C FLOORS                                   1710 RED DAWN VIEW CR.                                           CORONA               CA    92882
C&S DBA JLC AIR                              2330 W AVENUE L                                                  LANCASTER            CA    93536
C.S.I PATROL SERVICE INC                     3605 LONG BEACH BLVD SUITE 205                                   LONG BEACH           CA    90807
C2G                                          3555 KETTERING BLVD                                              MORAINE              OH    45439
C4 ASSOCIATES, INC.                          319 LOIRE VALLEY DRIVE                                           SIMI VALLEY          CA    93065
C6 LAUNCH SYSTEMS INC.                       6415 INADALE DRIVE                                               STRATHROY                  N7G 3H4       CANADA
CABANILLAS, EMILIO MACHO                     ADDRESS ON FILE
CABLE MARKERS CO INC.                        13805‐C ALTON PKWY                                               IRVINE               CA    92618
CABLE MOORE INC                              4700 COLISEUM WAY                                                OAKLAND              CA    94614
CABLE SCIENCE INC.                           13265 BARTON CIRCLE                                              WHITTIER             CA    90605
CABLELINK COMMUNICATIONS INC                 5340 W. 137TH STREET                                             HAWTHORNE            CA    90250‐6422
CABRERA, ERICK                               ADDRESS ON FILE
CABRERA, SOFIA MARIE                         ADDRESS ON FILE
CAD/CAM CONSULTING SERVICES INC.             1525 RANCHO CONJEO BLVD. SUITE 103                               NEWBURY PARK         CA    91320
CAD/CAM CONSULTING SERVICES INC.             810 LAWRENCE DRIVE, SUITE 220                                    NEWBURY PARK         CA    91320
CADENCE AEROSPACE                            22906 FRAMPTON AVENUE                                            TORRANCE             CA    90501
CADENCE DESIGN SYSTEMS, INC.                 2655 SEELY AVENUE                                                SAN JOSE             CA    95134
CADI COMPANY INC.                            60 RADO DR.                                                      NAUGATUCK            CT    06770
CADI COMPANY INC.                            NAUGATUCK                                                        NAUGATUCK            CT    06720
CAJACOB II, DANIEL E.                        ADDRESS ON FILE
CAJACOB, DAN                                 ADDRESS ON FILE
CAL COAST MACHINERY, INC.                    2450 EASTMAN AVE.                                                OXNARD               CA    93030
CAL STATE COMMUNICATIONS, INC.               2236 ORPHEUS COURT                                               BAKERSFIELD          CA    93308
CAL‐COOL                                     P.O. BOX 1061                                                    TORRANCE             CA    90505
CALDERON, EDDIE                              ADDRESS ON FILE
CAL‐DISC GRINDING CO., INC.                  1741 POTRERO AVENUE                                              SOUTH EL MONTE       CA    91733
CALIFORNIA AIR RESOURCES
BOARD(CARB/PERP)                             P O BOX 2038                                                     SACRAMENTO           CA    95812
CALIFORNIA ALTERNATIVE ENERGY AND
ADVANCED TRANSPORTATION FINANCING
AUTHORITY (CAEATFA)                          915 CAPITAL MALL, RM 538                                         SACRAMENTO           CA    95814

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES 1110 W. AVENUE I                                                      LANCASTER            CA    93534

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES DEPARTMENT OF MOTOR VEHICLES, PO BOX 825339                           SACRAMENTO           CA    94232‐5339

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES P. O. BOX 942869 MAIL STATION C271                                    SACRAMENTO           CA    94269‐0001

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES P.O. BOX 942839                                                       SACRAMENTO           CA    94239‐0840




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CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PO BOX 932325                                                         SACRAMENTO          CA       94232‐3250

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PO BOX 942894                                                         SACRAMENTO          CA       94294‐0894

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PO BOX 942897                                                         SACRAMENTO          CA       94297‐0897

CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PO BOX 944231                                                         SACRAMENTO          CA       94244‐2310
                                        CALIFORNIA DEPT OF PUBLIC HEALTH, RADIOLOGIC HEALTH BRANCH,
CALIFORNIA DEPARTMENT OF PUBLIC HEALTH 1500 CAPITOL AVENUE, SUITE 520                                         SACRAMENTO          CA       95814‐5006
CALIFORNIA DEPARTMENT OF TAX AND FEE
ADMINISTRATION                          3321 POWER INN ROAD, SUITE 210                                        SACRAMENTO          CA       95826‐3889
CALIFORNIA DEPARTMENT OF TAX AND FEE
ADMINISTRATION                          PO BOX 942789                                                         SACRAMENTO          CA       94279‐6001
CALIFORNIA DESTINATION IMAGINATION      14843 PRISCILLA ST                                                    SAN DIEGO           CA       92129
CALIFORNIA FRANCHISE TAX BOARD          1515 CLAY STREET, SUITE 305                                           OAKLAND             CA       94612‐1445
CALIFORNIA FRANCHISE TAX BOARD          300 SOUTH SPRING STREET, SUITE 5704                                   LOS ANGELES         CA       90013‐1265
CALIFORNIA FRANCHISE TAX BOARD          3321 POWER INN ROAD, SUITE 250                                        SACRAMENTO          CA       95826‐3893
CALIFORNIA FRANCHISE TAX BOARD          7575 METROPOLITAN DRIVE, SUITE 201                                    SAN DIEGO           CA       92108‐4421
CALIFORNIA LAWYERS ASSOCIATION          400 CAPITOL MALL, SUITE 650                                           SACRAMENTO          CA       95814
CALIFORNIA METAL & SUPPLY, INC.         10230 FREEMAN AVE.                                                    SANTE FE SPRINGS    CA       90670

CALIFORNIA MINORITY COUNSEL PROGRAM       1624 FRANKLIN STREET SUITE 1206                                     OAKLAND             CA       94612
CALIFORNIA QUALITY PLASTICS               2226 CASTLE HARBOR PLACE SOUTH                                      ONTARIO             CA       91761
CALIFORNIA RESEARCH AND DESIGN            8097 PACIFIC STREET                                                 STANTON             CA       90680

CALIFORNIA SCIENCE CENTER FOUNDATION      700 EXPOSITION PARK DRIVE                                           LOS ANGELES         CA       90041
CALIFORNIA SECRETARY OF STATE             STATEMENT OF INFORMATION UNIT, PO BOX 944230                        SACRAMENTO          CA       94244‐2300
CALIFORNIA SUPREME MACHINING INC.         13040 TOM WHITE WAY STE. D                                          NORWALK             CA       90650
CALIISM LLC                               3964 RIVERMARK PLAZA, SUITE 147                                     SANTA CLARA         CA       95054

CALIISM, LLC DBA CALIISM DATA SOLUTIONS   3964 RIVERMARK, PLZ, SUITE 147                                      SANTA CLARA         CA       95054
CALLAHAN, KEVIN GERARD                    ADDRESS ON FILE
CALLEROS, OMAR                            ADDRESS ON FILE
CALLEROS, OMAR                            ADDRESS ON FILE
CALLTOWER, INC                            10701 S. RIVER FRONT PARKWAY, 4TH FLOOR                             SOUTH JORDAN        UT       84095
CALLTOWER, INC.                           10701 RIVER FRONT PARKWAY                                           SOUTH JORDAN        UT       84095
CALRIO ELECTRIC, INC.                     490 PRINCELAND CT. STE. 7                                           CORONA              CA       92879
CALSPAN CORPORATION                       4455 GENESEE STREET                                                 BUFFALO             NY       14225
CALTIME                                   5402 BUSINESS DRIVE                                                 HUNTINGTON BEACH    CA       92649
CALTROL                                   6686 AMELIA EARHART COURT                                           LAS VEGAS           NV       89119
CALTROL, INC.                             1385 PAMA LANE SUITE 111                                            LAS VEGAS           NV       89119
CALVERT WIRE & CABLE                      17909 CLEVELAND PARKWAY, SUITE 180                                  CLEVELAND           OH       44135‐3236
CAMACHO, MIGUEL                           ADDRESS ON FILE
CAMFIL USA, INC                           3505 S AIRPORT ROAD                                                 JONESBORO           AR       72401
CAMP SYSTEMS INTERNATIONAL INC            11 CONTINENTAL BLVD.                                                MERRIMACK           NH       03054
CAMP, ANDREW DAVID                        ADDRESS ON FILE
CAMPANELLA, PIETRO                        ADDRESS ON FILE
CAMPBELL, CARL JOSEPH                     ADDRESS ON FILE
CAMPOS, JAMES                             ADDRESS ON FILE
CAMPOS, LUIS D                            ADDRESS ON FILE
CAMRYN WRIGHT                             ADDRESS ON FILE
CAMTECH CORP LLC                          8710 RESEARCH DRIVE                                                 IRVINE              CA       92618
CANCHOLA, DONALD EDWARD                   ADDRESS ON FILE
CANDACE L GIVENS                          ADDRESS ON FILE
CANNON, MICHAEL KENNETH                   ADDRESS ON FILE
CANON FINANCIAL SERVICES, INC.            158 GAITHER DRIVE, STE 200                                          MOUNT LAUREL        NJ       08054
CANONICAL GROUP LIMITED                   110 SOUTHWARK STREET, 5TH FLOOR BLUE FIN BUILDING                   LONDON                       SE1 0SU      UNITED KINGDOM
CANOPIUS UNDERWRITING AGENCY, INC. DBA
CANOPIUS INSURANCE SERVICES               140 BROADWAY, SUITE 2210                                            NEW YORK            NY       10005
CANTEEN CORNWALL LTD                      NEWQUAY COMMUNITY ORCHARD, TREVENSON ROAD                           NEWQUAY                      TR73BW       UNITED KINGDOM
CANTELMI ENGINEERING, INC.                2130 F STREET                                                       BAKERSFIELD         CA       93301
CANTELMI, FRANK                           ADDRESS ON FILE
CANTLEY, MATTHEW                          ADDRESS ON FILE
CANYON CATERING & EVENTS, INC.            540 W. FREEDOM AVENUE                                               ORANGE              CA       92865
CAP SPECIALTY                             185 ASYLUM STREET, CITYPLACE I, SUITE 1600                          HARTFORD            CT       06103
CAPE POINT TECHNOLOGIES, LLC              3199 SW WILLAMETTE WAY                                              WILSONVILLE         OR       97070
CAPITAL PRINTING CO.                      4001 CAVEN ROAD                                                     AUSTIN              TX       78744
CAPITAL WESTWARD SYSTEMS & CONTROLS
CORP.                                     321 SUNPAC CT                                                       HENDERSON           NV       89011
CAPLUGS                                   2150 ELMWOOD AVENUE                                                 BUFFALO             NY       14207
CAPOBIANCO, ANTHONY                       ADDRESS ON FILE
CAPP, JOSEPH                              ADDRESS ON FILE
CAPPELLETTI, TOM                          ADDRESS ON FILE
CAPRICORN SPACE                           346 SOUTH ROAD                                                      HAMPTON EAST                 3188         AUSTRALIA
CAPWELL, LAUREN                           ADDRESS ON FILE
CAPWELL, LAUREN KELLY                     ADDRESS ON FILE
CARANCHO TECHNOLOGIES LLC                 1538 BARRYWOOD AVENUE                                               SAN PEDRO           CA       90731
CARBIDE PROBES, INC.                      1328 RESEARCH PARK DRIVE                                            BEAVERCREEK         OH       45432
CARBON ENGINEERING LTD.                   37322 GALBRAITH ROAD, PO BOX 187                                    SQUAMISH            BC       V8B 0A2      CANADA
CARBON‐CARBON ADVANCED TECHNOLOGIES
INC                                       4704 EDEN ROAD                                                      KENNEDALE           TX       76060
CARBON‐CARBON ADVANCED TECHNOLOGIES
INC                                       4704 EDEN ROAD                                                      ARLINGTON           TX       76001
CARBONE, OLIO E                           ADDRESS ON FILE
CARDENAS, ANDRES                          ADDRESS ON FILE
CAREER MOVEMENT PARTNERS                  703 N. DOUGLAS ST.                                                  EL SEGUNDO          CA       90245
CAREONSITE, INC.                          1250 PACIFIC AVENUE                                                 LONG BEACH          CA       90813
CARGO SYSTEMS, INC.                       2120 DENTON DRIVE. SUITE 107‐108                                    AUSTIN              TX       78758
CARHARTT, INC                             5750 MERCURY DRIVE                                                  DEARBORN            MI       48126
CARL ZEISS INDUSTRIAL METROLOGY, LLC      6250 SYCAMORE LANE N                                                MAPLE GROVE         MN       55369




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CARLETON TECHNOLOGIES, INC                  711 CORPORATE CENTER COURT                                          WESTMINSTER          MD     21157
CARLEY FOUNDRY, INC.                        8301 CORAL SEA STREET NE                                            BLAINE               MN     55449

CARLISLE INTERCONNECT TECHNOLOGIES, INC.    100 TENSOLITE DR.                                                   ST. AUGUSTINE        FL    32092
CARLOMUSTO, MICHELLE                        ADDRESS ON FILE
CAROLINE DUEMLING                           ADDRESS ON FILE
CARPENTER ADDITIVE LLC (DBA CARPENTER
TECHNOLOGY CORPORATION)                     22110 THOMAS L HAMMONS RD.                                          TANNER               AL    35671
CARPENTER RIGGING BAKERSFIELD/HOOD
INDUSTRIES                                  1836 NORRIS RD                                                      BAKERSFIELD          CA    93308
CARPENTER TECHNOLOGY CORPORATION            1735 MARKET STREET, 15TH FLOOR                                      PHILADELPHIA         PA    19103
CARR LANE MANUFACTURING CO.                 4200 CARR LANE COURT                                                ST. LOUIS            MO    63119
CARRILLO, JOHAN                             ADDRESS ON FILE
CARTA                                       195 PAGE MILL RD SUITE 101                                          PALO ALTO            CA    94306
CARTER, JEFFREY                             ADDRESS ON FILE
CARTUS CORPORATION                          40 APPLE RIDGE ROAD                                                 DANBURY              CT    06810
CASAS, RIGOBERTO                            ADDRESS ON FILE
CASBE INDUSTRIES                            43178 BUSINESS PARK DR.                                             TEMECULA             CA    92590
CASCADE HEALTHCARE SOLUTIONS                115 BURNETT AVE S, STE. B.                                          RENTON               WA    98057
CASCADE TEK SOLUTIONS, LLC                  300 N 26TH AVE, BLDG B                                              CORNELIUS            OR    97113
CASCADE TOOL & FOAM SUPPLY                  1982 NE 25TH AVE, UNIT 2                                            HILLSBORO            OR    97124
CASEY HARR                                  ADDRESS ON FILE
CASSEL SALPETER & CO., LLC                  801 BRICKELL AVENUE, SUITE 1900                                     MIAMI                FL    33131
CAST, INC.                                  11 STONEWALL COURT                                                  WOODCLIFF LAKE       NJ    07677
CASTANON, EVELIA                            ADDRESS ON FILE
CASTANON, PRISCILA                          ADDRESS ON FILE
CASTER TECHNOLOGY                           11552 MARKON DR.                                                    GARDEN GROVE         CA    92841
CASTILLO, ISAAC                             ADDRESS ON FILE
CASTRO, DAVID                               ADDRESS ON FILE
CASTRO, JOSE ALFREDO                        ADDRESS ON FILE
CASTRO, NATHAN GREGORY                      ADDRESS ON FILE
CATHERINE ROSE                              ADDRESS ON FILE
CATTUS LLC                                  1080 AMALFI DR                                                      PACIFIC PALISADES    CA    90270
CAULK, MATTHEW THOMAS                       ADDRESS ON FILE
CAVEDONI, SANDRO                            ADDRESS ON FILE
CAYAX‐MENDOZA, JONATHAN                     ADDRESS ON FILE
CAYCE GARRISON CREATIVE                     275 E GREEN ST, UNIT 1453                                           PASADENA             CA    91101
CAYCE GARRISON CREATIVE                     32 MOUNTAIN LAUREL WAY                                              AZUSA                CA    91702
CBOL CORPORATION                            19850 PLUMMER STREET                                                CHATSWORTH           CA    91311
CBT NUGGETS, LLC                            2850 CRESCENT AVENUE                                                EUGENE               OR    97408
CCH EQUIPMENT CO                            14902 PRESTON RD # 404‐323                                          DALLAS               TX    75254
CCH EQUIPMENT CO                            14902 PRESTON ROAD, #404‐323                                        WAXAHACHIE           TX    75160
CDW DIRECT                                  200 NORTH MILWAUKEE AVENUE                                          VERNON HILLS         IL    60061
CDW LIMITED                                 1 NEW CHANGE                                                        LONDON                     EC4M 9AF      UNITED KINGDOM
CE CONSULTING, INC.                         15751 ANNICO DRIVE, STE 5W                                          HOMER GLEN           IL    60491
CECIL AIR AND SPACEPORT                     13365 SIMPSON WAY                                                   JACKSONVILLE         FL    32221
CED POWER                                   6781 8TH STREET                                                     BUENA PARK           CA    90620
CEDE & CO (FAST ACCOUNT)                    570 WASHINGTON BLVD                                                 JERSEY CITY          NJ    07310‐1617
CEF INDUSTRIES                              320 S. CHURCH STREET                                                ADDISON              IL    60101
CEF INDUSTRIES                              PO BOX 373755                                                       CLEVELAND            OH    44193
CELERITIVE TECHNOLOGIES, INC.               95 E HIGH ST                                                        MOORPARK             CA    93021

CELLCO PARTNERSHIP DBA VERIZON WIRELESS     ONE VERIZON WAY                                                     BASKING RIDGE        NJ    07920
CENTARR LLC                                 10821 47TH AVE W #A                                                 MUKILTEO             WA    98275

CENTER FOR ASTRONAUTICAL PHYSICS AND
ENGINEERING, NATIONAL CENTRAL UNIVERSITY    NO. 300, ZHONGDA ROAD                                               JHONGLI                    32001         TAIWAN
CENTER WALLCOVERING & PAINTING, INC.        640 NORTH ECKHOFF STREET                                            ORANGE               CA    92868
CENTRAL CALIFORNIA FLUID SYSTEMS
TECHNOLOGIES, INC. DBA SWAGELOK             325 BALBOA CIR.                                                     CAMARILLO            CA    93012
CENTRAL FABRICATORS, INC.                   408 POPLAR STREET                                                   CINCINNATI           OH    45214

CENTRE NATIONAL D’ETUDES SPATIALES (CNES)   2 PLACE MAURICE QUENTIN, 75039, CEDEX 01                            PARIS                                    FRANCE
CENTRYCO, INC.                              300 WEST BROAD STREET                                               BURLINGTON           NJ    08016
CENTURY FASTENERS CORPORATION               215 QUASSAICK AVE, SUITE 201                                        NEW WINDSOR          NY    12553
CENTURY GROUP PROFESSIONALS                 222 N. SEPULVEDA BLVD., SUITE 2150                                  EL SEGUNDO           CA    90245
CENTURY LINK COMMUNICATIONS, LLC DBA
LUMEN TECHNOLOGIES GROUP                    19000 MACARTHUR BLVD, SUITE 400                                     IRVINE               CA    92612
CENTURY SPRING CORP.                        5959 TRIUMPH STREET                                                 COMMERCE             CA    90040
CENTURYLINK COMMUNICATIONS, LLC D/B/A
LUMEN TECHNOLOGIES GROUP                    100 CENTURYLINK DRIVE                                               MONROE               LA    71203
CERAMATERIALS LLC                           226 ROUTE 209                                                       PORT JERVIS          NY    12771
CERBERUS CAPITAL MANAGEMENT, L.P.           875 THIRD AVENUE, 10TH FLOOR                                        NEW YORK             NY    10022
CERRITOS FORD INC. (DBA NORM REEVES FORD
HYUNDAI SUPERSTORE)                         18900 STUDEBAKER RD.                                                CERRITOS             CA    90703
CERTEX USA, INC.                            1721 WEST CULVER STREET                                             PHOENIX              AZ    85007

CERTIFIED FIRE EXTINGUISHER SERVICE, INC    8710 NORWALK BLVD.                                                  WHITTIER             CA    90606
CERTIFIED STEEL TREATING CORP.              2454 EAST 58TH STREET                                               LOS ANGELES          CA    90058
CERTIFIX, INC. (DBA CERTIFIX LIVE SCAN)     1950 W. CORPORATE WAY                                               ANAHEIM              CA    92801
CERTIFY, INC.                               20 YORK STREET, SUITE 201                                           PORTLAND             ME    04101
CERVANTES, REYNA NINA                       ADDRESS ON FILE
CESIUM GS, INC.                             22 S 11TH STREET                                                    PHILADELPHIA         PA    19108
CESIUMASTRO INC.                            13215 BEE CAVE PKWY, SUITE A‐300                                    AUSTIN               TX    78738
CEVALLOS, LEO                               ADDRESS ON FILE
CFM SAN DIEGO, INC                          2784 GATEWAY ROAD, STE. 103                                         CARLSBAD             CA    92009
CGI, INC.                                   3400 ARROWHEAD DRIVE                                                CARSON CITY          NV    89706
CH2M HILL ENGINEERS, INC.                   9191 SOUTH JAMAICA STREET                                           ENGLEWOOD            CO    80112
CHAD PERRY                                  ADDRESS ON FILE
CHAISSON, BRYAN                             ADDRESS ON FILE
CHAN, AARON                                 ADDRESS ON FILE




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CHAN, ERIC                                  ADDRESS ON FILE
CHANG, ADRIENNE                             ADDRESS ON FILE
CHANG, ASHLEY                               ADDRESS ON FILE
CHANNEL ISLANDS TOOL GRIND                  4464 MCGRATH ST. STE 122                                          VENTURA                  CA       93003

CHAPMAN FREEBORN AIRCHARTERING, INC.        3250 WEST COMMERCIAL BLVD, SUITE 300                              FORT LAUDERDALE          FL       33309
CHARLES RADOVICH                            ADDRESS ON FILE
CHART INC                                   1995 PERU DRIVE                                                   MCCARRAN                 NV       89434
CHART INTERNATIONAL, INC.                   2200 AIRPORT INDUSTRIAL DRIVE SUITE # 100                         BALL GROUND              GA       30107

CHARTER COMMUNICATIONS HOLDING LLC          12405 POWERSCOURT DRIVE                                           ST. LOUIS                MO       63131
CHASE FILTERS AND COMPONENTS                307 E STREET                                                      HAMPTON                  VA       23661

CHASE SUPPLY, INC. (CHASE DEFENSE PARTNERS) 307 E STREET                                                      HAMPTON                  VA       23661
CHASE, NICOLE                               ADDRESS ON FILE
CHAVARIN, CARLOS ALEJANDRO                  ADDRESS ON FILE
CHAVARRIA, HOPE                             ADDRESS ON FILE
CHAVARRIA, HOPE GRACE                       ADDRESS ON FILE
CHAVEZ, ALFONSO IVAN                        ADDRESS ON FILE
CHAVEZ, MARK                                ADDRESS ON FILE
CHAVEZ, MARK ANTHONY                        ADDRESS ON FILE
CHEA, SAVON                                 ADDRESS ON FILE
CHECK ALL VALVE MFG CO                      1800 FULLER ROAD                                                  WEST DES MOINES          IA       50265
CHEM PRO LAB, INC.                          941 WEST 190TH ST                                                 GARDENA                  CA       90248
CHEMTREC                                    PO BOX 791383                                                     BALTIMORE                MD       21279‐1383
CHEN, JOHNSON                               ADDRESS ON FILE
CHEN, JUE                                   ADDRESS ON FILE
CHENG, DA                                   ADDRESS ON FILE
CHENG, JOSHUA                               ADDRESS ON FILE
CHEROKEE NATION AEROSPACE AND DEFENSE,
LLC                                         RR3 BOX 498                                                       STILLWELL                OK       74960
CHEVROLET, GEORGE                           ADDRESS ON FILE
CHI, DOMINIC                                ADDRESS ON FILE
CHI, DOMINIC CHIH‐BOR                       ADDRESS ON FILE
CHIAPPARINE, STEVEN                         ADDRESS ON FILE
CHIAPPARINE, STEVEN MATHEW                  ADDRESS ON FILE
CHIAVETTA, ROBERT                           ADDRESS ON FILE
CHIAVETTA, ROBERT PETER                     ADDRESS ON FILE
CHICAGO PNEUMATIC TOOL COMPANY
(DESOUTTER TOOLS)                           1815 CLUBHOUSE ROAD                                               ROCK HILL                SC       29730
CHILDREN TODAY                              2951 LONG BEACH BLVD                                              LONG BEACH               CA       90806
CHILWORTH TECHNOLOGY INC.                   113 CAMPUS DRIVE                                                  PRINCETON                NJ       08540
CHIPTON ROSS INC                            343 MAIN STREET                                                   EL SEGUNDO               CA       90245
CHIU, BRENDON                               ADDRESS ON FILE
CHOI, JUSTIN                                ADDRESS ON FILE
CHOI, JUSTIN KYUNG‐HYUN                     ADDRESS ON FILE
CHOI, KEVIN                                 ADDRESS ON FILE
CHONG, YON HAN                              ADDRESS ON FILE
CHOPBOX KITCHEN                             RICHMOND HILL                                                     TRURO, CORNWALL                   TR1 3HR      UNITED KINGDOM
CHOURA EVENTS                               540 HAWAII AVE                                                    TORRANCE                 CA       90503
CHOURA VENUE SERVICES (DBA GRAND FOOD &
BEVERAGE)                                   4101 E WILLOW STREET                                              LONG BEACH               CA       90815
CHRISTIAN, RENE                             ADDRESS ON FILE
CHRISTINA, JOSEPH                           ADDRESS ON FILE
CHRISTMAN, JACK                             ADDRESS ON FILE
CHRISTOPHER MAXWELL                         ADDRESS ON FILE
CHRISTOPHER SCARLETT                        ADDRESS ON FILE
CHRISTOPHER WATSON                          ADDRESS ON FILE
CHROMA SYSTEMS SOLUTIONS, INC.              19772 PAULING                                                     FOOTHILL RANCH           CA       92610
CHROMALOX, INC.                             103 GAMMA DRIVE                                                   PITTSBURGH               PA       15238
CHRONICLE GRAPHICS, INC.                    8210 S. KEARNEY ST                                                CENTENNIAL               CO       80112
CHU, CLAYTON N                              ADDRESS ON FILE
CHUNG, DAVID                                ADDRESS ON FILE
CHUNG, MING                                 ADDRESS ON FILE
CHURCHILL CORPORATION                       344 FRANKLIN ST                                                   MELROSE                  MA       02176
CICON ENGINEERING, INC                      20235 NORDHOFF STREET                                             CHATSWORTH               CA       91311
CICON ENGINEERING, INC                      ATTN: ALI KOLAHI, 6633 ODESSA AVE.                                VAN NUYS                 CA       91406
CIGNA HEALTHCARE                            P.O. BOX 644546                                                   PITTSBURGH               PA       15264‐4546
CINCINNATI, INC.                            7420 KILBY ROAD                                                   HARRISON                 OH       45030
CINTAS CORPORATION                          5500 YOUNG STREET                                                 BAKERSFIELD              CA       93311
CINTAS CORPORATION                          6800 CINTAS BOULEVARD                                             CINCINNATI               OH       45262‐5737
CINTAS CORPORATION                          PO BOX 29059                                                      PHOENIX                  AZ       90221
CIONI, SHANE MICHAEL                        ADDRESS ON FILE
CIPRA, DALE OWEN                            ADDRESS ON FILE
CIRCOR AEROSPACE, INC.                      2301 WARDLOW CIRCLE                                               CORONA                   CA       92878
CIRCUIT CHECK, INC                          6550 WEDGEWOOD RD                                                 MAPLE GROVE              MN       55311
CIRCUIT TECHNOLOGY TRAINING INC             5200 RATHKEALE CT.                                                HOLLY SPRINGS            NC       27540

CIRCUITS & SYSTEMS, INC. (DBA ARLYN SCALES) 59 SECOND STREET                                                  EAST ROCKAWAY            NY       11518
CIRRIS INC.                                 401 NORTH 5600 WEST                                               SALT LAKE CITY           UT       84116
CISCO SYSTEMS, INC.                         170 WEST TASMAN DRIVE                                             SAN JOSE                 CA       95134

CISCO SYSTEMS, INC.                         MAIL STOP RTP4R/3, 7025‐4 KIT CREEK ROAD                          RESEARCH TRIANGLE PARK   NC       27709
CISNEROS, EDER                              ADDRESS ON FILE
CIT BANK, N.A.                              10201 CENTURION PKWY N, STE 100                                   JACKSONVILLE             FL       32256
CITEL AMERICA INC.                          10108 USA TODAY WAY                                               MIRAMAR                  FL       33025
CITIGROUP GLOBAL MARKETS INC.               444 FLOWER STREET, SUITE 3600                                     LOS ANGELES              CA       90071
CITIM AM                                    1590 N ROBERTS RD                                                 KENNESAW                 GA       30144
CITRUSBYTE, LLC DBA THEOREM, LLC            21550 OXNARD STREET, 3RD FLOOR #11                                WOODLAND HILLS           CA       91367
CITY FIRST BANK, N.A.                       1432 U STREET NW                                                  WASHINGTON               DC       20009
CITY FIRST BANK, N.A.                       P.O. BOX 73236                                                    WASHINGTON               DC       20009




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CITY OF LONG BEACH                       2400 E SPRING ST, ATTN: JANE HERMSEN                               LONG BEACH            CA       90806
CITY OF LONG BEACH                       333 W. OCEAN BLVD.                                                 LONG BEACH            CA       90802‐4604
CITY OF LONG BEACH                       4100 DONALD DOUGLAS DR.                                            LONG BEACH            CA       90808
CITY OF LONG BEACH                       P.O. BOX 630                                                       LONG BEACH            CA       90842‐0001
CITY OF LONG BEACH                       P.O. BOX 7275                                                      NEWPORT BEACH         CA       92658‐7275
CITY OF LONG BEACH UTILITY               411 W OCEAN BLVD, LOBBY LEVEL                                      LONG BEACH            CA       90802
CITY OF LONG BEACH UTILITY               PO BOX 630                                                         LONG BEACH            CA       90842‐0001
CITY OF RANCHO PALOS VERDES RECREATION
AND PARKS DEPARTMENT                     30940 HAWTHORNE BLVD                                               RANCHO PALOS VERDES   CA       90275
CJ SUPPRESSION, INC.                     205 LEWIS COURT                                                    CORONA                CA       92882
CJI PROCESS SYSTEMS, INC. (DBA LEE RAY
SANDBLASTING & COATING)                  12030 CLARK ST                                                     SANTA FE SPRINGS      CA       90670
CLAMPCO PRODUCTS INC                     1743 WALL ROAD                                                     WADSWORTH             OH       44281
CLARENDON SPECIALTY FASTENERS INC.       2180 TEMPLE AVE.                                                   LONG BEACH            CA       90804
CLARION CONSULTING GROUP, LLC            21900 BURBANK BLVD., 3RD FLOOR                                     WOODLAND HILLS        CA       91367
CLARION CONSULTING GROUP, LLC            21900 BURBANK BLVD., SUITE 300                                     WOODLAND HILLS        CA       91367
CLARIZEN, INC C/O SAGENT MANAGEMENT      691 S. MILPITAS BLVD, SUITE 212                                    MILPITAS              CA       95305
CLARK COUNTY ASSESSOR                    500 S. GRAND CENTRAL PKWY, SUITE 2091                              LAS VEGAS             NV       89155
CLARK MASTS SYSTEMS LTD                  18/20 RINGWOOD ROAD                                                BINSTEAD                       PO33 3NX      UNITED KINGDOM
CLARK SEIF CLARK, INC                    PO BOX 4299                                                        CHATSWORTH            CA       91313
CLARK SEIF CLARK, INC.                   11315 RANCHO BERNARDO RD #150                                      SAN DIEGO             CA       92127
CLARK, JEFFREY                           ADDRESS ON FILE
CLAYTON CONTROLS, INC.                   2865 PULLMAN STREET                                                SANTA ANA             CA       92705
CLAYTON CONTROLS, INC.                   2925 COLLEGE AVE, STE A‐11                                         COSTA MESA            CA       95008
CLEAN HARBORS ENVIRONMENTAL SERVICES,
INC.                                     42 LONGWATER DRIVE/PO BOX 9149                                     NORWELL               MA       02061‐9149
CLEAN ROOMS WEST, INC                    1392 INDUSTRIAL DRIVE                                              TUSTIN                CA       92780‐6416
CLEANAIR SOLUTIONS, INC.                 826 BAYRIDGE PLACE                                                 FAIRFIELD             CA       94534
CLEANROOMS WEST, INC (DBA CONTROLLED
ENVIRONMENTAL REGULATORY TESTING
SERVICES C.E.R.T.S.)                     1392 INDUSTRIAL DRIVE                                              TUSTIN                CA       92780‐6416
CLEAR SOLUTIONS, INC.                    970 CALLE NEGOCIO                                                  SAN CLEMENTE          CA       92673
CLEAR‐COM, LLC                           1301 MARINA VILLAGE PKWY, STE. 105                                 ALAMEDA               CA       92021
CLEFF, ISABEL                            ADDRESS ON FILE
CLICK BOND, INC.                         2151 LOCKHEED WAY                                                  CARSON CITY           NV       89706
CLICKJETZ AVIATION PARTNERS              1732 AVIATION BLVD, SUITE 506                                      REDONDO BEACH         CA       90278
CLINTON JONES (DBA CLEVER FOODIES)       6862 EISENHOWER CT                                                 CHINO                 CA       56269‐7297
CLOSER & CLOSER, LLC                     2342 YOSEMITE DRIVE                                                LOS ANGELES           CA       90041
CLOSER & CLOSER, LLC.                    3815 CARTWRIGHT STREET                                             PASADENA              CA       91107
CLOUD CONSTELLATION CORPORATION          10850 WILSHIRE BLVD., SUITE 1125                                   LOS ANGELES           CA       90024
                                         CLOUDSMART CONSULTING LTD, INTERNATIONAL HOUS 20 HOLBORN
CLOUDSMART CONSULTING LTD                VIADUCT                                                            LONDON                                       UNITED KINGDOM
CLOUDSMART CONSULTING LTD                INTERNATIONAL HOUS 20 HOLBORN VIADUCT                              LONDON                         EC1A 2BN      UNITED KINGDOM
CLOUTIER, KHARA                          ADDRESS ON FILE
CLUSTR, INC.                             1 TRESAUNCE WAY                                                    FOOTHILL RANCH        CA       92610
CM TECHNOLOGY INC.                       1712 PIONEER AVE., SUITE 718                                       CHEYENNE              WY       82001
CMC INTERACTIVE LLC                      75 BROAD STREET, SUITE #2200                                       NEW YORK              NY       10004
CMM TECHNOLOGY, INC.                     1230 PUERTA DEL SOL                                                SAN CLEMENTE          CA       92673
CMS NORTH AMERICA, INC.                  4095 KARONA COURT SE                                               CALEDONIA             MI       49316
CMW WELDING, INC.                        18265 GOTHARD STREET                                               HUNTINGTON BEACH      CA       92648
CN2                                      18867 W. 61ST AVE                                                  GOLDEN                CO       80403
CNA                                      151 N FRANKLIN ST                                                  CHICAGO               IL       60606
CNC SOFTWARE, INC.                       671 OLD POST ROAD                                                  TOLLAND               CT       06084
CNE PRODUCTIONS LLC                      1 WORLD TRADE CENTER, 21ST FLOOR                                   NEW YORK              NY       10007
COACTUM                                  ROUTE DE MONTVAUX 1                                                                      BEX      1880          SWITZERLAND
COALITION                                55 2ND ST, SUITE 2500                                              SAN FRANCISCO         CA       94105
COAST & COUNTRY HOTEL COLLECTION         210 CYGNET COURT, CENTRE PARK                                      WARRINGTON                     WA1 1PP       UNITED KINGDOM
COAST AEROSPACE MANUFACTURING, INC.      950 S. RICHFIELD ROAD                                              PLACENTIA             CA       92870
COAST ALUMINUM                           10628 FULTON WELLS AVENUE                                          SANTA FE SPRINGS      CA       90670
COAST ALUMINUM                           DEPT 710070, PO BOX 514670                                         LOS ANGELES           CA       90051‐4670
COAST COMPOSITES, LLC.                   1395 S. LYON ST                                                    SANTA ANA             CA       92688
COAST CRATING & PACKAGING                3040 EAST MARIA STREET                                             RANCHO DOMINGUEZ      CA       90221
COAST PLATING, INC.                      128 WEST 154TH STREET                                              GARDENA               CA       90248
COASTAL METALS, INC.                     19760 CAJON BLVD.                                                  SAN BERNARDINO        CA       92407

COASTLINE METAL FINISHING CORPORATION
DBA VALENCE SURFACE TECHNOLOGIES         7061 PATTERSON DR                                                  GARDEN GROVE          CA       92841
COBBLESTONE PICTURES INC.                4127 COBBLESTONE PLACE                                             DURHAM                NC       27707
COBHAM MISSION SYSTEMS DIVISION          10 COBHAM DRIVE                                                    ORCHARD PARK          NY       14127
CODE 3 COMMUNICATIONS INC.               1801 SABOVICH ST., #85C                                            MOJAVE                CA       93501
CODE 3 COMMUNICATIONS INC.               1823 SABOVICH ST #84B                                              MOJAVE                CA       93561
CODE 3 IT AND SYSTEM INTEGRATION         1801 SABOVICH ST., #85C                                            MOJAVE                CA       93501
CODE42 SOFTWARE INC.                     100 WASHINGTON AVENUE SOUTH SUITE 2000                             MINNEAPOLIS           MN       55401
CODE42 SOFTWARE, INC                     ONE MAIN STREET SE, SUITE 400                                      HENNEPIN              MN       55414
COFFEE REPUBLIC RETAIL LIMITED           10‐14 ROCHESTER ROW                                                LONDON                         SWlP lBS      UNITED KINGDOM
COGENCY GLOBAL INC                       PO BOX 31618                                                       HICKSVILLE            NY       11802
COGENCY GLOBAL INC.                      10 E 40TH STREET, 10TH FLOOR                                       NEW YORK              NY       10016
COGNOMATA, INC.                          6520 PLATT AVE. #620                                               WEST HILLS            CA       91307‐3218
COGS & MARVEL                            2350 3RD STREET                                                    SAN FRANCISCO         CA       94107
COHEN PARTNERS STRATEGIC MILITARY
PLACEMENT                                3460 MARRION RD., SUITE 103‐265                                    OCEANSIDE             CA       92056
COHEN PARTNERS STRATEGIC MILITARY
PLACEMENT, INC.                          2460 MARRON RD, SUITE 103‐265                                      OCEANSIDE             CA       92056
COHEN, DENVER C                          ADDRESS ON FILE
COHEN, LESLIE                            ADDRESS ON FILE
COILCRAFT INCORPORATED                   1102 SILVER LAKE ROAD                                              CARY                  IL       60013
COLBRIT MFG. INC.                        9666 OWENSMOUTH AV. SUITE G                                        CHATSWORTH            CA       91311
COLD BOX, INC.                           850‐92ND AVENUE, #5                                                OAKLAND               CA       94603
COLE, CRAIG                              ADDRESS ON FILE
COLE, CRAIG LAWRENCE                     ADDRESS ON FILE
COLE‐PARMER                              625 E BUNKER CT.                                                   VERNON HILLS          IL       60061




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COLLINS AEROSPACE                        NO.181, NETHRA TECH PARK, EPIP INDUSTRIAL AREA                      BANGALORE                      560066      INDIA
COLLINS, TYLER STEVEN                    ADDRESS ON FILE
COLLINS, ZACHARY A                       ADDRESS ON FILE
COLONIEL SURETY COMPANY                  123 TICE BOULEVARD, STE 250                                         WOODCLIFF LAKE         NJ      07677
COLONNO RESEARCH & ENGINEERING, LLC      1012 3RD STREET, SUITE 302                                          SANTA MONICA           CA      90403
COLUMBIA MEMORIAL SPACE SCIENCE
LEARNING CENTER FOUNDATION               12400 COLUMBIA WAY                                                  DOWNEY                 CA      90242
COLUMBIA SPECIALTY COMPANY               5875 OBISPO AVE.                                                    LONG BEACH             CA      90805
COLVIN, EUGENE D                         ADDRESS ON FILE
COMBINED UTILITIES BOX SYSTEMS, INC      5325 N. COMMERCE AVE                                                MOORPARK               CA      93021
COMCAST CABLE COMMUNICATIONS, LLC        1701 JOHN F. KENNEDY BLVD.                                          PHILADELPHIA           PA      19103
COMCAST HOLDINGS CORPORATION             PO BOX 70219                                                        PHILADELPHIA           PA      19176
COMFORT INN & SUITES LANCASTER           1825 W AVE J12                                                      LANCASTER              CA      93534
COMFORT INN & SUITES MOJAVE              1385 STATE HIGHWAY 58                                               MOJAVE                 CA      93501
COMFORT INN & SUITES MOJAVE              1825 W. AVENUE J12                                                  LANCASTER              CA      93534
COMMERCIAL AVIATION SERVICES, LLC        3275 W. INA ROAD, SUITE 221                                         TUCSON                 AZ      85741

COMMERCIAL SPACE PROGRESS FOUNDATION     PO BOX 554                                                          MESILLA PARK           NM      88047
COMMERCIAL SPACE TECHNOLOGIES LTD.       67 SHAKESPEARE RD., HANWELL                                         LONDON                         W7 1LU        UNITED KINGDOM
COMMERCIAL SPACEFLIGHT FEDERATION        444 NORTH CAPITOL ST. NW                                            WASHINGTON             DC      20001
COMMTECH, INC                            9011 E 37TH ST N                                                    WICHITA                KS      67226
COMMUNICATION ENTERPRISES, INC           2315 Q STREET                                                       BAKERSFIELD            CA      93301
COMPARAN, EDGAR                          ADDRESS ON FILE
COMPASS CONTRACT SERVICES (U.K.) LTD     PARKLANDS COURT 24                                                  PARKLANDS                      B45 9PZ       UNITED KINGDOM
COMPLETE COPY SYSTEMS GROUP, INC.        3300 BEVERLY BLVD.                                                  LOS ANGELES            CA      90004
COMPLEX PROPERTY TAX SPECIALISTS         1416 SOUTH CLIFTON AVENUE                                           PARK RIDGE             IL      60068
COMPLIANCE WAVE LLC                      241 MAPLE AVENUE, SUITE 201                                         RED BANK               NJ      07701
COMPONENT DISTRIBUTORS, INC.             3963 WALNUT STREET                                                  DENVER                 CO      80205
COMPONENT DISTRIBUTORS, INC.             PO BOX 13017                                                        DENVER                 CO      80201
COMPONENT SEARCH                         2826 E IMPERIAL HWY                                                 BREA                   CA      92821

COMPOSITE TECHNOLOGY DEVELOPMENT, INC.   2600 CAMPUS DRIVE, SUITE D                                          LAFAYETTE              CO      80026
COMPOSITES ONE, LLC                      85 W ALGONQUIN ROAD, SUITE 600                                      ARLINGTON HEIGHTS      IL      60005‐4421
COMPOSITES ONE, LLC                      955‐10 NATIONAL PWKY.                                               SCHAUMBURG             IL      60173
COMPOTOOL, LLC                           14582 172ND DR SE, SUITE 7                                          MONROE                 WA      98272
COMPTON, TRAVIS                          ADDRESS ON FILE
COMPTON, TRAVIS                          ADDRESS ON FILE
COMPUTACENTER FUSIONSTORM INC.           1 UNIVERSITY AVE STE 102                                            WESTWOOD               MA      02090‐2179
COMTECH TELECOMMUNICATIONS CORP.         275 WEST STREET                                                     ANNAPOLIS              MD      21401
CONCEPTS NREC LLC                        217 BILLINGS FARM ROAD                                              WHITE RIVER JUNCTION   VT      05001
CONCRETE CORING COMPANY                  14005 ORANGE AVENUE                                                 PARAMOUNT              CA      90723
CONCUR TECHNOLOGIES, INC.                601 108TH AVENUE NE, SUITE 1000                                     BELLEVUE               WA      98004
CONDE, NATHAN                            ADDRESS ON FILE
CONDRA, MICHAEL A                        ADDRESS ON FILE
CONFLUENT, INC.                          899 W. EVELYN AVE.                                                  MOUNTAIN VIEW          CA      94041
CONNELLY MACHINE WORKS                   420 TERMINAL STREET                                                 SANTA ANA              CA      92701
CONSOLIDATED ELECTRICAL DIST.            301 ESPEE STREET                                                    BAKERSFIELD            CA      93301
CONSOLIDATED ELECTRICAL DIST.            42032 6TH STREET WEST                                               LANCASTER              CA      93534

CONSOLIDATED ELECTRICAL DISTRIBUTORS, INC. 6781 8TH ST                                                       BUENA PARK             CA      90620
CONSOLIDATED LABORATORIES, INC.            732 ARROW GRAND CIRCLE                                            COVINA                 CA      91722

CONSOLIDATED PRECISION PRODUCTS CORP.    8333 WILCOX AVE.                                                    CUDAHY                 CA      90201
CONTAINER ALLIANCE COMPANY               510 CASTILLO STREET, SUITE 340                                      SANTA BARBARA          CA      93101

CONTEC                                   169‐84, GWAHAK‐RO, YUSEONG‐GU                                       DAEJEON                        34133         KOREA, REPUBLIC OF
CONTINENTAL CASUALTY COMPANY             151 NORTH FRANKLIN ST.                                              CHICAGO                IL      60606
CONTINENTAL COMPUTERS                    920 N NASH ST. BLDG B                                               EL SEGUNDO             CA      90245
CONTINENTAL DISC CORPORATION             3160 W HEARTLAND DRIVE                                              LIBERTY                MO      64068
CONTINENTAL STEEL & TUBE CO.             3020 NE 32ND AVE, SUITE 222                                         FORT LAUDERDALE        FL      33308
CONTINENTAL STOCK TRANSFER & TRUST       1 STATE STREET, 30TH FLOOR                                          NEW YORK               NY      10004‐1561
                                                                                                                                    SÃO
CONTOOLS CONSULTORES LIMITADA            AVENIDA PAULISTA 726, CONJUNTO                                      BELA VISTA             PAULO   1303 CXPST 77 BRAZIL
CONTOUR ENGINEERING                      2750 SEABOARD LANE                                                  LONG BEACH             CA      90805
CONTRERAS, EDWARD MEDINA                 ADDRESS ON FILE
CONTROL AIR ENTERPRISES, LLC.            5200 E. LA PALMA AVE                                                ANAHEIM                CA      92807
CONTROL AIR HOLDINGS INC.                5200 E. LA PALMA AVE.                                               ANAHEIM                CA      92807
CONTROLLED MOTION SOLUTIONS, INC.        4000 E. BUNDAGE LANE                                                BAKERSFIELD            CA      93307
CONTROLLED MOTION SOLUTIONS, INC.        911 NORTH POINSETTIA STREET                                         SANTA ANA              CA      92701
CONVERGINT TECHNOLOGIES LLC              ONE COMMERCE DRIVE                                                  SCHAUMBURG             IL      60173
CONVERGINT TECHNOLOGIES, LLC             1667 N. BATAVIA STREET                                              ORANGE                 CA      92867
CONVEX INSURANCE UK LIMITED              52 LIME STREET                                                      LONDON                         ECEM 7AF      UNITED KINGDOM
CON‐WAY FREIGHT INC                      PO BOX 5160                                                         PORTLAND               OR      97208‐5160

CONWED PLASTICS ACQUISITION COMPANY V
LLC (DBA FILTREXX INTERNATIONAL)         61 N CLEVELAND MASSILLON ROAD, SUITE E                              AKRON                  OH      44333
COOKE, BRIAN                             ADDRESS ON FILE
COOKSON & ZINN PTL                       STATION RD                                                          HADLEIGH                       IP7 5PL       UNITED KINGDOM
COOLANT MANAGEMENT SERVICES, INC.        11052 VIA EL MERCADO                                                LOS ALAMITOS           CA      90720
COOLEY WIRE PRODUCTS MFG. INC.           5025 N. RIVER RD.                                                   SCHILLER PARK          IL      60176
COOPER INTERCONNECT INC.                 750 WEST VENTURA BLVD.                                              CAMARILLO              CA      93010
COOPERMAN, LEON G                        ADDRESS ON FILE
COPELAND, JAMES                          ADDRESS ON FILE
COPIER HEADQUARTERS INC                  COPIER HEADQUARTERS INC, 21109 OXNARD STREET                        LOS ANGELES            CA      91367
CORD MASTER ENGINEERING                  1544 CURRAN HIGHWAY                                                 NORTH ADAMS            MA      01247
CORE SYSTEMS                             13000 DANIELSON STREET, SUITE Q                                     POWAY                  CA      92064
COREFORM LLC                             1427 SOUTH 550 EAST                                                 OREM                   UT      84097
COREY, COLLIN                            ADDRESS ON FILE
CORNELL UNIVERSITY                       124 HOY ROAD                                                        ITASCA                 NY      14853
CORNERSTONE ONDEMAND INC.                1601 CLOVERFIELD BLVD, SUITE 620S                                   SANTA MONICA           CA      90404
CORNERSTONE ONDEMAND, INC.               1601 CLOVERFIELD BLVD., #600S                                       SANTA MONICA           CA      90404




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CORNICK PRODUCTIONS                        84 CRYSTAL PALACE ROAD, EAST DULWICH                                LONDON                          SE22 9EY    UNITED KINGDOM
                                                                                                               CARLOGGAS, ST MAWGAN,
CORNWALL AIRPORT LIMITED                   ST MAWGAN HOUSE, CORNWALL AIRPORT NEWQUAY                           NEWQUAY                         TR8 4RQ      UNITED KINGDOM
CORNWALL WASTE SOLUTIONS                   BEACON PLACE, STATION APPROACH                                      VICTORIA                        PL26 8LG     UNITED KINGDOM
CORONA, EDUARDO                            ADDRESS ON FILE
CORONADO, NICHOLAS                         ADDRESS ON FILE
COROVAN MOVING & STORAGE CO.               1000 E VALENCIA DRIVE                                               FULLERTON               CA      92831
COROVAN MOVING & STORAGE CO.               12302 KERRAN ST                                                     POWAY                   CA      92064
COROVAN MOVING & STORAGE CO.               PO BOX 840778                                                       LOS ANGELES             CA      90084‐0778
CORPORATE CONSULTING SERVICE &
INSTRUMENTS, INC.                          221 BEAVER ST.                                                      AKRON                   OH      44304
CORPORATION SERVICE COMPANY                251 LITTLE FALLS DRIVE                                              WILMINGTON              DE      19808‐1674
CORPORATION SERVICES COMPANY               PO BOX 13397                                                        PHILADELPHIA            PA      19101‐3397
CORRALES, KENNEDY                          ADDRESS ON FILE
CORT BUSINESS SERVICES CORPORATION         15000 CONFERENCE CENTER DR. STE 440                                 CHANTILLY               VA      20151‐3819
COSTARHD, LLC                              7330 TRADE STREET                                                   SAN DIEGO               CA      92121
COSTLEY, JUSTIN                            ADDRESS ON FILE
COTRONICS CORP                             131 47TH ST                                                         BROOKLYN                NY      11232
COTTRILL, DANIELLE                         ADDRESS ON FILE
COTTRILL, KENNA                            ADDRESS ON FILE
COTZOMI, HUMBERTO                          ADDRESS ON FILE
COULURIS, JOHN                             ADDRESS ON FILE
COUNTY OF KERN ENVIROMENTAL HEALTH
SERVICES DEPARTMENT                        2700 "M" STREET,, SUITE 300                                         BAKERSFIELD             CA      93301‐2730
COUPLER CREATIVE, INC                      2527 N. SAN FERNANDO RD.                                            LOS ANGELES             CA      90065
COURTYARD BY MARRIOTT                      500 EAST FIRST STREET                                               LONG BEACH              CA      90802
COURTYARD MARRIOTT LONG BEACH              3841 LAKEWOOD BLVD.                                                 LONG BEACH              CA      90808
COVER, DEMETRIAN                           ADDRESS ON FILE
COVERED6 LLC                               780 CHAMBERS LANE                                                   SIMI VALLEY             CA      93065
COVERED6 LLC                               868 PATRIOT DR, SUITE C                                             MOORPARK                CA      93021
COVERFLEX MANUFACTURING, INC.              6828 LA PASEO ST                                                    HOUSTON                 TX      77087
COVINGTON & BURLING LLP                    ONE CITYCENTER, 850 TENTH STREET, NW                                WASHINGTON              DC      20001‐4956
COX COMMUNICATIONS, LLC                    103 N CHERRY STREET, BOX 51                                         WHITE HEATH             IL      61884
COX, AMY DARLIN                            ADDRESS ON FILE
COX, DELMUS                                ADDRESS ON FILE
COX, DELMUS JAMES                          ADDRESS ON FILE
CP INDUSTRIES HOLDINGS, INC                2214 WALNUT ST.                                                     MCKEESPORT              PA      15132
CPC521, INC.                               915 KATELLA AVENUE, APT. 4101                                       ANAHEIM                 CA      92805
CPI AERO INC.                              91 HEARTLAND BLVD.                                                  EDGEWOOD                NY      11717
CPPG, INC.                                 3905 E. MIRALOMA AVE                                                ANAHEIM                 CA      92806
CPR SAVERS & FIRST AID SUPPLY              7904 E. CHAPARREL RD. SUITE A110‐242                                SCOTTSDALE              AZ      85250
CPRIME, INC.                               107 S. B STREET, SUITE 200                                          SAN MATEO               CA      94401
CRAFTSMAN COLLISION USA                    3250 E AIRPORT WAY                                                  LONG BEACH              CA      90806

CRAIG KACKERT DESIGN TECHNOLOGY, INC.      1912 ANGUS AVE                                                      SIMI VALLEY             CA      93063
CRAIG L JOHNSON                            ADDRESS ON FILE
CRAMER DECKER INDUSTRIES                   1641 E. ST. ANDREW PLACE                                            SANTA ANA               CA      92705
CRAMER, JOHN MARK                          ADDRESS ON FILE
CREAN & ASSOCIATES, INC                    201 MALABAR ST                                                      LAKEWAY                 TX      78734
CREASY, JEFFREY                            ADDRESS ON FILE
CREASY, JEFFREY MICHAEL                    ADDRESS ON FILE
CREATIVE DIMENSIONS INC                    345 MCCAUSLAND COURT                                                CHESIRE                 CT      06410

CREATIVE MANAGEMENT SERVICES (DBA MC2)     3 ALPINE COURT                                                      CHESTNUT RIDGE          NY      10977
CREATIVE MARKETING INC. (DBA CREATIVE
MARKETING CONCEPTS)                        233 SANSOME STREET SUITE 900                                        SAN FRANCISCO           CA      94104
CREATIVE SAFETY SUPPLY, LLC                7737 SW CIRRUS DRIVE, BUILDING 30                                   BEAVERTON               OR      97008
CREAVEN, MICHAEL                           ADDRESS ON FILE
CREAVEN, MICHAEL PATRICK                   ADDRESS ON FILE
CREDIT SUISSE SECURITIES (USA) LLC         ELEVEN MADISON AVENUE                                               NEW YORK                NY      10010‐3629
CREEL, DOUGLAS DWAIN                       ADDRESS ON FILE
CREFORM                                    P.O. BOX 830                                                        GREER                   SC      29652‐0830
CRENLO CAB PRODUCTS INC.                   1600 4TH AVE NW                                                     ROCHESTER               MN      55901
CRENSHAW, ANTHONY WALTER                   ADDRESS ON FILE
CREOTECH INSTRUMENTS S.A.                  GEN. L. OKULICKIEGO 7/9                                             PIASECZNO                       05‐500       POLAND
CREST COATING, INC                         1361 S. ALLEC STREET                                                ANAHEIM                 CA      92805
CREST STEEL                                6580 GENERAL ROAD                                                   RIVERSIDE               CA      92509
CREST ULTRASONICS CORPORATION              18 GRAPHICS DRIVE,                                                  EWING TOWNSHIP          NJ      08628
CRIBL, INC                                 44 TEHAMA ST. STE 201                                               SAN FRANCISCO           CA      94105
CRITICAL TOOLS, INC.                       7308 W. RIM DRIVE                                                   AUSTIN                  TX      78731
CRM CONSTRUCTION, INC.                     ATTN: TERRY TRACY, 5353 E. 2ND STREET #202                          LONG BEACH              CA      90803
CRN SOLUTIONS, INC.                        36595 KEVIN ROAD #138‐139                                           WILDOMAR                CA      92595
CROCKETT, VICTORIA E.                      ADDRESS ON FILE
CROSS CAMPUS, INC.                         929 COLORADO AVE.                                                   SANTA MONICA            CA      90401
CROWN BUILDING MAINTENANCE CO. (DBA
ABLE SERVICES)                             868 FOLSOM STREET, SUITE 1123                                       SAN FRANCISCO           CA      94107
CROWN GRAPHICS                             13766 REDWOOD ST., UNIT B                                           CHINO                   CA      91710
CROWN INDUSTRIAL, LLC                      PO BOX 471                                                          WILLOW GROVE            PA      19090
CRP USA, LLC                               PO BOX 728                                                          MOORESVILLE             NC      28115
CRUZ, JESUS                                ADDRESS ON FILE
CRYOCO LLC                                 5 INDIAN RIVER AVENUE SUITE 1207                                    TITUSVILLE              FL      32796
CRYOFAB, INC.                              540 N. MICHIGAN AVE.                                                KENILWORTH              NJ      07033
CRYOGENIC INDUSTRIES SERVICE COMPANIES
LLC                                        1322 N. SANTIAGO STREET                                             SANTA ANA               CA      92701
CRYOGENIC INDUSTRIES SERVICE COMPANIES
LLC                                        P.O. BOX 505183                                                     ST. LOUIS               MO      63150‐5183
CRYOGENIC INDUSTRIES SERVICES COMPANIES,
LLC                                        2321 S PULLMAN STREET                                               SANTA ANA               CA      92705
CRYOGENIC MACHINERY CORPORATION            7306 GREENBUSH AVE.                                                 NORTH HOLLYWOOD         CA      91605
CRYO‐LEASE, LLC                            48 PINE ROAD                                                        BRENTWOOD               NH      03833
CRYSTAL AUDIO VISUAL SERVICES, INC.        7191 SCOUT AVE                                                      BELL GARDENS            CA      90201




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CRYSTAL GROUP, INC.                       850 KACENA ROAD                                                      HIAWATHA            IA     52233‐1204
CRYSTAL INSTRUMENTS CORPORATION           2370 OWEN STREET                                                     SANTA CLARA         CA     95054
CSM METAL FABRICATING AND ENGINEERING
INC.                                      1800 S. SAN PEDRO ST.                                                LOS ANGELES         CA    90015
CSM WATERJET LLC                          1800 SOUTH SAN PEDRO STREET                                          LOS ANGELES         CA    90015
CSULB 49ER FOUNDATION                     6300 E. STATE UNIVERSITY DRIVE, SUITE 332                            LONG BEACH          CA    90815
CTT SYSTEMS AB                            P.O BOX 1042                                                         NYKÖPING                  SE‐611 29     SWEDEN
CUELLAR, GINA                             ADDRESS ON FILE
CULBERTSON, JOHN ROBERT                   ADDRESS ON FILE
CULLIMORE AND RING TECHNOLOGIES INC       2501 BRIARWOOD DRIVE                                                 BOULDER             CO    80305
CUMBERLAND ADDITIVE INC.                  3813 HELIOS WAY, SUITE B‐200                                         PFLUGERVILLE        TX    78660
CUMMINGS INDUSTRIES, INC. DBA NORTH
AMERICAN CRANE COMPANY                    2041 LOCUST COURT                                                    ONTARIO             CA    91761
CURL, MARLON                              ADDRESS ON FILE
CURRENT RESEARCH, LLC                     10880 WILSHIRE BLVD., SUITE 1000                                     LOS ANGELES         CA    90024
CURTIN UNIVERSITY ACT 1966                KENT STREET                                                          BENTLEY                                 AUSTRALIA
CURTIS, CAITLIN                           ADDRESS ON FILE
CURTISS‐WRIGHT DEFENSE SOLUTIONS (CWDS)
(DY4, INC)                                20130 LAKEVIEW CENTER PLAZA, SUITE 200                               ASHBURN             VA    20147
CURVATURE GROUP LTD.                      UNIT 7 HARVINGTON PARK                                               PITSTONE, BEDS            LU7 9GX       UNITED KINGDOM
CUSHMAN & WAKEFIELD, INC.                 1401 LAWRENCE STREET, SUITE 1100                                     DENVER              CO    80202
CUSTOM INTERFACE, INC.                    410 S. LARCH STREET                                                  BINGEN              WA    98605
CUSTOM METALCRAFT, INC.                   2332 E DIVISION ST                                                   SPRINGFIELD         MO    65808
CUSTOM PROP SHOP                          1425 BROADWAY #550                                                   SEATTLE             WA    98122
CUTTER AVIATION ALBUQUERQUE, INC.         2502 CLARK CARR LOOP SE                                              ALBUQUERQUE         NM    87106
CUTTING EDGE COMMUNICATIONS LLC           19744 BEACH BLVD. #310                                               HUNTINGTON BEACH    CA    92649
CUTTING EDGE SERVICES, INC.               8023 E. EUCALYPTUS TRAIL                                             ORANGE              CA    92869
CUTTING EDGE SYSTEMS, INC.                2950 AIRWAY AVE., UNIT D‐1                                           COSTA MESA          CA    92626
CYBERCODERS, INC                          FILE# 54318                                                          LOS ANGELES         CA    90074‐4318
CYBEX SECURITY SOLUTIONS, LLC             30 FAIRBANKS #114                                                    IRVINE              CA    92618
CYLKOWSKI, EARL V                         ADDRESS ON FILE
CYTEC ENGINEERED MATERIALS                1300 REVOLUTION STREET                                               HAVRE DE GRACE      MD    21078
CYTEC INDUSTRIAL MATERIALS                5350 SOUTH 129TH EAST AVENUE                                         TULSA               OK    74134
D.C. TREASURER                            1101 4TH STREET, SW                                                  WASHINGTON          DC    20024
D.C. TREASURER                            P.O. BOX 96019                                                       WASHINGTON          DC    20090‐6019
D.C. TREASURER                            PO BOX 96020                                                         DC, ALEXANDRIA      WA    20090‐6020
DAC CONSTRUCTION SERVICES, INC.           785 TUCKER ROAD, STE G 112                                           TEHACHAPI           CA    93561
DAHL‐MORROW INTERNATIONL                  1821 MICHAEL FARADAY DR., SUITE 202                                  RESTON              VA    20190
DAHL‐MORROW INTERNATIONL                  19049 KIPHEART DR                                                    LEESBERG            VA    20176
DAHL‐VAUGHN, INC.                         18017 CHATSWORTH STREET, SUITE 509                                   GRANADA HILLS       CA    91344
DAILY INDUSTRIAL TOOLS                    1340 LOGAN AVENUE, UNIT A                                            COSTA MESA          CA    92626
DAKOTA ULTRASONICS CORPORATION            1500 GREEN HILLS ROAD, #107                                          SCOTTS VALLEY       CA    95066
DALIA MOTOR GROUP INC D.B.A DIAMOND
FORD                                      1155 AUTO MALL DR                                                    LANCASTER           CA    93534
DAM, GEOFFREY PHI                         ADDRESS ON FILE
DAMARCO SOLUTIONS, LLC                    1807 MARKET BLVD #281                                                HASTINGS            MN    55033
DAMIANO, CHARLES                          ADDRESS ON FILE

DAMN INDUSTRIES LLC (DBA DAMN FILTERS)    1443 N RIDGE ROAD SUITE A                                            WICHITA             KS    67212
DANA CONTAINER, INC                       210 EAST ESSEX AVENUE                                                AVENEL              NJ    07001
DANE ROSS (D.B.A DR MACHINERY)            8 38TH PLACE, UNIT #C                                                LONG BEACH          CA    90803
DANG, BERNICE                             ADDRESS ON FILE
DANIEL BLODGETT PLUMBING                  16541 FOOTHILL AVE.                                                  NORTH EDWARDS       CA    93523
DANIEL RYAN PATCH DBA GOTHAM IMMERSIVE
LABORATORIES LLC                          338 JEFFERSON AVE.                                                   BROOKLYN            NY    11216
DANIELS MANUFACTURING CORP.               526 THORPE ROAD                                                      ORLANDO             FL    32824‐8133
DARBY, KEITH                              ADDRESS ON FILE
DARBY, KEITH A                            ADDRESS ON FILE
DASCO ENGINEERING CORPORATION             24747 CRENSHAW BLVD.                                                 TORRANCE            CA    90505
DASHER TECHNOLOGIES, INC.                 1217 EAST NORMANDY PLACE                                             SANTA ANA           CA    92705
DASHER TECHNOLOGIES, INC.                 675 CAMPBELL TECHNOLOGY PARKWAY, SUITE 100                           CAMPBELL            CA    95008
DASSAULT SYSTEMES AMERICAS CORP           175 WYMAN ST.                                                        WALTHAM             MA    02451
DATA CENTRIC ENTERPRISES, LLC             419 MAIN ST #434                                                     HUNTINGTON BEACH    CA    92648
DATA MANAGEMENT RESOURCES, LLC.           SUITE 100, 891 16                                                    BARIGADA            GU    96913

DATAFLOW PROGRAMMING SOLUTION LLC         11 ERICSON AISLE                                                     IRVINE              CA    92620
DATAPRO INTERNATIONAL INC.                933 NW 49TH STREET                                                   SEATTLE             WA    96107
DATAQ INSTRUMENTS, INC.                   241 SPRINGSIDE DR                                                    AKRON               OH    44333
DATASITE LLC                              733 S MARQUETTE AVE., SUITE 600                                      MINNEAPOLIS         MN    55402
DATASMITH, LLC                            593 SKIPPACK PIKE                                                    BLUE BELL           PA    19422
DATASMITH, LLC                            593 SKIPPACK PIKE, SUITE 400                                         BLUE BELL           PA    19422
DATEST                                    47810 WESTINGHOUSE DR                                                FREMONT             CA    94539
DATUM CONTROL COMPANY INC.                2926 E CORONADO ST.                                                  ANAHEIM             CA    92806

DAUGHERTY, FOWLER, PEREGRIN, HAUGHT &
JENSON, A PROFESSIONAL CORPORATION        100 N. BROADWAY, SUITE 2000                                          OKLAHOMA CITY       OK    73102
DAVID ALDERSON                            ADDRESS ON FILE
DAVID M. LEWIS COMPANY, LLC DBA DLC       20750 VENTURA BLVD, SUITE 300                                        WOODLAND HILLS      CA    91364
DAVID STERK CONSTRUCTION                  ADDRESS ON FILE
DAVID WATTS                               ADDRESS ON FILE
DAVILA, DAYLAN                            ADDRESS ON FILE
DAVILA, DAYLAN                            ADDRESS ON FILE
Davis Polk & Wardwell LLP                 Attn: Brian M. Resnick, 450 Lexington Avenue                         New York            NY    10017
DAVIS, CHRIS SHAWN                        ADDRESS ON FILE
DAVIS, STEPHEN                            ADDRESS ON FILE
DAWN AEROSPACE NEDERLAND B.V              OVERSLAGWEG 7, 2645 EK DELFGAUW                                                                              NETHERLANDS
DAYLE ALEXANDER                           ADDRESS ON FILE
DAYLE NICHOLE ALEXANDER                   ADDRESS ON FILE
DAYTON, KEITH                             ADDRESS ON FILE
DB ROBERTS                                54 JONSPIN ROAD                                                      WILMINGTON          MA    01887
DBEAVER                                   165 BROADWAY, 23RD FLOOR                                             NEW YORK            NY    10006




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                   NAME                                              ADDRESS                                             CITY          STATE    POSTALCODE        COUNTRY
DC ELECTRICAL CO.                         16628 PIMENTA AVE                                                   BELLFLOWER              CA       90706
DC ELECTRICAL CO.                         29910 MURRIETA HOT SPRING RD, SUITE 7 ‐130                          MURRIETA                CA       92563
DC INSPECTIONS, INC.                      4808 ORTIZ CT. UNIT D                                               BAKERSFIELD             CA       93380
DCC CORPORATION                           7250‐B WESTFIELD AVE, LOWER LEVEL                                   PENNSAUKEN              NJ       08110
DE LA CRUZ, ALVARO                        ADDRESS ON FILE

DE LAGE LANDEN FINANCIAL SERVICES, INC.   LEASE PROCESSING CENTER, 1111 OLD EAGLE SCHOOL ROAD                 WAYNE                   PA       19087

DE LAGE LANDEN FINANCIAL SERVICES, INC.   PO BOX 41602                                                        PHILADELPHIA            PA       19101‐1602
DE LEON, ALEXANDER SANTILLAN              ADDRESS ON FILE
DE LUNCH LTD., TRADING AS CORNISH
CATERING COMPANY                          TRAFALGAR HOUSE MALPAS ROAD                                         TRURO, CORNWALL                  TR1 !QH       UNITED KINGDOM
DE NOVO                                   752 S RESERVOIR ST                                                  POMONA                  CA       91766
DE SOUZA, ALEXANDER                       ADDRESS ON FILE
DEAGLE, KENNETH EDWARD                    ADDRESS ON FILE
DEAL, JASON                               ADDRESS ON FILE
DEAN, GREGORY                             ADDRESS ON FILE
DEATON, JARED                             ADDRESS ON FILE
DEBAISE HOLDINGS LLC (DBA PDS)            ATTN: TOM SWEETMAN, 6870 WEST 52ND AVENUE SUITE 107                 ARVADA                  CO       80002
DEBAISE HOLDINGS LLC D/B/A PDS            PO BOX 75436                                                        CHICAGO                 IL       60675‐5436
DEERING INDUSTRIES, INC.                  3300 CHERRY AVENUE                                                  LONG BEACH              CA       90807
DEFELSKO CORPORATION                      800 PROCTOR AVE                                                     OGDENSBURG              NY       13669
DEFURIA, DEAN A.                          ADDRESS ON FILE
DEFY SECURITY, LLC                        375 SOUTHPOINTE BLVD., STE 210                                      CANONSBURG              PA       15317
DEHRITZ, ANDREW P.                        ADDRESS ON FILE
DEL AMO CHEMICAL CO. INC.                 535 W. 152ND ST.                                                    GARDENA                 CA       90248
DEL MAR AVIONICS, LLC                     11 MARCONI, SUITE B                                                 IRVINE                  CA       92618
DELAWARE DIVISION OF CORPORATIONS         JOHN G. TOWNSEND BLDG., 401 FEDERAL, SUITE 4                        DOVER                   DE       19901
DELL MARKETING L.P.                       1 DELL WAY                                                          ROUND ROCK              TX       78664
DELL MARKETING L.P.                       C/O DELL USA L.P., PO BOX 910916                                    PASADENA                CA       91110‐0916
DELL MARKETING L.P.                       ONE DELL WAY                                                        ROUND ROCK              TX       78682
DELOITTE & TOUCHE LLP                     30 ROCKEFELLER PLAZA                                                NEW YORK                NY       10112
DELOITTE & TOUCHE LLP                     4022 SELLS DRIVE                                                    HERMITAGE               TN       37073
DELOITTE TAX LLP                          695 TOWN CENTER DRIVE, SUITE 1000                                   COSTA MESA              CA       92626

DELPHI PRECISION IMAGING CORPORATION      8441 154TH AVE NE, SUITE 120                                        REDMOND                 WA       98052

DELPHI PRECISION IMAGING CORPORATION      8445 154TH AVENUE NE                                                REDMOND                 WA       98052
DELSTAR METAL FINISHING, INC.             11501 BRITTMOORE PARK DR.                                           HOUSTON                 TX       77041
DELTA AIRLINES                            1030 DELTA BOULEVARD                                                ATLANTA                 GA       30354‐1989
DELTA MACHINE COMPANY, LLC                17813 S. MAIN ST., #109‐110                                         GARDENA                 CA       90248
DELTA T SYSTEMS, INC.                     2171 HIGHWAY 175                                                    RICHFIELD               WI       53076
DELTA X TECHNOLOGIES SP. Z O.O.           FIOŁKOWA 4/154, 31‐457                                              KRAKOW                                         POLAND
DELUXE FOR BUSINESS                       PO BOX 742572                                                       CINCINNATI              OH       45274‐2572
DEMAREST ADVOGADOS                        AV. PEDROSO DE MORAIS, 1201                                         SAO PAULO                        05419‐001     BRAZIL
DEMATTIA, DANIEL                          ADDRESS ON FILE
DENEL SOC LTD T/A DENEL OVERBERG TEST
RANGE                                     ARNISTON ROAD                                                       ARNISTON                         7280          SOUTH AFRICA
DENISON INDUSTRIES, INC.                  22 FIELDER STREET                                                   DENISON                 TX       75020
DENMAC INDUSTRIES, INC.                   7616 E. ROSECRANS AVE.                                              PARAMOUNT               CA       90723
DENNY, CRAIG                              ADDRESS ON FILE

DEPARTMENT OF STATE DEVELOPMENT,
INFRASTRUCTURE, LOCAL GOVERNMENT AND
PLANNING, THE STATE OF QUEENSLAND         LEVEL 18, 1 WILLIAM STREET, PO BOX 15009, CITY EAST QLD 4002        BRISBANE                         4000          AUSTRALIA

DEPT. OF THE AIR FORCE                    HEADQUARTERS 412TH TEST WING(AMFC)                                  EDWARDS AIRFORCE BASE   CA
DERIDDER, MAURITZ (MAU)                   ADDRESS ON FILE
DERRICK OSMOND BOSTON                     ADDRESS ON FILE
DERUYTER, PAIGE                           ADDRESS ON FILE
DESCARTES LABS, INC.                      1607 PASEO DE PERALTA, SUITE B                                      SANTA FE                NM       87501
DESERT TRUCK SERVICE INC                  1423 HIGHWAY 58                                                     MOJAVE                  CA       93501
DESIGN AUTOMATION ASSOCIATES, INC         12 NORTHGATE DRIVE                                                  WINDSOR LOCKS           CT       06096
DETERFABRIK                               2566 S SPAULDING AVE                                                LOS ANGELES             CA       90016
DEUTSCHES ZENTRUM FUR LUFT‐ UND
RAUMFAHRT E.V. ("DLR")                    LINDER HOHE 51147                                                   KOHN                                           GERMANY
DFS FLOORING, LP                          15651 SATICOY                                                       VAN NUYS                CA       91406
DGI TRAINING INC                          1060 EL CAMINO REAL INC                                             REDWOOD CITY            CA       94063
DH INDUSTRIES USA INC.                    67 S. BEDFORD STREET, SUITE 400W                                    BURLINGTON              MA       01803
DHING, SIDDHARTH                          ADDRESS ON FILE
DHL EXPRESS (USA), INC.                   1210 S PINE ISLAND RD STE 400                                       PLANTATION              FL       33324
DIAMOND LINERS INC.                       9507 SANTA FE SPRINGS ROAD                                          SANTA FE SPRINGS        CA       90670
DIAMOND TECHNOLOGIES, INC.                8701 SWIGERT COURT                                                  BAKERSFIELD             CA       93311
DIATOMS, INC.                             1209 ORANGE STREET                                                  WILMINGTON              DE       19801
DIAZ, JOSEPH                              ADDRESS ON FILE
DIAZ, JOSEPH GABRIEL                      ADDRESS ON FILE
DIAZ, MICHELLE                            ADDRESS ON FILE
DICKEY, SUZANNE                           ADDRESS ON FILE
DICKSTEIN, DYLAN                          ADDRESS ON FILE
DICRONITE SOUTHWEST                       1495 WEST 9TH STREET, SUITE 201                                     UPLAND                  CA       91786
DIEQUA CORPORATION                        180 COVINGTON DRIVE                                                 BLOOMINGDALE            IL       60108‐3105
DIGI‐KEY CORPORATION                      701 BROOKS AVENUE SOUTH                                             THIEF RIVER FALLS       MN       56701
DIGIKEY ELECTRONICS                       701 BROOKS AVENUE SOUTH                                             THIEF RIVER FALLS       MN       56701
DIGITAL RIVER, INC.                       10380 BREN ROAD WEST                                                MINNETONKA              MN       55343
DILIGENT CORPORATION                      1111 19TH STREET NW, 9TH FLOOR                                      WASHINGTON              DC       20036
DILL, KEITH                               ADDRESS ON FILE
DINH, CHARLOTTE TRAN                      ADDRESS ON FILE
DINH, CHAU HUYEN TRAN                     ADDRESS ON FILE
DINIZ, ANGELO                             ADDRESS ON FILE
DIRECTO, CARLOS                           ADDRESS ON FILE
DIRECTPATH LLC                            120 18TH STREET SOUTH, STE 102                                      BIRMINGHAM              AL       35233




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DIRECTPATH LLC                             633 WEST WISONSIN AVE, SUITE 1310                                  MILWAUKEE             WI       53203
DISCUS SOFTWARE COMPANY                    ONE HERALD SQUARE                                                  FAIRBORN              OH       45324
DISTRIBUTION INTERNATIONAL                 2200 W. PCH                                                        LONG BEACH            CA       90810
DISTRIBUTION INTERNATIONAL                 24100 BROAD STREET                                                 CARSON                CA       90745
DISTRICT OF COLUMBIA OFFICE OF TAX AND
REVENUE                                    1101 4TH ST SW, SUITE #270                                         WASHINGTON            DC       20024

DIVERSE COMMUNITIES IMPACT FUND I GP LLC   "SUBJECT TO CONTINUED DILIGENCE*"
DIVERSIFIED COMMUNICATIONS                 121 FREE STREET                                                    PORTLAND              ME       04101
DIVERSIFIED MACHINE SYSTEMS, LLC           1068 ELKTON DRIVE                                                  COLORADO SPRINGS      CO       80907
DIVERSIFIED VACUUM, INC                    2408 A. PRUDEN BLVD                                                SUFFOLK               VA       23434
DIVINITY, SHEYLA TANAIRY                   ADDRESS ON FILE
DJ DYKES JR.                               ADDRESS ON FILE
DJ PRODUCTS INC                            1009 4TH STREET N.W.                                               LITTLE FALLS          MN       56345
DJOKIC, NIKOLA TSUYOSHI                    ADDRESS ON FILE
DM TOOL AND FAB, INC                       6101 18 1/2 MILE RD.                                               STERLING HEIGHTS      MI       48314
DMARK COPORATION                           10552 HUMBOLT STREET                                               LOS ALAMITOS          CA       90720
DMG MORI USA, INC.                         2400 HUNTINGTON BLVD                                               HOFFMAN ESTATES       IL       60192
DMG/MORI SEIKI USA                         2400 HUNTINGTON BLVD                                               HOFFMAN ESTATES       IL       60192
DN SIGNS                                   2501 E. 28TH STREET, UNIT 112                                      SIGNAL HILL           CA       90755
DNB ENGINEERING, INC.                      1750 RAYMER AVENUE                                                 FULLERTON             CA       92833
DNL COMPONENTS INC                         360 E. 1ST STREET #241                                             TUSTIN                CA       92780

DNO VALVE SALES, INC                       22431 ANTONIO PARKWAY SUITE B160‐198                               RANCHO SANTA MARGARITA CA      92688
DNV BUSINESS ASSURANCE USA INC.            1400 RAVELLO DRIVE                                                 KATY                   TX      77449
DOAN, NICHOLAS                             ADDRESS ON FILE
DOCOMO PACIFIC, INC.                       890 S. MARINE CORPS DRIVE                                          TAMUNING                       96913
DODGE‐CHROME, INC.                         11941‐L BOURNEFIELD WAY                                            SILVER SPRING         MD       20904
                                           UI TAX DIVISION CHIEF, D.C. DEPT OF EMPLOYMENT SERVICES, 4058
DOES                                       MINNESOTA AVE NE, 4TH FLOOR                                        WASHINGTON            DC       20019
DOG HAUS BIERGARTEN                        1301 W. RANCHO VISTA BLVD                                          PALMDALE              CA       93551
DON PERICO RESTAURANT                      840 TUCKER RD                                                      TEHACHAPI             CA       93561
DON SOWERS                                 ADDRESS ON FILE
DONAL BELL                                 ADDRESS ON FILE
DONALDSON COMPANY INC                      P.O. BOX 1299                                                      MINNEAPOLIS           MN       55440‐1299
DONNELLEY FINANCIAL SOLUTIONS              35 WEST WACKER DRIVE                                               CHICAGO               IL       65601
DONNELLY, JAMES                            ADDRESS ON FILE
DONOHUE, DAVID                             ADDRESS ON FILE
D‐ORBIT SPA                                VIALE RISORGIMENTO, 57 FINO MORNASCO                               FOMO                           22073         ITALY
D‐ORBIT UK LIMITED                         REGENT HOUSE, 315 BEULAH HILL                                      LONDON                         SE19 3HF      UNITED KINGDOM
DOSHI, VISHAL A                            ADDRESS ON FILE
DOUBLEGSOUND, INC                          127 NEW BERN PL. #406                                              RALEIGH               NC       27601
DOUGLAS, WILLIAM                           ADDRESS ON FILE
DOW‐KEY MICROWAVE CORPORATION              4822 MCGRATH ST                                                    VENTURA               CA       93003
DOWNEY, SMITH & FIER                       3760 KILROY AIRPORT WAY, SUITE 620                                 LONG BEACH            CA       90806
DOWNEY, SMITH & FIER                       4010 WATSON PLAZA DRIVE, STE 190                                   LAKEWOOD              CA       90712
DOWNIE RICHARDSON                          ADDRESS ON FILE
DOWTY, MARY                                ADDRESS ON FILE
DR MACHINERY                               26119 PHOENIX PALM DR.                                             HOMELAND              CA       92548
DR. ANTHONY J TETHER                       ADDRESS ON FILE
DRAKE PLASTICS LTD. CO.                    14869 GRANT ROAD                                                   CYPRESS               TX       77429
DRAKE, JEWELL                              ADDRESS ON FILE
DRAPER LABORATORY, INC.                    P.O. BOX 3484                                                      BOSTON                MA       02241
DREMIO CORPORATION                         3970 FREEDOM CIRCLE #110                                           SANTA CLARA           CA       95054
DSG INTERNATIONAL, LLC                     105 EUCALYPTUS DRIVE                                               EL SEGUNDO            CA       90245
D'SOUZA, NEIL                              ADDRESS ON FILE

DSSN3801CO                                 412 TW/FMA (ATTN: KELLY MARQUEZ, JULIE BARRY), 195 E. POPSON       EDWARDS AFB           CA       93524‐1180
DT MACHINE CORPORATION                     1891 E. MIRALOMA AVE                                               PLACENTIA             CA       92870
DT MACHINE, INC                            1891 E. MIRALOMA AVE                                               PLACENTIA             CA       92870
DUALDRAW, LLC                              4934 LIMA STREET                                                   DENVER                CO       80239

DUCHARME MCMILLEN & ASSOCIATES, INC.       828 S. HARRISON ST, SUITE 650                                      FT WAYNE              IN       46802

DUCHARME, MCMILLEN & ASSOCIATES, INC.      9229 DELEGATES ROW, SUITE 375                                      INDIANAPOLIS          IN       46240
DUCHON, DOUGLAS SAMUEL                     ADDRESS ON FILE
DUCOMMUN LABARGE TECHNOLOGIES, INC ‐
CARSON                                     23301 WILMINGTON AVE                                               CARSON                CA       90745
DUCOMMUN LABARGE TECHNOLOGIES, INC ‐
JOPLIN                                     1505 SOUTH MAIDEN LANE                                             JOPLIN                MO       64801

DUCOMMUN LABARGE TECHNOLOGIES, INC.        1505 S MAIDEN LN                                                   JOPLIN                MO       64801
DUCWORKS, INC                              1725 NORTH 600 WEST                                                LOGAN                 UT       84321
DUEMLING, CAROLINE                         ADDRESS ON FILE
DUKE ENGINEERING                           44732 YUCCA AVE                                                    LANCASTER             CA       93534
DUKE, TROY MICHAEL                         ADDRESS ON FILE
DUN & BRADSTREET CREDIBILITY CORP          22761 PACIFIC COAST HIGHWAY                                        MALIBU                CA       90265
DUN & BRADSTREET INC                       P.O. BOX 742138                                                    LOS ANGELES           CA       90074‐2138
DUNCAN, BENJAMIN J                         ADDRESS ON FILE
DUNCAN, ROBERT                             ADDRESS ON FILE
DUNGO MORALES, PATRICIA ANNE               ADDRESS ON FILE
DUNGO, ALEXANDER                           ADDRESS ON FILE
DUNIWAY STOCKROOM CORPORATION              48501 MILMONT DRIVE                                                FREMONT               CA       94538
DUNKEL BROS. MACHINERY MOVING, INC         14500 FIRESTONE BLVD                                               LA MIRADA             CA       90638
DUNMORE INTERNATIONAL CORP                 145 WHARTON ROAD                                                   BRISTOL               PA       19007
DUNN, RICHARD                              ADDRESS ON FILE
DURAFLEX INC.                              765 INDUSTRIAL DRIVE                                               CARY                  IL       60013
DURAN, LUIS J.                             ADDRESS ON FILE
DURAN, RICHARD                             ADDRESS ON FILE
DV CABLES HARNESS, LLC                     11801 CARDINAL CIRCLE STE I                                        GARDEN GROVE          CA       92843
DXP ENTERPRISES, INC.                      PO BOX 1697                                                        HOUSTON               TX       77251‐1697




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DY4, INC                                     20130 LAKEVIEW CNETER PLAZA, SUITE 200                             ASHBURN               VA     20147‐7915
DY4, INC                                     333 PALLADIUM DRIVE                                                KANATA                ON     K2V 1A6    CANADA
DY4, INC                                     835 COMMERCE PARK DRIVE                                            OGDENSBURG            NY     13669
DYKIN, ARTUM                                 ADDRESS ON FILE
DYMAX CORPORATION                            318 INDUSTRIAL LANE                                                TORRINGTON            CT    06790
DYNAMIC FABRICATION INC                      2615 HICKORY STREET                                                SANTA ANA             CA    92707
DYNAMIS EPOXY, LLC.                          415 E VENICE AVE                                                   VENICE                FL    34285
DYNETICS INC                                 1002 EXPLORER BLVD                                                 HUNTSVILLE            AL    35806
DYNOVAS, INC.                                12250 LAVELLI WAY                                                  POWAY                 CA    92064
DYTRAN INSTRUMENTS INC.                      21592 MARILLA ST.                                                  CHATSWORTH            CA    91311
E PLASTICS                                   5535 RUFFIN ROAD                                                   SAN DIEGO             CA    92123
E&H LAMINATING & SLITTING CO., INC.          138 GRAND ST                                                       PATERSON              NJ    07501
E&H LAMINATING & SLITTING COMPANY            138 GRAND STREET                                                   PATTERSON             NJ    07501

E*TRADE FINANCIAL CORPORATE SERVICES, INC.   3 EDISON DRIVE                                                     ALPHARETTA            GA    30005
E. MICHAEL LOUDEN, P.E.                      ADDRESS ON FILE
EAGLE FLOORING SOLUTIONS, INC.               427 W. GARDENA BLVD.                                               GARDENA               CA    90248
EAN SERVICES, LLC                            600 CORPORATE PARK DRIVE                                           ST. LOUIS             MO    63105
EANDJ CONSULTING INC                         91 SUNSET COVE                                                     IRVINE                CA    92602
EARLE M. JORGENSEN COMPANY                   10650 ALAMEDA STREET                                               LYNWOOD               CA    90262
EARLEY, ERIC A                               ADDRESS ON FILE
EARTHDAILY ANALYTICS                         33 – 1055 CANADA PL                                                VANCOUVER             BC    V6C 0C3      CANADA
EAST WEST HAULING INC                        700 FIRST ST                                                       HARRISON              NJ    07029
EASTERN KERN AIR POLLUTION CONTROL
DISTRICT                                     2700 M STREET STE 302                                              BAKERFIELD            CA    93301
EASTRIDGE WORKFORCE SOLUTIONS                2355 NORTHSIDE DRIVE, #200                                         SAN DIEGO             CA    92108
EASTSIDE STRUCTURAL DYNAMICS INC             585 W LINE ST. #209                                                BISHOP                CA    93514
ECHOSTAR SATELLITE SERVICES L.L.C.           100 INVERNESS TERRACE EAST                                         ENGLEWOOD             CO    80112
ECKSTEIN, JAMES                              ADDRESS ON FILE
ECLIPSE ENGINEERING, INC.                    2540 S. MAIN ST                                                    ERIE                  CO    80516
ECO POWER PRESSURE WASHING                   3128 ERICA AVENUE                                                  ROSAMOND              CA    93560

ECOLOGIX ENVIRONMENTAL SYSTEMS, LLC.         11800 WILLS ROAD, SUITE 110                                        ALPHARETTA            GA    30009
ECO‐NOMICAL LANDSCAPE                        3756 GREENFIELD AVE.                                               LOS ANGELES           CA    90034
ED FAGAN INC                                 769 SUSQUEHANNA AVE                                                FRANKLIN LAKES        NJ    07417
EDBERG, DONALD L                             ADDRESS ON FILE
EDEN PROJECT LIMITED                         BODELVA                                                            PAR, PL24 2SG                            UNITED KINGDOM
EDGAR AGENTS LLC                             105 WHITE OAK LANE, SUITE 104                                      OLD BRIDGE            NJ    08857
EDGE AVIATION LLC                            17515 N EAGLE CREST DRIVE                                          SURPRISE              AZ    85374
EDGE WORLDWIDE LOGISTICS LIMITED             OPTIMUM HOUSE, CLIPPERS QUAY                                       SALFORD                     M50 3XP      UNITED KINGDOM
EDGERTON, JACK ODELL                         ADDRESS ON FILE
EDISCOVERY FORENSICS, INC.                   16121 N. ELDRIDGE PKWY, SUITE 8                                    TOMBALL               TX    77377
EDISON CARRIER SOLUTIONS                     2 INNOVATION WAY, 1ST FLOOR                                        POMONA                CA    91768
EDM PERFORMANCE ACCESSORIES                  1400 PIONEER STREET                                                BREA                  CA    92821
EDMUND OPTICS, INC.                          101 EAST GLOUCESTER PIKE                                           BARRINGTON            NJ    08007
EDN AVIATION INC.                            6720 VALJEAN AVE                                                   VAN NUYS              CA    91406

EDUARDO BRESCIA (DBA FAST ED'S INTERIOR)     17822 S HOBART BLV                                                 GARDENA               CA    90248
EDUCATION TECHNICAL MANAGEMENT LLC           14376 TORREY PINES DRIVE                                           AUBURN                CA    95602
EDUCATIONAL TECHNICAL MANAGEMENT
SERVICES LLC                                 14376 TORREY PINES DRIVE                                           AUBURN                CA    95602
EDWARDS VACUUM, INC                          6416 INDUCON DRIVE WEST                                            SANBORN               NY    14132
EDWARDS, ANDREW L                            ADDRESS ON FILE
EESYNERG, INC                                29502 SPOTTED BULL LANE                                            SAN JUAN CAPISTRANO   CA    92675
EFAX CORPORATE                               6922 HOLLYWOOD BLVD SUITE 500                                      LOS ANGELES           CA    90028
EFFECTIVE SPACE SOLUTIONS LIMITED            48 CHANCERY LANE, 1ST FLOOR                                        LONDON                      WC2A 1JF     UNITED KINGDOM
EFRAIN GUTIERREZ                             ADDRESS ON FILE
EGC ENTERPRISES INC                          140 PARKER COURT                                                   CHARDON               OH    44024
EGENCIA, LLC (EXPEDIA GROUP)                 333 108TH AVE NE                                                   BELLEVUE              WA    98004
EHS PROJECTS LTD.                            20 BROOMGROVE ROAD                                                 SHEFFIELD                   S10 2LR      UNITED KINGDOM
EIS INTERMEDIATE HOLDINGS, LLC               2018 POWERS FERRY ROAD, SUITE 500                                  ATLANTA               GA    30339
EISELE, STEPHEN KARL                         ADDRESS ON FILE
EJAY FILTRATION, INC.                        3030 DURAHART                                                      RIVERSIDE             CA    92507
EJAY FILTRATION, INC.                        3036 DURAHART STREET                                               RIVERSIDE             CA    92507
EKAHI ALOHA, LLC                             P.O. BOX 649                                                       ORINDA                CA    94563
EL CAMINO COMMUNITY COLLEGE                  16007 CRENSHAW BLVD.                                               TORRANCE              CA    90506
EL CAMINO COMMUNITY COLLEGE                  BUSINESS TRAINING CENTER, 13430 HAWTHORNE BLVD.,                   HAWTHORNE             CA    90250
EL SEGUNDO CATERING COMPANY LLC.             340 CONCORD ST., APT. F                                            EL SEGUNDO            CA    90245
ELANIF, LLC                                  500 GRAPE ST.                                                      DENVER                CO    80220
ELASTIC NV                                   800 WEST EL CAMINO REAL                                            MOUNTAIN VIEW         CA    94040
ELASTICSEARCH FEDERAL INC.                   800 W EL CAMINO REAL, SUITE 350                                    MOUNTAIN VIEW         CA    94040
ELDRIGE BUSINESS SERVICES, LLC               3411 SILVERSIDE ROAD TATNALL, BUILDING #104                        WILMINGTON            DE    19810
ELECTRO ENTERPRISES, INC.                    3601 N. I35 SERVICE ROAD                                           OKLAHOMA CITY         OK    73111
ELECTRO RENT CORPORATION                     6060 SEPULVEDA BLVD                                                VAN NUYS              CA    91411
ELECTRO‐COATINGS, INC.                       893 CARLETON STREET                                                BERKELEY              CA    94710
ELECTROFORMED NICKEL, INC                    785 MARTIN ROAD                                                    HUNTSVILLE            AL    35824
ELECTROIMPACT INC.                           4413 CHANNAULT BEACH ROAD                                          MUKILTEO              WA    98275
ELECTROLIZING INC.                           1947 HOOPER AVE                                                    LOS ANGELES           CA    90011
ELECTROLURGY MANUFACTURING, INC.             1217 EAST NORMANDY PLACE                                           SANTA ANA             CA    92705
ELECTROLYTIC, LLC                            618 DELCO DRIVE                                                    CLINTON               WI    52525
ELECTROMATIC, INC.                           14025 STAGE ROAD                                                   SANTA FE SPRINGS      CA    90670
ELECTROMATIC, INC.                           789 SOUTH KELLOGG AVENUE                                           GOLETA                CA    93117‐3806
ELECTRON BEAM ENGINEERING INC.               1425 S ALLEC STREET                                                ANAHEIM               CA    92805
ELECTRON BEAM WELDING, INC.                  6940 HERMOSA CIRCLE                                                BUENA PARK            CA    90620
ELECTRON BEAM WELDING, LLC                   6940 HERMOSA CIRCLE                                                BUENA PARK            CA    90620
ELECTRONIC BALANCING COMPANY INC.            600 EAST D STREET                                                  WILMINGTON            CA    90744
ELEGANT VIEW OFFICE PROPERTIES LLC           1845 PALM CANYON COURT, UNIT 1C                                    LAS CRUCES            NM    88011
ELEGANT VIEW OFFICE PROPERTIES LLC           1845 PALM CANYON CT, UNIT 2B                                       LAS CRUCES            NM    88011
ELEMENT MACHINE, LLC                         ATTN: LINDA LANG, 3121 EAST LA PALMA AVENUE, SUITE N               ANAHEIM               CA    92806
ELEMENT MATERIALS TECHNOLOGY                 DAVIDSON BUILDING, 5 SOUTHAMPTON STREET                            LONDON                      WC2E 7HA     UNITED KINGDOM
ELEMENT MATERIALS TECHNOLOGY                 "SUBJECT TO CONTINUED DILIGENCE*"




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                 NAME                                                    ADDRESS                                           CITY     STATE   POSTALCODE        COUNTRY
ELEMENT MATERIALS TECHNOLOGY DETROIT,
LLC                                         15062 BOLSA CHICA                                                  HUNTINGTON BEACH    CA       92649
ELEMENT MATERIALS TECHNOLOGY DETROIT,
LLC                                         18100 SOUTH WILMINGTON AVENUE                                      RANCHO DOMINGUEZ    CA       90220
ELEMENT MATERIALS TECHNOLOGY DETROIT,
LLC                                         1857 BUSINESS CENTER DRIVE                                         DUARTE              CA       91010
ELEMENT MATERIALS TECHNOLOGY DETROIT,
LLC                                         3200 S. 166TH STREET                                               NEW BERLIN          WI       53151
ELEMENT MATERIALS TECHNOLOGY
HUNTINGTON BEACH, LLC                       15062 BOLSA CHICA                                                  HUNTINGTON BEACH    CA       92649
ELEMENT MATERIALS TECHNOLOGY
HUNTINGTON BEACH, LLC                       1857 BUSINESS CENTER DRIVE                                         DUARTE              CA       91010
ELEMENT MATERIALS TECHNOLOGY LOS
ANGELES, LLC                                1857 BUSINESS CENTER DRIVE                                         DUARTE              CA       91010
ELEMENTUM 3D, INC.                          400 YOUNG COURT, UNIT 1                                            ERIE                CO       80516

ELENA PEZZANA (DBA E‐SPACE CONSULTING LLC) 12107 STONEY CREEK RD                                               POTOMAC             MD       20854
ELEVATION CORPORATE HEALTH                 11350 MCCORMICK ROAD, EP 4, SUITE LL8                               HUNT VALLEY         MD       21031
ELEVATION CORPORATE HEALTH, LLC            11350 MCCORMICK ROAD, EXECUTIVE PLAZA IV, SUITE LL7                 HUNT VALLEY         MD       21204
                                           #401 AOBAYAMA‐GARAGE, TOHOKU‐UNIVERSITY MATERIAL
ELEVATION SPACE, INC.                      INNOVATION CENTER, 468‐1 ARAMAKIAZA, AOBA‐KU                        SENDAI                       980‐0845     JAPAN
ELEVATIONSPACE, INC.                       1‐4‐9 ENSPACE 1‐4‐9 KOKUBU‐CHO, AOBA‐KU                             SENDAI                                    JAPAN
ELFEN                                      2212 QUEEN ANNE AVE #508                                            SEATTLE             WA       98109
ELITE AIRWAYS LLC                          1135 W NASA BLVD                                                    MELBOURNE           FL       32901
ELITE AIRWAYS, LLC                         4607 LAKEVIEW CANYON ROAD, #588                                     WESTLAKE VILLAGE    CA       91361
ELITE MANUFACTURED SOLUTIONS, LLC.         1103 33RD STREET                                                    BAKERSFIELD         CA       93301
ELITE MANUFACTURING SOLUTIONS              3011 ARLOTTE AVE.                                                   LONG BEACH          CA       90808
ELITE METAL FINISHING, LLC                 501 SPECTRUM CIRCLE                                                 OXNARD              CA       93030
ELKAY SALES, INC.                          1333 BUTTERFIELD ROAD, SUITE 200                                    DOWNERS GROVE       IL       60515
ELKO WIRE ROPE OF PHOENIX, LLC             2344 N 33RD AVE                                                     PHOENIX             AZ       85009
ELLIS EQUIPMENT, INC.                      1015 E. BURNETT STREET                                              SIGNAL HILL         CA       90755
ELLIS, ASHLEY                              ADDRESS ON FILE
ELLIS, JOSH                                ADDRESS ON FILE
ELLIS, LARRY                               ADDRESS ON FILE
ELLIS, ROB D                               ADDRESS ON FILE
ELLSWORTH ADHESIVES SPECIALTY CHEMICAL
DISTRIBUTION, INC.                         W129 N10825 WASHINGTON DRIVE                                        GERMANTOWN          WI       53022
ELMA ELECTRONIC, INC.                      44350 GRIMMER BLVD                                                  FREMONT             CA       94538
ELMO MOTION CONTROL, INC                   42 TECHNOLOGY WAY                                                   NASHUA              NH       03060
ELOTEK SYSTEMS                             216 AVENIDA FABRICANTE #112                                         SAN CLEMENTE        CA       92672

ELROB INC. (DBA EL‐COM SYSTEM SOLUTIONS)    12691 MONARCH ST                                                   GARDEN GROVE        CA       92841
ELUCIDATE CONSULTANCY LIMITED               10 EXCHANGE STREET WEST                                            BELFAST                      BT1 2NJ      UNITED KINGDOM
ELUCIDATE CONSULTANCY LIMTED                OFFICE 2, FIFTH FLOOR, THE MAC, 10 EXCHANGE STREET WEST            BELFAST                      BT1 2NJ      UNITED KINGDOM
ELVERUM, GERALD                             ADDRESS ON FILE
ELVERUM, GERALD W.                          ADDRESS ON FILE
EMC SOLUTIONS LTD.                          4 RAVENSDALE RD.                                                   COBOURG             ON       K9A 2B9      CANADA
EMCOR ENCLOSURES LLC                        2900 37TH ST NW, BUILDING 201                                      ROCHESTER           MN       55901
EMCORE CORPORATION                          2015 CHESTNUT STREET                                               ALHAMBRA            CA       91803

EMERALD PACIFIC GROUP CORPORATION D/B/A
ALAMO ENTERPRISE NATIONAL CAR RENTAL        122 HASALAO ST. ROUTE 8                                            BARRIGADA           GU       96913
EMPINFO, INC.                               5900 SILVER CREEK VALLEY ROAD                                      SAN JOSE            CA       95138
EMPIRE DYNAMICS MACHINERY LLC.              215 EUCLID AVE                                                     ALBANY              NY       12208
EMPIRE WEST, INC. DBA CEILUME               PO BOX 511                                                         GRATON              CA       95444
EMRE, SAHIN                                 ADDRESS ON FILE
EMS SAFETY SERVICES, INC.                   1046 CALLE RECODO                                                  SAN CLEMENTE        CA       92673
ENABLE AEROSPACE                            35 FERGUSSON STREET, LEVEL 1                                       WILLIAMSTOWN                 3016         AUSTRALIA
ENBOARDER LLC                               728 NORTHWESTERN AVE, BUILDING B                                   AUSTIN              TX       78702
ENCO MANUFACTURING COMPANY                  400 NEVADA PACIFIC HWY                                             FERNLEY             NV       89408
ENCORE STEEL BUILDING CO                    8830 CENTRE STREET, SUITE 2                                        SOUTHAVEN           MS       38671

ENCORE WELDING AND INDUSTRIAL SUPPLY, LLC   2675 TEMPLE AVE                                                    SIGNAL HILL         CA       90755
ENDRESS+HAUSER, INC.                        2350 ENDRESS PLACE                                                 GREENWOOD           IN       46143
ENERCON INDUSTRIES CORPORATION              W140 N9572 FOUNTAIN BLVD                                           MENOMONEE FALLS     WI       53051
ENERGY METALS, LLC                          2330 HOLMES ROAD                                                   HOUSTON             TX       77051
ENFASCO, INC                                1675 HYLTON ROAD                                                   PENNSAUKEN          NJ       08110
E‐N‐G MOBILE SYSTEMS, LLC                   2245 VIA DE MERCADOS                                               CONCORD             CA       94520
ENG USA                                     55 W. MONROE STREET, SUITE 2575                                    CHICAGO             IL       60603
ENGAGE COMMUNICATION, INC.                  9565 SOQUEL DRIVE, STE 201                                         APTOS               CA       95003
ENGEL & COMPANY, INC.                       4009 UNION AVENUE                                                  BAKERSFIELD         CA       93305
ENGINEERED INSERTS & SYSTEMS, INC.          25 CALLENDER ROAD                                                  WATERTOWN           CT       06795
ENGINEERED MACHINING SOLUTIONS, LLC         200 W. GROVE AVE                                                   ORANGE              CA       92865
ENGINEERED PACKAGING SOLUTIONS              190 E. ARROW HWY, SUITE C                                          SAN DIMAS           CA       91773
ENGINEERING USA, INC.                       55 W MONROE ST #2575                                               CHICAGO             IL       60603
ENGRAAVING AWARDS & GIFTS                   42 FRANKLIN STREET                                                 LACONIA             NH       03246
ENRIQUEZ, DAVID                             ADDRESS ON FILE
ENRIQUEZ, DAVID MANUEL                      ADDRESS ON FILE
ENRIQUEZ, JOSE                              ADDRESS ON FILE
ENRIQUEZ, MATEO                             ADDRESS ON FILE
ENSIGN‐BICKFORD AEROSPACE & DEFENSE
COMPANY                                     640 HOPMEADOWN STREET, PO BOX 429                                  SIMSBURY            CT       06070‐0429
ENTE NAZIONALE PER L'AVIAZIONE CIVILE       VIA GAETA 3                                                        ROMA                         00185        ITALY
ENTERPRISE FLEX‐E‐RENT                      KNIGHTS WAY, BATTLEFIELD PARK                                      SHREWSBURY                   SY1 3AB      UNITED KINGDOM
ENTERPRISE HOLDINGS, INC. (DBA COMMUTE
WITH ENTERPRISE)                            PO BOX 804935                                                      KANSAS CITY         MI       64180
ENTERPRISE RENT A CAR                       PO BOX 402383                                                      ATLANTA             GA       30384‐2383
ENTERPRISE RENT‐A‐CAR UK LIMITED            THE BATTLESHIP BUILDING, 179 HARROW ROAD                           LONDON                                    UNITED KINGDOM
ENTERPRISE RENT‐A‐CAR UK LIMITED            KNIGHTS WAY BATTLEFIELD ENTERPRISE PARK                            SHREWSBURY                   SY1 3AB      UNITED KINGDOM
ENTHALPY ANALYTICAL, LLC                    1 PARK PLAZA, SUITE 1000                                           IRVINE              CA       92614
ENVIRO OUTFITTERS, LLC                      3304 W 250 N                                                       WEST LAFAYETTE      IN       47906




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ENVIRONMENT ASSOCIATES, INC.              9604 VARIEL AVENUE                                                  CHATSWORTH           CA     91311
ENVIRONMENTAL EQUIPMENT SERVICES, INC.
OF AZ                                     PO BOX 10583                                                        CASA GRANDE          AZ    85130
ENVIRONMENTAL SPRAY SYSTEM, INC.          714 CONVOY COURT                                                    SAN DIEGO            CA    92111‐1019
ENVIROSERVICES CO., INC. (DBA ESCI
ENVIROSERVICES CO., INC.)                 4401 ATLANTIC AVE., STE 200                                         LONG BEACH           CA    90807
ENVOY, INC.                               410 TOWNSEND, SUITE 410                                             SAN FRANCISCO        CA    94107
ENVOY, INC.                               488 BRYANT STREET                                                   SAN FRANCISCO        CA    94109
ENVST LLC                                 2708 WILSHIRE BLVD, SUITE 380                                       SANTA MONICA         CA    90403
EP CONTAINER CORP.                        17115 JERSEY AVENUE                                                 ARTESIA              CA    90701
EPIQ EDISCOVERY SOLUTIONS, INC. (DBA EPIQ
EDISCOVERY SOLUTIONS)                     777 THIRD AVE, 12TH FLOOR                                           NEW YORK             NY    10017
EPROM SP. Z O.O.                          UL. PIĘKNA 15/12                                                    WARSZAWA                   00‐549        POLAND
EPSILON TECHNOLOGY CORP                   3975 S HWY 89                                                       JACKSON              WY    83001
EPSILON3, INC.                            2708 WILSHIRE BLVD, SUITE 350                                       SANTA MONICA         CA    90403
EQUEST LLC                                2010 CROW CANYON PL., SUITE 100‐10016                               SAN RAMON            CA    94583
EQUIPCO SALES AND SERVICE                 2100 MERIDIAN PARK BLVD                                             CONCORD              CA    94520
EQUISOLVE, INC.                           3500 SW CORPORATE PARKWAY, SUITE 206                                PALM CITY            FL    34990
ERG AEROSPACE CORPORATION                 964 STANFORD AVE                                                    OAKLAND              CA    94608
ERGOMAT INC                               7469 INDUSTRIAL PARKWAY                                             LORAIN               OH    44053
ERGOTECH CONTROLS INC. (DBA INDUSTRIAL
NETWORKING SOLUTIONS)                     3321 ESSEX DRIVE                                                    RICHARDSON           TX    75082
ERIC BIPPERT                              ADDRESS ON FILE
ERIC J EDWARDS D.B.A. TALENT ADVISORY
GROUP LLC                                 490 E. STERLING CANYON DR                                           VAIL, PIMA           AZ    85641
ERIC RYAN BIPPERT                         ADDRESS ON FILE
ERICKSON, ROBERT R                        ADDRESS ON FILE
ES LABORATORY, LLC                        2041 E. GLADSTONE ST.STE. N                                         GLENDORA             CA    91740
ESCOBAR, GUADALUPE                        ADDRESS ON FILE
ESHARES, INC. DBA CARTA, INC.             333 BUSH STREET, SUITE 2300                                         SAN FRANCISCO        CA    94104
ESI MOTION                                2250 A UNION PLACE                                                  SIMI VALLEY          CA    93605
E‐SPACE CONSULTING LLC                    12107 STONEY CREEK RD                                               POTOMAC              MD    20854
ESPINOSA, MAY MAW                         ADDRESS ON FILE
ESPINOZA, FABIAN                          ADDRESS ON FILE
ESPIRITUS PRODUCTIONS, INC.               4135 VAN BUREN PL                                                   CULVER CITY          CA    90232
ESQUIVEL FLORES, MYNOR DANIEL             ADDRESS ON FILE
ESQUIVEL, ROMULO                          ADDRESS ON FILE
ESQUIVEL, ROMULO                          ADDRESS ON FILE
ESRI                                      380 NEW YORK STREET                                                 REDLANDS             CA    92373
ESSENTRA COMPONENTS                       3123 STATION ROAD                                                   ERIE                 PA    16510
ESSENTRA PLASTICS LLC D/B/A ESSENTRA
COMPONENTS                                21303 FERRERO PKWY                                                  INDUSTY              CA    91789
ESTRADA, MICHAEL GOCHES                   ADDRESS ON FILE
ETS‐LINDGREN, INC                         1301 ARROW POINT DRIVE                                              CEDAR PARK           TX    78613
ETTEFAGH, FRED                            ADDRESS ON FILE
EUNG, SAINGYOU                            ADDRESS ON FILE
EURO‐COMPOSITES CORPORATION               13213 AIRPARK DRIVE                                                 ELKWOOD              VA    22718
EUROCONSULT                               86 BOULEVARD DE SEBASTOPOL                                          PARIS                      75003         FRANCE
EUROCONSULT                               88BLVD DE SABASTOPOL                                                PARIS                                    FRANCE
EUROFINS EAG MATERIAL SCIENCE, LLC        250 N NASH STREET                                                   EL SEGUNDO           CA    90245
EUROFINS EAG MATERIAL SCIENCE, LLC        2672 METRO BOULEVARD                                                MARYLAND HEIGHTS     MO    63043
EUROPEAN ORGANISATION FOR THE
EXPLOITATION OF METEOROLOGICAL SATELLITES
(EUMETSAT)                                EUMETSAT EUMETSAT ALLEE 1                                           DARMSTADT                  D‐64295       GERMANY
EUROPEAN ORGANISATION FOR THE SAFETY OF
AIR NAVIGATION                            RUE DE LA FUSÉE 96                                                  BRUSSELS                   1130          BELGIUM
EUROPEAN SPACE AGENCY                     24 RUE MARIO NIKIS, CS 30798                                        PARIS                      75015         FRANCE
EUROTAINER US, INC.                       5810 WILSON ROAD, SUITE 200                                         HUMBLE               TX    77396
EV CHARGE SOLUTIONS                       7464 W. ITENRIETTA RD                                               RUSH                 NY    14543

EVANSTON INSURANCE COMPANY (AMWINS)         MARKET WEST INSURANCE SERVICES, 201 CALIFRONIA STREET, STE 1450   SAN FRANCISCO        CA    94111
EVE BUSHER                                  ADDRESS ON FILE
EVERBRIDGE, INC                             155 NORTH LAKE AVENUE, SUITE 900                                  PASADENA             CA    91101‐1849
EVERBRIDGE, INC.                            25 CORPORATE DRIVE                                                BURLINGTON           MA    01803
EVERCORE GROUP, L.L.C.                      55 EAST 52ND STREET                                               NEW YORK             NY    10055
EVEREST                                     461 FIFTH AVENUE, 4TH FLOOR                                       NEW YORK             NY    10017
EVEREST BDA                                 SEON PLACE, 4TH FLOOR, 141 FRONT ST                               HAMILTON                   HM DX         BERMUDA
EVEREST NATIONAL INSURANCE COMPANY          WARREN CORPORATE CENTER, 100 EVEREST WAY                          WARREN               NJ    07059
EVODC LLC                                   600 W 7TH STREET SUITE 510                                        LOS ANGELES          CA    90017
EVOLUTION OF STYLE                          2513 ROZZELLES FERRY ROAD                                         CHARLOTTE            NC    28208
EVOTEK                                      6150 LUSK BLVD. STE B204                                          SAN DIEGO            CA    92121
EXACT CNC INDUSTRIES, INC                   20640 BAHAMA ST                                                   CHATSWORTH           CA    91311
EXATEL                                      PERKUNA 47 STREET                                                 WARSAW                     04‐164        POLAND

EXCEL CONTROLS, INC (DBA SIGNAWORKS INC.)   3046 HOME ROAD                                                    POWELL               OH    43065
EXCEL4APPS                                  3301 BENSON DRIVE #301, INSIGHTSOFTWARE COMPANY                   RALEIGH              NC    27609
EXCEL4APPS INC (DBA INSIGHTSOFTWARE)        2501 SMALLMAN STREET, SUITE 250                                   PITTSBURGH           PA    15222
EXCEPTIONAL RISK ADVISORS LLC               ONE INTERNATIONAL BLVD, SUITE 625                                 MAHWAH               NJ    07495
EXECUTIVE SOUND PROS INC.                   16182 GOTHARD ST. #B                                              HUNTINGTON BEACH     CA    92647
EXOLAUNCH GMBH                              REUCHLINSTRASSE 10                                                BERLIN                     10553         GERMANY
EXOSENT ENGINEERING, LLC                    12600 HWY 30, SUITE 100                                           COLLEGE STATION      TX    77845
EXOTERRA RESOURCE, LLC                      10579 BRADFORD RD, SUITE 103                                      LITTLETON            CO    80127
EXOTHERMICS, INC.                           14 COLUMBIA DRIVE                                                 AMHERST              NH    03031
EXOVA, INC.                                 4214 SOLUTIONS CENTER                                             CHICAGO              IL    60677
EXPERIOR LABORATORIES                       1635 IVES AVE.                                                    OXNARD               CA    93010
EXPERIOR LABORATORIES, INC.                 1635 IVES AVENUE                                                  OXNARD               CA    93033
EXPERIS, US INC. DBA MANPOWER
ENGINEERING                                 100 MANPOWER PLACE                                                MILWAUKEE            WI    53212
EXPLOSIVES TEST CENTER, LLC                 5698 BRENNAN AVE                                                  COLORADO SPRINGS     CO    80923
EXPRESS BUSINESS SYSTEMS, INC.              9155 TRADE PLACE                                                  SAN DIEGO            CA    92126
EXPRESS ENVIRONMENTAL CORP.                 21601 PARTHENIA STREET                                            CANOGA PARK          CA    91304




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EXTREME BOLT & FASTENER, LLC             280 EAST MAIN STREET, SUITE 107                                   NEWARK              DE     19711
EXTREME ENGINEERING SOLUTIONS, INC.      3225 DEMING WAY, SUITE 120                                        MIDDLETON           WI     53562
EXTREME ENGINEERING SOLUTIONS, INC.      9901 SILICON PRAIRIE PARKWAY                                      VERONA              WI     53593
EXTREME PLUMBING LTD (CATAPULT
EMPLOYEE)                                EXTREME PLUMBING LIMITED, 20‐22 WENLOCK ROAD                      LONDON                    N1 7GU        UNITED KINGDOM

EXTRUDE HONE ABRASIVE FLOW MACHINING     8800 SOMERSET BLVD                                                PARAMOUNT           CA    90723
EZE TRUCKING, LLC (DBA RIG RUNNER)       519 N. SAM HOUSTON PARKWAY, E., SUITE 600                         HOUSTON             TX    77060
EZE TRUCKING, LLC (DBA RIG RUNNER)       PO BOX 206546                                                     DALLAS              TX    75320‐6546
EZMSIGN LLC.                             3000 S. CENTRAL AVE, UNIT A                                       LOS ANGELES         CA    90011
F&L TOOLS CORPORATION                    245 JASON COURT                                                   CORONA              CA    92879
FAB METAL SHOP                           2231 E CURRY STREET                                               LONG BEACH          CA    90805
FAHRNY, JAMES NICHOLAS                   ADDRESS ON FILE
FAIRFIELD INN                            422 W. TEHACHAPI BLVD.                                            TEHACHAPI           CA    93561
FALCON, CYNTHIA MARIE                    ADDRESS ON FILE
FAMIC TECHNOLOGIES INC.                  350‐9999 CAVENDISH                                                MONTREAL            QC    H4M2X5        CANADA
FAR EAST EQUIPMENT COMPANY, LLC          17‐3311 CORSAIR RD                                                TIYAN BARRIGUADA    GU    96913
FARELO, FABIAN                           ADDRESS ON FILE
FARELO, FABIAN                           ADDRESS ON FILE
FAROOQ, ATIF                             ADDRESS ON FILE
FASTENAL COMPANY                         1618 SABOVICH ST.                                                 MOJAVE              CA    93501
FASTENAL COMPANY                         215 ROJAS ST #215                                                 TAMUNING                  96913         GUAM
FASTENAL COMPANY                         703 WEST ANAHEIM ST                                               LONG BEACH          CA    90813
FASTLIGHTS, LLC                          47J STREET                                                        TURNER FALLS        MA    01376
FEDERAL AVIATION ADMINISTRATION          800 INDEPENDENCE AVENUE, SW                                       WASHINGTON          DC    20591
FEDERAL EXPRESS                          PO BOX 7221                                                       PASADENA            CA    91109‐7321
FEDERAL INSURANCE COMPANY (CHUBB)        CHUBB INSURANCE, 1133 AVENUE OF THE AMERICAS                      NEW YORK            NY    10036
FEDERAL SIGNAL CORPORATION               2645 FEDERAL SIGNAL DRIVE                                         UNIVERSITY PARK     IL    60485

FEDERAL TRADE COMMISSION                 FINANCIAL OPERATIONS DIVISION, 600 PENNSYLVANIA AVE, DROP H‐790   WASHINGTON          DC    20580
FEDEX FREIGHT                            DEPT LA, PO BOX 21415                                             PASADENA            CA    91185
FEEGER LUCAS WOLFE                       5672 BOLSA AVE                                                    HUNTINGTON BEACH    CA    92649
FEKADU, BEIMNET HAILU                    ADDRESS ON FILE
FELICIA ZIGMAN                           ADDRESS ON FILE
FENCE MASTERS                            7030 MENDIBURU RD                                                 CALIFORNIA CITY     CA    93505
FEREGRINO VEGA, MANUEL                   ADDRESS ON FILE
FERGOT, NATHAN                           ADDRESS ON FILE
FERGOT, NATHAN D                         ADDRESS ON FILE
FERGUSON ENTERPRISES                     1144 W. AVE L‐12                                                  LANCASTER           CA    93534
FERGUSON ENTERPRISES                     5071 TELEGRAPH ROAD                                               LOS ANGELES         CA    90022
FERIDO, AMROSS                           ADDRESS ON FILE
FERNANDO ZUNIGA                          ADDRESS ON FILE
FERNDELL COFFEE ROASTERS                 22414 S. NORMANDIE STE B                                          TORRANCE            CA    90502
FERRAN CRUZ, JUAN GUILLERMO              ADDRESS ON FILE
FEVR LLC                                 350 LINCOLN ROAD                                                  MIAMI BEACH         FL    33139
FIALA, RONALD MARTIN                     ADDRESS ON FILE
FIBA TECHNOLOGIES INC                    53 AYER RD                                                        LITTLETON           MA    01460

FIDELITY MANAGEMENT & RESEARCH COMPANY 155 FEDERAL STREET SUITE 700                                        BOSTON              MA    02110
FIDELITY STOCK PLAN SERVICES, LLC      100 CROSBY PARKWAY KC2Q                                             COVINGTON           KY    41015
                                                                                                                                                   UNITED ARAB
FIFTEENTH INVESTMENT COMPANY LLC         MAMOURA BUILDING MUROOR STREET, PO BOX 45005                      ABU DHABI                               EMIRATES
FIGARO USA INC                           121 S. WILKE RD., STE. 300                                        ARLINGTON HEIGHTS   IL    60005
FIKE CORPORATION                         704 SW 10TH ST                                                    BLUE SPRINGS        MO    64015
FINANCE TECHNOLOGY LEVERAGE, LLC         333 ALBERT AVENUE, SUITE 400                                      EAST LANSING        MI    48823

FINANCIAL ACCOUNTING STANDARDS BOARD     PO BOX 418272                                                     BOSTON              MA    02241‐8272
FINEST CITY ENTERTAINMENT                2031 COMMERCIAL STREET                                            SAN DIEGO           CA    92113
FINN TOOL & INSTRUMENTS, INC.            8758 REMMET AVE.                                                  CANOGA PARK         CA    91304
FINN, PATRICK                            ADDRESS ON FILE
FINRA                                    1735 K STREET NW                                                  DC, DC              WA    20006
FINTA, ROBERT                            ADDRESS ON FILE
FINTA, ROBERT ALLEN                      ADDRESS ON FILE
FIRE ACE INC                             PO BOX 298                                                        LANCASTER           CA    93584
FIRE SUPPLY DEPOT                        8750 E. SPEEDWAY BLVD, STE 150                                    TUCSON              CA    85710
FIREBALL INTERNATIONAL PTY LTD.          PEREGIAN DIGITAL HUB, UNIT 4, 253 DAVID LOW WAY                   PEREGIAN BEACH            QLD, 4573     AUSTRALIA
FIREFLY AEROSPACE INC.                   1320 ARROW POINT DRIVE, SUITE 109                                 CEDAR PARK          TX    78613
FIRST                                    200 BEDFORD ST                                                    MANCHESTER          NH    03101
FIRST ADVANTAGE BACKGROUND SERVICES
CORP.                                    ONE CONCOURSE PKWY SUITE 200                                      ATLANTA             GA    30328
FIRST INSURANCE FUNDING                  450 SKOKIE BLVD, STE.1000                                         NORTHBROOK          IL    60062‐7917

FIRST INSURANCE FUNDING CORPORATION      3802 ALBRIGHT AVE, 450 SKOKIE BLVD, STE 1000                      NORTHBROOK          IL    60062‐7917
FIRST RESONANCE                          600 WILSHIRE BLVD, SUITE 1500                                     LOS ANGELES         CA    90017
FIRST UNUM LIFE INSURANCE COMPANY        PO BOX 406927                                                     ATLANTA             GA    30384‐6927
FIRST UNUM SUPPLEMENTAL                  PO BOX 406927                                                     ATLANTA             GA    30384‐6927
FISCHER SPECIAL TOOLONG CORP.            7219 COMMERCE DRIVE                                               MENTOR              OH    44095
FISHER SCIENTIFIC COMPANY, LLC.          300 INDUSTRY DR.                                                  PITTSBURGH          PA    15275
FITTERER, JORDAN                         ADDRESS ON FILE
FITZPATRICK, HENRY                       ADDRESS ON FILE
FIVES MACHINING SYSTEMS, INC.            2200 LITTON LANE                                                  HEBRON              KY    41048
FLACKTEK INC                             1708 HIGHWAY 11                                                   LANDRUM             SC    29356
FLAGSHIP LOGISTICS GROUP                 PO BOX 22486                                                      INDIANAPOLIS        IN    46222
FLAME ENTERPRISES, INC                   21500 GLEDHILL ST                                                 CHATSWORTH          CA    91311
FLAME SPRAY INC                          4674 ALVARADO CANYON ROAD                                         SAN DIEGO           CA    92120
FLANEGAN, MARK                           ADDRESS ON FILE
FLANZER, MATTHEW                         ADDRESS ON FILE
FLARE GROUP (DBA AVIATION EQUIPMENT
PROCESSING)                              1571 MACARTHUER BLVD                                              COAST MESA          CA    92626
FLEETS 101 INC.                          14850 E. FIRESTONE BLVD.                                          LA MIRADA           CA    90638
FLETES, JOSE                             ADDRESS ON FILE




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FLEXARM                                   705 COMMERCE DRIVE                                                 WAPAKONETA          OH       45895
FLEXIAL CORPORATION                       1483 GOULD DRIVE                                                   COOKEVILLE          TN       38506
FLEXIBLE ASSEMBLY SYSTEMS, INC.           8220 ARJONS DR.                                                    SAN DIEGO           CA       92126
FLEXLINE, INC                             11 COLUMBUS AVE                                                    KENILWORTH          NJ       07033
FLEXTECH ENGINEERING, INC.                715 N MOUNTAIN AVE, SUITE 201                                      UPLAND              CA       91786
FLIGHT RESEARCH, INC.                     1062 FLIGHT LINE                                                   MOJAVE              CA       93501
FLIGHT WORKS, INC.                        17905 SKY PARK CIRCLE, SUITE F                                     IRVINE              CA       92614
FLIGHTAWARE LLC                           ELEVEN GREENWAY PLAZA, SUITE 2900                                  HOUSTON             TX       77046
FLIGHTRADAR 24                            FLIGHTRADAR 24 AB, BRUNNSGATAN 13, 9TH FLOOR                       STOCKHOLM                    11138       SWEDEN
FLODYNE CONTROLS, INC.                    48 COMMERCE DRIVE                                                  MURRAY HILL         NJ       07974
FLORES, ANGELINA                          ADDRESS ON FILE
FLORES, CHRISTOPHER                       ADDRESS ON FILE
FLORES, CHRISTOPHER NICHOLAS              ADDRESS ON FILE
FLORES, EDWIN                             ADDRESS ON FILE
FLORES, JORGE                             ADDRESS ON FILE
FLORIDA COMMERCIAL PROPULSION & POWER
SYSTEMS, INC.                             3840 HAMMOCK ROAD                                                  MIMS                FL       32754
FLOTRON, INC                              2630 PROGRESS STREET                                               VISTA               CA       92081
FLOW TECHNOLOGY, INC.                     8930 S BECK AVENUE, SUITE 107                                      TEMPE               AZ       85284
FLOWNEX                                   24 TOTIUS STREET, POTCHEFSTROOM, NORTH‐WEST                        NOORDBRUG                    2522         SOUTH AFRICA
FLOWSERVE                                 5215 N O'CONNOR BLVD SUITE 2300                                    IRVING              TX       75039
FLOWSERVE US INC.                         6215 N O'CONNOR BLVD STE 2300                                      IRVING              TX       75039
FLUID GAUGE COMPANY                       485 CABOT ROAD                                                     SAN FRANCISCO       CA       94080
FLUID MECHANICS VALVE COMPANY             12803 FM 529 RD                                                    HOUSTON             TX       77041
FLUIDIC SYSTEMS                           2655 SOUTH ORANGE AVENUE                                           SANTA ANA           CA       92707
FLW INC.                                  5672 BOLSA AVE                                                     HUNTINGTON BEACH    CA       92649
FM ESD FLOORING SOLUTIONS                 693 ELMIRA ST.                                                     PASADENA            CA       91104
FMH CORPORATION                           17072 DAIMLER STREET                                               IRVINE              CA       92614

FMR LLC DBA FIDELITY INVESTMENTS
INSTITUTIONAL OPERATIONS COMPANY LLC      88 BLACK FALCON AVE., SUITE 167                                    BOSTON              MA       02210
FOAM PLASTICS AND RUBBER PRODUCTS (DBA
CASE CLUB)                                4765 E. BRYSON STREET                                              ANAHEIM             CA       92807
FOERSTER, CHAD                            ADDRESS ON FILE
FOERSTER, CHAD EDMUND                     ADDRESS ON FILE
FOKKER SERVICES AMERICAS                  456 AEROTRON PKWY                                                  LAGRANGE            GA       30240
FOKKER SERVICES B.V.                      HOEKSTEEN 40                                                       HOOFDDORP                    2132 MS      NETHERLANDS
FOLIO ART LIMITED                         10 GATE STREET                                                     LONDON                       WC2A 3HP     UNITED KINGDOM
FONG, NOREEN                              ADDRESS ON FILE
FONG, THOMAS                              ADDRESS ON FILE
FOODA, INC                                225 W RANDOLPH STREET, SUITE 1700                                  CHICAGO             IL       60606
FORD MOTOR CREDIT COMPANY                 6211 BEACH BLVD                                                    BUENA PARK          CA       90621
FORD MOTOR CREDIT COMPANY                 P.O. BOX 552679                                                    DETROIT             MI       48255‐2679
FORD, PATRICK T                           ADDRESS ON FILE
FOREMAN, VERONICA                         ADDRESS ON FILE
FOREMOST FOODS, INC.                      161 US ARMY JUAN C FEJERAN STREET                                  BARRIGADA           GU       96913
FORSYTH, ROBERT                           ADDRESS ON FILE
FORT ORD WORKS, INC.                      791 NEESON RD.                                                     MARINA              CA       93933
FORT ROBOTICS INC.                        1608 WALNUT STREET, SUITE 1200                                     PHILADELPHIA        PA       19103
FORTH, SCOTT CHRISTOPHER                  ADDRESS ON FILE
FORTRA, LLC                               11095 VIKING DR, SUITE 100                                         EDEN PRAIRIE        MN       55344
FORTRA, LLC                               6455 CITY W PKWY                                                   EDEN PRAIRIE        MN       55344
FOSTER, NICHOLAS P                        ADDRESS ON FILE
FOTRONIC CORPORATION                      5 COMMONWEALTH AVE, UNIT 6                                         WOBURN              MA       01801‐1069
FOWLER HIGH PRECISION                     780 DEDHAM STREET, SUITE 900                                       CANTON              MA       02021
FOWLER, TIFFANI                           ADDRESS ON FILE
FOX FACTORY, INC.                         6634 HWY 53                                                        BRASELTON           GA       3‐517
FOX ROTHSCHILD LLP                        2000 MARKET STREET 20TH FLOOR                                      PHILADELPHIA        CA       19103
FOX THERMAL                               399 RESERVATION RD                                                 MARINA              CA       93933
FOX VALVE                                 85 FRANKLIN ROAD ‐ UNIT 6A                                         DOVER               NJ       07801
FOX, NICHOLAS A.R.                        ADDRESS ON FILE
FPM INC.                                  25188 TELEGRAPH RD                                                 BROWNSTOWN          MI       48134
FRAGOMEN, DEL REY, BERNSEN                1ST FLOOR, 95 GRESHAM ST                                           LONDON                       EC2V 7NA     UNITED KINGDOM
FRAGOMEN, DEL REY, BERNSEN                90 MATAWAN ROAD, 4TH FLOOR                                         MATAWAN             NJ       07747
FRANCHISE TAX BOARD                       P.O. BOX 942857                                                    SACRAMENTO          CA       94257‐0531
FRANCIS MCGRATH DBA BASIC AMERICAN
ENTERPRISES LLC                           7076 ISLAND VILLAGE DR.                                            LONG BEACH          CA       90803
FRANCIS, MARK PAUL                        ADDRESS ON FILE
FRANCISCO, MARGRETTE ANGELA               ADDRESS ON FILE
FRANK BIELE                               ADDRESS ON FILE
FRANK DEVINE OF ACCELERATED IMPROVEMENT
LTD.                                      30 FENNYLAND LANE                                                  KENILWORTH                   CV8 2RS      UNITED KINGDOM
FRANKS, CHRISTOPHER                       ADDRESS ON FILE
FRANKS, CHRISTOPHER                       ADDRESS ON FILE
FRASER, KIMBERLEE                         ADDRESS ON FILE
FRASER, KIMBERLEE MAE                     ADDRESS ON FILE
FRAUNHOFER INSTITUTE FOR HIGH SPEED
DYNAMICS, ERNST‐MACH‐INSTITUTE, EMI       ERNST‐ZERMELO‐STR. 4                                               FREIBURG                     79104        GERMANY
FRAZIER, DESHAWN                          ADDRESS ON FILE
FRAZIER, DESHAWN M                        ADDRESS ON FILE
FRED V. FOWLER CO. INC. DBA FOWLER HIGH
PRECISION                                 780 DEDHAM STREET                                                  CANTON              MA       02021
FREE SPACE INC.                           80 CAMBRIDGEPARK DR                                                CAMBRIDGE           MA       02140

FREEDOM SPECIALTY INSURANCE COMPANY       7 WORLD TRADE CENTER, 33RD FLOOR, GREENWICH STREET                 NEW YORK            NY       10007
FREEFORM                                  "SUBJECT TO CONTINUED DILIGENCE*"
FREEHILLS, HERBERT SMITH                  ADDRESS ON FILE
FREEMAN MFG. & SUPPLY COMPANY             3152 S.E. LOOP 820                                                 FORT WORTH          TX       76140
FRENCH, CHRISTOPHER KEITH                 ADDRESS ON FILE
FRESH AIRE SYSTEMS INC. (DBA FRESH AIRE
DUCT CLEANING)                            2930 HONOLULU AVE.                                                 LA CRESCENTA        CA       91214




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FRESH AIRE SYSTEMS INC. (DBA FRESH AIRE
DUCT CLEANING)                             3436 N. VERDUGO RD. STE. 230                                      GLENDALE              CA       91208
FRESH GENERATION INC                       13237 GARVEY AVE                                                  BALDWIN PARK          CA       91706
FRESH INTERACTIVE, LLC                     11685 NATIONAL BLVD.                                              LOS ANGELES           CA       90064
FRESH INTERACTIVE, LLC                     606 ALAMO PINTADO ROAD, SUITE 3‐347                               SOLVANG               CA       93463
FRICKE, JENIFER                            ADDRESS ON FILE
FRISK, MEGAN                               ADDRESS ON FILE
FROCCHI, KAILEE                            ADDRESS ON FILE
FROG ENVIRONMENTAL INC. (DBA STORM
WATER SYSTEMS)                             24426 SOUTH MAIN ST, SUITE 701                                    CARSON                CA       90745
FRONT PANEL EXPRESS, LLC                   1015 CENTRAL AVE NORTH                                            KENT                  WA       98032
FRONT PANEL EXPRESS, LLC                   5959 CORSON AVENUE SOUTH, SUITE I                                 SEATTLE               WA       98108
FRONTIER AEROSPACE CORPORATION             4109A GUARDIAN ST.                                                SIMI VALLEY           CA       93063
FRONTIER COMMUNICATIONS                    401 MERRITT 7                                                     NORWALK               CT       06851
FRONTIER COMMUNICATIONS                    PO BOX 740407                                                     CINCINNATI            OH       45274‐0407

FRONTIER COMMUNICATIONS OF AMERICA, INC.   800 W. 16TH ST                                                    LONG BEACH            CA       90813
FRONTIER TECHNOLOGIES                      800 W. 16TH ST                                                    LONG BEACH            CA       90813
FROST & SULLIVAN, INC.                     7550 IH 10 WEST                                                   SAN ANTONIO           TX       78229
FRY STEEL COMPANY                          13325 MOLETTE STREET                                              SANTA FE SPRINGS      CA       90670
FS STUDIO                                  3300 POWELL ST, SUITE #209                                        EMERYVILLE            CA       94608

FS STUDIO IS THE DBA FOR FLAKASOFT INC.    3300 POWELL STREET, SUITE 201                                     EMERYVILLE            CA       94608
FTR ENTERPRISES, LLC                       167 KACHINA DRIVE                                                 HENDERSON             NV       89052
FTR ENTERPRISES, LLC                       380 VIA SONADOR                                                   HENDERSON             NV       89012
FU, ROBERT                                 ADDRESS ON FILE
FUCELLA‐CORBIN, BRIAN WILLIAM              ADDRESS ON FILE
FUERZA AEREA COLOMBIANA                    AVENIDA EL DORADO CRA 52 CAN                                      BOGOTA                                      COLOMBIA
FUJIPOLY AMERICA CORPORATION               900 MILIK ST                                                      CARTERET              NJ       07008
FULCRUM LEARNING SYSTEMS, INC.             3325 PICO BLVD                                                    SANTA MONICA          CA       90405
FULLER, JOHN                               ADDRESS ON FILE
FULLER, JOHN D                             ADDRESS ON FILE
FULLY                                      117 SE TAYLOR ST, SUITE 301                                       PORTLAND              OR       97214
FURBISH, NICHOLAS FRANK                    ADDRESS ON FILE
FUSCO, DAVID                               ADDRESS ON FILE
FUSION CONNECT, LLC                        210 INTERSTATE NORTH PARKWAY SUITE 300                            ATLANTA               GA       30339
FUSION LLC                                 210 INTERSTATE N PKWY SUITE 300                                   ATLANTA               GA       30339
FUSION LLC                                 DEPT CH 17826                                                     PALATINE              IL       60055‐7826
FUSION LLC                                 PO BOX 512402                                                     LOS ANGELES           CA       90051‐0402

FUTEK ADVANCED SENSOR TECHNOLOGY, INC.     PO BOX 844891                                                     LOS ANGELES           CA       90084‐4891
FUTURAMIC TOOL AND ENGINEERING             14680 GIBSON DRIVE                                                WARREN                MI       48089
FUTURE ELECTRONICS CORP                    3255 PAYSPHERE CIRCLE                                             CHICAGO               IL       60674
FUTURE ELECTRONICS CORP                    41 EAST MAIN ST.                                                  BOLTON                MA       01740
FUTURE METALS, LLC                         10401 STATE ST.                                                   TAMARAC               FL       33321
FUTURE SPACE LEADERS                       5335 WISCONSIN AVENUE, NW, STE 520                                WASHINGTON            DC       20015
FUZE BOX                                   150 SPEAR STREET, SUITE 550                                       SAN FRANCISCO         CA       94105
G FORCE FLOOR COVERING                     512 SOUTH MONTEREY STREET                                         ALHAMBRA              CA       91801
G SQUARED EQUITY MANAGEMENT LP             251 LITTLE FALLS DRIVE                                            WILMINGTON            DE       19808
G SYSTEMS, INC.                            1240 E. CAMPBELL ROAD, SUITE 100                                  RICHARDSON            TX       75801
G&S GRINDING CO., INC.                     2362 E. STURGIS RD., UNIT H                                       OXNARD                CA       93030
                                                                                                                                                         UNITED ARAB
G42 COMPANIES MANAGEMENT RSC LTD           DEDICATED DESK #14‐117‐003, AL KHATEM TOWER, ADGM, AL MARYAH      ABU DHABI                                   EMIRATES
GABRIEL ANGULO                             ADDRESS ON FILE
GADD, JUAN PABLO                           ADDRESS ON FILE
GAGE‐IT INC.                               94 N. BRANCH STREET                                               SELLERSVILLE          PA       18960
GAIKWAD, SANGRAM KRISHNA                   ADDRESS ON FILE
GAINOUS, STEPHANIE A.                      ADDRESS ON FILE
GALACTIC CO. LLC                           1223A SABOVICH ST, BLDG 79                                        MOJAVE                CA       93501
GALACTIC CO., LLC                          16555 SPACESHIP LANDING WAY                                       MOJAVE                CA       93501
GALACTIC ENTERPRISES, LLC                  166 ROADRUNNER PARKWAY, SUITE 1C                                  LAS CRUCES            NM       88011
GALAXIA MISSION SYSTEMS                    5675 SPRING GARDEN RD., SUITE A4                                  HALIFAX               NS       B3J 1G9      CANADA
GALAXY TECHNOLOGIES INC                    1111 INDUSTRIAL BLVD                                              WINFIELD              KS       67156
GALCO INDUSTRIAL ELECTRONICS, INC.         26010 PINEHURST DR                                                MADISON HEIGHTS       MI       48071
GALLAGHER, ARTHUR J                        ADDRESS ON FILE
GALLAGHER, ARTHUR J                        ADDRESS ON FILE
GALLAGHER, MIKE                            ADDRESS ON FILE
GALLENBACH, JAMES                          ADDRESS ON FILE
GALLUP, INC.                               1001 GALLUP DRIVE                                                 OMAHA                 NE       68102
GALLUP, INC.                               18300 VON KARMAN AVE., SUITE 100                                  IRVINE                CA       92612
GALPIN MOTORS, INC.                        15505 ROSCOE BLVD                                                 NORTH HILLS           CA       91343
GAMBLE, DAVID BALDWIN                      ADDRESS ON FILE
GAMBOA, JOEL E.                            ADDRESS ON FILE
GAMEZ, GERARDO                             ADDRESS ON FILE
GAMEZ, GERARDO                             ADDRESS ON FILE
GANGWAR, MONICA                            ADDRESS ON FILE
GANI, MEI MEI NOVITA                       ADDRESS ON FILE
GANN, GEOFF                                ADDRESS ON FILE
GARCIA III, GARY                           ADDRESS ON FILE
GARCIA III, GARY                           ADDRESS ON FILE
GARCIA MORELOS, SAM                        ADDRESS ON FILE
GARCIA, ANGELICA                           ADDRESS ON FILE
GARCIA, CHRISTIAN XAVIER                   ADDRESS ON FILE
GARCIA, FRANCISCO                          ADDRESS ON FILE
GARCIA, GARY                               ADDRESS ON FILE
GARCIA, HECTOR                             ADDRESS ON FILE
GARCIA, JONATHAN PAUL                      ADDRESS ON FILE
GARCIA, MADELINE                           ADDRESS ON FILE
GARCIA, MARIO                              ADDRESS ON FILE
GARCIA, MICHELLE                           ADDRESS ON FILE
GARCIA, PONCIANO                           ADDRESS ON FILE




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GARCIA, PONCIANO ARTHUR                      ADDRESS ON FILE
GARCIA, XAVIER                               ADDRESS ON FILE
GARCIAS QMS STANDARDS                        1632 W. 139TH STREET                                                GARDENA               CA       90249
GARCILAZO, MISAEL AMILCAR                    ADDRESS ON FILE
GARDCO                                       316 N. E. FIRST STREET                                              POMPANO BEACH         FL       33060

GARDEN GROVE UNIFIED SCHOOL DISTRICT         10331 STANFORD AVE                                                  GARDEN GROVE          CA       92840
GARDENA SPECIALIZED PROCESSING               16520 S. FIGUEROA ST                                                GARDENA               CA       90248
GARIBAY, JONATHAN                            ADDRESS ON FILE
GARLAND, STEVEN                              ADDRESS ON FILE
GARLAND, STEVEN RICHARD                      ADDRESS ON FILE
GARRETT CREAMER                              3455 17TH STREET                                                    BOULDER               CO       80304
GARRETT CUSTOM TRAILERS                      1720 VOYAGER AVE # B                                                SIMI VALLEY           CA       93063
GARRETT OLSON                                ADDRESS ON FILE
GARVEY, JOHN MICHAEL                         ADDRESS ON FILE
GARY JOHNSON                                 ADDRESS ON FILE
GARY JOHNSON                                 ADDRESS ON FILE
GARY LITTLE CONSTRUCTION                     42330 10TH STREET WEST                                              LANCASTER             CA       93534
GARZA, MARIO                                 ADDRESS ON FILE

GASCON A DIVISION OF SOUTHEY HOLDINGS        1 CONSTANT ROAD, ELSIES RVER 7L90                                   CAPE TOWN                                   SOUTH AFRICA
GASCON A DIVISION OF SOUTHEY HOLDINGS
(PTY) LTD                                    CONSANI BUSINESS PARK, CNR 20TH STREET & 7TH AVENUE, ELSIES RIVER CAPE TOWN                        7490         SOUTH AFRICA
GASKETS, INC.                                301 W HWY 16                                                      RIO                     WI       53933
GATHERCOLE, CHRIS                            ADDRESS ON FILE
GAVIN ENTERPRISES                            10 KEITH WAY, SUITE 4                                             HINGHAM                 MA       02043
GAY, MATTHEW R                               ADDRESS ON FILE
GC MICRO CORPORATION                         3910 CYPRESS DRIVE                                                PETALUMA                CA       94954
GC VALVES, INC                               PO BOX 7066                                                       CHARLOTTE               NC       28241‐7066
GCV DEMA, LLC (DBA GC VALVES, LLC)           456 CROMPTON STREET                                               CHARLOTTE               NC       28273
GEARY, CHRISTOPHER I                         ADDRESS ON FILE
GEE, BAXTER                                  ADDRESS ON FILE

GEMINI MANUFACTURING & ENGINEERING, INC.     1020 E. VERMONT AVE.                                                ANAHEIM               CA       92805
GENDY, RAFIK                                 ADDRESS ON FILE
GENERAL ATOMICS                              3550 GENERAL ATOMICS COURT                                          SAN DIEGO             CA       92121
GENERAL DYNAMICS ORDNANCE AND TACTICAL
SYSTEMS, INC.                                11399 16TH COURT NORTH, SUITE 200                                   ST. PETERSBURG        FL       33716
GENERAL DYNAMICS‐OTS, INC.                   326 IBM ROAD, BUILDING 862                                          WILLISTON             VT       05495
GENERAL ELECTRIC COMPANY                     ONE NEUMANN WAY                                                     CINCINNATI            OH       45215

GENERAL ELECTRIC COMPANY (GE AVIATION BU)    18000 PHANTOM WEST DRIVE                                            VICTORVILLE           CA       92394
GENERAL GRINDING & MFG. CO., LLC.            15100 VALLEY VIEW AVENUE                                            LA MIRADA             CA       90638
GENERAL POLYMER SOLUTIONS, LLC.              2485 MESA TERRACE                                                   UPLAND                CA       91784
GENERAL SULLIVAN GROUP, INC. (DBA SULLIVAN
STEEL SERVICES)                              85 ROUTE 31 NORTH                                                   PENNINGTON            NJ       08534

GENERAL UNDERGROUND FIRE PROTECTION          PO BOX 29830                                                        ANAHEIM               CA       92809
GENERANT CO. INC.                            1865 ROUTE 23 SOUTH P.O. BOX 768                                    BUTLER                NJ       07405

GENERATION ORBIT LAUNCH SERVICES, INC.       3980 DEKALB TECHNOLOGY PARKWAY, SUITE 760                           ATLANTA               GA       30340
GENEROLI, ROBERT M                           ADDRESS ON FILE
GENERON                                      992 ARCY LANE BUILDING 992                                          PITTSBURG             CA       94565
GENTEX CORPORATION                           9859 7TH STREET                                                     RANCHO CUCAMONGA      CA       91730

GEO POLLUTION TECHNOLOGIES (UK) LTD.         NO’S. 2‐4 VILLAGE COURT, VILLAGE FARM INDUSTRIAL ESTATE, PYLE       BRIDGEND                       CF33 6BX     UNITED KINGDOM
GEOOPTICS, INC.                              945 WEST ROAD                                                       NEW CANAAN            CT       06840
GEORGE WASHINGTON CARVER ELEMENTARY
SCHOOL                                       5335 E. PAVO ST, ATTN AJ DELANEY‐ STEM GRANT ROOM 22                LONG BEACH            CA       90808
GERBER TECHNOLOGY LLC                        24 INDUSTRIAL PARK ROAD WEST                                        TOLLAND               CT       06084
GERMAIN, TROY                                ADDRESS ON FILE
GERMANI, MICHAEL JOSEPH                      ADDRESS ON FILE
GERMFREE LABORATORIES, INC.                  4 SUNSHINE BLVD                                                     ORMOND BEACH          FL       32174
GET HOOKED CRANE SERVICE, INC                43759 15TH ST WEST #505                                             LANCASTER             CA       93534
GEXCON UK LIMITED                            32 DERBY STREET                                                     ORMSKIRK                       L39 2BY      UNITED KINGDOM
GEXCON UK LTD                                831 BIRCHWOOD BOULEVARD                                             WARRINGTON                     WA 37QZ      UNITED KINGDOM
GF MACHINING SOLUTIONS LLC                   9271 JERONIMO RD.                                                   IRVINE                CA       92618
GHT INDUSTRIAL MACHINING AND WELDING
CO, INC                                      10733 PAINTER AVE                                                   SANTA FE SPRINGS      CA       90670
GIBBS, TEENA                                 ADDRESS ON FILE
GIBBS, TEENA J                               ADDRESS ON FILE
GIBSON & BARNES                              1900 WELD BLDV., #140                                               EL CAJON              CA       92020
GID HOLDINGS, LLC (DBA GID INDUSTRIAL)       1213 EXECUTIVE DRIVE EAST                                           RICHARDSON            TX       75081
GIGASAVVY                                    14988 SAND CANYON AVENUE, STUDIO 4, STUDIO 4                        IRVINE                CA       92618
GIL, OSCAR ANDRE                             ADDRESS ON FILE
GILBERT TSENG                                ADDRESS ON FILE
GILBEY, BERNADETTE                           ADDRESS ON FILE
GILCHRIST, KEVIN                             ADDRESS ON FILE
GILDNER, TRAVIS                              ADDRESS ON FILE
GILDNER, TRAVIS KLEO                         ADDRESS ON FILE
GILES, LISA L                                ADDRESS ON FILE
GILMORE, TRENT CHARLES                       ADDRESS ON FILE
GIMBEL GROUP LLC                             983 S MERIDAN AVE                                                   ALHAMBRA              CA       91803
GINGISS, ANTHONY                             ADDRESS ON FILE
GINGISS, ANTHONY JOHN                        ADDRESS ON FILE
GIOFFREDI, CHARLES                           ADDRESS ON FILE
GIOVANNY GUANCHE                             ADDRESS ON FILE
GIRL SCOUTS OF GREATER LOS ANGELES           1150 S OLIVE ST, STE 600                                            LOS ANGELES           CA       90015
GIVENS, CANDACE                              ADDRESS ON FILE
GIVENS, CANDACE LOUISE                       ADDRESS ON FILE
GLASSDOOR, INC.                              100 SHORELINE HIGHWAY                                               MILL VALLEY           CA       94941




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GLENAIR, INC                              1211 AIR WAY                                                      GLENDALE             CA     91201
GLENN, ROBERT                             ADDRESS ON FILE
GLENN, ROBERT HARRISON                    ADDRESS ON FILE
GLOBAL AEROSPACE, INC.                    115 TABOR RD, STE 3A                                              MORRIS PLAINS        NJ      07950
                                          ARTHUR J. GALLAGHER RISK MANAGEMENT SERVICES, INC., 250 PARK
GLOBAL AEROSPACE, INC.                    AVE, 3RD FLOOR                                                    NEW YORK             NY      10177
GLOBAL INDUSTRIAL                         29833 NETWORK PLACE                                               CHICAGO              IL      60673
GLOBAL O‐RING AND SEAL, LLC               4250 N SAM HOUSTON PKWY E STE 100                                 HOUSTON              TX      77032
GLOBAL O‐RING AND SEAL, LLC               PO BOX 670776                                                     DALLAS               TX      75267‐0776
GLOBAL SATELLITE VU LTD                   16 HIGH HOLBORN                                                   LONDON                       WC1V 6BX     UNITED KINGDOM

GLOBAL SOFTWARE, LLC DBA INSIGHTSOFTWARE 8529 SIX FORKS ROAD, SUITE 400                                     RALEIGH              NC      27615
GLOBAL TECHNOLOGY ENTERPRISES, INC.      305 N. STATE HWY 101, P.O. BOX 667                                 CHICO,               TX      76431
GLOBAL TRADE & CUSTOMS INC.              1 WORLD TRADE CENTER, SUITE 1650                                   LONG BEACH           CA      90831
GLOVER, ANDREW                           ADDRESS ON FILE
GLOVER, ANDREW JAMES                     ADDRESS ON FILE
GLUCK, ADAM                              ADDRESS ON FILE
GLUCK, ADAM D                            ADDRESS ON FILE
GMES, LLC                                1801 WESTFALL DRIVE                                                COLUMBIA             MO      65202
GMW ASSOCIATES, INC.                     955 INDUSTRIAL RD                                                  SAN CARLOC           CA      94070
GOCHES, MICHAEL                          ADDRESS ON FILE
GODINEZ, NOEL ADRIAN                     ADDRESS ON FILE
GODOY, AMANDA JANE                       ADDRESS ON FILE
GODWIN GLOBAL, INCORPORATED              10612D PROVIDENCE RD, SUITE 525                                    CHARLOTTE            NC      28277
GODWIN GLOBAL, INCORPORATED              1151 BISCAYNE DRIVE                                                CONCORD              NC      28027
GOEL, ADHIRAJ                            ADDRESS ON FILE
GOEL, ADHIRAJ M                          ADDRESS ON FILE
GOLD TANK INSPECTION SERVICES INC.       5606 MAPLE SQUARE, PO BOX 5638                                     KINGWOOD             TX      77325
GOLD, JEFFREY                            ADDRESS ON FILE
GOLDEN ENGINEERING                       PO BOX 185                                                         CENTERVILLE          IN      47330
GOLDEN OFFICE TRAILERS, INC              PO BOX 669                                                         WILDOMAR             CA      92595
GOLDEN WEST TRAILER SALES                1686 WEST SIERRA HIGHWAY                                           ACTON                CA      93510
GOLDEN, MATTHEW                          ADDRESS ON FILE
GOLDMAN SACHS & CO. LLC                  71 SOUTH WACKER DRIVE, SUITE 1200                                  CHICAGO              IL      60606
GOLDMAN‐VALERIOTE FAMILY TRUST U/A/D
11/15/95                                 441 WALSH RD                                                       ATHERTON             CA      94027‐6438
GOLDSTEIN, JESSE                         ADDRESS ON FILE
GOMEZ RENDON, ABRAHAM                    ADDRESS ON FILE
GOMEZ, ALFREDO                           ADDRESS ON FILE
GOMEZ, ANDREW RAFAEL                     ADDRESS ON FILE
GOMEZ, JOSE RAFAEL                       ADDRESS ON FILE
GOMEZ, RUBEN                             ADDRESS ON FILE
GOMEZ, YESENIA                           ADDRESS ON FILE
GOMEZ, YESENIA                           ADDRESS ON FILE
GOMMI, ZACHARY                           ADDRESS ON FILE
GOMSPACE A/S                             LANGAGERVEJ 6                                                      AALBORG EAST                 DK‐9220      DENMARK
GONI, INC.                               1522 WEST HEMLOCK WAY                                              SANTA ANA            CA      92704
GONZALEZ, DANIEL                         ADDRESS ON FILE
GONZALEZ, JOSE                           ADDRESS ON FILE
GONZALEZ, MAXIMILIANO                    ADDRESS ON FILE
GONZALEZ, RANCE                          ADDRESS ON FILE
GONZALEZ, REYANN                         ADDRESS ON FILE
GONZALEZ‐VEGA, EDUARDO                   ADDRESS ON FILE
GOODMAN GROUP                            18201 VON KARMAN AVENUE, SUITE 1170                                IRVINE               CA      92612
GOODWAY TECHNOLOGIES CORPORATION         420 WEST AVE                                                       STAMFORD             CT      06902
GORANSON, MARCEL                         ADDRESS ON FILE
GORDIAN DESIGN SERVICES                  425 N. BLOOMBERRY UNIT B                                           ORANGE               CA      92869
GORE, KYLE                               ADDRESS ON FILE
GORES HOLDINGS VII, INC.                 6260 LOOKOUT ROAD                                                  BOULDER              CO      80301
GORY, RUDDY SHANNON                      ADDRESS ON FILE
GOTHAM IMMERSIVE LABORATORIES, LLC       338 JEFFERSON AVE                                                  BROOKLYN             NY      11216
GP:50 NEW YORK, LTD                      2770 LONG RD.                                                      GRAND ISLAND         NY      14072
GRACE MIN (DBA SOUR SHOES ROCKS INC)     11626 GORHAM AVE APT 6                                             LOS ANGELES          CA      90049
GRACO SUPPLY                             1001 MILLER AVENUE                                                 FORT WORTH           TX      76105
GRACOROBERTS                             3200 AVENUE E EAST                                                 ARLINGTON            TX      76011
GRAINGER INDUSTRIAL SUPPLY               100 GRAINGER PARKWAY                                               LAKE FOREST          IL      60045‐5201
                                                                                                                                 SÃO
GRANT THORNTON BRASIL INTERNATIONAL LTD   RUA MÁRIO DE ANDRADE, 48 ‐ 15TH FLOOR                             SANTA CECÍLIA        PAULO   01154‐060    BRAZIL
GRAPHITE METALLIZING CORPORATION          1050 NEPPERHAN AVE                                                YONKERS              NY      10703
GRAPHTEC AMERICA, INC.                    17462 ARMSTRONG AVE.                                              IRVINE               CA      92614
GRASSL, ROLAND REINHOLD                   ADDRESS ON FILE
GRAYBAR ELECTRIC COMPANY                  34 N. MERAMEC AVENUE                                              ST. LOUIS            MO      63105
GRAYBAR ELECTRIC COMPANY, INC.            34 N. MERAMEC AVENUE                                              CLAYTON              MO      63105
GRAYLOC PRODUCTS LLC                      9342 TELGE RD                                                     HOUSTON              TX      77095
GRAYLOC PRODUCTS, INC                     11915 FM 529                                                      HOUSTON              TX      77041
GREAT AMERICAN INSURANCE COMPANY          301 EAST FOURTH STREET                                            CINCINNATI           OH      45202

GREAT DIVIDE INSURANCE COMPANY (WWFI)     BERKLEY ENTERTAINMENT, 600 LAS COLINAS BLVD. E, STE 1400          IRVING               TX      75039

GREAT DIVIDE INSURANCE COMPANY (WWFI)     GREAT DIVIDE INSURANCE COMPANY, 11201 DOUGLAS AVE                 URBANDALE            IA      50322

GREAT DIVIDE INSURANCE COMPANY (WWFI)     WORLDWIDE FACILITIES LLC, 725 FIGUEROA STSTE 1900                 LOS ANGELES          CA      90017
GREAT LAKES GAGE SALES, INC.              4471 CRICKET RIDGE DRIVE, SUITE 103                               HOLT                 MI      48842
GREAT WESTERN LEASING & SALES, LLC        2505 MCCABE WAY, SUITE 200                                        IRVINE               CA      92618
GREAVES, JACKSON R                        ADDRESS ON FILE
GREELEY, SCOTT                            ADDRESS ON FILE
GREEN, CARTER                             ADDRESS ON FILE
GREEN, CARTER                             ADDRESS ON FILE
GREEN, DANIEL                             ADDRESS ON FILE
GREEN, DANIEL JAMES                       ADDRESS ON FILE
GREENBERG TRAURIG                         ONE VANDERBILT AVENUE                                             NEW YORK             NY      10017




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GREENBERG TRAURIG, LLP                    3400 NW 36TH STREET ‐ SUITE 400                                      DORAL                FL       33166
GREENBOARD ENTERPRISE                     1771 WAVECREST STREET                                                MERRITT ISLAND       FL       32952
GREENE RUBBER COMPANY                     20 CROSS STREET                                                      WOBURN               MA       01801
GREENRAY INDUSTRIES, INC.                 840 WEST CHURCH RD.                                                  MECHANICSBURG        PA       17055
GREGG, IAN                                ADDRESS ON FILE
GREGG, IAN BRADY                          ADDRESS ON FILE

GREGORY A MATTSON 2007 TRUST 6/23/2007    69 CURLEW RD                                                         LANTANA              FL       33462
GREGORY L SUMME IRREVOCABLE TRUST 2008
6/30/2008                                 3035 FORT CHARLES DR                                                 NAPLES               FL       34102
GREMBOWSKI, BRIANNA                       ADDRESS ON FILE
GRETTY CAMARAZA                           ADDRESS ON FILE
GREYWARE AUTOMATION PRODUCTS, INC.        308 ORIOLE CT                                                        MURPHY               TX       75094
GRIFFIN INN NEWQUAY                       3‐5 CLIFF ROAD                                                       NEWQUAY                       TR7 1SP       UNITED KINGDOM
GRIFFIN, LUCAS                            ADDRESS ON FILE
GRIFFIN, TYRUS                            ADDRESS ON FILE
GRILLO, VINCENT                           ADDRESS ON FILE
GRINNELL, TYLER JAMES                     ADDRESS ON FILE
GRIZZELL, KENNETH WILLIAM                 ADDRESS ON FILE
                                          PONIENTE 118 NO. 363, COL. MAXIMINO AVILA CAMACHO, DEL, GAM,
GROUND STATION MEXICO SA DE CV            CDMX                                                                                               CP 07380      MEXICO
GROUND STATION MEXICO, SOCIEDAD
ANÓNIMA DE CAPITAL VARIABLE               "SUBJECT TO CONTINUED DILIGENCE*"
GROUP NINE MEDIA, INC., DBA SEEKER        3523 EASTHAM DRIVE                                                   CULVER CITY          CA       90232
GROVE COLLABORATIVE, INC.                 1301 SANSOME STREET                                                  SAN FRANCISCO        CA       94111
GROWING ROOTS                             3940 E 4TH STREET                                                    LONG BEACH           CA       90814
GRUBHUB HOLDINGS, INC. DBA GRUBHUB FOR
WORK                                      23422 MILL CREEK DR, #210                                            LAGUNA HILLS         CA       92653
GRUS GOSGEIDDIG, LLC                      PO BOX 52712                                                         BELLEVUE             WA       98015
GRUVER, MICHAEL                           ADDRESS ON FILE
GTS, INC.                                 70 6TH AVE.                                                          SHALIMAR             FL       33579
GTT AMERICAS LLC                          7900 TYSONS ONE PLACE, SUITE 1450                                    MCLEAN               VA       22102
GTT COMMUNICATIONS, INC                   7900 TYSONS ONE PLACE, SUITE 1450                                    MCLEAN               VA       22102
GUADAN, PETER                             ADDRESS ON FILE
GUADAN, PETER BEAS                        ADDRESS ON FILE
GUAM INTERNATIONAL CATERING SERVICE       187 VIETNAM VETERANS HWY RTE 10                                      BARRIGADA            GU       96913         GUAM
GUAM TEMPS                                718 N. MARINE CORPS DR. SUITE 204                                    UPPER TUMON          GU       96913
GUAM TEMPS (GUAM)                         718 NO. MARINE CORPS DR., SUITE 205                                  UPPER TUMON          GU       96913         GUAM
GUANCHE, GIOVANNY                         ADDRESS ON FILE
GUANDIQUE, LESLIE C                       ADDRESS ON FILE
GUARDADO, RUBEN                           ADDRESS ON FILE
GUARDIAN                                  P.O. BOX 824404                                                      PHILADELPHIA         PA       19182‐4404
GUARDIAN SAFE OPERATOR TRAINING LLC       118 CLEARWOOD AVE.                                                   RIVERSIDE            CA       92506
GUERRA, AARON                             ADDRESS ON FILE
GUERRERO AHUMADA, RAFAEL                  ADDRESS ON FILE
GUERRERO, ADRIAN                          ADDRESS ON FILE
GUERRERO, ADRIAN R                        ADDRESS ON FILE
GUERRERO, JONATHAN                        ADDRESS ON FILE
GUEVARA, GIANCARLO ALFREDO                ADDRESS ON FILE
GUEVARA, MARIO                            ADDRESS ON FILE
GUIDO'S AT THE HANGAR INC.                4001 KNOX AVE.                                                       ROSAMOND             CA       93560
GUILD & CO. TRANSPORT, INC                42705 5TH STREET EAST                                                LANCASTER            CA       93535
GUINN CONSTRUCTION                        PO BOX 1339                                                          BAKERSFIELD          CA       93302
GUNDERSON DETTMER                         1200 SEAPORT BOULEVARD                                               REDWOOD CITY         CA       94063
GUNDERSON, DANIEL                         ADDRESS ON FILE
GURNEY, REBECCA                           ADDRESS ON FILE
GURNEY, REBECCA                           ADDRESS ON FILE
GURROLA, BRETT                            ADDRESS ON FILE
GURROLA, BRETT ANTHONY                    ADDRESS ON FILE
GUTIERREZ, CHRISTOPHER                    ADDRESS ON FILE
GUTIERREZ, EFRAIN                         ADDRESS ON FILE
GUYET, PAUL                               ADDRESS ON FILE
GUZMAN, JORGE                             ADDRESS ON FILE
GUZMAN, JORGE ELIAS                       ADDRESS ON FILE
GUZMAN, KARLOS                            ADDRESS ON FILE
GVS NORTH AMERICA, INC.                   63 COMMUNITY DRIVE                                                   SANFORD              ME       04073
GW 707 FLIGHT TEST                        664 TWISP CARLTON RD.                                                TWISP                WA       98856
GW 707 FLIGHT TEST                        PO BOX 125                                                           TWISP                WA       98856

H.C. STARCK NORTH AMERICAN TRADING, LLC   45 INDUSTRIAL PLACE                                                  NEWTON               MA       02461
HA, SON                                   ADDRESS ON FILE
HA, TRUNG NAM                             ADDRESS ON FILE
HAAS FACTORY OUTLET, LLC                  580 MADRID AVE.                                                      TORRANCE             CA       90501
HABONIM INDUSTRIAL VALVES & ACTUATORS‐
NORTH AMERICA, INC                        22 RIVERVIEW DRIVE, SUITE 130/201                                    WAYNE                NJ       07470
HABONIM INDUSTRIAL VALVES & ACTUATORS,
INC.                                      22 REARVIEW                                                          WAYNE                NJ       07470
HADCO METAL TRADING CO, LLC               14088 BORATE ST.                                                     SANTA FE SPRINGS     CA       90760
HADCO METAL TRADING CO, LLC               555 STATE ROAD                                                       BENSALEM             PA       19020
HADI ALAEE                                ADDRESS ON FILE
HAGELMANN, JONATHAN                       ADDRESS ON FILE
HAGELMANN, JONATHAN E                     ADDRESS ON FILE
HAHN, JEEYEON                             ADDRESS ON FILE
HAIGH‐FARR, INC.                          43 HARVEY RD                                                         BEDFORD              NH       03110
HAIMER USA LLC                            134 E HILL STREET                                                    VILLA PARK           IL       60181
HAINBUCH AMERICA CORPORATION
WORKHOLDING TECHNOLOGY                    W 129N10980 WASHINGTON DRIVE                                         GERMANTOWN           MI       53022
NAME ON FILE                              ADDRESS ON FILE
HALAMANDARIS, GEORGE                      ADDRESS ON FILE
HALAMANDARIS, GEORGE PHILLIP              ADDRESS ON FILE
HALCHAK, KEIKO                            ADDRESS ON FILE




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HALES ENGINEERING INC                       18 WOOD ROAD                                                         CAMARILLO             CA     93010
HALL, DAVID                                 ADDRESS ON FILE
HALLAMEYER, CHRISTOPHER T                   ADDRESS ON FILE
HALLER, BRENDA TERESE                       ADDRESS ON FILE
HALLMARK METALS, INC.                       600 W. FOOTHILL BLVD.                                                GLENDORA              CA    91741
HALO BRANDED SOLUTIONS, INC.                1980 INDUSTRIAL DRIVE                                                STERLING              IL    61081
HALO INDUSTRIES, INC                        15422 ASSEMBLY LANE                                                  HUNTINGTON BEACH      CA    92649
HAL'S GLASS COMPANY, INC.                   9648 ARTESIA BLVD.                                                   BELLFLOWER            CA    90706
HALTER CNC ROBOTICS LLC                     129 FOX STREET                                                       CASCADE               IA    52033
HALTERMANN SOLUTIONS                        15600 W. HARDY ROAD                                                  HOUSTON               TX    77060
HALYARD SOLUTIONS, INC.                     4924 BALBOA BLD. PO BOX 416                                          ENCINO                CA    91316
HAMETZ, MARK                                ADDRESS ON FILE
HAMILTON CASTER & MFG. CO.                  1637 DIXIE HIGHWAY                                                   HAMILTON              OH    45011
HAMILTON RE INSURANCE GROUP                 90 PITTS BAY ROAD                                                    PEMBROKE                    HM08          BERMUDA
HAMILTON, JOSEPH ROBERT                     ADDRESS ON FILE
HAM‐LET USA, INC.                           12565 W AIRPORT BLVD                                                 SUGAR LAND            TX    77478
HAMMONS, PERRY VICTOR                       ADDRESS ON FILE
HAMPTON INN LONG BEACH AIRPORT              3771 NORTH LAKEWOOD BLVD                                             LONG BEACH            CA    90808
HAN, JAYNI                                  ADDRESS ON FILE
HAN, JI SUN J                               ADDRESS ON FILE
HAN, YOUNGHEE                               ADDRESS ON FILE
HANBAY INC.                                 424 INVESTORS PLACE, SUITE 103                                       VIRGINIA BEACH        VA    23452
HANNAH PETRONI                              ADDRESS ON FILE
HANSON, TERRY                               ADDRESS ON FILE
HAPPY PEOPLE PUB CO LTD DBA TRAVELLERS
REST PUB                                    TREVARRIAN HILL                                                      NEWQUAY                     TR8 4AQ       UNITED KINGDOM
HARCOURT INDUSTRIAL, INC.                   1100 E WHITCOMB AVE                                                  MADISON HEIGHTS       MI    48071
HARDCASTLE SPECIALTIES, INC                 4300 STINE ROAD #304                                                 BAKERSFIELD           CA    93313
HARDWARE.AERO LLC                           1321 PRECISION DR, SUITE 300                                         PLANO                 TX    75074
HARLETTE CAPITAL LTD                        160 KEMP HOUSE, CITY ROAD                                            LONDON                      EC1V2NX       UNITED KINGDOM
HARLEY CLAIRDAY WELDING                     3504 LIMESTONE CT                                                    BAKERSFIELD           CA    93313

HARMONIX SYSTEMS, INC. DBA LUMISTAR, INC.   3186 LIONSHEAD AVENUE, SUITE 100                                     CARLSBAD              CA    92010
HARMONY BUSINESS SUPPLIES                   12721 WESTERN AVE                                                    GARDEN GROVE          CA    92846‐9998
HARMONY LAB & SAFETY SUPPLIES               12721 WESTERN AVE.                                                   GARDEN GROVE          CA    92841
HARMONY SOUND                               3852 HELLMAN AVENUE                                                  LOS ANGELES           CA    90032
HARR, CASEY                                 ADDRESS ON FILE
HARR, CASEY PATRICK                         ADDRESS ON FILE
HARRINGTON INDUSTRIAL PLASTICS LLC          P.O. BOX 5128                                                        CHINO                 CA    91708
HARRIS FIRE PROTECTION, INC.                1060 N. BATAVIA ST. #A                                               ORANGE                CA    92867
HARRIS, JESSE                               ADDRESS ON FILE
HARRIS, JESSE EDWARD                        ADDRESS ON FILE
HARRISON, ANDREW G                          ADDRESS ON FILE
HARRISON, ANDREW G                          ADDRESS ON FILE
HARRISON, ANDREW G                          ADDRESS ON FILE
HARRISON, ANDREW G                          ADDRESS ON FILE
HART, DAN                                   ADDRESS ON FILE
HART, DANIEL                                ADDRESS ON FILE
HART, ZACHARY                               ADDRESS ON FILE

HARTFORD CASUALTY INSURANCE COMPANY         PO BOX 660916                                                        DALLAS                TX    75266‐0916
HARTFORD STEAM BOILER INSPECTION AND
INSURANCE COMPANY                           ONE STATE STREET, PO BOX 5024                                        HARTFORD              CT    06102‐5024
HARVEY MUDD COLLEGE                         301 PLATT BLVD                                                       CLAREMONT             CA    91711
HASENZAHL, CHRIS                            ADDRESS ON FILE
HATFARM                                     2604 SE 48TH AVE                                                     PORTLAND              OR    97206
HATHAWAY, KEITH ALEX                        ADDRESS ON FILE
HATTRIX TEAMSPORT & EMBROIDERY              15330 ANACAPA RD, UNIT 4                                             VICTORVILLE           CA    92392
HAWKEYE360, INC.                            196 VAN BUREN STREET, SUITE 450                                      HERNDON               VA    20170
HAWORTH, NOEL E                             ADDRESS ON FILE
HAYES, PATRICK                              ADDRESS ON FILE
HAZMAT SAFETY CONSULTING, LLC               1765 DUKE STREET                                                     ALEXANDRIA            VA    22314
HBA INCORPORATED                            512 E. VERMONT AVE.                                                  ANAHEIM               CA    92805
HC WEST LLC DBA A&D FIRE                    1601 W ORANGEWOOD AVE.                                               ORANGE                CA    92868
HD SUPPLY WHITE CAP                         3027 LANDCO DRIVE                                                    BAKERSFIELD           CA    93308
HDAERO ENGINEERING, LLC                     400 W MIDLAND AVE, SUITE 202                                         WOODLAND PARK         CA    80866
HEAGNEY, LUKE                               ADDRESS ON FILE
HEALTH & SAFETY EXECUTIVE                   SORTATION REF 601                                                    PHOENIX HOUSE                             UNITED KINGDOM
HEALTH AND SAFETY EXECUTIVE (UNITED
KINGDOM PUBLIC ENTITY)                      REDGRAVE COURT, MERTON ROAD                                          BOOTLE                      L20 7HS       UNITED KINGDOM
HEALTH‐METRICS, INC                         4705 N. SONORA, STE 116                                              FRESNO                CA    93722‐3947
HEAT TECHNOLOGY PRODUCTS                    1322 BELL AVENUE, SUITE 1K                                           TUSTIN                CA    92780
HECHT, GINA                                 ADDRESS ON FILE
HECTOR GARCIA                               ADDRESS ON FILE
HEDRICK FIRE PROTECTION                     13309 CENTRAL AVE                                                    CHINO                 CA    91710
HEILIG, TILL                                ADDRESS ON FILE
HEINRICH, MARK E.                           ADDRESS ON FILE
HEITZ TRUCKING, INC.                        P.O. BOX 3330                                                        YUBA CITY             CA    95992
HELEN LURIE                                 ADDRESS ON FILE
HELLMUTH, OBATA & KASSABAUM, INC.           9530 JEFFERSON BLVD                                                  CULVER CITY           CA    90232
HELLOFS, DARRELL                            ADDRESS ON FILE
HELMEL ENGINEERING PRODUCTS, INC            6520 LOCKPORT ROAD                                                   NIAGARA FALLS         NY    14305
HELMS, SUSAN                                ADDRESS ON FILE
HELMS, SUSAN J                              ADDRESS ON FILE
HELP/SYSTEMS, LLC                           6455 CITY W PKWY                                                     EDEN PRAIRIE          MN    55344
HELVETIA                                    AEULESTRASSE 60, LI                                                  VADUZ                       9490          SWITZERLAND
HEM, ROBERT                                 ADDRESS ON FILE
HEM, ROBERT                                 ADDRESS ON FILE
HEMERIA                                     8, IMPASSE DE BOUDVILLE, CS 22324                                    TOULOUSE                                  FRANCE
HENDRIKSE, MARC                             ADDRESS ON FILE
HENDRIKSE, MARC                             ADDRESS ON FILE




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HENRICKSON, SCOTT                       ADDRESS ON FILE
HENRY FITZPATRICK                       ADDRESS ON FILE
HEO ROBOTICS                            3 SPRING STREET                                                   SYDNEY                           2000          AUSTRALIA
HERA SYSTEMS, INC.                      7013 REALM DR., SUITE B                                           SAN JOSE                CA       95119
HERA TECHNOLOGIES, LLC                  ATTN: AARON EVANS, 1055 E FRANCIS STREET                          ONTARIO                 CA       91761
HERC RENTALS                            45710 NORTH 23RD ST. WEST                                         LANCASTER               CA       93536
HERC RENTALS                            P.O. BOX 650280                                                   DALLAS                  TX       75265‐0280
HERC RENTALS, INC.                      22422 S. ALAMEDA STREET                                           CARSON                  CA       90810
HERCULES OEM                            2441 SALEM PARK DRIVE                                             WINSTON SALEM           NC       27127
HEREDIA BARRERA, HUGO                   ADDRESS ON FILE
HERITAGE EQUIPMENT COMPANY              9000 HERITAGE DRIVE                                               PLAIN CITY              OH       43064
HERITAGE PRINTING & GRAPHICS INC.       2854 OLD WASHINGTON RD.                                           WALDORF                 MD       20601
HERNANDEZ, ADRIAN                       ADDRESS ON FILE
HERNANDEZ, ADRIAN                       ADDRESS ON FILE
HERNANDEZ, ANTHONY                      ADDRESS ON FILE
HERNANDEZ, ARTURO                       ADDRESS ON FILE
HERNANDEZ, EDDIE NOE                    ADDRESS ON FILE
HERNANDEZ, ELY                          ADDRESS ON FILE
HERNANDEZ, MIGUEL ANGEL                 ADDRESS ON FILE
HERNANDEZ, OSCAR                        ADDRESS ON FILE
HERNANDEZ, PETE                         ADDRESS ON FILE
HERNANDEZ, VILMA F                      ADDRESS ON FILE
HERRERA, ALFONSO                        ADDRESS ON FILE
HERRERA, EDDIE                          ADDRESS ON FILE
HERRERA, JUSTIN                         ADDRESS ON FILE
HERRERA, JUSTIN                         ADDRESS ON FILE
HERRERA, VICENTE                        ADDRESS ON FILE
HERRMANN, JOSHUA                        ADDRESS ON FILE
HEXAGON METROLOGY, INC                  250 CIRCUIT DRIVE                                                 NO. KINGSTON            RI       02852
HEXAGON METROLOGY, INC                  48531 WARM SPRINGS BLVD., SUITE 409                               FREMONT                 CA       94539
HEXAGON METROLOGY, INC                  9004 RESEARCH DR.                                                 IRVINE                  CA       92618
HEXCEL CORPORATION                      11711 DUBLIN BOULEVARD                                            DUBLIN                  CA       94568‐2832
HEXCEL CORPORATION                      1214 WEST GILA BEND HIGHWAY                                       CASA GRANDE             AZ       85130
HEXCEL CORPORATION                      281 TRESSER BLVD                                                  STAMFORD                CT       06901
HEXCEL CORPORATION                      6700 WEST 5400 SOUTH                                              WEST VALLEY             UT       84118
HF HOLDINGS INC.                        1707 ORLANDO CENTRAL PARKWAY, SUITE 440                           ORLANDO                 FL       32809
HICKMAN, WILLIAMS & COMPANY             8838 CALABASH AVENUE                                              FONTANA                 CA       92335
HIDALGO, JORGE R                        ADDRESS ON FILE
HIGGINS, MELINA                         ADDRESS ON FILE
HIGGINS, RUSSELL GORDON                 ADDRESS ON FILE
HIGH DESERT WILDLIFE CONTROL            10418 HIGHLAND AVE #995                                           LUCERNE VALLEY          CA       92356
HIGH PERFORMANCE ALLOYS, INC.           500 N. 1985 E.                                                    WINDFALL                IN       46076
HIGH PERFORMANCE TOOL GROUP, INC.       16745 PARKSIDE AVE                                                CERRITOS                CA       90703
HIGH PERFORMANCE VEHICLE ENGINEERING,
INC.                                    1201 CENTRE ST.                                                   EASTON                  PA       18042

HIGH PRESSURE EQUIPMENT COMPANY, LLC    2955 WEST 17TH STREET, SUITE 6                                    ERIE                    PA       16505
HIGH PRESSURE TECHNOLOGIES LLC          24895 AVE ROCKEFELLER                                             VALENCIA                CA       91355
HIGH QA, INC.                           1 BETHANY RD., SUITE 26                                           HAZLET                  NJ       07730
HIGH RELIABILITY GROUP, LLC             100 ILLINOIS STREET STE 200                                       ST CHARLES              IL       60174

HIGH TECH MACHINING & MANUFACTURING     10035 N 29 AVE                                                    OMAHA                   NE       68112
HIGHTOWER, SIGMUND                      ADDRESS ON FILE
HILCO GLOBAL                            5 REVERE DR SUITE 206                                             NORTHBROOK              IL       60062
HILL, JOHNATHON TODD                    ADDRESS ON FILE
HILL, JUSTIN MANNAN                     ADDRESS ON FILE
HILLTOP TECHNOLOGY LABORATORY, INC.     51 PARKER                                                         IRVINE                  CA       92618
HILTI, INC                              5400 SOUTH 122ND EAST AVENUE                                      TULSA                   OK       74146
HILTON GARDEN INN                       12603 MARIPOSA DR                                                 VICTORVILLE             CA       92395
HILTON GARDEN INN                       1309 WEST RANCHO VISTA BLVD                                       PALMDALE                CA       93551
HILTON LONG BEACH                       701 W OCEAN BLVD                                                  LONG BEACH              CA       90831
HINOJOS, BETO                           ADDRESS ON FILE
HIOKI USA CORPORATION                   6600 CHASE OAKS BLVD. STE 150                                     PLANO                   TX       75023
HI‐REL LABORATORIES, INC.               6116 N FREYA ST.                                                  SPOKANE                 WA       99217
HIRSCH, BRIAN                           ADDRESS ON FILE
HISCO, INC                              2950 PALISADES DRIVE                                              CORONA                  CA       92880
HISCOX                                  30 NORTH LASALLE STREET, SUITE 1760                               CHICAGO                 IL       60602
HISCOX ASSURE SAS                       38 AVENUE DE L'OPERA                                              PARIS                            75002         FRANCE
HISKY SCS LTD.                          24 AMAL ST.                                                       ROSH HAAYIN POB 11363            4809268       ISRAEL
HITCO CARBON COMPOSITES, INC.           1551 W. 139TH STREET                                              GARDENA                 CA       90249
HITEC PRODUCTS, INC.                    4 LOMAR PARK                                                      PEPPERELL               MA       01463
HI‐TEMP INSULATION, INC.                4700 CALLE ALTO STREET                                            CAMARILLO               CA       93012
HI‐TEMP METALS, INC.                    12500 FOOTHILL BLVD.                                              SYLMAR                  CA       91342
HITTU, EDWARD                           ADDRESS ON FILE
HJ LEE COMPANY                          14452 S AVALON BLVD                                               GARDENA                 CA       90248
HJ LEE COMPANY INC DBA LEE COMPANY      14452 S AVALON BLVD                                               GARDENA                 CA       90248
HLS SUPPLIES LTD.                       UNIT 3 BROOKSIDE, REDMARSH INDUSTRIAL ESTATE                      CLEVELYS                         FY5 4EZ       UNITED KINGDOM
HLW INTERNATIONAL LLP                   115 FIFTH AVENUE ‐ FIFTH FLOOR                                    NEW YORK                NY       10003
HO, NGHIA                               ADDRESS ON FILE
HO, TIMOTHY TIN‐YIN                     ADDRESS ON FILE
HODGE, ISAAC                            ADDRESS ON FILE
HODGE, ISAAC Q                          ADDRESS ON FILE
HOFFER FLOW CONTROLS, INC               107 KITTY HAWK LANE                                               ELIZABETH CITY          NC       27909
HOGAN LOVELLS                           COLUMBIA SQUARE, 555 THIRETEENTH STREET                           WASHINGTON              DC       20004‐1109
HOH OILFIELD SERVICES LTD.              1 THE GREEN                                                       RICHMOND                         TW9 1         UNITED KINGDOM
HOHBERG, PAUL                           ADDRESS ON FILE
HOLKEY, MARK E.                         ADDRESS ON FILE
HOLLAND SHIELDING SYSTEMS B.V.          JACOBUS LIPSWEG 124                                               BP DORDRECHT            CA       3316          NETHERLANDS
HOLLANDER, MAXIMILIAN                   ADDRESS ON FILE
HOLLEY, LAMAR                           ADDRESS ON FILE
HOLLIDAY, JAMES KEVIN                   ADDRESS ON FILE




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HOLLIDAY, JUSTIN                            ADDRESS ON FILE
HOLLIDAY, JUSTIN                            ADDRESS ON FILE
HOLLING, BLAZIE                             ADDRESS ON FILE
HOLLIS O. DAVIS                             ADDRESS ON FILE
HOLLYWOOD DELIVERY SERVICE, INC             2828 S. WILLOW AVE,                                              BLOOMINGTON         CA       92316
HOLMAN, ADAM LEE                            ADDRESS ON FILE
HOLT, MICHAEL                               ADDRESS ON FILE
HOLT, MICHAEL DANA                          ADDRESS ON FILE
HOME DEPOT                                  DEPT 32 ‐ 2541934869, PO BOX 78047                               PHOENIX             AZ       85062‐8047
HOME SATELLITE (DBA SAMUEL SANCHEZ)         839 STANFORD AVE.                                                CHULA VISTA         CA       91913
HOMER R. DULIN CO.                          729 E. WILLOW ST.                                                SIGNAL HILL         CA       90755
HONEYWELL AEROSPACE                         12001 STATE HWY 55                                               PLYMOUTH            MN       55441
HONEYWELL AEROSPACE                         13350 U.S. HIGHWAY 19 NORTH                                      CLEARWATER          FL       33764‐7290
                                            DSES MINNEAPOLIS & DSES CLEARWATER DEFENSE, MN17‐3913, 2600
HONEYWELL AEROSPACE                         RIDGWAY PARKWAY                                                  MINNEAPOLIS         MN       55413‐1757
HONEYWELL INTERNATIONAL (DBA RAE
SYSTEMS)                                    1349 MOFFETT PARK DRIVE                                          SUNNYVALE           CA       94089
HONEYWELL LIMITED                           3333 UNITY DRIVE                                                 MISSISSAUGA         ON       L5L 3S6       CANADA

HONORABLE THOMAS J. UMBERG                  CALIFORNIA STATE SENATOR, 34TH DISTRICT, 1021 O STREET, SUITE 6730 SACRAMENTO        CA       95814
HOO, JUSON                                  ADDRESS ON FILE
HOOFF, JOHN                                 ADDRESS ON FILE
HOOFF, JOHN LAURENCE                        ADDRESS ON FILE
HOOTON, CHAU                                ADDRESS ON FILE
HOOTON, CHAU WALLACE                        ADDRESS ON FILE
HOPPLE, WHITNEY                             ADDRESS ON FILE

HORIZON TECHNOLOGIES, CONSULTANTS, LTD.     400 THAMES VALLEY PARK DRIVE, SUITE 102                          READING                      RG6 1PT       UNITED KINGDOM
HOSE, ZACHARY                               ADDRESS ON FILE
HOT BUTTERED ELVES, INC                     11307 HINDRYAVE, SUITE B                                         LOS ANGELES         CA       90045
HOTEL ENCANTO DE LAS CRUCES                 705 SOUTH TELSHOR BLVD                                           LAS CRUCES          NM       88011
HOTTINGER BRUEL & KJAER, INC.               19 BARTLETT ST.                                                  MARLBOROUGH         MA       01752

HOUSE OF BLUES ANAHEIM RESTAURANT CORP      400 WEST DISNEY WAY STE 337                                      ANAHEIM             CA       92808
HOUSTON INTERNATIONAL AIRCRAFT SUPPORT,
INC.                                        P.O. BOX 2079                                                    NEW WAVERLY         TX       77358
HOWARD CDM                                  3750 LONG BEACH BLVD., SUITE 200                                 LONG BEACH          CA       90807
HOWARD, RICKY DAVID                         ADDRESS ON FILE
HOWARD‐POWER, INC.                          PO BOX 1229                                                      ROSAMOND            CA       93560
HOWES, TODD                                 ADDRESS ON FILE
HREIZ, ALEXANDER                            ADDRESS ON FILE
HSI GROUP, INC.                             3445 KASHIWA STREET                                              TORRANCE            CA       90505
HSI GROUP, INC.                             3446 KASHIWA STREET                                              TORRANCE            CA       90505
HTS ENVIRONMENTAL SERVICES                  10600 S. PAINTER AVE                                             SANTA FE SPRINGS    CA       90670
HUDSON                                      580 CALIFORNIA STREET FLOOR, 16THFLOOR                           SAN FRANCISCO       CA       94104
HUDSON INSURANCE COMPANY                    100 WILLIAM STREET                                               NEW YORK            NY       10038
HUEBNER, WILHELM                            ADDRESS ON FILE
HUERTA, MICHAEL S.                          ADDRESS ON FILE
HUGHES TANK COMPANY                         2900 N. FM 157                                                   VENUS               TX       76084
HUMAN RIGHTS CAMPAIGN FOUNDATION            1640 RHODE ISLAND AVE., N.W.                                     WASHINGTON          DC       20036
HUMAN‐I‐T                                   130 PINE AVE, #200                                               LONG BEACH          CA       90802
HUMMINGBIRD AERO LLC                        19800 MACARTHUR BLVD., SUITE 300                                 IRVINE              CA       92612
HUNT, STEVEN                                ADDRESS ON FILE
HUNTSMAN ADVANCED MATERIALS                 10003 WOODLOCH FOREST DRIVE                                      THE WOODLANDS       TX       77380
HUNZIKER, JAMIE                             ADDRESS ON FILE
HURST GREEN PLASTICS LTD                    FIRST FLOOR, BOWLAND HOUSE, THE SIDINGS BUSINESS PARK            WHALLEY                      BB7 9QW       UNITED KINGDOM
HURST, CHRISTOPHER                          ADDRESS ON FILE
HURT, JOSEPH                                ADDRESS ON FILE

HUTCHINSON AEROSPACE & INDUSTRY, INC.       4510 VANOWEN STREET                                              BURBANK             CA       91505
HUTCHINSON S.A.                             2 RUE BALZAC                                                     PARIS                        75008         FRANCE
HUYNH, SHAWN                                ADDRESS ON FILE
HV TECHNOLOGIES, INC.                       8526 VIRGINIA MEADOWS DRIVE                                      MANASSAS            VA       20109
HW ECKHARDT CORPORATION                     7461 TALBERT AVE.                                                HUNTINGTON BEACH    CA       92648
HW FARREN, LLC                              1578 SUSSEX TURNPIKE                                             RANDOLPH            NJ       07869
HWANG, GINA                                 ADDRESS ON FILE
HWANG, JAMES                                ADDRESS ON FILE
HYATT CENTRIC THE PIKE LONG BEACH           285 BAY STREET                                                   LONG BEACH          CA       90802
HYATT REGENCY GUAM                          1155 PALE SAN VITORES RD                                         TAMUNING            GU       96913
HYDRAFLOW                                   1881 W.MALVERN AVE.                                              FULLERTON           CA       92833
HYDRATIGHT OPERATIONS INC.                  1102 HALL COURT                                                  DEER PARK           TX       77536
HYDRAULIC CONTROLS, INC                     610 REYES DRIVE                                                  WALNUT              CA       91789
HYDRO TURF                                  1126 ELDRIDGE STREET                                             CLEARWATER          FL       33755
HYDROCHROME                                 1582 GOODRICK RD STE 6C                                          TEHACHAPI           CA       93561
HYDROFORM USA, INC.                         2848 E 208TH STREET                                              LONG BEACH          CA       90810
HYDROSAT, INC.                              1509 16TH STREET NW                                              WASHINGTON          DC       20036

HYFLO SOUTHERN AFRICA LTD T/A ESG MEDICAL   3 DROSTE CRESCENT, DROSTE PARK EXT. 7, JEPPESTOWN                JOHANNESBURG                               SOUTH AFRICA
HYPERBIT DESIGNS LLC                        7130 INDIGO WAY                                                  BUENA PARK          CA       90621
HYPERGIANT GALACTIC SYSTEMS, INC.           101 W 6TH ST, #400                                               AUSTIN              TX       78701
HYPERSAT SYSTEMS LLC                        511 SENECA ROAD                                                  GREAT FALLS         VA       22066
HYPERSONIX LAUNCH SYSTEMS                   1 FARRER PLACE, LEVEL 36 GOVERNER PHILLIP TOWER                  SYDNEY                       2000          AUSTRALIA
HYTORC DIVISON OF UNEX CORP                 333 ROUTE 17 NORTH                                               MAHWAH              NJ       07430
I.M. MASONARY CONSTRUCTION                  43759 15TH STREET WEST, #210                                     LANCASTER           CA       93534
I4TH ROBOTICS 4H CLUB                       1343 PICO ST                                                     FULLERTON           CA       92833
IAN CORPORATION                             1129 ROUTE 15                                                    BARRIGADA                    96913         GUAM
IAPPSYS, INC.                               505 MONTGOMERY STREET                                            SAN FRANCISCO       CA       94111
IA‐ROBOTICS                                 26199 JEFFERSON AVENUE                                           MURRIETA            CA       92562
IBASET, INC.                                26812 VISTA TERRACE                                              LAKE FOREST         CA       92630
IBASET, INC.                                27422 PORTOLA PARKWAY, SUITE 300                                 FOOTHILL RANCH      CA       92610
ICEYE OY                                    MAARINTIE 6                                                      ESPOO                        01250         FINLAND




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ICIMS, INC                                  101 CRAWFORDS CORNER ROAD, SUITE 3‐100                             HOLMDEL              NJ     07733
ICIMS, INC                                  90 MATAWAN ROAD, PARKWAY 120, FIFTH FLOOR                          MATAWAN              NJ     07747
ICL, INC.                                   2ND FLOOR, 12 PRINCES PARADE                                       LIVERPOOL                   L3 1BG     UNITED KINGDOM
ICR OPCO, LLC                               761 MAIN AVE                                                       NORWALK              CT     06851
ICREATE GRAPHIX INC                         1950 FREEMAN AVE                                                   SIGNAL HILL          CA     90755
ID LABEL, INC.                              425 PARK AVE.                                                      LAKE VILLA           IL     60046
IDC EMBROIDERY                              9732 SOMERSET BLVD                                                 BELLFLOWER           CA     90706
IDEAL SPACE TECHNOLOGIES LIMITED            24 EKOLOLU STREET, SORULERE, 101215                                LAGOS                                  NIGERIA
IDEAL SPACE TECHNOLOGIES LIMITED (DBA
SPACE IN AFRICA)                            24 EKOLOLU STREET                                                  SURULERE LAGOS                          NIGERIA
IDEAL VACUUM PRODUCTS, LLC                  5910 MIDWAY PARK BLVD NE                                           ALBUQUERQUE          NM    87109
IDEKO PRODUCTIONS LLC                       381 PARK AVENUE SOUTH                                              NEW YORK             NY    10016
IDT FINANCIAL SERVICES LLC                  520 BROAD STREET                                                   NEWARK               NJ    07102
IFIXIT                                      1330 MONTEREY ST                                                   SAN LUIS OBISPO      CA    93401
IHS GLOBAL INC.                             15 INVERNESS WAY EAST                                              ENGLEWOOD            CO    80112
IKEA                                        420 ALAN WOOD ROAD                                                 CONSHOHOCKEN         PA    19428
IL NORPLEX‐MICARTA                          PO BOX 977, 665 LYBRAND STREET                                     POSTVILLE            IA    52162‐0977
ILCO INDUSTRIES                             1308 W. MAHALO PLACE                                               RANCHO DOMINGUEZ     CA    90220
IMAGESAT INTERNATIONAL N.V.                 YONI NETANYAHU 6                                                   OR YEHUDA                               ISRAEL
IMAGINE HOME BENEFITS                       3361 CANDLEWOOD ROAD                                               TORRANCE             CA    90505
IMI CRITICAL ENGR PBM LLC                   1070 SANDY HILL ROAD                                               IRWIN                PA    15642
IMPACT ELECTRONIC SOLUTIONS INC.            5275 MEADOWS RD, SUITE 161                                         LAKE OSWEGO          OR    97035
IMPULSE SPACE, INC.                         101 PENN STREET                                                    EL SEGUNDO           CA    90245
IMV AMERICA, INC.                           11520 BLAIR ST.                                                    HOLLAND              MI    49424
IN ORBIT AEROSPACE INC.                     2110 ARTESIA BLVD                                                  REDONDO BEACH        CA    90278
INACTIVE ‐ 00063                            1111 19TH STREET NW, 9TH FLOOR                                     WASHINGTON           DC    20036
INACTIVE ‐ 01981                            4704 EDEN ROAD                                                     ARLINGTON            TX    76001
INAF                                        VIA TIEPOLO 11                                                     TRIESTE                    I‐34143      ITALY
INCEPTRA LLC                                1900 N COMMERCE PKWY                                               WESTON               FL    33326‐3236
INCEPTRA LLC                                2020 NW 150TH AVENUE, STE 300                                      PEMBROKE PINES       FL    33028
INCODEMA3D, LLC                             330 MAIN STREET                                                    ITASCA               NY    13068
INCROWD ENTERTAINMENT LLC                   881 PARKVIEW DRIVE NORTH SUITE 250                                 EL SEGUNDO           CA    90245
INDEED INC.                                 177 BROAD STREET 6TH FLOOR                                         STAMFORD             CT    06901
INDEPENDENT INK INCORPORATED                13700 S. GRAMERCY PLACE                                            GARDENA              CA    90249

INDEPENDENT TESTING LABORATORIES, INC.      1127 BAKER STREET UNIT B                                           COSTA MESA           CA    92626

INDEPENDENT TESTING LABORATORIES, INC.      127 BAKER STREET, UNIT B.                                          COSTA MESA           CA    92626
INDESTRUCTIBLE PAINT INC                    1 INDEPENDENCE DRIVE                                               MONROE               CT    06468

INDUSTRIAL AUTOMATION & ENCLOSURE INC       224 N FEHR WAY                                                     BAY SHORE            NY    11706
INDUSTRIAL ELECTRIC MACHINERY               1331 BALTIMORE STREET                                              LONGVIEW             WA    98632
INDUSTRIAL ELECTRIC MACHINERY LLC           21818 WILMINGTON AVE # 409                                         CARSON               CA    90810
INDUSTRIAL FORKLIFTS OF SOCAL               5650 KNOTT AVENUE                                                  BUENA PARK           CA    90621
INDUSTRIAL GAS SPRINGS, INC                 162 S. PINNANCLE DR                                                ROMEOVILLE           IL    60446
INDUSTRIAL INSULATION SALES, INC            2101 KENMORE AVE                                                   BUFFALO              NY    14207
INDUSTRIAL LOCK AND SECURITY, INC.          401 MAIN STREET                                                    EL SEGUNDO           CA    90245

INDUSTRIAL MANUFACTURING SPECIALTIES INC.   1268 HIGHWAY 67 S                                                  DECATUR              AL    35603
INDUSTRIAL PRECISION GRINDING               321 W. TORRANCE BLVD. SUITE B                                      CARSON               CA    90745
INDUSTRIAL SHOE COMPANY                     1421 E. 1ST ST.                                                    SANTA ANA            CA    92701
INDUSTRIAL TECTONICS BEARINGS (DBA ROLLER
BEARING COMPANY OF AMERICA, INC. AND
SUBS)                                       18301 S. SANTA FE AVENUE                                           RANCHO DOMINGUEZ     CA    90211‐9998
INDUSTRIAL TRAFFIC SOLUTIONS                11527 PYRAMID DRIVE, PO BOX 1267                                   ODESSA               FL    33556
INDUSTRIAL TRAINING SERVICES UK LTD         7 MARTIN RD, TREMORFA INDUSTRIAL ESTATE                            CARDIFF                    CF24 5SD     UNITED KINGDOM
INDUSTRIAL WEBBING CORP                     160 COMMERCE ROAD, SUITES A‐C                                      BOYNTON BEACH        FL    33426
INERT CORPORATION                           ONE INDUSTRIAL WAY                                                 AMESBURY             MA    01913
INERTIA SWITCH, INC.                        70 S. GREENBUSH RD                                                 ORANGEBURG           NY    10962
INFICON INC                                 PO BOX 88133                                                       CHICAGO              IL    60695‐1133

INFINITE BUSINESS & EVENT SOLUTIONS, INC    18062 FM 529 SUITE 205                                             CYPRESS              TX    77433

INFINITE ELECTRONICS INTERNATIONAL, INC.    17792 FITCH                                                        IRVINE               CA    92614
INFINITE EQUITY, INC.                       3663 FOLSOM STREET                                                 SAN FRANCISCO        CA    94110
INFINITY COMPOSITES, INC.                   2905 N. BEND RD.                                                   ASHTABULA            OH    44004
INFINITY FLUIDS CORP                        346 FRANKLIN STREET                                                WORCESTER            MA    01604
INFINITY SPACE SYSTEMS                      24/351 MIRRABEI DRIVE                                              MONCRIEFF                  2914         AUSTRALIA
INFINITY THERMAL CORP                       306 STURBRIDGE RD                                                  CHARLTON             MA    01507
INFLUXDATA, INC.                            799 MARKET STREET                                                  SAN FRANCISCO        CA    94103
INFOSTELLAR INC.                            32F SHINJUKU NOMURA BUILDING, 1‐26‐2 NISHI‐SHINJUKU                SHINJUKU‐KU, TOKYO         163‐0532     JAPAN
INFOVITY, INC                               1731 EMBARCADERO ROAD, STE 230                                     PALO ALTO            CA    94303
INGENIUM AEROSPACE LLC                      5389 INTERNATIONAL DRIVE                                           ROCKFORD             IL    61109
INGENIUM TECHNICAL SERVICES, INC.           10375 SAN FERNANDO AVE                                             CUPERTINO            CA    95014
INGERSOLL MACHINE TOOLS, INC.               707 FULTON AVE.                                                    ROCKFORD             IL    61103
INGLEWOOD WHOLESALE ELECTRIC CO.            923 S. PRAIRIE AVE.                                                INGLEWOOD            CA    90301
INGRAHAM, CHRISTOPHER WELLS                 ADDRESS ON FILE
INLAND LOGISTICS LTD. DBA UNICORN
LOGISTICS                                   GRASMERE SUITE, PARAGON BUSINESS PARK                              HORWICH                    BL6 6HG      UNITED KINGDOM
INMARSAT GLOBAL                             99 CITY ROAD                                                       LONDON                     EC1Y 1AX     UNITED KINGDOM
INMARSAT GOVERNMENT, INC.                   11600 SUNRISE VALLEY DRIVE, SUITE 200                              RESTON               VA    20191
INNOVATIVE ENGINEERING SOLUTIONS            26200 ADAMS AVE                                                    MURRIETA             CA    92562‐7060
INNOVATIVE ENGINEERING SYSTEMS, INC         8800 CRIPPEN ST                                                    BAKERSFIELD          CA    93311
INNOVATIVE ENGINEERING SYSTEMS, INC (DBA
AGILITECH, IES)                             PO BOX 20610                                                       BAKERSFIELD          CA    93390
INNOVATIVE SPACE LOGISTICS B.V.             MOTORENWEG 23, 2623 CR                                             DELFT                                   NETHERLANDS
INOVOR TECHNOLOGIES                         LOT FOURTEEN, LEVEL 4, SPACELAB FROME ROAD                         ADELAIDE                   5000         AUSTRALIA
INSERTS & KITS INC.                         1521 W. ALTON AVE.                                                 SANTA ANA            CA    92704
INSIDE‐OUT LEARNING                         38400 N. SCHOOL HOUSE ROAD, #7854                                  CAVE CREEK           CA    85331
INSIGHT INVESTMENT HOLDINGS, LLC (LEASE
DIVISION)                                   PO BOX 87618                                                       CHICAGO              IL    60680‐0618




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INSIGHT INVESTMENT HOLDINGS, LLC DBA RED8
LLC                                           611 ANTON BLVD. SUITE 700                                               COSTA MESA             CA       92628
INSIGHT INVESTMENT HOLDINGS, LLC DBA RED8
LLC                                           PO BOX 87618                                                            CHICAGO                IL       60680‐0618
INSIGHT OUT LLC                               576 HIGHLAND PO BOX 1258                                                SUGARLOAF              CA       92386
INSIGHTINVESTMENTS, LLC                       611 ANTON BLVD # 700                                                    COSTA MESA             CA       92626
INSPECTION RESOURCES, CO.                     3033 S. HARBOR BLVD                                                     SANTA ANA              CA       92704
INSPECTIONXPERT CORPORATION                   PO BOX 991                                                              BLACKSBURG             VA       24063‐0991
INSPERITY BUSINESS SERVICES, LLC              19001 CRESCENT SPRINGS DRIVE                                            KINGWOOD               TX       77339
INSTAJET CLUB LTD                             71‐75 SHELTON STREET                                                    LONDON                          WC2H 9JQ     UNITED KINGDOM

INSTAR ENGINEERING AND CONSULTING, INC.       6901 S PIERCE ST, STE 200                                               LITTLETON              CO       80128
INSTITUTE FOR APPLIED MANAGEMENT & LAW,
INC.                                          450 NEWPORT CENTER DRIVE, SUITE 390                                     NEWPORT BEACH          CA       92660
INSTRON, A DIVISION OF ILLINOIS TOOL WORKS,
INC.                                          825 UNIVERSITY AVENUE                                                   NORWOOD                MA       02062
INSTRUMART LLC                                35 GREEN MOUNTAIN DRIVE                                                 SOUTH BURLINGTON       VT       05403
INSTYTUT STRATEGII GOSPODARCZYCH              MARSZ. JÓZEFA PIŁSUDSKIEGO 74/317A                                      WROCLAW                         50‐020       POLAND
INSULATION SUPPLY                             1901 HARPERS WAY                                                        TORRANCE               CA       90501
INSUL‐THERM INTERNATIONAL, INC                6651 E. 26TH STREET                                                     COMMERCE               CA       90040
IN‐TEC, INC.                                  75 MALAGA COVE PLAZA, SUITE 2                                           PALOS VERDES ESTATES   CA       90274
INTEGRATE SPACE                               "SUBJECT TO CONTINUED DILIGENCE*"
INTEGRATED BEHAVIORAL HEALTH, INC. DBA
UPRISE HEALTH                                 2 PARK PLAZA, SUITE 1200                                                IRVINE                 CA       92614
INTEGRATED IT SOLUTIONS, INC. DBA
THINKMATE                                     159 OVERLAND ROAD                                                       WALTHAM                MA       02451
INTEGRATED IT SOLUTIONS, INC. DBA
THINKMATE                                     232 VANDERBILT AVE                                                      NORWOOD                MA       02062

INTEGRATED MANUFACTURING & SUPPLY, INC.       620 ORVIS AVE                                                           SAN JOSE               CA       92112
INTEGRATED PEOPLE SOLUTIONS LLC               600 12TH STREET                                                         GOLDEN                 CO       80401
INTEGRATED QUALITY SERVICES                   1236 W. BROOKS                                                          ONTARIO                CA       91762
INTEGRATED TECHNOLOGIES, INC. (DBA LMI
AEROSPACE)                                    1910 MERRILL CREEK PARKWAY                                              EVERETT                WA       98203
INTEGRATION TECHNOLOGY SYSTEMS INC.           271 WESTECH DRIVE                                                       MT. PLEASANT           PA       15666
INTEL AMERICAS, INC.                          383 MADISON AVE                                                         NEW YORK               NY       10017
INTEL CORPORATION                             2200 MISSION COLLEGE BLVD                                               SANTA CLARA            CA       95054
INTELEX                                       70 UNIVERSITY AVENUE, SUITE 800                                         TORONTO                ON       M5J 2M4      CANADA
INTELLIGIZE, INC.                             230 PARK AVE, 7TH FLOOR                                                 NEW YORK               NY       10169
INTERCOMP COMPANY                             3839 COUNTY RD 116                                                      MEDINA                 MN       55340
INTERFACE INC.                                7401 E. BUTHERUS DRIVE                                                  SCOTTSDALE             AZ       85260
INTERFACE WELDING                             20722 BELSHAW AVE                                                       CARSON                 CA       90746

INTERGLOBAL CAPITAL INC DBA CHASSIS KING      1016 PONCE DE LEOB BLVD #5                                              CLEARWATER             FL       33756
INTERGRAPH CORPORATION                        305 INTERGRAPH WAY                                                      MADISON                AL       35758

Internal Revenue Service                      Centralized Insolvency Operation, 2970 Market St, Mail Stop 5‐Q30.133   Philadelphia           PA       19104‐5016
Internal Revenue Service                      Centralized Insolvency Operation, P.O. Box 7346                         Philadelphia           PA       19101‐7346
INTERNATIONAL AVIATION SERVICES               1618 S ARRAWANA AVE                                                     TAMPA                  FL       33629
INTERNATIONAL AVIATION SERVICES               3500 N WINDSOR DR                                                       AURORA                 CO       80011
INTERNATIONAL COMPONENT REPAIR, LLC           330 WEST INDUSTRIAL COURT                                               VILLA RICA             GA       30180

INTERNATIONAL COMPUTER CONCEPTS INC           300 WAINWRIGHT DRIVE                                                    NORTHBROOK             IL       60062
INTERNATIONAL EMERGING TECHNOLOGY
COMPANY "ETCO"                                PO BOX 1298, PC 130                                                     AL QURUM                                     OMAN
INTERNATIONAL INSTITUTE OF GD&T               12159 QUAIL AVE LANE N                                                  STILLWATER             MN       55082

INTERNATIONAL POLYMER SOLUTIONS INC.          5 STUDEBAKER                                                            IRVINE                 CA       92618
INTERNATIONAL PORT MANAGEMENT
ENTERPRISES                                   19523 S. SUSANA ROAD                                                    RANCHO DOMINGUEZ       CA       90221
                                              PARC D'INNOVATION, 1, RUE JEAN DOMINIQUE CASSINI, 67400 ILLKIRCH
INTERNATIONAL SPACE UNIVERSITY                GRAFFENSTADEN                                                                                                        FRANCE
INTERSTATE CONNECTING COMPONENTS              100 C MOUNT HOLLY BYPASS                                                LUMBERTON              NJ       08048
INTERSTATE PRODUCTS, INC.                     6561 PALMER PARK CIRCLE SUITE A                                         SARASOTA               FL       34238
INTERSTELLAR TECHNOLOGIES LLC                 709 TANNAHILL DR SE                                                     HUNTSVILLE             AL       35802
INTERTEST, INC                                303 RT 94                                                               COLUMBIA               NJ       07832
INTERTEST, LLC                                303 ROUTE 94                                                            COLUMBIA               NJ       07832
INTERVIEWSTREAM, INC.                         101 NORTH WACKER DRIVE, SUITE 110                                       CHICAGO                IL       60606
INTERWORLD HIGHWAY LLC                        205 WESTWOOD AVE                                                        LONG BRANCH            NJ       07740
INTEX SOLUTIONS                               507 W WASHINGTON BLVD                                                   MONTEBELLO             CA       90640
INTRADO DIGITAL MEDIA, LLC                    11650 MIRACLE HILLS DRIVE                                               OMAHA                  NE       68154

INTRADO DIGITAL MEDIA, LLC (DBA NOTIFIED)     11808 MIRACLE HILLS DRIVE                                               OMAHA                  NE       68154
INTRALINKS, INC.                              685 3RD AVENUE, 9TH FLOOR                                               NEW YORK               NY       10017
INTRINSIC SAFETY EQUIPMENT OF TEXAS, INC.
(DBA ISE MAGTECH)                             3902 MAGNOLIA PKW                                                       PEARLAND               TX       77584
INVICTUS ADVISORY GROUP, LLC                  3420 1/2 BROWN STREET NW                                                WASHINGTON             DC       20010
INX                                           4470 W SUNSET BLVD                                                      LOS ANGELES            CA       90027
IOFFICE, INC.                                 5300 MEMORIAL, STE 300                                                  HOUSTON                TX       77007

IQPS, INC.                                    6F RENGO FUKUOKA TENJIN BUILDING, 1‐15‐35, TENJIN, CHUO‐KU              FUKUOKA CITY                    810‐0001     JAPAN
                                              ATTN: SHUNSUKE ONISHI, 6F RENGO FUKUOKA TENJIN BUILDING, 1‐15‐
IQPS, INC.                                    35, TENJIN                                                              FUKUOKA CITY                    810‐0001     JAPAN
IQUW SYNDICATE 1856                           21 LOMBARD STREET                                                       LONDON                          EC3V 9AH     UNITED KINGDOM
IRISH AVIATION AUTHORITY                      11 – 12 D’OLIER STREET                                                  DUBLIN                          DUBLIN 2     IRELAND (EIRE)
IRUNGU, STEPHEN                               ADDRESS ON FILE
IRVINE HIGH SCHOOL                            4321 WALNUT AVE, ATTN: ARCHANA JAIN                                     IRVINE                 CA       92604
IRVINE PUBLIC SCHOOLS FOUNDATION              1 POST, SUITE 250                                                       IRVINE                 CA       92618
IRVING, LANCE G                               ADDRESS ON FILE
IRWIN INDUSTRIES                              1580 W. CARSON STREET                                                   LONG BEACH             CA       90810
ISAAC SAEED                                   ADDRESS ON FILE




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ISAAC, ADRIAN                                ADDRESS ON FILE

ISIS ‐ INNOVATIVE SOLUTIONS IN SPACE BV      MOTORENWEG 23                                                      CR, DELFT                      2623         NETHERLANDS
ISLAND CARGO SUPPORT                         12900 SIMMS AVE.                                                   HAWTHORNE             CA       90250
ISOGRAPH, INC.                               375 SOUTH MAIN STREET, SUITE #4                                    ALPINE                UT       84004
ISPACE, INC.                                 2381 ROSECRANS AVE                                                 EL SEGUNDO            CA       90245
ISS FACILITY SERVICES INC                    1019 N CENTRAL PARKWAY, STE 100                                    SAN ANTONIO           TX       78232
ISS FACILITY SERVICES, INC.                  1932 E. DEERE AVENUE                                               SANTA ANA             CA       92705
ISU PETASYS CORP                             12930 BRADELY AVENUE                                               SYLMAR                CA       91342
IT CONVERGENCE                               320 DECKER DR STE 100                                              IRVING                TX       75062‐4129
IT CONVERGENCE                               805 VETERANS BLVD SUITE 216                                        REDWOOD CITY          CA       94063
ITALIAN TRADE AGENCY                         77 POST OAK BOULEVARD                                              HOUSTON               TX       77056
ITALLIE, BRYAN VAN                           ADDRESS ON FILE
ITEC, INC                                    3942 W. SEGERSTROM AVE                                             SANTA ANA             CA       92704
ITN PRODUCTIONS                              200 GRAY’S INN ROAD                                                LONDON                         WC1X 8XZ     UNITED KINGDOM
ITOCHU CORPORATION                           2 CHOME‐5‐1 KITAAOYAMA, MINATO CITY                                TOKYO                          107‐8077     JAPAN
ITT AEROSPACE CONTROLS LLC                   25395 RYE CANYON ROAD                                              VALENCIA              CA       91355
ITT AEROSPACE CONTROLS LLC                   28150 INDUSTRY DRIVE                                               VALENCIA              CA       91355
IVES TRAINING & COMPLIANCE GROUP INC         8520 PORTAL WAY UNIT H3                                            BLAINE                WA       98230
J B SCEPKO TUBE SWAGING                      2200 E. GLADWICK ST.                                               RANCHO DOMINGUEZ      CA       90220
J&P PRECISION DEBURRING, INC.                9135 ALABAMA AVE, UNIT D                                           CHATSWORTH            CA       91311

J&RS MICRONESIA PACIFIC ENTERPRISES, LTD.    809 CHALAN PASAHERU, UNIT 1                                        TAMUNING              GU       96913        GUAM
J. HARMON CONSTRUCTION, INC.                 1679 SHAY ROAD                                                     BIG BEAR CITY         CA       92314
J. HARRIS INDUSTRIAL WATER TREATMENT, INC.
(DBA PURETEC INDUSTRIAL WATER)               3151 STURGIS ROAD                                                  OXNARD                CA       93030
J.B. ROCHE (MFG) LTD                         UNIT 11 CENTREPOINT                                                CORK                  CA
J.R., INC.                                   31280 LA BAYA DR.                                                  WESTLAKE VILLAGE      CA       91362
J.T. MCKINNEY CO, INC.                       2601 SATURN ST. SUITE 110                                          BREA                  CA       92821
JACALONE, TRAVIS                             ADDRESS ON FILE
JACALONE, TRAVIS                             ADDRESS ON FILE
JACK NADEL INC                               8701 BELLANCA AVE                                                  LOS ANGELES           CA       90045
JACKSON AEROSPACE, INC                       460 EAST ROSECRANS AVENUE                                          GARDENA               CA       90248
JACKSON, JAMES E                             ADDRESS ON FILE
JACKSON, ROBERT                              ADDRESS ON FILE
JACO AEROSPACE                               2010 LINCOLN AVE                                                   PASADENA              CA       91103
JACOB DUMBRILL                               ADDRESS ON FILE
JACOB WATERS                                 ADDRESS ON FILE
JACOB WILLIAM CATHAL SCHUCHMANN              ADDRESS ON FILE
JACOB, MANHAL NASSER                         ADDRESS ON FILE
JACQUELYN LINEVSKY                           ADDRESS ON FILE
JAMA SOFTWARE, INC.                          135 SW TAYLOR ST #200                                              PORTLAND              OR       97204
JAMES (JIM) STEVEN SIMPSON                   ADDRESS ON FILE
JAMES BASEL                                  ADDRESS ON FILE
JAMES G. ADVISORS                            ADDRESS ON FILE
JAMES KRING, INC.                            3687 MT DIABLO BLVD                                                LAFAYETTE             CA       94595
JAMES PLUMBING CONTRACTORS, INC.             863 ARBOR STREET                                                   COSTA MESA            CA       92627
JAMES STEVEN SIMPSON                         ADDRESS ON FILE
JAMES STOKES (DBA STOKEN DONUTS)             2320 BELSHAW STREET                                                MOJAVE                CA       93501
JAMF SOFTWARE, LLC                           100 WASHINGTON AVE. S., SUITE 1100                                 MINNEAPOLIS           MN       55401
JAMS, INC.                                   PO BOX 845402                                                      LOS ANGELES           CA       90084
JAN, MONICA S                                ADDRESS ON FILE
JANE, MATTHEW                                ADDRESS ON FILE
JANE, MATTHEW                                ADDRESS ON FILE
JANICKI INDUSTRIES, INC.                     719 METCALF STREET                                                 SEDRO‐WOOLLEY         WA       98284
JANICKI INDUSTRIES, INC.                     PO BOX 817                                                         SEDRO‐WOOLLEY         WA       98284
JANJUA, FAIZAN                               ADDRESS ON FILE
JANSEN, RYAN                                 ADDRESS ON FILE
JANSEN, RYAN PATRICK                         ADDRESS ON FILE
JANSENS AIRCRAFT SYSTEMS CONTROLS            2303 W. ALAMEDA DRIVE                                              TEMPE                 AZ       85282
JANSING, MATTHEW                             ADDRESS ON FILE
JAPAN AEROSPACE EXPLORATION AGENCY           "SUBJECT TO CONTINUED DILIGENCE*"
JARVIS, DANIEL PAUL                          ADDRESS ON FILE
JASKIRAN'S LLC (DBA MOJAVE SUBWAY
SANDWICHES)                                  16048 SIERRA HWY                                                   MOJAVE                CA       93501
JAVAD EMS, INC.                              900 ROCK AVENUE                                                    SAN JOSE              CA       95131
JAVAD GNSS, INC.                             900 ROCK AVE.                                                      SAN JOSE              CA       95131
JBI GROUP                                    28360 GRENNFIELD LANE                                              HIGHLAND              CA       92346
JBT CORPORATION                              1805 W 2550 S                                                      OGDEN                 UT       84401
JBW PRECISION, INC.                          2650 LAVERY COURT                                                  NEWBURY PARK          CA       91320
JCR AIRCRAFT DEBURRING,LLC.                  221 FOUNDATION AVE                                                 LA HABRA              CA       90631
JCR INDUSTRIES, LLC                          221 FOUNDATION AVE.                                                LA HABRA              CA       90631
JD SQUARED, INC                              2244 EDDIE WILLIAMS RD                                             JOHNSON CITY          TN       37601
JEFFREY ALLAR                                ADDRESS ON FILE
JEFFREY GOLD                                 ADDRESS ON FILE
JEFFREY PARKHURST                            ADDRESS ON FILE
JEGS HIGH PERFORMANCE                        101 JEGS PLACE                                                     DELAWARE              OH       43015
JENNER & BLOCK LLP                           353 NORTH CLARK ST                                                 CHICAGO               IL       60654
JENNIFER DUKE (DBA DUKE ENGINEERING)         44732 YUCCA AVENUE                                                 LANCASTER             CA       93534
JENSEN HUGHES, INC                           1000 WILSHIRE BLVD, SUITE 260                                      LOS ANGELES           CA       90017
JENSEN, KAEHUKAI EDWARD                      ADDRESS ON FILE
JERGENS, INC.                                15700 S. WATERLOO RD.                                              CLEVELAND             OH       44110
JERMEC ENGINEERING SERVICES                  714 N WINDSOR                                                      MESA                  AZ       85213
JESSE GARANT & ASSOCIATES INC.               G7‐628 MONMOUTH ROAD                                               WINDSOR               ON       N8Y 3L1      CANADA
JESSE SOULIGNY (WHISKEY CREATIVE)            7525 FLOWER MEADOW DR                                              SAN DIEGO             CA       92126
JESSE'S PIZZA LLC                            3356 DISCOVERY WAY                                                 ROSAMOND              CA       93560
JET DELIVERY, INC.                           2169 WRIGHT AVE                                                    LA VERNE              CA       91750
JET MODS, INC.                               304 LAURELWOOD DRIVE                                               GLENSHAW              PA       15116
JET PROPULSION LABORATORY                    4800 OAK GROVE DRIVE, APT 3                                        PASADENA              CA       91109
JET TEK                                      12075 34TH ST., N.                                                 ST. PETERSBURG        FL       33716
JETBRAINS S.R.O.                             NA HREBENECH II 1718/10                                            PRAGUE                         1400         CZECH REPUBLIC




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JETSEAL INC                                10310 E. BUCKEYE LANE                                              SPOKANE               WA       99206
JET‐TEK, LLC                               12075 34TH STREET NORTH UNIT A                                     ST. PETERSBURG        FL       33716
JF BERNS CO., INC.                         11115 ASHBURN RD.                                                  CINCINNATI            OH       45240
JFROG LTD                                  270 EAST CARIBBEAN DRIVE                                           SUNNYVALE             CA       94089
JH TECHNOLOGIES, INC                       213 HAMMOND AVENUE                                                 FREMONT               CA       94539
JHAV LTD                                   JHAV LTD, UNIT 1                                                   TRETHAWLE FARM                               UNITED KINGDOM
JIABIN XUE                                 7004 ISLAND QUEEN CT                                               SARASOTA              FL       34233
JILLIAN BAK                                34 S MENTOR AVE, APT 406                                           PASADENA              CA       91106
JIMENEZ, ANDREW                            ADDRESS ON FILE
JIMENEZ, ANDREW STEVEN                     ADDRESS ON FILE
JIMENEZ, AZUSENA                           ADDRESS ON FILE
JIMENEZ, EMANUEL                           ADDRESS ON FILE
JIMENEZ, ERNEST JASON                      ADDRESS ON FILE
JIMENEZ, GILBERTO                          ADDRESS ON FILE
JIMENEZ, JOHNNY                            ADDRESS ON FILE
JIMENEZ, JOHNNY ROBERT                     ADDRESS ON FILE
JIRA                                       "SUBJECT TO CONTINUED DILIGENCE*"
JITTERBIT, INC.                            1301 MARINA VILLAGE PARKWAY, SUITE 201                             ALAMEDA               CA       94501
JJH HOLDINGS, INC. (DBA OFF‐PREMISE
CATERGING)                                 600 W. CENTER                                                      LOGAN                 UT       84321
JK ENGINEERING AEROSPACE & DEFENSE         23231 LA PALMA AVENUE                                              YORBA LINDA           CA       92887
J‐KEM SCIENTIFIC, INC.                     6970 OLIVE BLVD                                                    ST. LOUIS             MO       63130
JLC AIR, INC.                              2330 W. AVE. L                                                     LANCASTER             CA       93536
JLT SPECIALTY LIMITED                      THE ST BOTOLPH BLDG., 138 HOUNDSDITCH                              LONDON                         EC3A 7AW      UNITED KINGDOM
JOBY AERO, INC.                            340 WOODPECKER RDG                                                 SANTA CRUZ            CA       95060‐9797
JOGLER LLC                                 6646 COMPLEX DRIVE                                                 BATON ROGUE           LA       70809
JOHANN HALTERMANN LTD                      15635 JACINTOPORT BLVD                                             HOUSTON               TX       77015
JOHN ARNERICH (DBA CONTAINER OUTLET)       7960 B SOQUEL DRIVE #408                                           APTOS                 CA       95003
JOHN CRAMER                                ADDRESS ON FILE
JOHN DANVERS, CHRISTOPHER                  ADDRESS ON FILE
JOHN F. BRADLEY, SE                        ADDRESS ON FILE
JOHN FULLER                                ADDRESS ON FILE
JOHN LABIB STRUCTURAL ENGINEERS, LLP       319 MAIN ST                                                        EL SEGUNDO            CA       90245
JOHN LOZANO                                ADDRESS ON FILE
JOHN P. STOPHER, LLC                       6 CANDLELIGHT CT.                                                  POTOMAC               MD       20854
JOHN SPLAWN                                ADDRESS ON FILE
JOHN TO GO                                 4 CAROL AVE.                                                       WEST HAVERSTRAW       NY       10993
JOHN WILEY & SONS, INC.                    9200 KEYSTONE CROSSING, SUITE800                                   INDIANAPOLIS          IN       46240
JOHNS HOPKINS APPLIED PHYSICS LABORATORY
LLC                                        11100 JOHNS HOPKINS ROAD                                           LAUREL                MD       20723‐6099
JOHNSON, BRADLEY L                         ADDRESS ON FILE
JOHNSON, GARY                              ADDRESS ON FILE
JOHNSON, IAN ANDREW                        ADDRESS ON FILE
JOHNSON, JERRY                             ADDRESS ON FILE
JOHNSON, JERRY                             ADDRESS ON FILE
JOHNSON, JESSE                             ADDRESS ON FILE
JOHNSON, MARLON                            ADDRESS ON FILE
JOHNSON, TREVOR                            ADDRESS ON FILE
JOHNSON, TYLER                             ADDRESS ON FILE
JOHNSON, TYLER GARRETT                     ADDRESS ON FILE
JOHNSTON, KEVIN                            ADDRESS ON FILE
JOINT AIR POWER COMPETENCE CENTRE          ROEMERSTRASSE 140                                                  D‐45746 KALKER                               GERMANY
JOLGHAZI, SAEED                            ADDRESS ON FILE
JON EGGING TRUST                           ADDRESS ON FILE
JONAL LABORATORIES INC.                    456 CENTER STREET                                                  MERIDEN               CT       06450
JONATHAN FRENCH                            ADDRESS ON FILE
JONATHAN GUERRERO                          ADDRESS ON FILE
JONES LANG LASALLE BROKERAGE INC.          8343 DOUGLAS AVENUE                                                DALLAS                TX       75225
JONES MANUFACTURING, INC.                  640 RUBY AVE                                                       WACO                  TX       76710
JONES, CHARLES A                           ADDRESS ON FILE
JONES, CRAIG                               ADDRESS ON FILE
JONES, KEVIN                               ADDRESS ON FILE
JONES, KEVIN PAYNE                         ADDRESS ON FILE
JONES, KEVON ONEAL                         ADDRESS ON FILE
JONES, RYAN SCOTT                          ADDRESS ON FILE
JONES‐SICKLER, ERIN KELLY                  ADDRESS ON FILE
JONG CHEN ENGINEERING                      ADDRESS ON FILE
JOSEPH SEIF VISUALS, LLC                   1225 ALTA PASEO                                                    BURBANK               CA       91501
JOSEPH, JORDAN                             ADDRESS ON FILE
JOSHUA TRAN                                ADDRESS ON FILE
JOZEFIK, ZOLTAN                            ADDRESS ON FILE
JP GERGEN CO. INC                          1519 N. FAIRVIEW ST                                                SANTA ANA             CA       92706
JP MORGAN CHASE BANK                       J.P. MORGAN ASSET MANAGEMENT, 277 PARK AVE                         NEW YORK              NY       10172
JP MORGAN CHASE BANK                       WSS GLOBAL FEE BILLING, PO BOX 26040                               NEW YORK              NY       10087‐6040

JPMORGAN ASSET MANAGEMENT                  J.P. MORGAN INSTITUTIONAL FUND SERVICE CENTER, P.O. BOX 219265     KANSAS CITY           MO       64121‐9265
                                           J.P. MORGAN INSTITUTIONAL INVESTMENTS GLOBAL LIQUIDITY ‐ DE, 500
JPMORGAN ASSET MANAGEMENT                  STANTON CHRISTIANA RD # 3‐3750                                     NEWARK                DE       19713‐2105
JPMORGAN CHASE BANK, N.A.                  P.O. BOX 182051                                                    COLUMBUS              OH       43218‐2051
JPR SYSTEMS INC.                           305 N. BERRY STREET                                                BREA                  CA       92821
JPS COMPOSITE MATERIALS                    2200 SOUTH MURRAY AVE                                              ANDERSON              SC       29624
JQ PAINT, INC                              17039 NEWLAND STREET                                               HUNTINGTON BEACH      CA       92647
JR UNIVERSAL CONSTRUCTION, INC.            1045 NORTH HUDSON AVENUE                                           LOS ANGELES           CA       90038
JRI, INC                                   31280 LA BAYA DRIVE                                                WESTLAKE VILLAGE      CA       91362
JS ENGINEERING LLC                         PO BOX 2084                                                        AUBURN                AL       36831
JS&P ENTERPRISES, CORP                     14950 AVENIDA ANITA                                                CHINO HILLS           CA       91709
                                           1ST FLOOR 258, MAENGDONGSANDANJIWON‐RO, GEUMWANG‐EUP,
J‐SPACE CO., LTD                           EUMSEONG‐GUN                                                       CHUNGCHEONBUK‐DO                             KOREA, REPUBLIC OF
JT ENGINEERING                             33336 AGUA DULCE CYN ROAD #103                                     AGUA DULCE            CA       91390
JTAG TECHNOLOGIES, INC.                    111 WEST STREET‐N SUITE A                                          EASTON                MD       21601‐2761
JTIME!                                     640 LARKFIELD CENTER                                               SANTA ROSA            CA       95403




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JUAREZ, CESAR                            ADDRESS ON FILE
JUAREZ, CESAR A                          ADDRESS ON FILE
JUDGE TECHNICAL SERVICES, INC.           12700 PARK CENTRAL DRIVE, SUITE 1070                             DALLAS                   TX      75251
JUDGE TECHNICAL SERVICES, INC.           151 S WARNER ROAD                                                WAYNE                    PA      19087
JULIUS, BRIAN                            ADDRESS ON FILE
JUROVICH, STEPHEN                        ADDRESS ON FILE
JUSEUNG STEPHEN LEE                      ADDRESS ON FILE
JUSTIN HOLLIDAY                          ADDRESS ON FILE

JV INTERNATIONAL SAFETY EQUIPMENT CO.    242 W. HARMON INDUSTRIAL PARK RD.                                TAMUNING                 GU      96913
JWM TALENT LLC                           228 PARK AVE S, STE 37828                                        NEW YORK                 NY      10003
JWM TALENT LLC, DBA MONDAY TALENT        "SUBJECT TO CONTINUED DILIGENCE*"
K&D COMPANY, LLC.                        7850 GLORIA AVENUE                                               VAN NUYS                 CA      91406
K&E INC. (DBA MICRO SPACE PRODUCTS)      3906 WEST 139TH STREET                                           HAWTHORNE                CA      90250
K&J MAGNETICS, INC                       18 APPLETREE LANE                                                PIPERSVILLE              PA      18947
K&L GATES LLP                            1601 K STREET NW                                                 WAHINGTON                DC      20006‐1600
K&L MICROWAVE, INC.                      2250 NORTHWOOD DRIVE                                             SALISBURY                MD      21801
KADAN CONSULTANTS INC.                   1600 EAST 33RD STREET, UNIT A                                    LONG BEACH               CA      90807
KADAN CONSULTANTS, INC.                  5662 RESEARCH DR.                                                HUNTINGTON BEACH         CA      92649
KAGIMOTO, DEREK T                        ADDRESS ON FILE
KAISER FOUNDATION HEALTH PLAN INC.       ONE KAISER PLAZA 15L                                             OAKLAND                  CA      94612
KALITTA AIR, L.L.C.                      818 WILLOW RUN AIRPORT                                           YPSILANTI                MI      48198
KAMAN INDUSTRIAL TECHNOLOGIES            213 WEST WAYNE ST                                                FT WAYNE                 IN      46802
KAMAN INDUSTRIAL TECHNOLOGIES            311 W PACIFIC COAST HWY                                          LONG BEACH               CA      90506
KAMAN INDUSTRIAL TECHNOLOGIES            FILE 25356                                                       LOS ANGELES              CA      90074‐5356
KAMATICS CORPORATION                     1330 BLUE HILLS AVENUE                                           BLOOMFIELD               CT      06002
KANE AEROSPACE                           7000 MERRILL AVE, MAILBOX 46                                     CHINO                    CA      91710
KANEKA AEROSPACE LLC                     6166 EGRET COURT                                                 BENICIA                  CA      94510
KANG, RONALD                             ADDRESS ON FILE
KAP MANUFACTURING, INC.                  327 W ALLEN AVE                                                  SAN DIMAS                CA      91773
KAPCO GLOBAL                             3120 E. ENTERPRISE ST                                            BREA                     CA      92821
KAPPA OPTRONICS INC.                     12 BUTTERNUT RD.                                                 GRANTHAM                 NH      03753
KARINA QUELET                            ADDRESS ON FILE
KARLS HARDWARE                           2300 STATE HIGHWAY 58                                            MOJAVE                   CA      93501
KASTLE SYSTEMS LLC                       6402 ARLINGTON BLVD                                              FALLS CHURCH             VA      22042
KATSINAS, NICHOLAS ALEXIS                ADDRESS ON FILE
KAVENEY, MICHAEL                         ADDRESS ON FILE
KAVENEY, MICHAEL EDWARD                  ADDRESS ON FILE
KAVLICO CORPORATION                      1461 LAWRENCE AVENUE                                             THOUSAND OAKS            CA      91320
KAWASAKI, RUSSELL                        ADDRESS ON FILE
KAZMI, HINA                              ADDRESS ON FILE
KDA, INC                                 2925 VETERAN AVENUE                                              LOS ANGELES              CA      90064
KEARNS, JEFF                             ADDRESS ON FILE
KEITH E. DAYTON (DBA KEITH DAYTON
TECHNICAL SERVICES)                      33 KINGFISHER                                                    TRABUCCO CANYON          CA      92679
KELLER USA, INC.                         2168 CAROLINA PLACE DR.                                          FORT MILL                SC      29708
KELLEY DRYE & WARREN LLP                 101 PARK AVENUE                                                  NEW YORK                 NY      10178
KELLEY, RYAN                             ADDRESS ON FILE
KELLY SPACE & TECHNOLOGY, INC.           294 S. LELAND NORTON WAY                                         SAN BERNARDINO           CA      92408
KELLY, SHAUN M                           ADDRESS ON FILE
KELTON LEGEND, LLC                       2135 EASTHAVEN DR.                                               COLUMBUS                 OH      43232
KELVION INC. THERMAL SOLUTIONS           5202 W. CHANNEL ROAD                                             CATOOSA                  OK      74015
KEN REVIS & ASSOCIATES                   3434 S NEW HOPE RD                                               GASTONIA                 NC      28056
KEN REVIS AND ASSOCIATES, LLC            10 KEEPERS LANTER DR.                                            SALEM                    SC      29676
KENMORE LABEL AND TAG                    30625 SOLON ROAD                                                 SOLON                    OH      44139
KENNAMETAL                               1600 TECHNOLOGY WAY                                              LATROBE                  PA      15650
KENNETH TELFORD                          ADDRESS ON FILE
KENT, JOHANNA                            ADDRESS ON FILE
KEO, SOCHANNARA                          ADDRESS ON FILE
KEPNER PRODUCTS COMPANY                  995 N. ELLSWORTH AVENUE                                          VILLA PARK               IL      60181
KERLEY CORPORATION                       3508 OCEAN VIEW BLVD.                                            GLENDALE                 CA      91208
KERN COUNTY ASSESSOR                     1115 TRUXTUN AVENUE                                              BAKERSFIELD              CA      93301

KERN COUNTY TREASURER ‐ TAX COLLECTOR    P.O. BOX 541004                                                  LOS ANGELES              CA      90054‐1004
KERNOW ASSET PROTECTION AND RECOVERY
LTD                                      5 THE WORKSHOPS                                                  SCORRIER HOUSE                   TR16 5AU     UNITED KINGDOM
KERNYTSKYY, OLEH                         ADDRESS ON FILE
                                                                                                          WATER‐MA‐TROUT IND EST
KERRA'S CATERING                         UNITS 9&10                                                       10, HELSTON                      TR130LW      UNITED KINGDOM

KESELOWSKI ADVANCED MANUFACTURING, LC    258 AVIATION DR.                                                 STATESVILLE              NC      28677
KEVIN GILCHRIST                          ADDRESS ON FILE
KEVIN LAURENCE DEGIN/BUILD, INC.         17400 BURMA ST.                                                  ENCINO                   CA      91316
KEVIN SAGIS                              ADDRESS ON FILE
KEYENCE CORPORATION OF AMERICA           669 RIVER DRIVE, SUITE 403                                       ELMWOOD PARK             NJ      07407
KEYSIGHT TECHNOLOGIES, INC.              PO BOX 4026                                                      ENGLEWOOD                CO      80155
KEYSTONE ENGINEERING COMPANY             4401 DONALD DOUGLAS DRIVE                                        LONG BEACH               CA      90808
KFORCE INC.                              1001 E. PALM AVE.                                                TAMPA                    FL      33605
KHONG, BRANDON KHIEM TRONG               ADDRESS ON FILE
KHONG, JENNIFER                          ADDRESS ON FILE
KHORSHIDI, PEDRAM                        ADDRESS ON FILE
KIA, TOORAJ                              ADDRESS ON FILE
KIDASA SOFTWARE, INC.                    1114 LOST CREEK BLVD # 300                                       AUSTIN                   TX      78746
KIEFFE & SONS FORD                       16400 SIERRA HWY                                                 MOJAVE                   CA      93501
KIMBERLY ARCHIBALD                       ADDRESS ON FILE

KINEIS                                   11, RUE HERMES, PARC TECHNOLOGIQUE DU CANAL                      RAMONVILLE SAINT AGNE            31520        FRANCE
KINETEK                                  24050 MADISON STREET, STE 207                                    TORRANCE                 CA      90505
KINETIC SOLUTIONS INC (DBA RABBIT AIR)   9242 1/2 HALL ROAD                                               DOWNEY                   CA      90241
KINETIC STRUCTURES CORPORATION           1731 W. ROSE GARDEN LANE, #1                                     PHOENIX                  AZ      85027
KING NUTRONICS CORPORATION               6421 INDEPENDENCE AVENUE                                         WOODLAND HILLS           CA      91367




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KINSLOW, THOMAS                              ADDRESS ON FILE
KIRK, JOHN                                   ADDRESS ON FILE
KIRK, JOHN HENRY                             ADDRESS ON FILE
KIRKHILL‐TA COMPANY                          300 E. CYPRESS STREET                                              BREA                 CA       92821
KIS COMPUTERS                                CARNE BREA HOUSE, LANE                                             NEWQUAY                       TR8 4NH       UNITED KINGDOM
KISPE SPACE SYSTEMS LIMITED                  KNOLL HOUSE, KNOLL ROAD                                            CAMBERLEY                     GU15 3SY      UNITED KINGDOM
KISPE SPACE SYSTEMS LTD                      BUILDING A2, CODY TECHNOLOGY PARK, OLD IVELY ROAD                  FARNBOROUGH                   GU14 0LX      UNITED KINGDOM
KITAJIMA, GEORGE                             ADDRESS ON FILE
KITCHEN12000                                 1013 1/2 CENTRAL AVE                                               GLENDALE             CA       91204

KITTYHAWK INC. DBA KITTYHAWK PRODUCTS        11651 MONARCH STREET                                               GARDEN GROVE         CA       92841

KITTYHAWK INC. DBA KITTYHAWK PRODUCTS        4730 SOUTH FORT APACHE ROAD, SUITE 300                             LAS VEGAS            NV       89147
KIVU CONSULTING, INC.                        44 MONTGOMERY STREET, SUITE 700                                    SAN FRANCISCO        CA       94104
KLASSEN, JACOB                               ADDRESS ON FILE
KLEOS SPACE, S.A.                            7, RUE DE L'INNOVATION, LUXITE TWO                                 KOCKELSCHEUER                 L‐1896        LUXEMBOURG
KLINE, KIMBERLEY                             ADDRESS ON FILE
KNIGHT, MATHEW                               ADDRESS ON FILE

KNIGHT'S PUMPING & PORTABLE SERVICES, INC.   1550 JAMES ROAD                                                    BAKERSFIELD          CA       93308
KNIPFER, CODY                                ADDRESS ON FILE
KNOX, COURTNEY LEON                          ADDRESS ON FILE
KOENIG, KAMALU                               ADDRESS ON FILE
KOGAWA, LISA                                 ADDRESS ON FILE
KOHLBERG KRAVIS ROBERTS & CO. L.P.           4001 KENNETT PIKE, SUITE 302                                       WILMINGTON           DE       19807
KOKOZIAN LAW FIRM                            10940 WILSHIRE BOULEVARD, SUIT 1200                                LOS ANGELES          CA       90024
KOMAX SYSTEMS INC                            15301 GRAHAM STREET                                                HUNTINGTON BEACH     CA       92649
KOMBU KITCHEN SF, LLC (DBA NYBLL)            6851 THE TURN                                                      OAKLAND              CA       94611
KONECANES, INC.                              4401 GATEWAY BLVD.                                                 SPRINGFIELD          OH       45502
KONECRANES, INC                              10310‐2 PIONEER BLVD                                               SANTA FE SPRINGS     CA       90670
KONG, VANNARA                                ADDRESS ON FILE
KONGSBERG SATELLITE SERVICES AS              PRESTVANNVEIEN 38, PO BOX 6180, N‐9291 TROMSO                      TROMSO                        9104          NORWAY
KONGSBERG SATELLITE SERVICES AS, DOING
BUSINESS AS KSAT                             PRESTVANNVEIEN 38, PO BOX 6180                                     TROMSO                        9104          NORWAY
KONRAD TECHNOLOGIES, INC.                    27300 HAGGERTY RD. #F‐10                                           FARMINGTON HILLS     MI       48331
KORICH, DAVID                                ADDRESS ON FILE
KORICH, DAVID LOUIS                          ADDRESS ON FILE
KORN FERRY (US), DBA KORN FERRY              1900 AVENUE OF THE STARS, SUITE 2600                               LOS ANGELES          CA       90067
KOUYOUMJI, VANA                              ADDRESS ON FILE
KOWTKO, JEFFREY                              ADDRESS ON FILE
KOWTKO, JEFFREY JOHN                         ADDRESS ON FILE
KOY, RANDY                                   ADDRESS ON FILE
KOZIKOWSKI, JAMES                            ADDRESS ON FILE
KOZLOWSKI, LEON                              ADDRESS ON FILE
KPFF CONSULTING ENGINEERS                    6080 CENTER DRIVE SUITE 300                                        LOS ANGELES          CA       90045
KPFF CONSULTING ENGINEERS                    700 SOUTH FLOWER STREET, SUITE 2100                                LOS ANGELES          CA       90017
KPMG                                         DEPT 0511, POB 120001                                              DALLAS               TX       75312‐0511
KPMG LLP                                     345 PARK AVENUE                                                    NEW YORK             NY       10154
KPRS CONSTRUCTION SERVICES, INC.             2850 SATURN ST, #120                                               BREA                 CA       92821
KRAMER, JAMES                                ADDRESS ON FILE

KRATOS DEFENSE & SECURITY SOLUTIONS, INC.    10680 TREENA ST, SUITE 600                                         SAN DIEGO            CA       92131
KRAUS, JOHN                                  ADDRESS ON FILE
KRAYDEN, INC.                                1491 WEST 124TH AVE                                                WESTMINSTER          CO       80234
KRAZAN & ASSOCIATES, INC.                    215 W. DAOKA AVE.                                                  CLOVIS               CA       93612
KRAZAN AND ASSOCIATES                        2205 COY AVE                                                       BAKERSFIELD          CA       93307
KRISTIANSEN, ERIK                            ADDRESS ON FILE
KROYTECH WORKBENCHES                         2301 WEST SAMPLE RD STE 5‐4C                                       POMPANO BEACH        FL       33070‐3059
KRUEGER, KYLE                                ADDRESS ON FILE

KSAT GLOBAL AS ("KSAT‐G") (DISH ON CONANT)   PRESTVANNVEGAN 38, 9011 TROMSO                                                                                 NORWAY
KSM ELECTRONICS, INC.                        22745 W DIEHL RD.                                                  WARRENVILLE          IL       60555
KT ENGINEERING CORPORATION                   2016 E.VISTA BELLA WAY                                             RANCHO DOMINGUEZ     CA       90220
KT ENGINEERING CORPORATION                   238 BUSINESS PARK BLVD, BLDG 23B, SUITE J                          MADISON              AL       35758

KT SAT CO. LTD                               13F, KT TOWER, 422 TEHERAN‐RO, GANGNAM‐GU                          SEOUL                         06193         KOREA, REPUBLIC OF
KUEHN, PATRICK                               ADDRESS ON FILE
KULITE SEMICONDUCTOR PRODUCTS, INC.          ONE WILLOW TREE ROAD                                               LEONIA               NJ       07605
KURT, RYANE L                                ADDRESS ON FILE
KURZGESAGT, GMBH                             ADDRESS ON FILE
KUTZBACH, DUANE                              ADDRESS ON FILE
KUTZBACH, DUANE MARTIN                       ADDRESS ON FILE
KUVERJI, RAJEN                               ADDRESS ON FILE
KV ENGINEERING INC.                          2411 W. FIRST STREET                                               SANTA ANA            CA       92703
KWIKSPACE GUAM, INC.                         256 MARINE CORPS DRIVE, ROUTE 1                                    PITI                 GU       96915         GUAM
KWONG, JEFFREY                               ADDRESS ON FILE
L & M ENTERPRISES                            906 WEST 223RD STREET                                              TORRANCE             CA       90502
L&E TUBING, LLC (DBA LAGARGE & EGGE)         5820 188TH ST SW BLDG D                                            LYNNWOOD             WA       98037
L&G TECHNOLOGY SERVICES, LLC                 300 NW INDUSTRIAL BLVD                                             MACON                GA       31216
L2 SOLUTIONS, LLC (DBA OMNITEQ)              3809 JUNIPER TRACE                                                 BEE CAVE             TX       78738
L3 AVIATION PRODUCTS, INC.                   5353 52ND ST SE                                                    GRAND RAPIDS         MI       49512
L‐3 COMMUNICATIONS CINCINNATI
ELECTRONICS CORP                             7500 INNOVATION WAY                                                MASON                OH       45040
L‐3 COMMUNICATIONS INTEGRATED SYSTEMS
PID                                          7500 MAEHR ROAD                                                    WACO                 TX       76705
L3 HARRIS TECHNOLOGIES INTEGRATED
SYSTEMS, L.P.                                7500 MAEHR RD                                                      WACO                 TX       76705
L3 NARDA‐MITEQ                               435 MORELAND ROAD                                                  HAUPPAUGE            NY       11788

LA COUNTY DEPT OF BEACHES AND HARBORS        4519 ADMIRALTY WAY, SUITE B                                        MARINA DEL REY       CA       90292
NAME ON FILE                                 ADDRESS ON FILE




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                   NAME                                                ADDRESS                                         CITY         STATE POSTALCODE           COUNTRY
LABIB FUNK AND ASSOCIATES                  319 MAIN STREET                                                   EL SEGUNDO            CA     90245
LABORATORY FOR ATMOSPHERIC AND SPACE
PHYSICS                                    1234 INNOVATION DRIVE                                             BOULDER               CO    80303
LACEY, SHAQUAN C                           ADDRESS ON FILE
LACO TECHNOLOGIES INC.                     3085 W DIRECTORS ROW                                              SALT LAKE CITY        UT    84104
LACSON, ALLEN NEIL                         ADDRESS ON FILE
LACSON, ARIEL M                            ADDRESS ON FILE
LAD, BHAVINI MISTRY                        ADDRESS ON FILE
LADIES OF HOPE MINISTRIES                  8 W. 126TH STREET                                                 NEW YORK              NY    10027
LAERDAL MEDICAL CORPORATION                167 MEYERS CORNERS ROAD                                           WAPPINGERS FALLS      NY    12590

LAGUNA COLLEGE OF ART AND DESIGN (LCAD)    2222 LAGUNA CANYON ROAD                                           LAGUNA BEACH          CA    92651
LAMORTE, QUYEN                             ADDRESS ON FILE
LAMSCO WEST INC.                           29101 THE OLD ROAD                                                VALENCIA              CA    91355
LANDAUER,INC.                              2 SCIENCE ROAD                                                    GLENWOOD              IL    60425
LANDMARK AMERICAN INSURANCE COMPANY        LANDMARK AMERICAN INSURANCE COMPANY, 945 E PACES FERRY RD,
(AMWINS)                                   STE 1800                                                          ATLANTA               GA    30326
LANDMARK AMERICAN INSURANCE COMPANY
(AMWINS)                                   RSUI GROUP, INC., 15303 VENTURA BLVD, SUITE 500                   SHERMAN OAKS          CA    91403
LANDON, NICOLE G                           ADDRESS ON FILE
LANDSBERG                                  1640 S. GREENWOOD AVE                                             MONTEBELLO            CA    90640
LANDSBERG                                  DEPT 6106                                                         LOS ANGELES           CA    90084‐6106
LANDSBERG ORORA                            6600 VALLEY VIEW STREET                                           BUENA PARK            CA    90620
LANDSTAR LIGON, INC.                       13410 SUTTON PARK DRIVE SOUTH                                     JACKSONVILLE          FL    32224
LANDSTAR LIGON, INC.                       DRAWER CS 100733                                                  ATLANTA               GA    30384‐0733
LANDSTAR RANGER, INC.                      13410 SUTTON PARK DRIVE SOUTH                                     JACKSONVILLE          FL    32224
LANGFORD, ALEXANDRIA                       ADDRESS ON FILE
LANIC ENGINEERING                          12144 6TH STREET                                                  RANCHO CUCAMONGA      CA    91730
LANSMONT CORPORATION                       17 MANDEVILLE COURT                                               MONTEREY              CA    93940
LAPMASTER INTERNATIONAL LLC                501 W. ALGONQUIN ROAD                                             MOUNT PROSPECT        IL    60056
LAPORTE, CONNIE                            ADDRESS ON FILE
LAPORTE, CONNIE MARIE                      ADDRESS ON FILE
LAPP, KEVIN                                ADDRESS ON FILE
LARKEY, ANDREW                             ADDRESS ON FILE
NAME ON FILE                               ADDRESS ON FILE
LAROQUE, NICHOLAS                          ADDRESS ON FILE
LAROSCHE, DANIEL R                         ADDRESS ON FILE
LARSON PACKAGING HOLDINGS, INC. (DBA
LARSON PACKAGING AND DBA FIRST CLASS
PACKAGING)                                 1000 YOSEMITE DR.                                                 MILPITAS              CA    95035
LARSON, BRANDON                            ADDRESS ON FILE
LARSON, RICHARD                            ADDRESS ON FILE
LARSON, RICHARD BRIAN                      ADDRESS ON FILE
LASER TOOLS CO., INC.                      12101 ARCH ST.                                                    LITTLE ROCK           AR    72206
LASERLINE, INC.                            1800 WYATT DRIVE, SUITE 9                                         SANTA CLARA           CA    95054
LASERS, INC.                               PO BOX 893                                                        GLENDORA              CA    91740
LATCONNECT 60 PTY LTD                      191 ST GEORGES TERRACE, LEVEL 1                                   PERTH                 WA    6000          AUSTRALIA
LATIMER PARTNERS, LLC                      443 MESA RD                                                       SANTA MONICA          CA    90402
LAUNCH CLOUD LLC                           16192 COASTAL HWY                                                 LEWES                 DE    19958
LAUNCH GSE LLC                             214 MAIN STREET, SUITE 144                                        EL SEGUNDO            CA    90245
LAUNCH GSE LLC                             2311 N 45TH ST, #339                                              SEATTLE               WA    98103
LAUNCH ON DEMAND, LLC                      7001 NORTH ATLANTIC AVENUE, SUITE 106                             CAPE CANVERAL         FL    32920
LAUNCHER INC.                              12624 DAPHNE AVE                                                  LOS ANGELES           CA    90250
LAURA PEREZ                                ADDRESS ON FILE
LAUTERBACH, INC.                           4 MOUNT ROYAL AVE., SUITE 320                                     MARLBOROUGH           MA    01752
LAV CONSULTING AND ENGINEERING, INC.       12418 ROSEDALE HWY., SUITE A                                      BAKERSFIELD           CA    93312
LAVOIE, ANDRE                              ADDRESS ON FILE
LAVOIE, JOSEPH ANDRE                       ADDRESS ON FILE
LAW OFFICES OF JOHN A HAUSER               ONE POINTE DRIVE, 6TH FLOOR                                       BREA                  CA    92821
LAWAL, SAUDIQ                              ADDRESS ON FILE
LAWRASON, BRYAN                            ADDRESS ON FILE
LAWRASON, BRYAN ROBERT                     ADDRESS ON FILE
LAWRENCE ROLL UP DOORS, INC.               4525 LITTLEJOHN STREET                                            BALDWIN PARK          CA    91706
LAWSON, BRIAN                              ADDRESS ON FILE
LAZARD GROWTH ACQUISITION CORP. I          30 ROCKEFELLER PLAZA                                              NEW YORK              NY    10012
LBISAT LLC                                 10288 S JORDAN GATEWAY STE K                                      SOUTH JORDAN          UT    84095
L‐COM GLOBAL CONNECTIVITY                  45 BEECHWOOD DR                                                   NORTH ANDOVER         MA    01845
LCS CONSTRUCTORS, INC ‐ USE 6112.          15205 ALTON PARKWAY                                               IRVINE                CA    92618
LD INTEGRATED TECHNOLOGIES LLC             11432 SOUTH ST #170                                               CERRITOS              CA    90703
LD PRODUCTS, INC.                          3700 COVER ST.                                                    LONG BEACH            CA    90808
LE CLAIRE MANUFACTURING CO.                3225 ZIMMERMAN DR.                                                BETTENDORF            IA    52722
LE, KORY                                   ADDRESS ON FILE
LE, LAN VAN                                ADDRESS ON FILE
LE, THANH TRUC THI                         ADDRESS ON FILE
LEADERSHIP RESEARCH INSTITUTE, INC.        16089 SAN DIEGUITO ROAD SUITE H201                                RANCHO SANTA FE       CA    92067
LEADING EDGE AERO PERFORMANCE SERVICES,
LLC                                        10514 12TH STREET CT                                              EDGEWOOD              WA    98372
LEADING EDGE AERO PERFORMANCE SERVICES,
LLC                                        P.O. BOX 1807                                                     MILTON                WA    98354
LEADING EDGE AEROSPACE, LLC                1360 S. ANNA                                                      WICHITA               KS    67209
LEAF SPACE S.R.L.                          VIA CAVOUR, 2                                                     LOMAZZO                     22074         ITALY
LEAKE, DYRONE                              ADDRESS ON FILE
LEAN MANUFACTURING GROUP, LLC              29170 AVENUE PENN                                                 VALENCIA              CA    91355
LEBRONZE ALLOYS                            VOIE DE CHÂLONS, ROUTE DÉPARTEMENTALE 977                         PARIS                       75002         FRANCE
LECOUR, MITCH                              ADDRESS ON FILE
LEDA CORPORATION                           7080 KEARNY DRIVE                                                 HUNTINGTON BEACH      CA    92648
LEDESMA, DAVID MICHAEL                     ADDRESS ON FILE
LEE GOEBEL ENTERPRISES                     1816 N. CASE STREET                                               ORANGE                CA    92865

LEE HECHT HARRISON LLC DOING BUSINESS AS
LHH RECRUITMENT SOLUTIONS                  10100 VENICE BLVD                                                 CULVER CITY           CA    90232




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LEE SPRING COMPANY LLC                     140 58TH SUITE 3C                                                   BROOKLYN             NY     11220
LEE, ANGELA                                ADDRESS ON FILE
LEE, JASON                                 ADDRESS ON FILE
LEE, JOSEPH                                ADDRESS ON FILE
LEE, JOSEPH POLIN                          ADDRESS ON FILE
LEE, JOUNG‐HOON                            ADDRESS ON FILE
LEE, PATRICK                               ADDRESS ON FILE
LEE, TIM                                   ADDRESS ON FILE
LEGACY CPR                                 37475 LOS ALAMOS ROAD                                               MURRIETA             CA    92563
LEGACY INDUSTRIES                          1399 PACIFIC DR.                                                    AUBURN HILLS         MI    48326
LEGG, GEOFFREY L                           ADDRESS ON FILE
LEGUIZAMO, LEONARD                         ADDRESS ON FILE
LEI, VAI MAN                               ADDRESS ON FILE
LEMIRE, EDMOND                             ADDRESS ON FILE
LEMIRE, EDMOND T                           ADDRESS ON FILE
LEMOS, GILBERT JOE                         ADDRESS ON FILE
LEMUS, LUIS                                ADDRESS ON FILE
LEMUS, LUIS                                ADDRESS ON FILE
LENHART, BRITTINAY                         ADDRESS ON FILE
LENNERTZ & CO. PRIVATE EQUITY GMBH         DÜSTERNSTRAßE 10, 20355                                             HAMBURG                                  GERMANY
LENSCRAFTERS INC                           4000 LUXOTTICA PLACE                                                MASON                OH    45040
LEONE, DANIEL                              ADDRESS ON FILE
LEOSTELLA, LLC                             12501 EAST MARGINAL WAY SOUTH, SUITE 100                            TUKWILA              WA    98168
LERMAN POINTER & SPITZ LLP                 12100 WILSHIRE BLVD., SUITE 600                                     LOS ANGELES          CA    90025
LES INDUSTRIES FLEXPIPE INC                33 RACINE STREET                                                    FARNHAM              QC    J2N 3A3       CANADA
LESKER, KURT J.                            ADDRESS ON FILE
LESLIE CONTROLS DBA CIRCOR AEROSPACE       12501 TELECOM DR.                                                   TAMPA                FL    33637
LESLIE CONTROLS DBA CIRCOR AEROSPACE       2301 WARDLOW CIRCLE                                                 CORONA               CA    92880
LESS EMF INC.                              7776B WATERVLIET SHAKER ROAD                                        LATHAM               NY    12110
LEVENE, DANIEL HARRY                       ADDRESS ON FILE
LEVITT INDUSTRIAL TEXTILE CO.              1100 SHAME DRIVE, UNIT 110                                          WESTBURY             NY    11590
LEVY, JULIA                                ADDRESS ON FILE
LEWIS, NICOLE                              ADDRESS ON FILE
LEWIS, NICOLE M                            ADDRESS ON FILE
LEX PRODUCTS                               15 PROGRESSIVE DRIVE                                                SHELTON              CT    06484
LEXISNEXIS, A DIVISION OF RELX INC.        28544 NETWORK PLACE                                                 CHICAGO              IL    60673‐1285
LEYBOLD USA INC                            5700 MELLON ROAD                                                    EXPORT               PA    15632
LEYVA, OMAR SANTOS                         ADDRESS ON FILE
LG&G CORPORATION                           1700 ARMY DRIVE SUITE 101                                           DEDEDO                     96929         GUAM
LGBTQ CENTER LONG BEACH                    2017 E 4TH STREET                                                   LONG BEACH           CA    90814
LI, MINCHUNG                               ADDRESS ON FILE
LI, MINCHUNG                               ADDRESS ON FILE
LI, NUAN                                   ADDRESS ON FILE
LIANG, JASON                               ADDRESS ON FILE
LIAO, REN JUN                              ADDRESS ON FILE
LIBERTY ELECTRONICS, INC.                  189 HOWARD ST.                                                      FRANKLIN             PA    16323
LIBERTY GLOBAL MANAGEMENT, LLC             1550 WEWATTA STREET, SUITE 1000                                     DENVER               CO    80212
LIBERTY LABS, LLC                          3245 UNIVERSITY AVE # 1122                                          SAN DIEGO            CA    92104

LIBERTY MUTUAL INSURANCE COMPANY           IRONSHORE, A LIBERTY MUTUAL COMPANY, 28 LIBERTY ST., 5TH FLOOR      NEW YORK             NY    10005
LIBERTY MUTUAL INSURANCE COMPANY           LIBERTY MUTUAL INSURANCE COMPANY, 175 BERCLEY ST                    BOSTON               MA    21116
                                           WILLIS TOWERS WATSON INSURANCE SERVICES WEST, INC., 801 S
LIBERTY MUTUAL INSURANCE COMPANY           FIGUEROA ST, STE 800                                                LOS ANGELES          CA    90017
LIBMAN, ROSS                               ADDRESS ON FILE
LIEBGOTT, JACOB ANDREW                     ADDRESS ON FILE
LIEU, CONNIE                               ADDRESS ON FILE
LIFE OF THE PARTY RENTAL                   10266 COALINGA AVE                                                  MONTCLAIR            CA    91763
LIFECOM INC                                5355 INDUSTRIAL DRIVE                                               HUNTINGTON BEACH     CA    92649
LIFESIGNS, INC.                            2222 LAVERNA AVENUE                                                 LOS ANGELES          CA    90041

LIFT‐IT MANUFACTURING COMPANY, INC. 1603   1603 WEST 2ND STREET                                                POMONA               CA    91766
LIGHTHOUSE WORLDWIDE SOLUTIONS             47300 KATO RD                                                       FREMONT              CA    94538
LIGHTNING BOLT AND SUPPLY, INC.            10626 S. CHOCTAW DRIVE                                              BATON ROGUE          LA    70815
LIHANI, DAVID                              ADDRESS ON FILE
LIMA, ALEXANDER                            ADDRESS ON FILE
LIMA, ALEXANDER BODELL                     ADDRESS ON FILE
LIMATHERM USA, INC                         5119 PEGASUS COURT, SUITE H                                         FREDERICK            MD    21704
LINASPACE, LLC                             2701 PROSPERITY AVE, SUITE 215                                      FAIRFAX              VA    22301
LINCOLN ELECTRIC CO.                       22801 ST. CLAIR AVE                                                 CLEVELAND            OH    44117
LINCOLN ELECTRIC COMPANY DBA BAKER
INDUSTRIES, INC.                           16936 ENTERPRISE DR.                                                MACOMB               MI    48044
LINDELY FIRE PROTECTION CO INC.            2220 E. VIA BURTON                                                  ANAHEIM              CA    92806
LINEAR AMS                                 12163 GLOBE STREET                                                  LIVONIA              MI    48150
LING, BOYA                                 ADDRESS ON FILE
LINKEDIN CORPORATION                       1000 W. MAUDE AVE                                                   SUNNYVALE            CA    94085
LINKEDIN CORPORATION                       3003 TASMAN DRIVE                                                   SANTA CLARA          CA    95054
LINN, JOHN                                 ADDRESS ON FILE
LION PRECISION                             7166 4TH STREET N.                                                  OAKDALE              MN    70882
LION TECHNOLOGY, INC.                      21 SUNSET INN RD, PO BOX 700                                        LAFAYETTE            NJ    07848‐0700
LIONTREE ADVISORS LLC                      660 MADISON AVE, 15TH FLOOR                                         NEW YORK             NY    10065
LIPTON, ROBERT                             ADDRESS ON FILE
LIRA, ERIC                                 ADDRESS ON FILE
LIU, YUEN JING MONICA                      ADDRESS ON FILE
LIVE NATION WORLDWIDE, INC.                9348 CIVIC CENTER DRIVE                                             BEVERLY HILLS        CA    90210
LLAMAS, JOSE ANTONIO                       ADDRESS ON FILE
LLOYD'S (FALVEY CARGO UNDERWRITING)        FALVEY CARGO UNDERWRITING, 66 WHITECAP DRIVE                        NORTH KINGSTOWN      RI    02852
                                           WILLIS TOWERS WATSON INSURANCE SERVICES WEST, INC., ONE
LLOYD'S (FALVEY CARGO UNDERWRITING)        CALIFORNIA PLAZA, 300 S GRAND AVE, STE 2000                         LOS ANGELES          CA    90071
LLOYDS BANK PLC                            8TH FLOOR, 33 OLD BROAD STREET                                      LONDON                     EC2N 1HZ      UNITED KINGDOM

LLOYDS STARSTONE (VIKCO) (AMWINS)          VIKCO INSURANCE SERVICES, 4185 BLACKHAWK PLAZA CIRCLE, STE 220      DANVILLE             CA    94506




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                   NAME                                               ADDRESS                                        CITY        STATE    POSTALCODE       COUNTRY
LMA, INC.                                 353 S. BROADWAY BLVD., SUITE 201                                 LOS ANGELES          CA       90013
LMI AEROSPACE                             1910 MERRILL CREEK PARKWAY                                       EVERETT              WA       98203
LMI AEROSPACE                             4838 RONSON COURT, STE R                                         SAN DIEGO            CA       92111
LMI AEROSPACE, INC.                       411 FOUNTAIN LAKES BLVD.                                         SAINT CHARLES        MO       63301‐4352
LMS GUAM                                  202 HILTON ROAD B01                                              TUMAN                GU       96913
LO, JONATHAN                              ADDRESS ON FILE
LOAD MOVERS INC                           10907 NESBITT AVENUE SOUTH                                       BLOOMINGTON          MN       55437
LOADS AND DYNAMICS GROUP, INC.            240 NORTH ROCK ROAD, SUITE 135                                   WICHITA              KS       67206
LOBART INSTRUMENTS                        11239 ILEX AVE                                                   PACOIMA              CA       91331
LOBBY ADVERTISING LLC                     8178 SAWMILL TRL                                                 WHITE LAKE           MI       48386
LOCKHEED MARTIN                           12257 S. WADSWORTH BLVD                                          LITTLETON            CO       80127

LOCKHEED MARTIN AERONAUTICS COMPANY       1011 LOCKHEED WAY                                                PALMDALE             CA       93599
LOGIS CFO, LLC                            17875 VON KARMAN AVE. SUITE 150                                  IRVINE               CA       92614
LOGISTICS PLUS INC.                       25511 BUDDE ROAD, AUSTIN BUILDING SUITE 201                      THE WOODLANDS        TX       77380
LOGMEIN                                   500 UNICORN PARK DRIVE                                           WOBURN               MA       01801
LONESTAR LUNAR DEVELOPMENT LLC            3840 46TH AVENUE S.                                              ST. PETERSBURG       FL       33711
LONG ARC INVESTMENT SERVICES LLC          "SUBJECT TO CONTINUED DILIGENCE*"
LONG BEACH CYCLERY                        3750 LONG BEACH BLVD                                             LONG BEACH           CA       90807
LONG BEACH FIRE DEPARTMENT                3205 LAKEWOOD BLVD                                               LONG BEACH           CA       90808
LONG BEACH LESBIAN & GAY PRIDE, INC.      1017 OBISPO AVENUE                                               LONG BEACH           CA       90804
LONG BEACH LINCOLN MERCURY INC            3500 CHERRY AVE                                                  LONG BEACH           CA       90809
LONG BEACH POLICE DEPT                    RECORDS DIVISION, 400 WEST BROADWAY                              LONG BEACH           CA       90802
LONG BEACH TRUCK REPAIR CENTER            6574 N. PARAMOUNT BLVD                                           LONG BEACH           CA       90805
LONG BEACH UNIFIED SCHOOL DISTRICT        2425 WEBSTER AVE                                                 LONG BEACH           CA       90810
LONG BEACH WATER DEPARTMENT               1800 E WARDLOW RD                                                LONG BEACH           CA       90807
LOOMIS TANK CENTER                        PO BOX 910                                                       ARROYO GRANDE        CA       93421
LOPEZ, ALFREDO                            ADDRESS ON FILE
LOPEZ, EARL                               ADDRESS ON FILE
LOPEZ, EARL GUY                           ADDRESS ON FILE
LOPEZ, FRANCISCO JOAQUIN                  ADDRESS ON FILE
LOPEZ, JUAN DIEGO                         ADDRESS ON FILE
LOPEZ, SYLVIA                             ADDRESS ON FILE
LOPEZ, SYLVIA RUIZ                        ADDRESS ON FILE
LOPEZ, VICTOR                             ADDRESS ON FILE
LOPEZ, VICTOR ALFONSO                     ADDRESS ON FILE
LOPEZ, VINICIO A                          ADDRESS ON FILE
LORD & SONS, INC                          430 EAST TRIMBLE RD                                              SAN JOSE             CA       95131
LOREDA LLC                                PO BOX 11270                                                     JACKSON              WY       83002
LOS ALAMITOS EDUCATION FOUNDATION         PO BOX 1210                                                      LOS ALAMITOS         CA       90720
LOS ANGELES COUNTY ASSESSOR               500 W. TEMPLE STREET, ROOM 225                                   LOS ANGELES          CA       90012
LOS ANGELES COUNTY RECORDER               P.O. BOX 54027                                                   LOS ANGELES          CA       90054‐0027
                                          REGISTRAR‐RECORDER, DOCUMENT ANALYSIS RECORDING (D.A.R)
LOS ANGELES COUNTY RECORDER               SECTION, 12400 E. IMPERIAL HWY                                   NORWALK              CA       90650
LOS ANGELES COUNTY TAX COLLECTOR          P.O. BOX 54027                                                   LOS ANGELES          CA       90054‐0027
LOS ANGELES COUNTY TAX COLLECTOR          P.O.BOX 54888                                                    LOS ANGELES          CA       90054
LOS ANGELES COUNTY TAX COLLECTOR          PO BOX 514818                                                    LOS ANGELES          CA       90051‐4818
LOUIE, KRISTINA                           ADDRESS ON FILE
LOUIS W. LOMBARDO (DBA TERAGON
RESEARCH)                                 2518 26TH AVENUE                                                 SAN FRANCISCO        CA       94116
LOVETT, GENA                              ADDRESS ON FILE
LOVETT, GENA C.                           ADDRESS ON FILE
LOVOLT SERVICES                           9530 COACHMAN AVE.                                               WHITTIER             CA       90605
LOZA‐MEJIA, JUAN FRANCISCO                ADDRESS ON FILE
LPW TECHNOLOGY INC.                       110 SOUTH CAMPUS DRIVE                                           IMPERIAL             PA       15126
LR ENVIRONMENTAL EQUIPMENT CO., INC.      12902 S. SPRING STREET                                           LOS ANGELES          CA       90061
LRC COIL CO.                              12309 TELEGRAPH ROAD                                             SANTA FE SPRINGS     CA       90670

LUCAS ASSOCIATES, INC (DBA LUCAS GROUP)   950 E PACES FERRY RD NE                                          ATLANTA              GA       30326
LUCID SOFTWARE INC.                       10355 SOUTH JORDAN GATEWY, SUITE 300                             SOUTH JORDAN         UT       84095
LUCIFER FURNACES, INC.                    2048 BUNNELL ROAD                                                WARRINGTON           PA       18976
LUCKY'S GLASS, INC.                       4720 MARINE AVENUE                                               LAWNDALE             CA       90260
LUFTHANSA TECHNIK AG                      WEG BEIM JAEGER 193                                              HAMBURG                       22335         GERMANY
LUGO, REYNALDO                            ADDRESS ON FILE
LUKAVSKYI, ROMAN                          ADDRESS ON FILE
LUKE S. COLBY (DBA TRITON SPACE
TECHNOLOGIES, LLC)                        12 CABOT ROAD, SUITE S                                           WOBURN               MA       01801
LUMISTAR, INC.                            2270 CAMINO VIDA ROBLE, SUITE L                                  CARLSBAD             CA       92011
LUNA, ARTURO                              ADDRESS ON FILE
LUNAR STATION CORP                        1 BROADWAY                                                       CAMBRIDGE            MA       02142
LUNASONDE, INC                            PO BOX 1202                                                      CORTARO              AZ       85652
LUONG, AARON                              ADDRESS ON FILE
LURIO, CHARLES                            ADDRESS ON FILE
                                          LE GOUVERNEMENT DU GRAND‐DUCHE DE LUXEMBOURG, MINISTERE
                                          DES AFFIARES ETRANGERES ET EUROPEENNES, 6, RUE DE L'ANCIEN
LUXEMBOURG DIRECTORATE OF DEFENCE         ATHENEE                                                          LUXEMBOURG                    L‐1144        LUXEMBOURG
LUXFER GAS CYLINDERS                      336 ENTERPRISE PLACE                                             POMONA               CA       91768
                                                                                                           L‐6815 BETZDORF
LUXGOVSAT S.A.                            CHATEAU DE BETZDORF                                              LUXEMBOURG                                  LUXEMBOURG
LY, DAVID                                 ADDRESS ON FILE
LYNCH, KRISTIN M                          ADDRESS ON FILE
LYNCO GRINDING CO. INC                    5950 CLARA ST.                                                   BELL GARDENS         CA       90201
LYNDEX‐NIKKEN                             1468 ARMOUR BLVD                                                 MUNDELEIN            IL       60060
M & E MACHINE AND ENGINEERING CO.         38340 INNOVATION COURT, SUITE 601                                MURRIETA             CA       92563
M & K METAL CO.                           14108 S. WESTERN AVE                                             GARDENA              CA       90249
M LINE CARRIER CORP.                      1412 E. PACIFIC COAST HWY.                                       WILMINGTON           CA       90744
M&D PRECISION MACHINING, INC.             13876 HARBOR BLVD, STE #3A                                       GARDEN GROVE         CA       92843
M&L PRECISION MACHINING, INC.             18665 MADRONE PARKWAY                                            MORGAN HILL          CA       95037
M&M CUTOMATIC, INC.                       9316 WASHBURN RD.                                                DOWNEY               CA       90242
M&R CONSULTANTS CORPORATION (MRCC
SOLUTIONS)                                700 TECHNOLOGY PARK DRIVE, SUITE 203                             BILLERICA            MA       01821




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M. P. METAL PRODUCTS, INC.                W1250 ELMWOOD AVE                                                   IXONIA                   WI     53036
MACELLVEN, GEOFFREY DAVID                 ADDRESS ON FILE
MACHINA LABS, INC.                        9410 OWENSMOUTH AVE.                                                CHATSWORTH               CA    91311

MACHINE DYNAMICS & ENGINEERING, INC.      9312 ARROW RD. NW                                                   MINERVA                  OH    44657
MACHINETEK LLC                            1985 PALOMAR OAKS WAY                                               CARLSBAD                 CA    92011
MACIAS, GUSTAVO                           ADDRESS ON FILE
MACIAS, MIGUEL                            ADDRESS ON FILE
MACIEJ BATURA                             ADDRESS ON FILE
MACKLIN, SCOTT J                          ADDRESS ON FILE
MADE BY MISS HILDE                        4127 LONG BEACH BLVD                                                LONG BEACH               CA    90808
MADISON COMPANY                           27 BUSINESS PARK DRIVE                                              BRANFORD                 CT    06405
MADRID, ROBERT                            ADDRESS ON FILE
MADRID, ROBERT RAMON                      ADDRESS ON FILE
MAGDA, BRIAN                              ADDRESS ON FILE
MAGELLAN AEROSPACE, WINNIPEG              ADDRESS ON FILE
MAGELLAN INDUSTRIAL TRADING CO.           227 WILSON AVENUE                                                   SOUTH NORWALK            CT    06854
MAGISANO, JOHN                            ADDRESS ON FILE
MAGNA TOOL, INC.                          5594 MARKET PLACE                                                   CYPRESS                  CA    90630
MAGNA TRANSPORTATION, LLC                 10700 JERSEY BLVD, SUITE 400                                        RANCHO CUCAMONGA         CA    91730
MAGTECH                                   3902 MAGNOLIA RD.                                                   PEARLAND                 TX    77584
MAHARAJ, ARUNA                            ADDRESS ON FILE
MAHONEY, DAVID G.                         ADDRESS ON FILE
MAHR INC.                                 1144 EDDY ST                                                        PROVIDENCE               RI    02905

MAINE OXY (DBA SPEC‐AIR SPECIALTY GASES   100 WASHINGTON STREET N.                                            AUBURN                   ME    04210
MAINFREIGHT                               1400 GLENN CURTISS STREET                                           CARSON                   CA    90504
MAINFREIGHT, INC.                         1400 GLENN CURTISS STREET                                           CARSON                   CA    90746
MAJOR INNOVATIONS, LLC                    40413 YARDLEY CT                                                    TEMECULA                 CA    92591
MAJOR LEAGUE FABRICATION, INC             1118 ROYAL PALM BLVD                                                RIVERSIDE                CA    92505
MAJOR, LINDSEY & AFRICA                   7301 PARKWAY DRIVE                                                  HANOVER                  MD    21076
MAJOR, LINDSEY & AFRICA ‐ IN HOUSE, LLC   700 SOUTH FLOWER ST, SUITE 750                                      LOS ANGELES              CA    90017
MALABAR INTERNATIONAL                     20 WEST LOS ANGELES AVE                                             SIMI VALLEY              CA    93065
MALDONADO, NICHOLAS                       ADDRESS ON FILE
MALDONADO, RICARDO                        ADDRESS ON FILE
MALTA DYNAMICS LLC                        405 WATERTOWN ROAD                                                  WATERFORD                OH    45786
MALTA DYNAMICS, LLC                       210 13TH STREET                                                     MATLA                    OH    43758
MAMAVA, INC                               180 BATTERY ST., SUITE 210                                          BURLINGTON               VT    05401
MANALIGOD, JANSSEN C                      ADDRESS ON FILE
MANALO, MARISONN VERA CAUTIVERIO          ADDRESS ON FILE
MANRIQUEZ, ANDREW PHILLIP                 ADDRESS ON FILE
MANSAT LIMITED                            PARKFIELD, GLENCRUTCHERY ROAD                                       DOUGLAS                        IM2 5HY       ISLE OF MAN
MANTEC SERVICES, INC.                     4400 24TH AVENUE W                                                  SEATTLE                  WA    98199
MANTECH ADVANCED SYSTEMS
INTERNATIONAL, INC.                       2250 CORPORATE PARK DRIVE                                           HERNDON                  VA    20171
MANTECH ADVANCED SYSTEMS
INTERNATIONAL, INC.                       2251 CORPORATE PARK DRIVE                                           HERNDON                  VA    20171
MANUEL MIRANDA PRACTICE LLC               195 CHRYSTIE STREET, SUITE 301‐6                                    NEW YORK                 NY    10002
MANUFACTURERS EDGE, INC                   5044 INDUSTRIAL RD, SUITE C                                         FARMINGDALE              NJ    07727
MANUTAN UK LIMITED                        EBBLAKE INDUSTRIAL ESTATE                                           VERWOOD                        BH31 6AT      UNITED KINGDOM
MANUTAN UK LTD                            EBBLAKE INDUSTRIAL ESTATE, VERWOOD                                  DORSET                         BH31 6AT      UNITED KINGDOM
MAPLES AND CALDER (CAYMAN) LLP            P.O. BOX 309, UGLAND HOUSE, SOUTH CHURCH STREET                     GEORGE TOWM                    KY1 1104      CAYMAN ISLANDS
MARATAS, BRANDON MICHAEL                  ADDRESS ON FILE
MARCUM, LLP                               6002 RODGERDALE ROAD, SUITE 300                                     HOUSTON                  TX    77072
MAREK, ALAN                               ADDRESS ON FILE
MAREK, ALAN L                             ADDRESS ON FILE
MARIANAS GAS CORP DBA ISLAND EQUIPMENT
COMPANY                                   272 E HARMON INDUSTRIAL PARK RD, SUITE 101                          TAMUNING                 GU    96913         GUAM
MARIANAS GAS CORPORATION (DBA ISLAND
EQUIPMENT COMPANY)(GUAM)                  727 EAST HARMON INDUSTRIAL PARK RD STE 101                          TAMUNING                 GU    96913         GUAM
MARINA GRAPHIC CENTER, INC.               12901 CERISE AVENUE                                                 HAWTHORNE                CA    90250
MARINE MANAGEMENT ORGANISATION            SORTATION REF 601 PHEONIX HOUSE                                     NEWPORT                        NP10 8FZ      UNITED KINGDOM

MARITIME AND COASTGUARD AGENCY (UK)       TBD                                                                 TBD                      CA                  UNITED KINGDOM
MARKEL SERVICE, INC.                      4521 HIGHWOODS PARKWAY                                              GLEN ALLEN               VA    23060
MARKETING MASTERS, INC.                   1871 NW GILMAN BLVD #1                                              ISSAQUAH                 WA    98027
MARMON DISTRIBUTION SERVICES, INC. DBA
FUTURE METALS, LLC                        10401 STATE STREET                                                  TAMARAC                  FL    33321
MARONEY COMPANY                           9016 WINNETKA AVE                                                   NORTHRIDGE               CA    91324
MAROTTA CONTROLS, INC                     ATTN: PATRICK MAROTTA, 79 BOONTON AVENUE, PO BOX 427                MONTVILLE                NJ    07045
MARPLES GEARS, INC.                       808 W SANTA ANITA ST                                                SAN GABRIEL              CA    91776
MARSH LIMITED                             THE ST BOTOLPH BUILDING, 138 HOUNDSDITCH                            LONDON                         EC3A 7AW      UNITED KINGDOM
MARSH SAS                                 5 PLACE DES PYRAMIDES‐TOUR ARIANE                                   PARIS LA DEFENSE CEDEX         92088         FRANCE
MARSH USA INC.                            1166 AVENUE OF THE AMERICAS                                         NEW YORK                 NY    10036
MARTIN, RODOLFO                           ADDRESS ON FILE
MARTINEZ AND TUREK, INC.                  300 SOUTH CEDAR AVENUE                                              RIALTO                   CA    92376‐9102
MARTINEZ, ARTURO                          ADDRESS ON FILE
MARTINEZ, RAUL E                          ADDRESS ON FILE
MARTON PRECISION MANUFACTURING            1365 SOUTH ACACIA                                                   FULLERTON                CA    92831
MARTZ WELDING                             ADDRESS ON FILE
MARUYAMA, WARREN                          ADDRESS ON FILE

MARYLAND UNEMPLOYMENT INSURANCE FUND      DIVISION OF UNEMPLOYEMENT INSURANCE, P.O. BOX 1844                  BALTIMORE                MD    21203‐1844
MASK‐OFF COMPANY                          345 W. MAPLE AVE.                                                   MONROVIA                 CA    91016
MASOLOGITES, JAMES                        ADDRESS ON FILE
MASON MACHINE & TOOL                      651 S. STATE COLLEGE BLVD. #7                                       FULLERTON                CA    92831
MASON, COREY                              ADDRESS ON FILE
MASON, COREY WILLIAM                      ADDRESS ON FILE

MASSACHUSETTS DEPARTMENT OF REVENUE       100 CAMBRIDGE ST., 2ND FLOOR                                        BOSTON                   MA    02114‐9558
MASSEE, MIKE                              ADDRESS ON FILE




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MASSENA, DAVID                             ADDRESS ON FILE
MASTEN SPACE SYSTEMS, INC.                 1570 SABOVICH ST.                                                 MOJAVE               CA       93501
MASTER BOND INC.                           154 HOBART STREET                                                 HACKENSACK           NJ       07601
MASTER ELECTRONICS                         1301 OLYMPIC BLVD.                                                SANTA MONICA         CA       90404
MASTER POWDER COATING INC                  13721 BORA DRIVE                                                  SANTA FE SPRINGS     CA       90670
MASTERBOND                                 154 HOBART STREET                                                 HACKENSACK           NJ       07601
MASTERMIND PRODUCTION GROUP INC.           637 S. STATE COLLEGE BLVD                                         FULLERTON            CA       92831
MASUDA, NINA                               ADDRESS ON FILE
MATAGUAY CONSULTING SERVICES LLC           29914 MILLER LANE                                                 VALLEY CENTER        CA       92082
MATEC INSTRUMENT COMPANIES, INC.           56 HUDSON STREET                                                  NORTHBOROUGH         MA       01532
MATECH                                     31304 VIA COLINAS, SUITE 102                                      WESTLAKE VILLAGE     CA       91362
MATERIALISE USA LLC                        44650 HELM CT                                                     PLYMOUTH             MI       48170
MATERIALS RESEARCH&DESIGN INC.             300 EAST SWEDSFORD ROAD                                           WAYNE                PA       19087
MATHESON TRI GAS                           909 LAKE CAROLYN PKWY, SUITE 1300                                 IRVING               TX       75039
MATHWORKS INC.                             PO BOX 21301                                                      NEW YORK             NY       10087‐1301
MATRIX RESOURCES, LLC                      400 PERIMETER CENTER TERRACE SUITE 300                            ATLANTA              GA       30346
MATSUTOMI, YEN CHING Y                     ADDRESS ON FILE
MATTERHACKERS, INC                         2032,I VALENCIA CIR                                               LAKE FOREST          CA       92630
MATTERMOST, INC                            20 CALIFORNIA ST, SUITE 250                                       SAN FRANCISCO        CA       94111
MATTHACKERS, INC.                          20321 VALENCIA DR                                                 LAKE FOREST          CA       92630

MATTHEW ISAKOWITZ FELLOWSHIP PROGRAM       2008 JOHN STREET                                                  MANHATTAN BEACH      CA       90266

MATTHEW LA PAN (DBA LA PAN RESEARCH LLC)   3826 W 105TH ST                                                   INGLEWOOD            CA       90303
MATTHEW PARADOWSKI                         ADDRESS ON FILE
MATTSON, GEORGE                            ADDRESS ON FILE
MATTSON, GEORGE N.                         ADDRESS ON FILE
MATTSON, GEORGE N.                         ADDRESS ON FILE
MAUER, ALEX                                ADDRESS ON FILE
MAURY MICROWAVE INCORPORATED               2900 INLAND EMPIRE BLVD.                                          ONTARIO              CA       91764
MAVERICK AEROSPACE LLC                     1560 MOONSTONE                                                    BREA                 CA       92821
MAVERICK AEROSPACE LLC                     3718 CAPITOL AVE                                                  CITY OF INDUSTRY     CA       90601
MAVERICK SPACE SYSTEMS, INC                3940 BROAD STREET #7837                                           SAN LUIS OBISPO      CA       93401
MAW, MAY                                   ADDRESS ON FILE
MAX IQ CORP.                               308 E MAIN STREET, PO BOX 3444                                    WISE                 VA       24293
MAXAMPS.COM                                1015 W GARLAND AVE                                                SPOKANE              WA       99205
MAXIM INTEGRATED                           160 RIO ROBLES                                                    SAN JOSE             CA       95134
MAXIMILIAN HOLLANDER                       ADDRESS ON FILE
MAXIMUM EFFORT                             "SUBJECT TO CONTINUED DILIGENCE*"
MAXPRO TECHNOLOGIES, INC                   7728 KLIER DR SOUTH                                               FAIRVIEW             PA       16415
MAXWELL MARTIN                             ADDRESS ON FILE
MAY, OUDDOM                                ADDRESS ON FILE
MAYA, MIGUEL ANGEL                         ADDRESS ON FILE
MAYNARD STANGELAND                         864 VALLEY HIGH AVE                                               THOUSAND OAKS        CA       91362
MBDA UK LIMITED                            SIX HILLS WAY, STEVENAGE                                          HERTFORDSHIRE                 SG1 2DA      UNITED KINGDOM
MC MACHINERY SYSTEMS, INC.                 85 NORTHWEST POINT BLVD.                                          ELK GROVE VILLAGE    IL       60007
MCADAMS, GARY W                            ADDRESS ON FILE
MCCALLUM, HANNAH                           ADDRESS ON FILE
MCCANN, STEVEN                             ADDRESS ON FILE
MCCARTHY STEEL FABRICATION, INC.           162 W AVENUE L8                                                   LANCASTER            CA       93534
MCCARTHY, MEGHAN                           ADDRESS ON FILE
MCCLEAN ANDERSON, LLC                      300 ROSS AVE                                                      SCHOFIELD            WI       54476
MCCOMBS, MICHAEL VINCENT                   ADDRESS ON FILE
MCCORKLE, ERIC MICHAEL                     ADDRESS ON FILE
MCCOY, JACOB                               ADDRESS ON FILE
MCCRAVEY, AUBREY                           ADDRESS ON FILE
MCCRAVEY, AUBREY LEE                       ADDRESS ON FILE
MCDONALD, LOREAL M.                        ADDRESS ON FILE
MCDONNELL, KYLE                            ADDRESS ON FILE
MCDONOUGH, STEVEN MICHAEL                  ADDRESS ON FILE
MCELHANEY, JESSE D                         ADDRESS ON FILE
MCELROY, WADE                              ADDRESS ON FILE
MCFARLAN, JOSEPH                           ADDRESS ON FILE
MCFARLAN, JOSEPH MICHAEL                   ADDRESS ON FILE
MCFARLAN, SEAN                             ADDRESS ON FILE
MCFARLAN, SEAN J                           ADDRESS ON FILE
MCFARLAND, KATHARINA                       ADDRESS ON FILE
MCFARLAND, KATHARINA                       ADDRESS ON FILE
MCFARLIN, RUSSELL SCOTT                    ADDRESS ON FILE
MCGIFFEN, KAYLA C                          ADDRESS ON FILE

MCGRATH RENTCORP (DBA MOBILE MODULAR
MANAGEMENT CORPORATION, DBA MOBILE
MODULAR PORTABLE STORAGE)                  5700 LAS POSITAS                                                  LIVEMORE             CA       94551
MCGRATH RENTCORP DBA TRS‐RENTELCO          1830 WEST AIRFIELD DRIVE; DFW AIRPORT, P. O. BOX 619260           DALLAS               TX       75261‐9260
MCHANEY & ASSOCIATES                       8924 E RED OAK DR.                                                SPOKANE              WA       99217
MCINTOSH STRUCTURAL DYNAMICS, INC.         129 S TEMELEC CIR                                                 SONOMA               CA       95476
MCKANE, JEREMY                             ADDRESS ON FILE
MCKAY, STACEY MARIE                        ADDRESS ON FILE
MCKENNA ENGINEERING & EQUIPMENT CO.,
INC.                                       13720 CIMARRON AVENUE                                             GARDENA              CA       90249‐2462
MCKINSEY & COMPANY, INC.                   78 SW 7TH STREET, SUITE 1000                                      MIAMI                FL       33130

MCKINSEY &COMPANY, INC. UNITED STATES      251 LITTLE FALLS DRIVE                                            WILMINGTON           DE       19808
MCLAREN AUTOMATION & MACHINE TOOL, LLC
DBA WELLS‐INDEX                            701 W CLAY AVE.                                                   MUSKEGON             MI       49440‐1064
MCMAHAN, RICH                              ADDRESS ON FILE
MCMASTER‐CARR SUPPLY COMPANY               9630 NORWALK BLVD                                                 SANTA FE SPRINGS     CA       90670‐2932
MCNICHOLS COMPANY                          2502 N. ROCKY POINT DRIVE, SUITE 750                              TAMPA                FL       33607
MD ENGINEERING INC                         1550 CONSUMER CIRCLE                                              CORONA               CA       92880
MDI SPRAY SYSTEMS                          888 EAST 1ST STREET                                               POMONA               CA       91766




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MEASUREMENT ANALYSIS CORPORATION         23850 MADISON STREET                                                 TORRANCE             CA     90505
MEASUREMENT SPECIALTIES, INC.            1000 LUCAS WAY                                                       HAMPTON              VA     23666
MECANO ID                                33 RUE DEVIC                                                         TOULOUSE                    31400      FRANCE
MECMESIN CORPORATION                     45921 MARIES ROAD                                                    STERLING             VA     20166
MEDIANT COMMUNICATIONS INC.              PO BOX 75185                                                         CHICAGO              IL     60675‐5185
MEDINA, ANGEL                            ADDRESS ON FILE
MEDINA, IVAN                             ADDRESS ON FILE
MEDINA, MARVIN                           ADDRESS ON FILE
MEDINA, RAUL                             ADDRESS ON FILE
MEDINA, RICARDO                          ADDRESS ON FILE
MEDRANO, ALEX                            ADDRESS ON FILE
MEDTHERM CORPORATION                     2604 NEWBY ROAD SW                                                   HUNTSVILLE           AL    35805
MEEHAN, BRANDON                          ADDRESS ON FILE
MEEKS BUTERA AND ISRAEL PLLC             1310 G STREET NW SUITE 720                                           WASHINGTON           DC    20005
MEEKS, BUTERA & ISRAEL PLLC              2020 PENNSYLVANIA AVENUE NW #478                                     WASHINGTON           DC    20006
MEGAFORCE CORPORATION                    2035 O'TOOLE AVENUE                                                  SAN JOSE             CA    95131
MEGHAN MCCARTHY                          ADDRESS ON FILE
MEHTA, RISH                              ADDRESS ON FILE
MEI RIGGING & CRATING, LLC DBA DUNKEL
BROS. MACHINERY MOVING                   14555 ALONDRA BLVD.                                                  LA MIRADA            CA    90638
MEINBERG USA INC                         100 STONY POINT ROAD, #110                                           SANTA ROSA           CA    93501
MEINBERG USA INC                         100 STONY POINT ROAD #110                                            SANTA ROSA           CA    95401
MEJIA, ISAEL                             ADDRESS ON FILE
MEJIA, PAUL                              ADDRESS ON FILE
MEL SCIENCE                              18 FINSBURY SQUARE                                                   LONDON                     EC2A 1AH     UNITED KINGDOM
MELANIE WULLAERT                         ADDRESS ON FILE
MELENDEZ, JOSE                           ADDRESS ON FILE
MELODYSHEEP                              8515 PAISLEY DRIVE NE                                                SEATTLE              WA    98115
MEMBRAPOR AG                             BIRKENWEG 2                                                          WALLISELLEN          ZH    8304         SWITZERLAND
MENCHACA, MARCOS J                       ADDRESS ON FILE
MENDEZ, GARRY ROY                        ADDRESS ON FILE
MENDEZ, MIGUEL G.                        ADDRESS ON FILE
MENDOZA, ALIPIO ALEX                     ADDRESS ON FILE
MENDOZA, KEANNA                          ADDRESS ON FILE
MENDOZA, OSCAR                           ADDRESS ON FILE
MENDOZA, RICHARD PAUL                    ADDRESS ON FILE
MENDOZA, RYAN MICHAEL                    ADDRESS ON FILE
MENDOZA, ZAIDA                           ADDRESS ON FILE
MENSOR, LP                               201 BARNES DRIVE                                                     SAN MARCOS           TX    78666
MERCADO, MICHAEL A.                      ADDRESS ON FILE
MERCER                                   1166 AVENUE OF THE AMERICAS                                          NEW YORK             NY    10036
MERCER                                   777 S FIGUEROA ST SUITE 2000                                         LOS ANGELES          CA    90017
MERCER (US) INC.                         633 W FIFTH STREET, SUITE 1200                                       LOS ANGELES          CA    90071
MERCER LLC                               777 S FIGUEROA ST, SUITE 2000                                        LOS ANGELES          CA    90017
MERCURY TECHNOLOGY GROUP                 6430 OAK CANYON, STE# 100                                            IRVINE               CA    92618
MERIDIAN INDUSTRIAL GROUP, LLC           529 SOUTH EAST STREET                                                HOLYOKE              MA    01040
MERSEN USA GS CORP – BAY CITY            900 HARRISON ST                                                      BAY CITY             MI    48708

MESA INTERNATIONAL TECHNOLOGIES, INC.    2427 SOUTH ANNE STREET                                               SANTA ANA            CA    92704
MESARCH, REBECCA                         ADDRESS ON FILE
MESGARHA, ELMIRA                         ADDRESS ON FILE
MET OFFICE                               FITZROY ROAD                                                         EXETER                     EX1 3PB      UNITED KINGDOM
METACOMP TECHNOLOGIES, INC.              28632 ROADSIDE DRIVE. SUITE 255                                      AGOURA HILLS         CA    91301
METAL CUTTING SERVICE, INC.              16233 EAST GALE AVENUE                                               CITY OF INDUSTRY     CA    91745
METAL SURFACES INT'L, LLC                6060 SHULL STREET                                                    BELL GARDENS         CA    90201
METALCRAFT TECHNOLGIES INV, LLC          526 N AVIATION WAY                                                   CEDAR CITY           UT    84721
METALCRAFTERS TRANSPARENCIES AND
COMPOSITES, INC.                         11161 SLATER AVE.                                                    FOUNTAIN VALLEY      CA    92708
METCUT RESEARCH ASSOCIATES INC.          3980 ROSSLYN DRIVE                                                   CINCINNATI           OH    45209
METLIFE CORE PROPERTY TRS, LLC           ONE METLIFE WAY                                                      WHIPPANY             NJ    07981
METRO FLOORS INC                         44109 N. YUCCA AVE.                                                  LANCASTER            CA    93534
METROSYS, INC.                           113 W. G STREET #656                                                 SAN DIEGO            CA    92101
METTLER‐TOLEDO INTERNATIONAL, INC.       1900 POLARIS PARKWAY                                                 COLUMBUS             OH    43240
METZ, ASHLEY                             ADDRESS ON FILE
MEURER, JOSEPH                           ADDRESS ON FILE
MEYCO MACHINE AND TOOL, INC              11579 MARTENS RIVER CIRCLE                                           FOUNTAIN VALLEY      CA    92708
MEYER, SCOTT A.                          ADDRESS ON FILE
MEYER, ZACHARY                           ADDRESS ON FILE
MEZA, GERARDO                            ADDRESS ON FILE
MI CASA SOFTWARE LLC                     7585 RONSON RD, SUITE 102                                            SAN DIEGO            CA    92111

MIC INSTITUTE OF TECHNOLOGY              5 CENTURY DRIVE, TRINCITY INDUSTRIAL PARK                            MACOYA                                  TRINIDAD & TOBAGO
MICHAEL GOCHEZ                           ADDRESS ON FILE
MICHAEL II, GARY                         ADDRESS ON FILE

MICHAEL WILSON (DBA MW COMM SOLUTIONS)   408 ANTELOPE COURT                                                   MCKINNEY             TX    75071
MICHAEL, GARY                            ADDRESS ON FILE
MICHIGAN AEROSPACE MANUFACTURERS
ASSOCIATION                              7205 STERLING PONDS COURT                                            STERLING HEIGHTS     MI    48312
MICRO MOTION, INC.                       7070 WINCHESTER CIRCLE                                               BOULDER              CO    80301
MICRO PRECISION CALIBRATION              22835 INDUSTRIAL PLACE                                               GRASS VALLEY         CA    95949
MICRO PRECISION CALIBRATION, INC.        2165 N GLASSELL STREET                                               ORANGE               CA    92865
MICRO QUALITY CALIBRATION, INC.          9168 DE SOTO AVENUE                                                  CHATSWORTH           CA    91311
MICROCANES, INC.                         10000 NE 7TH AVE STE 330‐A                                           VANCOUVER            WA    98685
MICRO‐COAX, INC.                         206 JONES BOULEVARD                                                  POTTSTOWN            PA    19464
MICRO‐EPSILON AMERICA, LP                8120 BROWNLEIGH DRIVE                                                RALEIGH              NC    27617
MICROFLEX INC                            1800 NORTH US HIGHWAY 1                                              ORMOND BEACH         FL    32174
MICROLEASE                               25841 INDUSTRIAL BLVD., SUITE 200                                    HAYWARD              CA    94545
MICROMO ELECTRONICS INC.                 14881 EVERGREEN AVENUE                                               CLEARWATER           FL    33762‐3008
MICROSOFT CORPORATION                    1 MICROSOFT WAY                                                      REDMOND              WA    98052
MICROSOFT CORPORATION                    1950 N. STEMMONS FWY., STE. 5010                                     DALLAS               TX    75207




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MIDE TECHNOLOGY CORPORATION              200 BOSTON AVENUE, SUITE 1000                                       MEDFORD            MA     02155
MIDE TECHNOLOGY CORPORATION              475 WILDWOOD AVE                                                    WOBURN             MA     01801
MIDLAND PLASTICS, INC.                   5405 SOUTH WESTRIDGE COURT                                          NEW BERLIN         WI     53051
MIDWEST MOTOR SUPPLY CO. INC. (DBA
KIMBALL MIDWEST)                         4800 ROBERTS ROAD                                                   COLUMBUS           OH    43228
MIDWEST MOTOR SUPPLY CO. INC. (DBA
KIMBALL MIDWEST)                         DEPT L ‐2780                                                        COLUMBUS           OH    43260
MIDWEST PRODUCTION SUPPLY                3731 WEST COUNTY ROAD 42                                            BURNSVILLE         MN    55306
MIGUEL BUENROSTRO                        ADDRESS ON FILE
MIKE GRUVER                              ADDRESS ON FILE
MIKE OWEN FABRICATION INC.               144 EAST NORRIS ROAD                                                BAKERSFIELD        CA    93308
MILBANK, LLP                             55 HUDSON YARDS                                                     NEW YORK           NY    10001‐2163
MILBANK, TWEED, HADLEY, & MCCOY LLP      ONE CHASE MANHATTAN PLAZA                                           NEW YORK           NY    10005
MILCO WIRE EDM, INC.                     15221 CONNECTOR LANE                                                HUNTINGTON BEACH   CA    92649
MILFORD, RICHARD                         ADDRESS ON FILE
MILITARY FASTENERS                       822 N A1A HWY SUITE 319                                             PONTE VEDRA        FL    32082
MILL MIKE MFG. CORP.                     16102 ORANGE AVE.                                                   PARAMOUNT          CA    90723
MILLENNIUM SPACE SYSTEMS                 ATTN: JASON KIM, 2265 E. EL SEGUNDO BLVD                            EL SEGUNDO         CA    90245
MILLER CASTINGS, INC.                    2503 PACIFIC PARK DR.                                               WHITTIER           CA    90601
MILLER ELECTRIC MFG                      1635 WEST SPENCER STREET                                            APPLETON           WI    54914
MILLER EQUIPMENT COMPANY, INC            PO BOX 2956                                                         LANCASTER          CA    93539
MILLER, LINDSAY                          ADDRESS ON FILE
MILLER, MICHAEL S                        ADDRESS ON FILE
MILLER, MICHAEL SHAWN                    ADDRESS ON FILE
MILLER, MICHELLE                         ADDRESS ON FILE

MILLER‐STEPHENSON CHEMICAL COMPANY       12261 FOOTHILL BLVD.                                                SYLMAR             CA    91342
MIL‐SAT                                  318 BANK ST                                                         SURRY              VA    23883
MILSPEC HEAT TREATING INC                15541 CHEMICAL LANE                                                 HUNTINGTON BEACH   CA    92649
MILSPECWEST, LLC                         162 CHATHAM LODGE LN                                                STATE ROAD         NC    28676
MILWAUKEE CYLINDER                       5877 SOUTH PENNSYLVANIA AVENUE                                      CUDAHY             WI    53110
MIMIC STUDIOS INC                        5355 MCCONNELL AVENUE                                               LOS ANGELES        CA    90066
MINCHUNG LI                              ADDRESS ON FILE
MINCO PRODUCTS, INC.                     7300 COMMERCE LANE NE                                               MINNEAPOLIS        MN    55432
MINDLIN‐DAVIDSON, JULIEN                 ADDRESS ON FILE
MINDRUM PRECISION, INC.                  10000 4TH ST                                                        RANCHO CUCAMONGA   CA    91730
MINI‐CIRCUITS                            1034 W. MAIN STREET                                                 BRANSON            MO    65616
MINISTRY OF DETAIL LTD.                  50‐54 OSWALD ROAD                                                   SCUNTHORPE               DN15 7PQ      UNITED KINGDOM
MINNCAST, INC.                           200 COMMERCE CIRCLE                                                 FRIDLEY            MN    55432
MINNEAR, JAMES                           ADDRESS ON FILE
MINT AEROSPACE INC.,                     10311 BRITTENFORD DR.                                               VIENNA             VA    22182
MINTEQ INTERNATIONAL INC., PYROGENICS
GROUP                                    640 N. 13TH STREET. BLDG # 105                                      EASTON             PA    18042
MIRACLE RESTAURANTS LLC (DBA. DICKEY'S
BARBECUE PIT)                            1653 ROYWOOD DR.                                                    LANCASTER          CA    93535
MIRG COMUNICAÇÃO & INTELIGÊNCIA
ESTRATÉGICA                              RUA DO TAMBUS, 333                                                  MONTE CARMELO      MG    38500         BRAZIL
MIRIAM REZENDE GONCALVES                 RUA DOS TAMBUS, 333                                                 MONTE CARMELO      MG    38500‐000     BRAZIL
MISSION CRITICAL COMPOSITES              15400 GRAHAM ST., SUITE 102                                         HUNTINGTON BEACH   CA    92649
MISSIORECK, ZACK                         ADDRESS ON FILE
MISTRAS GROUP (DBA CONDENSER & CHILLER
SERVICES)                                13382 BENSON AVE                                                    CHINO              CA    91710
MITCHELL LABORATORIES INC                10708 GARFIELD AVENUE                                               SOUTH GATE         CA    90280
MITCHELL LABORATORIES INC                7707 BEQUETTE AVENUE                                                PICO RIVERA        CA    90660
MITUTOYO AMERICA CORPORATION             965 CORPORATE BLVD.                                                 AURORA             IL    60502
MKB COMPANY, LLC                         6900 GRANGER ROAD, SUITE 200                                        INDEPENDENCE       OH    44131
MLD EVENT PRODUCTIONS                    14252 CULVER DRIVE, #A311                                           IRVINE             CA    92601
MMA DESIGN LLC                           2000 TAYLOR AVE SUITE 200                                           LOUISVILLE         CO    80027
MMO AVIATION SERVICES, INC.              3516 SW 110TH STREET                                                SEATTLE            WA    98146
MOBILE CHIRO CARE                        18151 WHARTON LANE                                                  HUNTINGTON BEACH   CA    92646
MOBILE INDUSTRIAL SUPPLY                 1340 N RED GUM                                                      ANAHEIM            CA    92806
MOBILE MINI, INC                         4646 E. VAN BUREN                                                   PHOENIX            AZ    85005
MOBILE MINI, INC.                        4646 E VAN BUREN STREET, SUITE 400                                  PHOENIX            AZ    85008
MOBILEDEMAND, L.C.                       1501 BOYSON SQUARE DRIVE, SUITE 101                                 HIAWATHA           IA    52233
MOCON, INC.                              7500 MENDELSSOHN AVE N                                              MINNEAPOLIS        MN    55428
MODELS AND TOOLS, INC                    51400 BELLESTRI CT                                                  SHELBY TWP         MI    48315
MODERN CUSTOM FABRICATION, INC.          2421 E. CALIFORNIA AVE.                                             FRESNO             CA    93721
MODERN EXPO & EVENTS                     424 SOUTH 700 EAST                                                  SALT LAKE CITY     UT    84102
MODSPACE                                 7100 DISTRICT BLVD                                                  BAKERSFIELD        CA    93313
MODULAR SPACE CORPORATION                1200 SWEDESFORD ROAD                                                BERWYN             PA    19312
MODULE X SOLUTIONS, LLC                  601 BENTON KELLY STREET                                             SHREVEPORT         LA    71106
MOGHADAM, MIKE                           ADDRESS ON FILE
MOJAVE AIR AND SPACEPORT                 1434 FLIGHTLINE                                                     MOJAVE             CA    93501
MOLD PLUS ENGINEERING, INC.              14015 S. CRENSHAW BLVD #6                                           HAWTHORNE          CA    90250
MOLESKINE AMERICA INC                    210 11TH AVE SUITE 1004                                             NEW YORK           NY    10001
MOLINA, MAX                              ADDRESS ON FILE
MOLINA, MAX                              ADDRESS ON FILE

MOMENTUS SPACE LLC DBA MOMENTUS INC.     3050 KENNETH STR.                                                   SANTA CLARA        CA    95054
MONDRAGON, YESENIA                       ADDRESS ON FILE
MONICA LIU, YUEN JING                    ADDRESS ON FILE
MONOLITH AEROWORKS LLC                   101 COMMERICAL WAY STE. I                                           TEHACHAPI          CA    93561
MONOPRICE, INC.                          11701 6TH ST.                                                       RANCHO CUCAMONGA   CA    91730
MONOPRICE, INC.                          P O BOX 740417                                                      LOS ANGELES        CA    90074‐0417
MONROE AEROSPACE                         399 EAST DRIVE                                                      MELBOURNE          FL    32904
MONSOON SOLUTIONS, INC.                  2405 140TH AVE NE SUITE A115                                        BELLEVUE           WA    98005
MONSTER VOIP                             1730 E HOLLY AVE, SUITE 749                                         EL SEGUNDO         CA    90245
MONTANA, ETHAN                           ADDRESS ON FILE
MONTES GENERAL CONSTRUCTION INC          12913 S HALLDALE AVE                                                GARDENA            CA    90249
MONTGOMERIE, WILLIAM K                   ADDRESS ON FILE
MONTGOMERY, THOMAS                       ADDRESS ON FILE




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MONTOYA, JAVIER                              ADDRESS ON FILE
MONTOYA, JAVIER                              ADDRESS ON FILE
MONTOYA, MANUEL                              ADDRESS ON FILE
MOODY'S CORPORATION                          250 GREENWICH ST.                                                 NEW YORK             NY       10007
MOOG INC                                     16080 TABLE MOUNTAIN PKWY, UNIT 500                               GOLDEN               CO       80403
MOOG, INC.                                   400 JAMISON ROAD                                                  ELMA                 NY       14059
MOON EXPRESS                                 PO BOX, NASA RESEARCH PARK                                        MOFFETT FIELD        CA       94035
MOON EXPRESS, INC.                           100 SPACEPORT WAY, BLDG. 90326                                    CAPE CANAVERAL       FL       32920
MOONEY INDUSTRIALS, INC.                     1612 BEACH BLVD. SUITE 260                                        HUNTINGTON BEACH     CA       92647
MOONEY INDUSTRIES PRECISION MACHINING,
INC.                                         8744 REMMET AVE.                                                  CANOGA PARK          CA       91304
MOONSHOT SPACE                               11 YORK STREET                                                    SYDNEY                        2000         AUSTRALIA
MOR INVESTMENTS LLP                          TRELOGGAN LN                                                      NEWQUAY                       TR7 2FP      UNITED KINGDOM
MORA, KARLA E                                ADDRESS ON FILE
MORADI, ALI                                  ADDRESS ON FILE
MORADI, ALI                                  ADDRESS ON FILE
MORALES, LUIS                                ADDRESS ON FILE
MORALES, LUIS ANTONIO                        ADDRESS ON FILE
MORALES, OSCAR E                             ADDRESS ON FILE
MORALES, PATRICK RAY                         ADDRESS ON FILE
MORALES, VICTOR                              ADDRESS ON FILE
MORALES, WENDY                               ADDRESS ON FILE
MORALES, YESENIA                             ADDRESS ON FILE
MORAN, ERIK                                  ADDRESS ON FILE
MORAN, JESSE                                 ADDRESS ON FILE
MORAN, SEAN                                  ADDRESS ON FILE
MORE4APPS INC.                               4695 MACARTHUR CT 11TH FL                                         NEWPORT BEACH        CA       92660
MORF3D INC.                                  821 N. NASH ST.                                                   EL SEGUNDO           CA       90245
MORRICO EQUIPMENT LLC, (GUAM)                197 YPAO ROAD                                                     TAMUNING             GU       96913        GUAM
MORRIS, ALAN                                 ADDRESS ON FILE
MORRISON, ALYSSA                             ADDRESS ON FILE
MORRISON, ALYSSA                             ADDRESS ON FILE
MORRISS, JACOB CHARLES                       ADDRESS ON FILE
MOSAIC CONSULTING GROUP, LLC                 2503 EUGENIA AVENUE                                               NASHVILLE            TN       37211
MOSBACHER, DAVID MATTHEW                     ADDRESS ON FILE
MOSITES RUBBER CO., INC.                     2720 TILLAR STREET                                                FORT WORTH           TX       76107
MOSS ADAMS LLP                               999 THIRD AVENUE, SUITE 2800                                      SEATTLE              WA       98104
MOSSADAMS                                    21700 OXNARD ST, STE 300                                          WOODLAND HILLS       CA       91367

MOTION & FLOW CONTROL PRODUCTS, INC          10822 W TOLLER DRIVE, SUITE 300                                   LITTLETON            CO       80127
MOTION INDUSTRIES                            45313 23RD STREET WEST                                            LANCASTER            CA       93536
MOTION INDUSTRIES                            760 W 190TH STREET                                                GARDENA              CA       90248
MOTION LABORATORIES, INC.                    520 FURNACE DOCK RD                                               CORTLANDT            NY       10567
MOTION SENSORS, INC                          786 PITTS CHAPEL ROAD                                             ELIZABETH CITY       NC       27909
MOTION SOLUTIONS                             27 ARGONAUT                                                       ALISO VIEJO          CA       92656
MOTIV SPACE SYSTEMS, INC.                    350 N. HALSTEAD ST.                                               PASADENA             CA       91107
MOTIVE WORKFORCE SOLUTIONS                   5122 BOLSA AVENUE, SUITE 112                                      HUNTINGTON BEACH     CA       92649
MOTIVE WORKFORCE SOLUTIONS                   5122 BOLSA AVENUE ‐ SUITE 110                                     HUNTINGTON BEACH     CA       92649
MOUSER ELECTRONICS, INC.                     1000 NORTH MAIN STREET                                            MANSFIELD            TX       76063
MPE LIMITED                                  UNITS 6 & 7, HIRWAUN INDUSTRIAL ESTATE                            HIRWAUN                       CF44 9UP     UNITED KINGDOM
MPHUSKY, LLC                                 204 OLD PIEDMONT HWY                                              GREENVILLE           SC       29605
MPM PRODUCTS INC                             1718 E GREVILLEA COURT                                            ONTARIO              CA       91761
MPR ASSOCIATES, INC                          320 KING STREET, SUITE 400                                        ALEXANDRIA           VA       22314‐3230
MR2 SOLUTIONS                                18575 JAMBOREE                                                    IRVINE               CA       92612
MRO SUPPLY                                   2915 E WASHINGTON BLVD                                            LOS ANGELES          CA       90023
MSC INDUSTRIAL SUPPLY                        75 MAXESS ROAD                                                    MELVILLE             NY       11747‐3151
MT FABRICATIONS LTD.                         UNIT 17 DECOY ROAD                                                WORTHING                      BN14 8ND     UNITED KINGDOM

MT SUPPLY, INC. (DBA MACHINE TOOLS SUPPLY) 1501 SW EXPRESSWAY DRIVE                                            BROKEN ARROW         OK       74012

MT SUPPLY, INC. (DBA MACHINE TOOLS SUPPLY) 2752 WALNUT AVE.                                                    TUSTIN               CA       92780

MT SUPPLY, INC. (DBA MACHINE TOOLS SUPPLY)   DEPT #41923, PO BOX 650823                                        DALLAS               TX       75265‐0823
MTCCORP                                      17375 MT HERMANN ST                                               FOUNTAIN VALLEY      CA       92708
MTI CORPORATION                              860 S19TH STREET                                                  RICHMOND             CA       94804
MTORRES AMERICA                              905 80TH STREET SW                                                EVERETT              WA       98203
                                                                                                                                                          UNITED ARAB
MUBADALA INVESTMENT COMPANY PJSC             P.O. BOX 45005                                                    ABU DHABI                                  EMIRATES
MUBEA PRECISION, INC.                        6800 INDUSTRIAL ROAD                                              FLORENCE             KY       41042
MUELLER, SAMANTHA                            ADDRESS ON FILE
MUELLER, SAMANTHA                            ADDRESS ON FILE
MULLEN, CHARLES DANIEL                       ADDRESS ON FILE
MULTIAX AMERICA, INC                         3000 REMICO ST SW                                                 GRANDVILLE           MI       49418
MUNICH RE SYNDICATE LIMITED                  ST HELEN'S 1 UNDERSHAFT                                           LONDON                        EC3A 8EE     UNITED KINGDOM
MUNOZ, ANEL                                  ADDRESS ON FILE
MUNOZ, MICHAEL ANTHONY                       ADDRESS ON FILE
MUNSAF, AHMAD                                ADDRESS ON FILE
MUNSAF, AHMAD                                ADDRESS ON FILE
MURO, VICTOR                                 ADDRESS ON FILE
MURPHY, BRIAN                                ADDRESS ON FILE
MURPHY, KEITH EDWARD                         ADDRESS ON FILE
MURPHY, QUINN                                ADDRESS ON FILE
MURRIETTA CIRCUITS                           5000 E. LANDON DRIVE                                              ANAHEIM              CA       92807
MUSSA, OMAR                                  ADDRESS ON FILE
MUT, VIBOL JAMES                             ADDRESS ON FILE
MW COMM SYSTEMS                              408 ANTELOPE COURT                                                MCKINNEY             TX       75071
MWR INFOSECURITY, INC.                       594 BROADWAY, SUITE 1212                                          NEW YORK             NY       10012
MYRIOTA                                      MCEWIN BUILDING, NORTH TERRACE                                    ADELAIDE                      5000         AUSTRALIA
N.C. ENGINEERING INC                         13439 S. BUDLONG AVE                                              GARDENA              CA       90247
N.F. SMITH & ASSOCIATES, LP                  5306 HOLLISTER STREET                                             HOUSTON              TX       77040
N1 CRITICAL TECHNOLOGIES INC                 2949 VENTURE DRIVE SUITE 108                                      JANESVILLE           WI       53546




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NAGARAJAN, ARVIND                          ADDRESS ON FILE
NALCO CAL WATER, LLC                       PO BOX 102147                                                    PASADENA                CA       91189‐2147
NALCO CAL WATER, LLC                       PO BOX 748174                                                    LOS ANGELES             CA       90074‐8174
NALCO COMPANY LLC (DBA NALCO WATER
PRETREATMENT SOLUTIONS)                    320 WEST 194TH STREET                                            GLENWOOD                IL       60425
NALLAR, RICARDO A                          ADDRESS ON FILE
NAMED PLAINTIFF IN CLASS ACTION LAWSUIT ‐
MICHAEL MERCADO (SUPERIOR COURT OF
CALIFORNIA FOR THE COUNTY OF KERN NO. BCV‐
21‐101743)                                 ATTN: CAPSTONE LAW APC, 1875 CENTURY PARK EAST, SUITE 100        LOS ANGELES             CA       90067
NAMMO DEFENSE SYSTEMS INC.                 4051 N. HIGLEY ROAD                                              MESA                    AZ       85215
NANKOVA, DANIELA                           ADDRESS ON FILE
NANMAC                                     425 FORTUNE BOULEVARD, #206                                      MILFORD                 MA       01757
NAPA AUTO PARTS                            501 W INYOKERN RD                                                RIDGECREST              CA       93555
NAPOLEON ENGINEERING SERVICES              1601 JOHNSON STREET                                              OLEAN                   NY       14760
NAREZ, FRANCISCO                           ADDRESS ON FILE
                                           ARMSTRONG FLIGHT RESEARCH CENTER, BUILDING 1111, JERRY HLASS
NASA                                       ROAD                                                             STENNIS SPACE CENTER    MS       39529
                                           NASA SHARED SERVICES CENTER, ACCOUNTS RECEIVABLE FOR THE         KENNEDY SPACE CENTER,
NASA                                       ACCOUNTS OF KENNEDY SPACE CENTER, AD‐C                           BREVARD                 FL       32899
                                           NASA SHARED SERVICES CENTER ‐ FMD, AR: NASA ARMSTRONG FLIGHT
NASA                                       RESEARCH CENTER, BLDG 1111, JARRY HLASS RD.,                     STENNIS SPACE CENTER    MS       39529
                                           NASA SHARED SERVICES CENTER ‐ FMD, ACCOUNTS RECEIVABLE FOR THE
NASA                                       ACCOUNTS, SAA8‐110553 ANNEX 12; WSTF, RAN 2744                   STENNIS SPACE CENTER    MS       39529

                                          NASA SHARED SERVICES CENTER FMD, ACCOUNTS OF: GEORGE C
                                          MARSHALL SPACE FLIGHT CENTER, SPACE ACT UMBRELLA AGREEMENT
NASA                                      NO. SAA8‐1725209, ANNEX NUMBER SAA8‐1725209.1                 STENNIS SPACE CENTER        MS       39529
                                          NASA SHARED SERVICES CENTER; FMD, ACCOUNTS RECEIVABLE FOR THE
NASA                                      ACCOUNTS OF:, NASA AMES RESEARCH CENTER                       STENNIS SPACE CENTER        MS       39529

                                          SHARED SERVICES CTR FMD‐ACCTS RECEIVABLE, FOR THE ACCT OF
NASA                                      GEORGE C MARSHALL SPACE FLIGHT CENTER, BLDG 1111, C ROAD          STENNIS SPACE CENTER    MS       39529
NASA                                      WHITE SANDS TEST FACILITY, 12600 NASA ROAD                        LAS CRUCES              NM       88012
NASA AMES RESEARCH CENTER                 PO BOX 1                                                          MOFFETT FIELD           CA       94035

NASA ARMSTRONG FLIGHT RESEARCH CENTER     "SUBJECT TO CONTINUED DILIGENCE*"
NASA GODDARD SPACE FLIGHT CENTER          8800 GREENBELT ROAD                                               GREENBELT               MD       20771
NASA KENNEDY SPACE CENTER                 NASA JOHN F. KENNEDY OFFICE OF PROCUREMENT, OP‐LS                 MERRITT ISLAND          FL       32899
NASA LANGLEY RESEARCH CENTER              "SUBJECT TO CONTINUED DILIGENCE*"
NASA LYNDON B JOHNSON SPACE CENTER        2101 E NASA PKWY                                                  HOUSTON                 TX       77058
NASA MARSHALL SPACE FLIGHT CENTER         "SUBJECT TO CONTINUED DILIGENCE*"
NASA NATIONAL AERONAUTIC AND SPACE
ADMINISTRATION                            300 E STREET SW                                                   WASHINGTON              DC       20546
NASA STENNIS SPACE CENTER                 STENNIS SPACE CTR OF NASA                                         STENNIS SPACE CENTER    MS       39529
NASDAQ, INC.                              151 W. 42ND ST                                                    NEW YORK                NY       10036
NATERA, OTHONIEL                          ADDRESS ON FILE
NATES INDUSTRIAL TOOLS INC.               22904 S. WESTERN AVE                                              TORRANCE                CA       90501
NATIONAL AIR CARGO                        350 WINDWARD DRIVE                                                ORCHARD DRIVE           NY       14127‐1568
NATIONAL AIR CARGO GMBH                   CARGO CITY SOUTH, BLDG 537F                                       FRANKFURT                        60549        GERMANY
NATIONAL BRONZE MANUFACTURING, CO.        28070 HAYES ROAD                                                  ROSEVILLE               MI       48066
NATIONAL CENTER FOR WOMEN                 UNIVERSITY OF COLORADO AT BOULDER, 1111 ENGINEERING DR., ECCE
&INFORMATION TECHNOLOGY                   1B36, 417 UCB                                                     BOULDER                 CO       80309

NATIONAL DEFENSE INDUSTRIAL ASSOCIATION   PO BOX 3401, 2130 EAST MARIPOSA AVE                               EL SEGUNDO              CA       90245
NATIONAL DIAMOND LABORATORY OF
CALIFORNIA, INC                           4650 ALGER STREET                                                 LOS ANGELES             CA       90039
NATIONAL EQUIPMENT, LLC                   12201 HIGHWAY 99                                                  MADERA                  CA       93638
NATIONAL INSTRUMENTS CORPORATION          11500 N. MOPAC EXPRESSWAY                                         AUSTIN                  TX       78759‐3504
NATIONAL JET COMPANY, INC.                10 CUPLER DRIVE                                                   LAVALE                  MD       21502
NATIONAL PRECISION BEARING                8152 304TH AVE SE                                                 PRESTON                 WA       98050
NATIONAL SOCIETY OF BLACK ENGINEERS       205 DAINGERFIELD ROAD                                             ALEXANDRIA              VA       22314
NATIONAL SPACE COUNCIL USERS’ ADVISORY
GROUP                                     "SUBJECT TO CONTINUED DILIGENCE*"
NATIONAL TECHNICAL SYSTEMS                2125 E. KATELLA AVE., STE. 250                                    ANAHEIM                 CA       92806‐6072
NATIONAL TECHNICAL SYSTEMS, INC.          1536 E. VALENCIA DR.                                              FULLERTON               CA       92831
NAVAERO AB                                100 NORTH BISCAYNE BOULEVARD, SUITE 1400                          MIAMI                   FL       33132
NAVAERO AB                                1050 OAK CREEK DRIVE                                              LOMBARD                 IL       60148
NAVAERO AB                                FORRADSGATAN 4                                                    SUNDSVALL                        856 33       SWEDEN
NAVAL AIR WARFARE CENTER WEAPONS
DIVISION                                  1 ADMINISTRATION CIRCLE                                           CHINA LAKE              CA       93555
NAVAL AIR WARFARE CENTER WEAPONS
DIVISION                                  DEPARTMENT OF THE NAVY, 575 I AVENUE, SUITE 1                     POINT MUGU              CA       93042‐5049
NAVARRETE, VICTOR ALFREDO                 ADDRESS ON FILE
NAVARRO, RAFAEL D                         ADDRESS ON FILE
NAVEX GLOBAL                              5500 MEADOWS ROAD STE, 500                                        LAKE OSWEGO             OR       97035
NAVEX GLOBAL, INC.                        6000 MEADOWS ROAD STE, 200                                        LAKE OSWEGO             OR       97035
NAVINT PARTNERS, LLC                      5619 DTC PARKWAY, SUITE 900                                       GREENWOOD VILLAGE       CO       80111
NAVISITE, LLC                             400 MINUTEMAN ROAD                                                ANDOVER                 MA       01801
NAZZARENO ELECTRIC CO., INC.              1250 E. GENE AUTRY WAY                                            ANAHEIM                 CA       92805
NCFI POLYURETHANES, INC.                  1515 CARTER ST.                                                   MT AIRY                 NC       27030
NCI, INC. (DBA CLEAN ROOM SUPPLY)         7125 NORTHLAND TERRACE N, SUITE 100                               BROOKLYN PARK           MN       55428
NDT ENTERPRISES                           6372 NEWBURY DRIVE                                                HUNTINGTON BEACH        CA       92647
NDT MART INC                              PO BOX 2427                                                       COVINGTON               GA       30014
NDT METRICS, INC.                         3912 CERRITOS AVENUE                                              LOS ALAMITOS            CA       90720
NDT SOLUTIONS, INC                        10‐1 AIRPORT ROAD                                                 NEW RICHMOND            WI       54017
NDT STREAMLINED STRATEGIES CORP.          72 MEADOW VALLEY                                                  IRVINE                  CA       92602
NDT SUPPLY.COM, INC.                      7952 NIEMAN ROAD                                                  LENEXA                  KS       66214
NDT SYSTEMS, INC                          5542 BUCKINGHAM DR                                                HUNTINGTON BEACH        CA       92649
NEGIN YAZDANI                             ADDRESS ON FILE
NEGRON, JORGE                             ADDRESS ON FILE




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NEIS, DANIEL H                             ADDRESS ON FILE
NELMS SURVEYING, INC.                      332 EAST NORRIS ROAD #4                                             BAKERSFIELD          CA       93308
NELSON PRODUCTS, INC.                      13551 W 43RD DR UNIT G                                              GOLDEN               CO       80403
NELSON, KRISTINA                           ADDRESS ON FILE
NELSON, RICHARD                            ADDRESS ON FILE
NELSON, SUSAN                              ADDRESS ON FILE
NEP ELECTRONICS, INC.                      805 MITTEL DRIVE                                                    WOOD DALE            IL       60191
NES BEARING CO., INC. (DBA NAPOLEAN
ENGINEERING SERVICES)                      1601 JOHNSON STREET                                                 OLEAN                NY       14760
NETACQUIRE CORPORATIONS                    12000 115TH AVE NE                                                  KIRKLAND             WA       98034‐6900
NETCENTRA INC.                             556 RIVERDALE DRIVE, UNIT A                                         GLENDALE             CA       91204
NETCENTRA, INC.                            5569 RIVERDALE DR. UNIT A                                           GLENDALE             CA       91204
NEU, MELODY ROSE                           ADDRESS ON FILE
NEUBAUER, COREY                            ADDRESS ON FILE
NEVELEX CORPORATION                        2950 METRO DRIVE #104                                               BLOOMINGTON          MN       55425
NEW PIG CORPORATION                        1 PORK AVE, PO BOX 304                                              TIPTON               PA       16684
NEW SKILLS USA, INC.                       13912 OLD HARBOR LANE, SUITE 204                                    MARINA DEL REY       CA       90292
NEW TANGRAM, LLC (DBA TANGRAM
INTERIORS)                                 9200 SORESON AVE                                                    SANTA FE SPRINGS     CA       90670
NEW VISION                                 8825 SHIRLEY AVE                                                    NORTHRIDGE           CA       91324
NEW VISTA ACQUISITION CORP                 125 SOUTH WACKER DRIVE, SUITE 300                                   CHICAGO              IL       60606
NEW WAY AIR BEARINGS INC.                  50 MCDONALD BLVD.                                                   ASTON                PA       19014
NEW YORK STATE DEPARTMENT OF TAXATION
AND FINANCE                                HARRIMAN CAMPUS RD                                                  ALBANY               NY       12227
NEWARK/ELEMENT 14                          33190 COLLECTION CENTER DRIVE                                       CHICAGO              IL       60093‐0331
NEWAY PACKAGING CORP.                      1973 E. VIA ARADO                                                   RANCHO DOMINGUEZ     CA       90220
NEWCOMB SPRING CORPORATION                 8380 CERRITOS AVE                                                   STANTON              CA       90680
NEWEGG BUSINESS INC.                       17560 ROWLAND ST                                                    CITY OF INDUSTRY     CA       91748
NEWGENT, BRADLEY THOMAS                    ADDRESS ON FILE
NEWMAN, GREGORY ERIC                       ADDRESS ON FILE
NEWPORT PACK & CRATE                       3044 ORANGE AVE.                                                    SANTA ANA            CA       92707
NEWROCKET                                  HA‐ENERGIA ST. 77                                                   BE'ER SHEVA                                ISRAEL
NEWTEX INDUSTRIES, INC.                    10096 6TH STREET, STE. O/P                                          RANCHO CUCAMONGA     CA       91730
NEWTEX INDUSTRIES, INC.                    8050 VICTOR MENDON ROAD                                             VICTOR               NY       14564
NEXEYA                                     6 RUE DES FRERES BOUDE                                              TOULOUSE CEDEX 1              31104        FRANCE
NEXINFO                                    615 W CIVIC CENTER DR SUITE 300                                     SANTA ANA            CA       92701
NEXINFO SOLUTIONS INC.                     8502 E CHAPMAN AVE #364                                             ORANGE               CA       92869
NEXTEK, INC                                201 NEXT TECHNOLOGY DRIVE                                           MADISON              AL       35758
NEXTEON TECHNOLOGIES                       200 BOLTON COURT                                                    AMBLER               PA       19002
NEXTGEN ACQUISITION CORP. II               "SUBJECT TO CONTINUED DILIGENCE*"
NEXTGIG SYSTEMS INC.                       2625 TOWNSGATE ROAD, STE 330                                        WESTLAKE VILLAGE     CA       91361‐5749
NEXTNEXTNEXT, LLC.                         13228 CENTRAL AVE, UNIT 104                                         HAWTHORNE            CA       90250
NEXTNEXTNEXT, LLC.                         381 VAN NESS AVE, STE# 1503                                         TORRANCE             CA       90501
NG, PHILLIP                                ADDRESS ON FILE
NG, PHILLIP                                ADDRESS ON FILE
NGAC GNM FEEDER II LLC                     69 CURLEW RD                                                        LANTANA              FL       33462
NGUYEN, DE                                 ADDRESS ON FILE
NGUYEN, EMILY                              ADDRESS ON FILE
NGUYEN, JAMES                              ADDRESS ON FILE
NGUYEN, JEAN                               ADDRESS ON FILE
NGUYEN, KAYLA                              ADDRESS ON FILE
NGUYEN, KEVIN TAN                          ADDRESS ON FILE
NGUYEN, KHANG                              ADDRESS ON FILE
NGUYEN, PAUL                               ADDRESS ON FILE
NGUYEN, PHILLIP TRAN                       ADDRESS ON FILE
NGUYEN, TEANN                              ADDRESS ON FILE
NGUYEN, VU V.                              ADDRESS ON FILE
NH RAPID MACHINING LLC                     22 CHARRON AVE                                                      NASHUA               NH       03063
NICHOLAS CORONADO                          ADDRESS ON FILE
NICHOLAS FOSTER                            ADDRESS ON FILE
NICHOLAS KATSINAS                          ADDRESS ON FILE
NICHOLSON STAFFING SOLUTIONS LLC           13921 PARK CENTER RD; SUITE 270                                     HERNDON              VA       20171
NICHOLSON STAFFING SOLUTIONS LLC DBA NSS
RPO                                        13921 PARK CENTER RD, SUITE 270                                     HERNDON              VA       20171
NICK DOAN                                  ADDRESS ON FILE
NICOLE WENZLER                             ADDRESS ON FILE
NICOMATIC, INC.                            450 PROGRESS DR                                                     HORSHAM              PA       19044
NIEMIEC, AARON                             ADDRESS ON FILE
NIGAY, ARKADIY                             ADDRESS ON FILE
NIKKEI VISUAL IMAGES, INC.                 2‐6‐1 NIHONBASHI KAYABA‐CHO                                         CHUO‐KU, TOKYO       CA       103‐0025     JAPAN
NIKKISO CLEAN ENERGY & INDUSTRIAL GASES
GMBH                                       ROBERT‐KOCH‐STRASSE 11                                              NEUENBURG                     79395        GERMANY
NIME, MARY                                 ADDRESS ON FILE
NINH, BRYAN                                ADDRESS ON FILE
NINJIO LLC                                 2820 TOWNSGATE RD, SUITE 101                                        WESTLAKE VILLAGE     CA       91361
NINJIO LLC                                 880 HAMPSHIRE RD. SUITE B                                           WESTLAKE VILLAGE     CA       91361
NIPPON EXPRESS U.S.A., INC.                2233 E. GRAND AVE.                                                  EL SEGUNDO           CA       90245
NISHIMOTO, MAXWELL DALE                    ADDRESS ON FILE
NO.1 CUBS                                  BELMONT                                                             TRURO, CORNWALL               TR24NH       UNITED KINGDOM
NOGALES, AMY LYNN                          ADDRESS ON FILE
NOGY, KEITH                                ADDRESS ON FILE
NOLTA, MICHAEL LLOYD                       ADDRESS ON FILE

NOMURA RESEARCH INSTITUTE, LTD.            1‐9‐2 OTEMACHI, CHIYODA‐KU, OTEMACHI FINANCIAL CITY GRAND CUBE      TOKYO                         100‐0004     JAPAN
NOOK INDUSTRIES, INC.                      4950 EAST 49TH STREET                                               CLEVELAND            OH       44125
NOOSPHERE VENTURE PARTNERS, LP             1906 EL CAMINO REAL                                                 MENLO PARK           CA       94027
NOR‐CAL CONTROLS, INC.                     1952 CONCOURSE DRIVE                                                SAN JOSE             CA       95131
NORCOMP SOUTHERN CALIFORNIA, LLC           76 DISCOVERY, PH: (949) 450‐8090                                    IRVINE               CA       92618
NORMAN FILTER COMPANY LLC                  9850 SOUTH INDUSTRIAL DRIVE                                         BRIDGEVIEW           IL       60455
NORMAN INDUSTRIAL MATERIALS, INC (DBA
INDUSTRIAL METAL SUPPLY CO)                8300 SAN FERNANDO RD.                                               SUN VALLEY           CA       91352




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NORMAN S. WRIGHT CLIMATEC MECHANICAL
EQUIPMENT OF SOUTHERN CALIFORNIA, LLC       3325 E. LA PALMA AVE.                                                 ANAHEIM               CA       92806
NORRIS, MICHAEL                             ADDRESS ON FILE
NORTH AMERICAN CRANE COMPANY                2041 LOCUST COURT                                                     ONTARIO               CA       91761

NORTH CAROLINA DEPARTMENT OF REVENUE        501 NORTH WILMINGTON STREET                                           RALEIGH               NC       27604

NORTH CAROLINA DEPARTMENT OF REVENUE        PO BOX 25000                                                          RALEIGH               NC       27640‐0640
NORTH SOUTH MACHINERY                       1400 PIONEER ST                                                       BREA                  CA       92821
NORTH STAR IMAGING INC                      19875 S. DIAMOND LAKE ROAD                                            ROGERS                MN       55374
NORTH STAR IMAGING INC                      25 JOURNEY                                                            ALISO VIEJO           CA       92656
NORTHERN REFRIGERATED TRANSPORTATION,
INC.                                        2700 WEST MAIN STREET                                                 TURLOCK               CA       95380
NORTHERN SAFETY CO, INC.                    PO BOX 4250                                                           UTICA, ONEIDA         NY       13504
NORTHERN SKY RESEARCH                       ONE MIFFLIN PLACE, SUITE 400                                          CAMBRIDGE             MA       02138
NORTHERN SKY RESEARCH, LLC                  ONE MIFFLIN PLACE                                                     CAMBRIDGE             MA       02138
NORTHERN TOOL & EQUIPMENT                   2800 SOUTHCROSS DRIVE WEST                                            BURNSVILLE            MN       55306
NORTHROP GRUMMAN SYSTEMS CORPORATION
(MISSION SYSTEMS)                           21240 BURBANK BOULEVARD                                               WOODLAND HILLS        CA       91367

NORTHROP GRUNMAN SYSTEMS CORPORATION 55 THIOKOL ROAD                                                              ELKTON                MD       21921

NORTH‐SOUTH MACHINERY COMPANY, INC.         1400 PIONEER ST.                                                      BREA                  CA       92821
NORTHSTAR                                   8605 SANTA MONICA BLVD, PMB 65044                                     WEST HOLLYWOOD        CA       90069‐4109
NORTHSTAR EARTH & SPACE INC.                384 SAINT‐JACQUES STREET, #300                                        MONTREAL              QC       H2Y 1S1      CANADA
NORTHWEST RUBBER EXTRUDERS, INC.            PO BOX 1541                                                           BEAVERTON             OR       97008
NORTHWOODS SOFTWARE CORPORATION             142 MAIN ST                                                           NASHUA                NH       03060
NOSALA ENGINEERING                          21411 LUTIE AVE                                                       MOJAVE                CA       93501
NOURYON USA LLC.                            525 W. VAN BUREN, 15TH FLOOR                                          CHICAGO               IL       60607
NOVA AEROSPACE PTY LTD                      27‐31 LONDON ROAD, MILE END SOUTH                                     SOUTH AUSTRALIA                5031         AUSTRALIA
NOVOSET TECHNOLOGY CENTER LLC               PO BOX 282, 87 MAIN STREET                                            PEAPACK               NJ       07977
NOVOTECHNIK US, INC.                        155 NORTHBORO ROAD                                                    SOUTHBOROUGH          MA       01772
NPI SERVICES, INC.                          3554 BUSINESS PARK DRIVE, SUITE G                                     COSTA MESA            CA       92626
NPI SPRINGS, INC.                           13551 W 43RD DRIVE, UNIT G                                            GOLDEN                CO       80403
NSK CORPORATION                             4200 GOSS ROAD                                                        ANN ARBOR             MI       48105

NSPA NATO SUPPORT & PROCUREMENT AGENCY RUE DE LA GARE 11                                                          CAPELLEN                                    LUXEMBOURG
NTH GENERATION COMPUTING, INC.         17055 CAMINO SAN BERNARDINO                                                SAN DIEGO             CA       92127
NTOPOLOGY                              199 LAFAYETTE STREET, FLOOR 4                                              NEW YORK              NY       10012
NT‐WARE U.S.A., INC.                   105 MAXESS ROAD, SUITE 129S                                                MELVILLE              NY       11747
NUMATIC ENGINEERING INC.               7915 AJAY DRIVE                                                            SUN VALLEY            CA       91352
NUMCO USA INC.                         PO BOX 1755                                                                REDONDO BEACH         CA       90278
NUOVA FIMA USA INC.                    4123 HOLLISTER, SUITE G                                                    HOUSTON               TX       77080
NUSIL INVESTMENTS, LLC                 1050 CINDY LANE                                                            CARPINTERIA           CA       93013
NUSPACE INC                            4401 DONALD DOUGLAS DRIVE                                                  LONG BEACH            CA       90808
NUVAIR                                 1600 BEACON PLACE                                                          OXNARD                CA       93033
NYBLL                                  6851 THE TURN                                                              OAKLAND               CA       94611
NYLOK LLC                              15260 HALLMARK CT                                                          MACOMB                MI       48042
NYLOK, LLC                             6465 W. PROESEL AVENUE                                                     LINCOLNWOOD           IL       60712
O. MILLER ASSOCIATES, LLC              5690 SCHAEFER AVENUE., SUITE C                                             CHINO                 CA       91710
O.C. VACUUM, INC.                      5900 CHERRY AVE                                                            LONG BEACH            CA       90805
OAKMAN AEROSPACE, INC.                 9092 S. RIDGELINE BLVD                                                     LITTLETON             CO       80129
OASIS INTEGRATION                      410 E AVE K12 STE 105                                                      LANCASTER             CA       93535
OC PRECISION PRODUCTS                  1520 COMMERCE ST UNIT 1                                                    CORONA                CA       92878

OC PRECISION PRODUCTS (DBA ARIANA MOORE)    1520 COMMERCE ST. STE1                                                CORONA                CA       92878
OCEAN CURRENCY NETWORK LLC                  12008 SUNLAND STREET                                                  DALLAS                TX       75218
OCHI, KELLEN KAZUAKI                        ADDRESS ON FILE
OCHOA‐COTA, DIEGO                           ADDRESS ON FILE
OCONNOR, CHARLES                            ADDRESS ON FILE
OCR SERVICES, INC.                          15825 SHADY GROVE ROAD, SUITE 90                                      ROCKVILLE             MD       20850
OCTAGON II, INC.                            1800 OLD MEADOW RD. UNIT 1119                                         MCLEAN                VA       22102
ODOM, MATTHEW                               ADDRESS ON FILE
ODUNTAN, OLUFEMI                            ADDRESS ON FILE
ODUNTAN, OLUFEMI                            ADDRESS ON FILE
OEM LLC                                     311 S HIGHLAND AVE                                                    FULLERTON             CA       92832
OERLIKON AM US INC.                         1101 PROSPECT AVENUE                                                  WESTBURY              NY       11590
OERLIKON METCO (US) INC.                    1101 PROSPECT AVE                                                     WESTBURY              NY       11590
OFFICE OF TAX AND REVENUE                   P.O. BOX 96019                                                        WASHINGTON            WA       20090‐6019
Office of the United States Trustee         844 King Street, Suite 2207, Lockbox 35                               Wilmington            DE       19801
OFFICESPACE SOFTWARE INC.                   228 PARK AVENUE SOUTH, #39903                                         NEW YORK              NY       10003
OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
PC                                          50 INTERNATIONAL DRIVE, STE 200                                       GREENVILLE            SC       29615
OH, JEAN                                    ADDRESS ON FILE
OHB SWEDEN                                  VIDEROGATAN 6                                                         KISTA                          16440        SWEDEN
OHMAN, JONATHAN                             ADDRESS ON FILE
OITA PREFECTURAL GOVERNMENT, A JAPANESE
LOCAL GOVERNMENT                            3‐1‐1, OTEMACHI, OITA‐SHI                                             OITA‐PREFECTURE                8708501      JAPAN
OLD REPUBLIC                                1990 VAUGHN ROAD                                                      KENNESAW              GA       30144
OLD REPUBLIC AEROSPACE, INC.                1990 VAUGHN RD, 1990 VAUGHN RD, STE 350                               KENNESAW              GA       30144
OLD REPUBLIC INSURANCE COMPANY              191 NORTH WACKER DRIVE                                                CHICAGO               IL       60606
OLD REPUBLIC INSURANCE COMPANY              631 EXCEL DR, 631 EXCEL DR                                            MT PLEASANT           PA       15666
                                            AON RISK INSURANCE SERVICES, NORTHEAST, INC., 100 WESTMINSTER
OLD REPUBLIC INSURANCE COMPANY              ST, 10TH FLOOR                                                        PROVIDENCE            RI       02903
OLDCASTLE ENCLOSURE SOLUTIONS               1002 15TH STREET SW, SUITE 110                                        AUBURN                WA       98001
OLIVER WYMAN, INC.                          1166 AVENUE OF THE AMERICAS                                           NEW YORK              NY       10036
OLIVER, DAVID                               ADDRESS ON FILE
OLLOM, STEPHANIE                            ADDRESS ON FILE
OLLOM, STEPHANIE                            ADDRESS ON FILE
OLMEDO, PABLO                               ADDRESS ON FILE




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OLSEN MFG CO INC                        4353 DELEMERE BLVD                                                ROYAL OAK            MI     48073
OLSON, GARRETT LEE                      ADDRESS ON FILE
OLYMPIC KILNS                           4225 THURMON TANNER PKWY                                          FLOWERY BRANCH       GA    30542
OLYMPUS FINANCIAL SERVICES              ASSET MANAGEMENT, PO BOX 200183                                   PITTSBURGH           PA    15251‐0183
OLYMPUS NDT INC.                        48 WOERD AVE.                                                     WALTHAM              MA    02453

OLYMPUS SCIENTIFIC SOLUTIONS AMERICAS
CORP (DBA EVIDENT SCIENTIFIC)           48 WOERD AVE, SUITE 105                                           WALTHAM              MA    02453
OMAR MUSSA                              ADDRESS ON FILE
OMAR, DALYA                             ADDRESS ON FILE
OMEGA ENGINEERING, INC                  26904 NETWORK PLACE                                               CHICAGO              IL    60673‐1269
OMEGA ENGINEERING, INC                  ONE OMEGA DRIVE                                                   STAMFORD             CT    06907
OMEGA TECHNOLOGIES                      31125 VIA COLINAS, SUIT 905                                       WESTLAKE VILLAGE     CA    91362
OMNETICS CONNECTOR CORPORATION          7260 COMMERCE CIRCLE E                                            MINNEAPOLIS          MN    55432
OMNETICS CONNECTOR CORPORATION          8840 EVERGREEN BLVD.                                              MINNEAPOLIS          MN    55433
OMNI LOGISTICS, LLC                     3100 OLYMPUS BLVD. SUITE 420                                      DALLAS               TX    75019
OMNI METAL FINISHING, INC.              11665 COLEY RIVER CIRCLE                                          FOUNTAIN VALLEY      CA    92708
OMNI TRADE SERVICES, LLC                3100 OLYMPUS DR. SUITE 420                                        DALLAS               TX    75019
OMNI TRAINING CORP.                     9521 BUSINESS CENTER DRIVE #102                                   RANCHO CUCAMONGA     CA    91730
OMNIWARE, INC                           3830 VALLEY CENTRE DRIVE, SUITE 705‐361                           SAN DIEGO            CA    92130
OMNI‐X USA, INC.                        2751 W. MANSFEILD AVE.                                            ENGLEWOOD            CO    80110
ONCHIRI, LORRETTA KWAMBOKA              ADDRESS ON FILE

ONE SOURCE MANUFACTURING, TECHNOLOGY    1106 LEANDER DRIVE                                                LEANDER              TX    78641
ONEIDA AIR SYSTEMS, INC.                1001 WEST FAYETTE STREET, STE. 200                                SYRACUSE             NY    13204
ONE‐WAY MANUFACTURING, INC.             1195 N OSPREY CIRCLE                                              ANAHEIM              CA    92807
ONEWEB, LTD.                            1785 GREENSBORO STATION PLACE, TOWER 3, SUITE 500                 MCLEAN               VA    22102
ONGKOWIDJOJO, MICHELLE CHERIE           ADDRESS ON FILE
ONLINEMETALS.COM                        22355 WEST ELEVEN MILE RD                                         SOUTHFIELD           MA    48033
ON‐SITE LASERMEDIC CORP                 21540 PRAIRIE STREET, UNIT D                                      CHATSWORTH           CA    91311
ON‐TRAK PHOTONICS, INC.                 14 GOODYEAR SUITE 130                                             IRVINE               CA    92618
ONWUDIWE, MEMME                         ADDRESS ON FILE
OPEN COSMOS LIMITED                     ELECTRON BUILDING, FERMI AVENUE                                   HARWELL                    OX11 0QX      UNITED KINGDOM
OPEN X EDUCATION, LLC                   1416 E. BURNETT ST.                                               LONG BEACH           CA    90802
OPENLM LTD                              SDEROT HANASSI 1                                                  PARDESIYA                  4281500       ISRAEL
OPIE OILS LIMITED                       CARDREW INDUSTRIAL ESTATE                                         REDRUTH                    TR15 1SS      UNITED KINGDOM
OPTESSA, INC.                           100 VILLAGE COURT, SUITE 301                                      HAZLET                     07730         CANADA
OPTIMA INC.                             240 A CHEERY STREET                                               SHREWSBURY           MA    01545
OPTIMA USA, INC                         3480 N. 127TH STREET                                              BROOKFIELD           WI    53005
OPTO 22                                 43044 BUSINESS PARK DRIVE                                         TEMECULA             CA    92590
ORACLE AMERICA, INC.                    500 ORACLE PARKWAY                                                REDWOOD SHORES       CA    94065
ORACLE AMERICA, INC.                    P.O. BOX 44471                                                    SAN FRANCISCO        CA    94144‐4471
ORACLE APPLICATIONS USER GROUP          3525 PIEDMONT ROAD, BUILDING 5, SUITE 300                         ATLANTA              GA    30062
ORANGE COAST PNEUMATICS, INC.           3810 PROSPECT AVE, UNIT A                                         YORBA LINDA          CA    92886
ORANGE COAST TESTING, INC               1305 E. SAINT GERTRUDE PL. STE J                                  SANTA ANA            CA    92705
ORANGE COUNTY FIRE PROTECTION           137 W BRISTOL LANE                                                ORANGE               CA    92865
ORANGE COURIER INC                      15300 DESMAN RD                                                   LA MIRADA            CA    90638

ORANGE TREE EMPLOYMENT SCREENING LLC    7275 OHMS LANE                                                    EDINA                MN    55439
ORANGEWIRE SYSTEMS, LLC                 936 SPRINGWOOD LANE                                               ENCINITAS            CA    92024
ORBIT COMMUNICATION SYSTEMS, INC        716 S. MILITARY TRAIL                                             DEERFIELD BEACH      FL    33442
ORBIT FAB, INC.                         2010 EL CAMINO REAL #622                                          SANTA CLARA          CA    95050
ORBITAL SIDEKICK, INC.                  576 SACRAMENTO STREET, FIRST FLOOR                                SAN FRANCISCO        CA    94111
ORBITAL SOLUTIONS, INC.                 11693 SHELDON ST. UNIT 7                                          SUN VALLEY           CA    91352
ORBITAL SYSTEMS, LTD                    3807 CARBON ROAD                                                  IRVING               TX    75038
ORBITAL TRANSPORTS, INC.                965 W CHICAGO AVENUE                                              CHICAGO              IL    60642
ORDONEZ, LESTHER STUARDO                ADDRESS ON FILE
O'REAR, BRITA                           ADDRESS ON FILE
O‐RINGS WEST, INC.                      2125 196TH ST SW, SUITE 114                                       LYNNWOOD             WA    98036
O‐RINGS, INC.                           3311 PEPPER AVE                                                   LOS ANGELES          CA    90065
ORION CONSTRUCTION CORPORATION          526 BELL ROAD                                                     BARRIGADA            GU    96913         GUAM
ORION INSURANCE INTERMEDIARIES          1298 PROSPECT STREET, #1U                                         LA JOLLA             CA    92037
ORKIN SERVICES OF CALIFORNIA, INC       12710 MAGNOLIA AVENUE                                             RIVERSIDE            CA    92503
ORKIN SERVICES OF CALIFORNIA, INC       P O BOX 7161                                                      PASADENA             CA    91109‐7161
ORKIN SERVICES OF CALIFORNIA, INC.      7440 DISTRICT BLVD. SUITE A                                       BAKERSFIELD          CA    93313
ORKIN, LLC                              PO BOX 7161                                                       PASADENA             CA    91109‐7161
ORNDORFF, KEVIN                         ADDRESS ON FILE
OROLIA CANADA INC.                      1275 AVENUE DES CANADIENS‐DE‐MONTREAL                             MONTREAL             QC    H3B 0G4       CANADA
OROLIA CANADA INC.                      1319 RUE DES PLUVIERS                                             LONGUEUIL            QC    J4G 2N4       CANADA
OROLIA USA, INC.                        45 BECKER ROAD, SUITE A                                           WEST HENRIETTA       NY    14586
OROZCO, ALBERT                          ADDRESS ON FILE
OROZCO, LUIS ALBERTO                    ADDRESS ON FILE
ORR PROTECTION SYSTEMS, INC.            11601 INTERCHANGE DRIVE                                           LOUISVILLE           KY    40229
ORTEGA, HECTOR                          ADDRESS ON FILE
ORTEGA, PAUL S.                         ADDRESS ON FILE
ORTIZ, ORIFIEL SANTIAGO                 ADDRESS ON FILE
O'SHANNESSY, PHILLIP ANDERS             ADDRESS ON FILE
OSI DIGITAL, INC.                       5950 CANOGA AVE., #300                                            WOODLAND HILLS       CA    91367
OTEK CORPORATION                        4016 E TENNESEE STREET                                            TUCSON               AZ    85714
OTOOLE, PHYLLIS                         ADDRESS ON FILE
OURAY ENVIRONMENTAL SERVICES, LLC.      10835 N DOVER ST., STE 600                                        WESTMINSTER          CO    80021
OUTER REACH LLC                         5139 WES 132ND STREET                                             HAWTHORNE            CA    90250
OUT‐FIT, A CALIFORNIA CORPORATION       4590 ISH DRIVE UNIT 100                                           SIMI VALLEY          CA    93063
OVERHEAD DOOR SYSTEMS, INC.             355 N. SHERIDAN STREET STE 104                                    CORONA               CA    92880
OWENS, BOBBY                            ADDRESS ON FILE
OYEDELE, KUNLE                          ADDRESS ON FILE
P AND S SCAFFOLD SERVICES INC.          3939 ATLANTIC AVE, SUITE 110                                      LONG BEACH           CA    90807
PACAIR PROPERTIES, LLC                  770 EAST SUNSET BLVD., STE 220                                    TIYAN BARRIGADA            96913         GUAM
PACE TECHNOLOGIES                       3601 E. 34TH STREET                                               TUCSON               AZ    85713
PACIFIC AEROSPACE CORPORATION           8131 MONROE AVENUE                                                STANTON              CA    90680
PACIFIC COAST AIR TOOL & SUPPLY, INC.   3630 PLACENTIA COURT                                              CHINO                CA    91710




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PACIFIC COAST COMPOSITES, INC.                418 VALLEY AVE NW, BLDG B, SUITE 115                             PUYALLUP              WA     98371
PACIFIC COMPOSITES INC                        221 CALLE PINTORESCO                                             SAN CLEMENTE          CA     92672

PACIFIC ENVIRONMENTAL TECHNOLOGIES, INC       135 ENTERPRISE COURT                                             CORONA                CA    92882
PACIFIC INSPECTION CO                         9271 IRVINE BLVD.                                                IRVINE                CA    92618
PACIFIC MOBILE STRUCTURES, INC.               1554 BISHOP RD                                                   CHEHALIS              WA    98532
PACIFIC POWER SOURCE, INC.                    17692 FITCH                                                      IRVINE                CA    92614
PACIFIC PRECISION INSTRUMENTS, INC.           4635 VIEWRIDGE AVENUE                                            SAN DIEGO             CA    92123
PACIFIC SCIENTIFIC ENERGETIC MATERIALS CO.,
LLC                                           3601 UNION ROAD                                                  HOLLISTER             CA    95023
PACIFIC SCIENTIFIC ENERGETIC MATERIALS CO.,
LLC                                           7073 WEST WILLIS ROAD                                            CHANDLER              AZ    85226
PACIFIC SOUND CONTROL                         2677 N. MAIN ST., SUITE 230                                      SANTA ANA             CA    92705
PACIFIC TESTING LABORATORIES, INC.            24950 AVENUE TIBBITTS                                            VALENCIA              CA    91355
PACIFIC UNLIMITED INC.                        17‐3311 CORSAIR RD                                               BARRIDAGA             GU    96913‐1613
PACIFIC WELDING MACHINERY & MUFFLER
SERVICE                                       414 W. MARINE CORPS                                              HAGATNA               GU    96910
PACKAGING SYSTEMS INC                         26435 SUMMIT CIRCLE                                              SANTA CLARITA         CA    91350
PACKARD, ALICYN                               ADDRESS ON FILE
PACMIN INC.                                   2021 RAYMER AVENUE                                               FULLERTON             CA    92833
PACOR INC                                     333 RISING SUN RD                                                BORDENTOWN            NJ    08505
PAC‐VAN, INC.                                 9155 HARRISON PARK CT.                                           INDIANAPOLIS          IN    46216
PADILLA, ALEJANDRO                            ADDRESS ON FILE
PADOVANI, MARINA                              ADDRESS ON FILE
PAGE, DAVID                                   ADDRESS ON FILE
PAJARITO SCIENTIFIC CORPORATION               2976 RODEO PARK DR EAST                                          SANTA FE              NM    87505
PALANTIR TECHNOLOGIES INC.                    1555 BLAKE ST.                                                   DENVER                CO    80202
PALM & CALIFORNIA LLC (ELJET)                 214 MAIN ST, SUITE 203                                           EL SEGUNDO            CA    90245
PALM COMMODITIES INTERNATIONAL, LLC           1717 JP HENNESSY DRIVE                                           LA VERGNE             TN    37086
PALMDALE HOSPITALITY, L.P. (DBA ELEMENT BY
WESTIN)                                       39325 TRADE CENTER DR                                            PALMDALE              CA    93551
PALMTAG, JOEL                                 ADDRESS ON FILE
PAN AM FLIGHT ACADEMY INC                     5000 NW 36TH STREET, PO BOX 660920                               MIAMI                 FL    33166

PAN AM INTERNATIONAL FLIGHT ACADEMY, INC. 1771 WHITNEY MESA DR                                                 HENDERSON             NV    89014
PAN AMERICAN TOOL, CORPORATION            5990 NW 31ST AVE                                                     FORT LAUDERDALE       FL    33309‐2208
PAN, JUNHUA                               ADDRESS ON FILE
PANASONIC AEROSPACE CORPORATION           26200 ENTERPRISE WAY                                                 LAKE FOREST           CA    92630
PANASONIC AUTOMOTIVE SYSTEMS COMPANY
OF AMERICA                                776 HIGHWAY 74 SOUTH                                                 PEACHTREE CITY        GA    30269
PANASONIC AVIONICS CORPORATION            26200 ENTERPRISE WAY                                                 LAKE FOREST           CA    92630
PANASONIC AVIONICS CORPORATION            3303 MONTE VILLA PARKWAY                                             BOTHELL               WA    98021
PANEL BUILT INC.                          302 BEASLEY ST.                                                      BLAIRSVILLE           GA    30538
PANERA BREAD COMPANY                      43458 10TH STREET                                                    LANCASTER             CA    93534
PANZARINO, JASON                          ADDRESS ON FILE
PANZARINO, JASON                          ADDRESS ON FILE
PAPERLESS REVOLUTION LLC                  19211 DEMETER AVE                                                    CERRITOS              CA    90703
PARABILIS SPACE TECHNOLOGIES, INC.        1195 LINDA VISTA DRIVE, SUITE F                                      SAN MARCOS            CA    92708
PARADA, ERIC                              ADDRESS ON FILE
PARADISE TINTING                          2892 NORTH BELLFLOWER BLVD. SUITE 280                                LONG BEACH            CA    90815
PARK AEROSPACE TECHNOLOGIES CORP.         PO BOX 826324                                                        PHILADELPHIA          PA    19182‐6324
PARK ENGINEERING AND MFG.                 6430 ROLAND STREET                                                   BUENA PARK            CA    90621
PARK, JOHN                                ADDRESS ON FILE
PARK, STEVEN                              ADDRESS ON FILE
PARKER HANNIFIN CHOMERICS DIVISION        77 DRAGON CT                                                         WOBURN                MA    01801
PARKER‐HANNIFIN CORPORATION               14300 ALTON PARKWAY                                                  IRVINE                CA    90808
PARKHURST, JEFFERY                        ADDRESS ON FILE
PARPRO TECHNOLOGIES INC                   2700 SOUTH FAIRVIEW STREET                                           SANTA ANA             CA    92704
PARTICLE MEASURING SYSTEMS, INC.          5475 AIRPORT BLVD.                                                   BOULDER               CO    80301
PARTICLES PLUS, INC.                      31 TOSCA DR                                                          STOUGHTON             MA    02072
PARTNERS IN DIVERSITY, INC.               690 EAST GREEN STREET, SUITE 101                                     PASADENA              CA    91101
PARTNERS PERSONNEL MANAGEMENT SYSTEMS,
LLC                                       1714 E. MCFADDEN, SUITE I                                            SANTA ANA             CA    92705
PARTTARGET INC.                           8461 LAKE WORTH RD STE 233D                                          LAKE WORTH            FL    33467‐2474
PASACHE, SAMUEL                           ADDRESS ON FILE
PASADENA PICTURE FRAMING                  605 E. WALNUT                                                        PASADENA              CA    91101
PASCO CORPORATION                         4‐9‐6 AOBADAI MEGURO‐KU                                              TOKYO                       153‐0042      JAPAN
PASSWORD ENTERPRISE, INC.                 3200 E. 29TH STREET                                                  LONG BEACH            CA    90806
PATCH, ALISON O                           ADDRESS ON FILE
PATEL, CHIRAG                             ADDRESS ON FILE
PATEL, KATHAN BHAVIAN                     ADDRESS ON FILE
PATEL, KUSHAL                             ADDRESS ON FILE
PATRIOT ENVIRONMENTAL SERVICES, INC       508 EAST E STREET, UNIT A                                            WILMINGTON            CA    90744
PATTI GRACE SMITH FELLOWSHIP              1424 K STREET NW, SUITE 200                                          WASHINGTON            DC    20005
PATTON SALES CORPORATION                  630 ST. ANDREWS WAY                                                  PALMDALE              CA    93551
PATZ MATERIALS AND TECHNOLOGIES           4968 INDUSTRIAL WAY                                                  BENICIA               CA    94510
PAUL HASTINGS LLP                         695 TOWN CENTER DRIVE, 17TH FLOOR                                    COSTA MESA            CA    92626‐1924
PAUL LASMAN (DBA SOUTH BAY CAD SERVICES,
LLC.)                                     26756 MENOMINEE PLACE                                                RANCHO PALOS VERDES   CA    90275
PAUL WEISS RIFKIND WHARTON & GARRISON
LLP                                       1285 AVENUE OF THE AMERICAS                                          NEW YORK              NY    10019‐6064
PAYSCALE, INC.                            1000 1ST AVE S                                                       SEATTLE               WA    98134
PC CONNECTION SALES CORPORATION           730 MILFORD ROAD                                                     MERRIMACK             NH    03054‐4631
PCB PIEZOTRONICS OF NORTH CAROLINA        10869 HWY 903                                                        HALIFAX               NC    27839
PCB PIEZOTRONICS OF NORTH CAROLINA        3425 WALDEN AVE                                                      DEPEW                 NY    14043
PCB PIEZOTRONICS, INC                     3425 WALDEN AVE                                                      DEPEW                 NY    14043
PCC SCHLOSSER                             345 NE HEMLOCK AVE                                                   REDMOND               OR    97756
PCL INDUSTRIAL SERVICES, INC.             1500 SOUTH UNION AVE                                                 BAKERSFIELD           CA    93307
PCX AEROSTRUCTURES                        300 FENN RD                                                          NEWINGTON, HARTFORD   CT    06111
PDS TECH, INC                             1925 W. JOHN CARPENTER FWY, SUITE 550                                IRVING                TX    75063
PDSINC, LLC                               D/B/A PDS, 6870 W 52ND AVE., SUITE 107                               ARVADA                CO    80002




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PEER, SCOTT GEORGE                             ADDRESS ON FILE
PEGASUS BUILDING SERVICES COMPANY              2343 MIRA MAR AVENUE                                               LONG BEACH           CA       90815‐1755
PEGASUS LOGISTICS GROUP, INC.                  306 AIRLINE DRIVE, SUITE 100                                       COPPELL              TX       75019
PEI GENESIS                                    1932 E DEERE AVE STE 230                                           SANTA ANA            CA       92705
PEI GENESIS                                    2180 HORNIG ROAD                                                   PHILADELPHIA         PA       19116
PEIRIS, LAKSHAN                                ADDRESS ON FILE
PELAGIC SPACE, LLC                             2605 ARMOUR LN                                                     REDONDO BEACH        CA       90278
PELICAN PRODUCTS, INC.                         23215 EARLY AVENUE                                                 TORRANCE             CA       90505
PELLEGRINO, JESSICA                            ADDRESS ON FILE
PELLEGRINO, JESSICA DIANE                      ADDRESS ON FILE
PELLEY, JAMES H.                               ADDRESS ON FILE
PELTZ POWER                                    PO BOX 2391                                                        REDWAY               CA       95560
PENA, MAURICIO E.                              ADDRESS ON FILE
PENDARVIS MANUFACTURING, INC.                  1808 N AMERICAN STREET                                             ANAHEIM              CA       92801
PENEDA, MARINELLE                              ADDRESS ON FILE
PENEDA, MARINELLE B                            ADDRESS ON FILE
PENHALL COMPANY, INC.                          1801 PENHALL WAY                                                   ANAHEIM              CA       92801
PENN TOOL COMPANY                              1776 SPRINGFIELD AVE.                                              MAPLEWOOD            NJ       07040
PERATON INC.                                   12975 WORLDGATE DRIVE                                              HERNDON              VA       20170
PERCEPTIO VI LTD.                              CRAIGMUIR CHAMBERS, ROAD TOWN                                      TORTOLA                                    VIRGIN ISLANDS
PEREIRA, FREDDIE                               ADDRESS ON FILE
PERELLA WEINBERG PARTNERS                      767 FIFTH AVENUE, 10TH FLOOR                                       NEW YORK             NY       10153
PEREZ, HUGO                                    ADDRESS ON FILE
PEREZ, MARGARITA                               ADDRESS ON FILE
PEREZ, OMAR G                                  ADDRESS ON FILE
PEREZ, VICTOR EDUARDO                          ADDRESS ON FILE
PERFORMANCE COMPOSITES, INC.                   1418 S. ALAMEDA STREET                                             COMPTON              CA       90221
PERFORMANCE REVIEW INSTITUTE, INC              161 THORN HILL ROAD                                                WARRENDALE           PA       15086‐7527
PERFORMANCE SEALING INC.                       1821 LANGLEY AVENUE                                                IRVINE               CA       92614
PERI FORMWORK SYSTEMS, INC.                    9 EXECUTIVE CIRCLE #220                                            IRVINE               CA       92614
PERRINO, RAPHAEL                               ADDRESS ON FILE
PERRY HAMMONS                                  ADDRESS ON FILE
PERRY, BRET VRANA                              ADDRESS ON FILE
PERRY, CHAD JEFFREY                            ADDRESS ON FILE
PESCE, VINCENT                                 ADDRESS ON FILE
PESCE, VINCENT A                               ADDRESS ON FILE
PETER GUTERMANN                                ADDRESS ON FILE
PETERSEN INC, LLC                              1527 NORTH 2000 WEST                                               OGDEN                UT       84404
PETRO LOCK INC.                                45315 NORTH TREVOR AVENUE                                          LANCASTER            CA       93539
PFISTER, NATALIE                               ADDRESS ON FILE
PFMO4 LLC                                      1067 SOUTH OCEAN BOULEVARD                                         PALM BEACH           FL       33480
PGI DOING BUSINESS AS AMERICAN
TELECONFERENCING SERVICES, LTD., DBA
PREMIERE GLOBAL SERVICES                       2475 NORTHWINDS PKWY, SUITE 200                                    ALPHARETTA           GA       30009
PH TOOL, LLC                                   6021 EASTON ROAD                                                   PIPERSVILLE          PA       18947
PHAM, TRUNG                                    ADDRESS ON FILE
PHAM, VAN LOAN                                 ADDRESS ON FILE
PHARMBIOLOGIC SOLUTIONS, LLC                   2010 ASHWORTH RD.                                                  WEST DES MOINES      IA       50265
PHILIP AUSTIN DAVID                            ADDRESS ON FILE

PHILIP AUSTIN DAVID (DBA FLYING P RANCH LLC)   3507 CHUPAROSA DR.                                                 SANTA BARBARA        CA       93105
PHILLIP NGUYEN                                 ADDRESS ON FILE
PHILLIPS STEEL COMPANY                         1368 W ANAHEIM STREET                                              LONG BEACH           CA       90813
PHOENIX ANALYSIS AND DESIGN
TECHNOLOGIES, INC.                             7755 S. RESEARCH DRIVE, STE 110                                    TEMPE                AZ       85283
PHOENIX EQUIPMENT CORPORATION                  333 BROAD STREET                                                   RED BANK             NJ       07701
PHOENIX GROUP                                  1631 MARKET STREET, SUITE A                                        CORONA               CA       92880
PHON, RATHANA                                  ADDRESS ON FILE
PHUI, KHIN                                     ADDRESS ON FILE
PHYMETRIX, INC.                                28C INDUSTRIAL BOULEVARD                                           MEDFORD              NY       11763
PHYSICAL SCIENCES, INC                         20 NEW ENGLAND BUS CENTER DR                                       ANDOVER              MA       01810
PHYSIK INSTRUMENTE LP                          16 ALBERT STREET                                                   AUBURN               MA       01501
PIC WIRE AND CABLE INC.                        W220 N1051 SPRINGDALE ROAD                                         WAUKESHA             WI       53186
PICKARD, KYLE ROBERT                           ADDRESS ON FILE
PICKARD, XANDER RAYMOND                        ADDRESS ON FILE
PICKENS INNOVATIONS INC                        186 LEWTER DRIVE                                                   MADISON              AL       35758
PICKERING INTERFACES, INC.                     221 CHELMSFORD STREET, SUITE 6                                     CHELMSFORD           MA       01824
PICKETT, DANA                                  ADDRESS ON FILE
PIE CON INC.                                   17960 JOHNSON ROAD                                                 BAKERSFIELD          CA       93314
PIERSON, FORREST                               ADDRESS ON FILE
PILO ENGINEERING                               540 HIBISCUS BLVD                                                  MERRITT ISLAND       FL       32952
PILO ENGINEERING, P.A.                         ADDRESS ON FILE
PINA, BRANDON MICHAEL                          ADDRESS ON FILE
PINEDA BOSQUE, ANA PAULA                       ADDRESS ON FILE
PINEDA BOSQUE, ANA PAULA                       ADDRESS ON FILE
PINNACLE INDUSTRIAL SUPPLY INC.                6975 CAMINO MAQUILADORA                                            SAN DIEGO            CA       92154

PINNACLE SURVEYING & ENGINEERING SERVICES      20412 BRIAN WAY, SUITE 2A                                          TEHACHAPI            CA       93561
PINNELL, ADAM                                  ADDRESS ON FILE
PINPOINT LASER SYSTEMS, INC.                   56 PULASKI STREET                                                  PEABODY              MA       01960
PIONEER BROACH COMPANY                         6434 TELEGRAPH RD                                                  COMMERCE             CA       90040
PIONEER BROACH COMPANY, INC.                   6434 TELEGRAPH ROAD                                                LOS ANGELES          CA       90040
PIPING TECHNOLOGY & PRODUCTS, INC.             3701 HOLMES ROAD                                                   HOUSTON              TX       77051
PIRNIAKAN, NESHAD ROD                          ADDRESS ON FILE
PIRTEK LONG BEACH                              3299 WALNUT AVE                                                    SIGNAL HILL          CA       90755
PITON ENGINEERING                              5312 SEASHORE DR STE A                                             NEWPORT BEACH        CA       92663
PITT, ROBERT                                   ADDRESS ON FILE
PIVOTLOK                                       1230 ACTIVITY DRIVE, STE C                                         VISTA                CA       92081
PJT PARTNERS                                   1 MARKET ST., 36TH FLOOR                                           SAN FRANCISCO        CA       94105
PK FLYER AEROSPACE & TECHNOLOGY, LLC           10073 VALLEY VIEW STREET, #410                                     CYPRESS              CA       90630
PLANET LABS INC.                               346 9TH STREET                                                     SAN FRANCISCO        CA       94103




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PLANETARY SYSTEMS CORPORATION             2303 KANAS AVENUE                                                  SILVER SPRING        MD     20910
PLANETARY TRANSPORTATION SYSTEMS          PLAUENER STR. 160B                                                 BERLIN                      13053      GERMANY
PLANNET CONSULTING, LLC                   2951 SATURN ST.                                                    BREA                 CA     92821
PLANVIEW, INC.                            12301 RESEARCH BLVD., RESEARCH PARK PLAZA V, SUITE 101             AUSTIN               TX     78759
PLASCENCIA, ARNOLDO                       ADDRESS ON FILE
PLASCORE, INC.                            615 NORTH FAIRVIEW STREET                                          ZEELAND              MI    49464
PLASIDYNE ENG. & MFG.                     3230 E. 59TH ST.                                                   LONG BEACH           CA    90805
PLASMA PROCESSES, LLC                     4914 MOORES MILL RD                                                HUNTSVILLE           AL    35811
PLASMA RUGGEDIZED SOLUTIONS               5452 BUSINESS DRIVE                                                HUNTINGTON BEACH     CA    92649
PLASMA TECHNOLOGY, INC.                   1754 CRENSHAW BLVD.                                                TORRANCE             CA    90501
PLASTIC ENGINEERING                       3104 S. 52ND STREET                                                TEMPE                AZ    85282
PLATAINE INC.                             465 WAVERLEY OAKS ROAD, SUITE 420                                  WALTHAM              MA    02452
PLATFORM AEROSPACE                        43960 AIRPORT VIEW DRIVE                                           HOLLYWOOD            MD    20636
PLATKA, MATTHEW                           ADDRESS ON FILE
PLETHORA CORPORATION                      1118 HARRISON ST.                                                  SAN FRANCISCO        CA    94103
PLETHORA CORPORATION                      1255 KENNESTONE CIRCLE, SUITE 150                                  MARIETTA             GA    30066
PLUMP ENGINEERING, INC.                   914 EAST KATELLA AVENUE                                            ANAHEIM              CA    92805
PM INDUSTRIAL SUPPLY COMPANY              9613 CANOGA AVE                                                    CHATSWORTH           CA    91311
PM ROLLING, INC                           259 SMOKE TREE AVE                                                 OAK PARK             CA    91377
PMC ENGINEERING LLC.                      11 OLD SUGAR HOLLOW ROAD                                           DANBURY              CT    06810
PNC INC                                   115 EAST CENTRE ST                                                 NUTLEY               NJ    07110
PNEUMATIC CONTOL, INC                     1200 34TH STREET                                                   BAKERSFIELD          CA    93301
POINTWISE, INC.                           213 SOUTH JENNINGS AVE                                             FORT WORTH           TX    76104‐1107
POLEY, KAYLIN MONIQUE                     ADDRESS ON FILE
POLISH SPACE AGENCY (POLSA)               TRZY LIPY 3 STREET, (SECTION C) 80‐172                             GDANSK                     360992221    POLAND
POLITICO PRO                              1000 WILSON BLVD                                                   ARLINGTON            VA    22209
POLITICO, LLC.                            1000 WILSON BLVD., 8TH FLOOR                                       ARLINGTON            VA    22209
POLYGON SOLUTIONS, INC.                   6461 METRO PLANTATION RD                                           FORT MYERS           FL    33966
POLYGON US CORPORATION                    15 SHARPNERS POND RD, BLDG F                                       NORTH ANDOVER        MA    01845
POLYMER CONCEPTS TECHNOLOGIES, INC        13522 MANHASSET ROAD                                               APPLE VALLEY         CA    92308
POLYMER SOLUTIONS INC                     135 TECHNOLOGY DRIVE                                               CHRISTIANSBURG       VA    24073
POLYMER SYSTEMS TECHNOLOGY LTD.           UNIT 2, NETWORK 4, CRESSEX BUSINESS PARK, LINCOLN ROAD             HIGH WYCOMBE               HP12 3RF     UNITED KINGDOM
POLY‐TECH INDUSTRIAL, INC.                13728 STATESVILLE ROAD                                             HUNTERSVILLE         NC    28078
POMERANTZ, WILLIAM JAMES                  ADDRESS ON FILE
PONCE DAVILA, SAM                         ADDRESS ON FILE
PONCIANO A GARCIA                         ADDRESS ON FILE
POONSIRI, JOE                             ADDRESS ON FILE
POPPIN INC.                               16 MADISON SQUARE WEST, 3RD FLOOR                                  NEW YORK             NY    10010
POPPINO, JAMES                            ADDRESS ON FILE

PORTER CONCRETE CONSTRUCTION & DEMO       7814 42ND STREET WEST                                              MOJAVE               CA    93501
PORTER CONCRETE CONSTRUCTION COMPANY
INC                                       PO BOX 689                                                         MOJAVE               CA    93502
PORTER, CHARLES                           ADDRESS ON FILE
PORTER, CHARLES D                         ADDRESS ON FILE
PORTILLO DERAS, JUAN E.                   ADDRESS ON FILE

PORTLAND BOLT & MANUFACTURING CO., INC.   3441 NW GUAM STREET                                                PORTLAND             OR    97210
POSSLENZNY, SHEENA MIKI                   ADDRESS ON FILE
POVEDA, BENITO ALEJANDRO                  ADDRESS ON FILE
POWDER ALLOY CORPORATION                  101 NORTHEAST DRIVE                                                LOVELAND             OH    45140
POWELL ELECTRONICS, INC                   200 COMMODORE DRIVE                                                SWEDESBORO           NJ    08085
POWER MACHINERY CENTER                    3263 RIO MIRADA DRIVE                                              BAKERSFIELD          CA    93308‐4945
POWER MACHINERY CENTER                    3450 EAST CAMINO AVENUE                                            OXNARD               CA    93030‐0577
POWER SUPPLIES                            5404 SPRING CREEK DRIVE                                            GUNTERSVILLE         AL    35976
POWERS, KELLY                             ADDRESS ON FILE
POWERS, KELLY SUZANNE                     ADDRESS ON FILE
POYLIO, JAMES HAROLD                      ADDRESS ON FILE
POZOS, EFRAIN                             ADDRESS ON FILE
PPG AEROSPACE                             24811 AVE ROCKEFELLER                                              VALENCIA             CA    91355
PPG AEROSPACE                             PO BOX 676340                                                      DALLAS               TX    75267‐6340
PRADJANATA, MATTHEW                       ADDRESS ON FILE
PRAECIPIO CONSULTING, LLC                 1511W HWY 71 SUITE 110‐111                                         AUSTIN               TX    78338
PRAECIPIO CONSULTING, LLC.                15511 HWY 71 W. SUITE 110‐111                                      AUSTIN               TX    78738
PRASAD, DILIP                             ADDRESS ON FILE
PRATT & WHITNEY CANADA CORPORATION        21980 NETWORK PLACE                                                CHICAGO              IL    60673‐1219
PRAXAIR DISTRIBUTION                      43923 NORTH DIVISION STREET                                        LANCASTER            CA    93534
PRAXAIR SURFACE TECHNOLOGIES, INC.        1500 POLCO STREET                                                  INDIANAPOLIS         IN    46222
PRECISE MANUFACTURING                     4323 MERCHANT ROAD                                                 FORT WAYNE           IN    46818
PRECISION ENTERPRISES, INC.               3975 E RAILROAD AVE                                                COCOA                FL    32926
PRECISION FLUID CONTROLS, INC             1751 AVIATION BLVD. SUITE 100                                      LINCOLN              CA    95648
PRECISION FLUID CONTROLS, INC.            3860 CINCINNATI AVE.                                               ROCKLIN              CA    95765
PRECISION GAGE COMPANY                    100 SHORE DR                                                       BURR RIDGE           IL    60527
PRECISION GRANITE USA INC                 9437 SANTA FE SPRINGS RD.                                          SANTA FE SPRINGS     CA    90670
PRECISION HONEYCOMB LLC                   3030 ENTERPRISE CT. SUITE D                                        VISTA                CA    92081
PRECISION LABS                            644 EAST RANCHO VISTA BLVD                                         PALMDALE             CA    93550
PRECISION MEASUREMENTS AND INSTRUMENTS
CORP                                      235 NW MONROE                                                      CORVALLIS            OR    97333
PRECISION MEASUREMENTS AND INSTRUMENTS
CORP                                      3665 SW DESCHUTES STREET                                           CORVALLIS            OR    97333
PRECISION PROGRAMMING SERVICES, INC.      27723 CARAWAY LANE                                                 SANTA CLARITA        CA    91350
PRECISION RINGS, INC                      5611 PROGRESS ROAD                                                 INDIANAPOLIS         IN    46241
PRECISION SCALES INC                      1300 E 223RD STREET #404                                           CARSON               CA    90745
PRECISION SWISS PRODUCTS, INC             1911 TAROB COURT                                                   MILPITAS             CA    95035
PRECISION TECHNOLOGY OF BLYTHVILLE        PO BOX 44                                                          BLYTHEVILLE          AR    72316
PRECISION TUBE BENDING                    13626 TALC STREET                                                  SANT FE SPRINGS      CA    90808
PRECISION WATERJET                        4900 E. HUNTER AVE.                                                ANAHEIM              CA    92807
PREECE, INC.                              26845 VISTA TERRACE                                                LAKE FOREST          CA    92630

PREFERRED INSULATION CONTRACTORS, INC.    1691 JENKS DRIVE                                                   CORONA               CA    92880
PREINSULATED PIPE.COM                     PO BOX 8307                                                        GREENVILLE           TX    75404




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PREMIER AUTOMATION LLC                       110 RICO ROAD                                                     MONROEVILLE           PA     15146
PREMIER HANDLING SOLUTIONS INC               1415 DAVIS ROAD                                                   ELGIN                 IL     60123
PREMIER MANUFACTURING & SUPPLY CHAIN
SERVICES, INC                                7755 MILLER DR                                                    FREDERICK             CO    80504
PREMIER SHOWFREIGHT LTD                      AIRPORT HOUSE, PURLEY WAY                                         CROYDON                     CR0 0XZ       UNITED KINGDOM
PRESENTATION MEDIA, INC                      1916 144TH ST                                                     GARDENA               CA    90249
PRESSURELINKS                                7171 LOUETTA                                                      SPRING                TX    77379
PRESTON, ALEXANDRA                           ADDRESS ON FILE
PRICE, ALAN                                  ADDRESS ON FILE
PRICEWATERHOUSECOOPERS LLP                   4040 W BOY SCOUT BOULEVARD                                        TAMPA                 FL    33607
PRIDE INDUSTRIES ONE INC.                    10030 FOOTHILLS BLVD.                                             ROSEVILLE             CA    95747
PRIDE TRANSPORT, INC.                        5499 WEST 2455 SOUTH                                              SALT LAKE CITY        UT    84120
PRIMAL ALCHEMY CATERING                      3825 E.7TH STREET                                                 LONG BEACH            CA    90804
PRIMAL ALCHEMY CATERING AND EVENTS           4214 E 9TH STREET                                                 LONG BEACH            CA    90808
PRIME IMPACT ACQUISITION I                   123 EAST SAN CARLOS STREET, SUITE 12                              SAN JOSE              CA    95112
PRIME RESOURCE, INC.                         12111 MADERA WAY                                                  RIVERSIDE             CA    92503
PRINCETON TOOL DBA PARAGON PRECISION,
INC.                                         25620 RYE CANYON ROAD, BUILDING A                                 VALENCIA              CA    91355
PRINT METAL LLC                              24426 S. MAIN ST, SUITE 704                                       CARSON                CA    90745
PRINTFORM, LLC                               13010 MORRIS ROAD, BLDG 1 SUITE 600                               ALPHARETTA            GA    30004
PRINTIFY, INC                                2093A PHILADELPHIA PIKE, SUITE 149                                CLAYMONT              DE    19703
PRINTIFY, INC.                               108 WEST 13TH STREET,                                             WILMINGTON            DE    19801
PRIVATEER SPACE                              1305 N HOLOPONO ST. SUITE 3                                       KIHEI                 HI    96753
PRMS INC                                     45 RAMSEY RD, UNIT 26                                             SHIRLEY               NY    11967
PROACTIVE WORK HEALTH SERVICES               132 S BEAUDRY AVE                                                 LOS ANGELES           CA    90012

PROCESS CONSTRUCTION INC. DBA PCI SERVICES   1421 QUEEN CITY AVE.                                              CINCINNATI            OH    45214
PROCESS MATERIALS                            11108 NEW ORLEANS DRIVE                                           FRISCO                TX    75035
PROCESS MATERIALS                            2701 DRIFTWOOD CREEK TRAIL                                        PROSPER               TX    75078
PROCESS MATERIALS, LLC                       8901 E. HARTFORD ST.                                              BROKEN ARROW          OK    74014
PRODUCT 101 INC                              135 W 29TH ST, SUITE 203                                          NEW YORK              NY    10001

PRODUCT SLINGSHOT, INC., DBA FORECAST 3D     2221 RUTHERFORD RD.                                               CARLSBAD              CA    92008

PRODUCTION AUTOMATION CORPORATION            121 CHESHIRE LANE                                                 MINNETONKA            MN    55305

PRODUCTION AUTOMATION CORPORATION            6200 BURY DRIVE                                                   EDEN PRAIRIE          MN    55346
PRODUCTION METHODS LLC                       6160 SHAKESPEARE STREET                                           LAKE OSWEGO           OR    97007
PROFENIUS, LUCIENNE MARIE                    ADDRESS ON FILE
PROFESSIONAL PLASTICS                        2175 KRUSE DR                                                     SAN JOSE              CA    95131
PROFORMA PRINTING CORPORATION                PO BOX 51925                                                      LOS ANGELES           CA    90051‐6225
PROGRESSIVE BENEFIT SOLUTIONS LLC            14 BUSINESS PARK, UNIT 8                                          BRANFORD              CT    06405
PROGRESSIVE BENEFIT SOLUTIONS, LLC           14 BUSINESS PARK DRIVE #8                                         BRANFORD              CT    06405
PROLINE PERFORMACNE LLC                      1500 W. HAMPDEN AVE. STE 4A                                       SHERIDAN              CO    80110

PROMONTORY INTERFINANCIAL NETWORK, LLC       1300 N. 17TH STREET SUITE 1800                                    ARLINGTON             VA    22209
PROPER STORAGE SYSTEMS, LLC                  2200 HIGHWAY 90 E.                                                SEGUIN                TX    78155
PROPONENT                                    3120 ENTERPRISE STREET                                            BREA                  CA    92821
PROSPECT MOLD & DIE COMPANY                  1100 MAIN STREET                                                  CUYAHOGA FALLS        OH    44221
PROTECH MACHINE TOOL SALES, LLC              3840 E EAGLE DRIVE                                                ANAHEIM               CA    92807
PROTECTION CONCEPTS UNLIMTED, LLC            PMB 92 535 PALE RAMON HAYA 115                                    YIGO                  GU    96929         GUAM
PROTO LABS, INC.                             22 CHARRON AVE.                                                   NASHUA                NH    03063
PROTO LABS, INC.                             5540 PIONEER CREEK DRIVE                                          MAPLE PLAIN           MN    55359
PROTOCASE, INC                               46 WABANA COURT                                                   SYDNEY                NS    B1P 0B9       CANADA
PROVOAST AUTOMATION CONTROLS                 12635 DANIELSON CT. STE 205                                       POWAY                 CA    92064
PRUDENTIAL OVERALL SUPPLY (DBA
PRUDENTIAL CLEANROOM SERVICES)               1661 ALTON PARKWAY                                                IRVINE                CA    92606
PRUDENTIAL OVERALL SUPPLY INC. DBA
PRUDENTIAL CLEANROOM SERVICES, INC.          6948 BANDINI BOULEVARD                                            COMMERCE              CA    90040
PRUSA RESEARCH                               PARTYZANSKA 188/7A                                                PRAGUE                      17000         CZECH REPUBLIC
PRYJMAK, RENAE                               ADDRESS ON FILE
PSA LABORATORY FURNITURE, LLC                2100 SOUTH CALHOUN ROAD                                           NEW BERLIN            WI    53151
PSION CAPITAL, LLC                           TWO INTERNATIONAL PLACE, 18TH FLOOR                               BOSTON                MA    02110
                                             JL. MEGA KUNINGAN TIM. NO.BLOK A/9,RT.8/RW.3, KUNINGAN,
                                             KUNINGAN TIM., JAKARTA SELATAN, KOTA JAKARTA SELATAN, DAERAH
PT ILTHABI REKATAMA                          KHUSUS IBUKOTA                                                    JAKARTA                     12950         INDONESIA
PTC INC.                                     121 SEAPORT BLVD. SUITE 1700                                      BOSTON                MA    02210
PTM&W INDUSTRIES, INC                        10640 SO. PAINTER AVENUE                                          SANTE FE SPRINGS      CA    90670
PTR‐PRECISION TECHNOLOGIES, INC.             120 POST ROAD                                                     ENFIELD               CT    06082
PUBLIC COMPANY ACCOUNTING OVERSIGHT
BOARD                                        PO BOX 418631                                                     BOSTON                MA    02241‐8631
PUBLIC MEDIA GROUP OF SOUTHERN
CALIFORNIA D/B/A KCETLINK                    2900 W ALAMEDA AVE #600                                           BURBANK               CA    91505
PULSANT LIMITED                              FLOOR 6, SUGAR BOND HOUSE, 2 ANDERSON PLACEC                      EDINBURGH                   EH6 5NP       UNITED KINGDOM
PUPPIES AND REPTILES FOR PARTIES             1243 W 225TH ST                                                   TORRANCE              CA    90502
PURE AIR FILTRATION, LLC                     6050 PEACHTREE PKWY STE 240‐187                                   NORCROSS              GA    30092
PUREAIRE MONITORING SYSTEMS, INC.            1140 ENSELL ROAD                                                  LAKE ZURICH           IL    60047
PUREAIRE MONITORING SYSTEMS, INC.            557 CAPITAL DRIVE                                                 LAKE ZURICH           IL    60047
PURPLE COMMUNICATIONS                        13620 N FM 620 BUILDING C, SUITE 100                              AUSTIN                TX    78717
PURPLE COMMUNICATIONS, INC.                  11900 N. JOLLYVILLE ROAD, #204209                                 AUSTIN                TX    78759
PURSUIT AVIATION, LLC                        16143 WATERMAN DRIVE                                              VAN NUYS              CA    91406
PYROALLIANCE                                 139 ROUTE DE VERNEUIL                                             LES MUREAUX                 78132         FRANCE
PYSHER, KIRK                                 ADDRESS ON FILE
PYSHER, KIRK (KIRK PYSHER)                   ADDRESS ON FILE
PYSHER, KIRK DONALD                          ADDRESS ON FILE
PYSTER, NATHAN                               ADDRESS ON FILE
Q MICROWAVE, INC.                            1591 PIONEER WAY                                                  EL CAJON              CA    92020
Q.E.D., INC                                  2920 S HALLADAY ST                                                SANTA ANA             CA    92705
Q3‐CNC, INC                                  9091 KENAMAR DRIVE                                                SAN DIEGO             CA    92121
QANTAS AIRWAYS LIMITED                       B WING LEVEL 4, 10 BOURKE ROAD                                    MASCOT                      NSW 2020      AUSTRALIA
QAP METAL FINISHING                          342 W 130TH STREET                                                LOS ANGELES           CA    90061




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QBE INSURANCE CORPORATION               55 WATER STREET                                                     NEW YORK                 NY     10041
QCM INC. (DBA VERIS MANUFACTURING)      285 GEMINI AVENUE                                                   BREA                     CA     92821
QINETIQ INC.                            10440 FURNACE RD, SUITE 204                                         LORTON                   VA     22079
QINETIQ LIMITED                         CODY TECHNOLOGY PARK, IVELY ROAD                                    FARNBOROUGH                     GU14 0LX   UNITED KINGDOM
QINETIQ LIMITED                         MOD BOSCOMBE DOWN, STOCKPORT ROAD                                   SALISBURY                                  UNITED KINGDOM
QINETIQ SPACE NV                        HOGENAKKERHOEKSTRAAT 9                                              KRUIBEKE                        9150       BELGIUM
QISTA CORPORATION                       NO. 157, SHANYING RD., GRISHAM DIST.                                TAOYUAN CITY                               TAIWAN, R.O.C

Q‐MARK MANUFACTURING INC.               30051 COMERCIO                                                      RANCHO SANTA MARGARITA   CA    92688
QOSINA                                  2002‐Q ORVILLE DR. NORTH                                            RONKONKOMA               NY    11779
QP 3D ACQUISITION, INC                  620 S INDUSTRIAL WAY                                                SEATTLE                  WA    98108
Q‐PLUS LABS                             13765 ALTON PARKWAY UNIT E                                          IRVINE                   CA    92618
QSTAC, INC                              4501 FORD AVE SUITE 1313                                            ALEXANDRIA               VA    22302
QSTAC, INC.                             2207 CONCORD PIKE, #174                                             WILMINGTON               DE    19803
QT MANUFACTURING, LLC                   7410 AMBASSADOR ROW                                                 DALLAS                   TX    75247

QUADRUS ADVANCED MANUFACTURING, LLC     CLINTON AVE W SUITE 600                                             HUNTSVILLE               AL    35801
QUADRUS CORPORATION                     200 CLINTON AVE, W STE 600                                          HUNTSVILLE               AL    35801
QUAL PRO CORPORATION                    18510 S. FIGUEROA STREET                                            GARDENA                  CA    90248
QUALITY FABRICATION, INC.               9631 IRONDALE AVENUE                                                CHATSWORTH               CA    91311‐5009
QUALITY FORMING, LLC (DBA CADENCE
AEROSPACE ‐ QFI OPERATIONS)             22906 FRAMPTON AVENUE                                               TORRANCE                 CA    90501
QUALITY MATERIAL INSPECTION, INC.       5442 OCEANUS DRIVE                                                  HUNTINGTON BEACH         CA    92649
QUALITY PRECISION CLEANING              4060 S. GRANT ST., BLDG. 18, UNIT 100                               WASHOUGAL                WA    98671
QUALITY PRECISION CLEANING              5795 MARTIN ROAD                                                    IRWINDALE                CA    91706
QUALITY STRIPING SERVICE, INC.          PO BOX 4471                                                         LA PUENTE                CA    91747
QUANTUM MACHINERY GROUP                 7110 EXPO DR., SUITE D                                              CHARLOTTE                NC    28269
QUANTUMFLOW                             10966 BLUFFSIDE DR, UNIT 2                                          STUDIO CITY              CA    91604
QUARTUS ENGINEERING, INC.               300 CONTINENTAL BLVD                                                EL SEGUNDO               CA    90245
QUASONIX, INC.                          6025 SCHUMACHER PARK DR.                                            WEST CHESTER             OH    45069
QUATRO AUTOMATION GROUP INC.            23011 MOULTON PKWY STE J1                                           LAGUNA HILLS             CA    92653
QUATRO COMPOSITES                       403 14TH ST. SE                                                     ORANGE CITY              IA    51104
QUEST SOFTWARE INC                      PO BOX 731381                                                       DALLAS                   TX    75373‐1381
QUEST SOFTWARE INC.                     4 POLARIS WAY                                                       ALISO VIEJO              CA    92656
QUESTAR SOLUTIONS, LLC                  7948 FREEDOM AVE NW                                                 NORTH CANTON             OH    44720
QUEVEDO, JOSE G                         ADDRESS ON FILE

QUICKSILVER AEROSPACE CONSULTING LLC    PO BOX 852                                                          LANGLEY                  WA    98260
QUIK TEK MACHINING, LLC                 1901 SOUTHWEST BLVD                                                 WICHITA                  KS    67213
QUILISADIO, JUSTIN                      ADDRESS ON FILE
QUILTY ANALYTICS LLC                    33 6TH STREET SOUTH, SUITE 204                                      ST. PETERSBURG           FL    33701
QUINCY COMPRESSOR, LLC                  1000 SOUTH GRAND AVENUE                                             SANTA ANA                CA    92705

QUINN EMANUEL URQUHART & SULLIVAN LLP   865 SOUTH FIGUEROA STREET, 10TH FLOOR                               LOS ANGELES              CA    90017
QUINN LIFT, INC.                        10006 ROSE HILLS ROAD                                               CITY OF INDUSTRY         CA    90601
QUINTANILLA, EUNICE M                   ADDRESS ON FILE
QUINTO, JESSALYNN                       ADDRESS ON FILE
QURESHI, UMER ARSALAN                   ADDRESS ON FILE
R & R FIXTURES, LLC                     1809 INDUSTRIAL PARK DRIVE                                          GRAND HAVEN              MI    49417‐9429
R & R TRUCKING, INC.                    302 THUNDER ROAD                                                    DUENWEG                  MO    64841
R & S PRECISION MACHINING INC           15855 CHEMICAL LN                                                   HUNTINGTON BEACH         CA    92649
R RIGA CONSULTING                       14174 LIDDICOAT DRIVE                                               LOS ALTOS HILLS          CA    94022
R&R FABRICATIONS, INC                   13438 LAMBERT ROAD                                                  WHITTIER                 CA    90605
R.C. INDUSTRIES                         1420 N. LAMON AVE.                                                  CHICAGO                  IL    60651
R.F. MACDONALD CO.                      10261 MATERN PLACE                                                  SANTA FE SPRINGS         CA    90670
R.F. MACDONALD CO.                      25920 EDEN LANDING ROAD                                             HAYWARD                  CA    94545
RACE COMMUNICATION CO.                  1325 HOWARD AVE. #604                                               BURLINGAME               CA    94010
RADER, CHRISTINA                        ADDRESS ON FILE
RADIAL BEARING CORPORATION              21 TAYLOR STREET                                                    DANBURY                  CT    06810
RADIATION DETECTION COMPANY             3527 SNEAD DRIVE                                                    GEORGETOWN               TX    78626
RADULESCU, VICTOR                       ADDRESS ON FILE
RADWELL INTERNATIONAL, LLC.             1 MILLENNIUM DRIVE                                                  WILLINGBORO              NJ    08046
RAFTOGIANIS, MARK THOMAS                ADDRESS ON FILE
RAGONE, PETER                           ADDRESS ON FILE
RAIMONDO PETIT GROUP                    4500 EAST PACIFIC COAST HIGHWAY, SUITE 300                          LONG BEACH               CA    90804
RAIMONDO PETTIT GROUP                   21515 HAWTHORNE BLVD., SUITE 1250                                   TORRANCE                 CA    90503
RAIN FOR RENT                           3404 STATE ROAD                                                     BAKERSFIELD              CA    93308
RAINBOW RUBBER EXTRUSIONS               1580 W. TURKEYFOOT LAKE ROAD                                        BARBERTON                OH    44203
RAINBOW RUBBER EXTRUSIONS, INC.         196 S VAN BUREN AVE.                                                BARBERTON                OH    44203
RAISE3D TECHNOLOGIES INC.               43 TESLA                                                            IRVINE                   CA    92618
RAKOCY, RYAN PARKER                     ADDRESS ON FILE
RAM MANUFACTURING COMPANY, INC          3172 E DESERET DRIVE S                                              ST. GEORGE               UT    84790
RAMIREZ, RANDY                          ADDRESS ON FILE
RAMKABIR ANALYTICS, LLC                 4843 CORSICA DRIVE                                                  CYPRESS                  CA    90630
RAMON.SPACE INC.,                       4168 MAYBELL WAY                                                    PALO ALTO                CA    94306
RAMOS, JOELL STEVEN                     ADDRESS ON FILE
RAMOS, LUIS JEFFERSON                   ADDRESS ON FILE

RAMOS/STRONG INC (DBA RSI PETROLEUM)    2481 DEAVER LANE, P.O. BOX 938                                      MOJAVE                   CA    93502
RAMPART DEFENSE SOLUTIONS, LLC          5640 WHITEHOUSE RD                                                  GREENEVILLE              TN    37745
RAMPF GROUP INC                         49037 WIXCOM TECH DR                                                WIXOM, WAYNE             MI    48393
RAMSAUER, ROBERT L                      ADDRESS ON FILE
RANCHER LABS, INC.                      19409 STEVENS CREEK BLVD, #260                                      CUPERTINO                CA    95014
RANDALL, CHRISTOPHER                    ADDRESS ON FILE
RANDY NORMANDIN CONSTRUCTION            26047 OAK ST                                                        LOMITA                   CA    90717
RANGEL, EDGAR EDUARDO                   ADDRESS ON FILE
RAPID AXIS, LLC                         1482 ODDSTAD DR.                                                    REDWOOD CITY             CA    94063
RAPID LEARNING; A BTS COMPANY           435 DEVON PARK DRIVE                                                WAYNE                    PA    19087
RAPID MANUFACTURING                     8080 EAST CRYSTAL DRIVE                                             ANAHEIM                  CA    92807
RAPID SCAN 3D, INC                      1984 OBISPO AVE, SUITE 1B                                           SIGNAL HILL              CA    90755
RAPID SHEET METAL LLC                   104 PERIMETER                                                       NASHUA                   NH    03063




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RAPID7 LLC                                  100 SUMMER ST. 13TH FLOOR                                            BOSTON                    MA     02110
RAPID7 LLC                                  120 CAUSEWAY STREET, SUITE 400                                       BOSTON                    MA     02114
RAPP, BRIAN                                 ADDRESS ON FILE
RAPTOR SUPPLIES LIMITED                     6 HESSEL RD                                                          LONDON                                        UNITED KINGDOM
RASKE, RICHARD JAMES                        ADDRESS ON FILE
RATERMANN MANUFACTURING, INC.               601 PINNACLE PLACE                                                   LIVERMORE                 CA    94550
RAWLINGS, RANDY                             ADDRESS ON FILE
RAYCO FIXTURE                               5520 BRIDGEWOOD DRIVE                                                STERLING HEIGHTS          MI    48310

RAYMOND WEST INTRALOGISTICS SOLUTIONS       12310 WORLD TRADE DR., #111                                          SAN DIEGO                 CA    92128
RAYOTEK SCIENTIFIC, INC.                    11499 SORRENTO VALLEY ROAD                                           SAN DIEGO                 CA    92121
RAYTHEON COMPANY                            2000 E EL SEGUNDO BLVD                                               EL SEGUNDO                CA    90245

RBC BEARINGS INC. DBA TRANSPORT DYNAMICS    ONE TRIBOLOGY CENTER                                                 OXFORD                    CT    06478
RBC SIGNALS                                 2205 152ND AVE NE                                                    REDMOND                   WA    98052
RCM ENGINEERING, INC.                       3 ENTERPRISE DR.                                                     SHELTON                   CT    06484
RCM TECHNOLOGIES (USA), INC.                2500 MCCLELLAN AVENUE, SUITE 350                                     PENNSAUKEN                NJ    08109
R‐CON NONDESTRUCTIVE TEST CONSULTANTS,
INC.                                        5605 FREITAG DR.                                                     MENOMONIE                 WI    54751
RCS ROCKET MOTOR COMPONENTS, INC.           2113 W 850 N                                                         CEDAR CITY                UT    84721
REACTEL, INC.                               8031 CRESSNA AVE.                                                    GAITHERSBURG              MD    20879
REACTION MOTORS, LLC                        710 TEXAS ROAD                                                       EASTON                    PA    18042
READYREFRESH BY NESTLE                      PO BOX 856158                                                        LOUISVILLE                KY    40285‐6158
REAL COMPONENTS LLC                         65 ENTERPRISE, SUITE 300                                             ALISO VIEJO               CA    92656
REAL‐TIME INNOVATIONS, INC                  232 E. JAVA DRIVE                                                    SUNNYVALE                 CA    94089
REBAS, INC. (DBA TOYOTA MATERIAL HANDLING
SOLUTIONS)                                  12907 IMPERIAL HIGHWAY                                               SANTE FE SPRINGS          CA    90670‐4715
RECRUITING SOLUTIONS GROUP OF ORANGE
COUNTY, INC.                                2549 EASTBLUFF DRIVE, SUITE 151                                      NEWPORT BEACH             CA    92660
RECYCLE AWAY, LLC (DBA TRASHCANS
WAREHOUSE)                                  35 FROST STREET                                                      BRATTLEBORO               VT    05301
RED CANYON SOFTWARE, INC.                   1200 PENNSYLVANIA ST, SUITE 100                                      DENVER                    CO    80203
RED DIGITAL CINEMA                          94 ICON                                                              LAKE FOREST               CA    92610
RED POPPY RENTALS                           600 WEST CENTER STREET                                               LOGAN                     UT    84321
RED V CONSULTING COMPANY                    511 WEST V=BAY STREET, SUITE 320                                     TAMPA                           33606
RED V CONSULTING, LLC                       3739 N COLLINS N303                                                  MIAMI BEACH               FL    33140
RED WING MOBILE UNIT                        6172 S. EASTERN AVE.                                                 COMMERCE                  CA    90040
RED8 LLC                                    611 ANTON BLVD, SUITE 700                                            COSTA MESA                CA    92626
REDI‐RELIEF FIRST AID & SAFETY, INC.        6111 S RICHFIELD CT                                                  AURORA                    CO    80016
REDWIRE SPACE, INC.                         8226 PHILIPS HIGHWAY, SUITE 102                                      JACKSONVILLE              FL    32256
REDWIRE SPACE, INC.                         ATTN: JONATHAN BALIFF, 8226 PHILIPS HIGHWAY, SUITE 101               JACKSONVILLE              FL    32256
REED WILLIAMS, A PROFESSIONAL LAW
CORPORATION                                 9343 TECH CENTER DRIVE, SUITE 165                                    SACRAMENTO                CA    95826
REEF INDUSTRIES                             9209 ALMEDA GENOA RD                                                 HOUSTON                   TX    77075
REFINITIV                                   22 THOMSON PLACE                                                     BOSTON                    MA    02210
REFINITIV US LLC                            P.O. BOX 415983                                                      BOSTON                    MA    02241‐5983
REFORM CLOTHING CO.                         4636 WEST WASHINGTON BLVD                                            LOS ANGELES               CA    90016

REFRESH CORNWALL LTD                        UNIT 7A, POOL INDUSTRIAL ESTATE                                      POOL, REDRUTH, CORNWALL         TR15 3RH      UNITED KINGDOM
REFRIGERATION SUPPLIES DISTRIBUTOR          26021 ATLANTIC OCEAN DRIVE                                           LAKE FOREST               CA    92630
REFRIGERATION SUPPLIES DISTRIBUTOR          2745 TEMPLE AVE                                                      SIGNAL HILL               CA    90755
REFRIGERATOR MANUFACTURERS, LLC.            17018 EDWARDS RD.                                                    CERRITOS                  CA    90703
REGAL PACIFIC AVIATION EQUIPMENT INC        4204 ARMOUR AVENUE                                                   BAKERSFIELD               CA    93308
REGISTRATIONS CENTER LLC                    16150 AVIATION LOOP DRIVE, SUITE 15204                               BROOKSVILLE               FL    34604
REGO CONSULTING CORPORATION                 2115 NORTH MAIN STREET                                               CENTERVILLE               UT    84014‐1017
REICHENBACH INTERNATIONAL INC.              2080 STONEGATE ST                                                    WESTLAKE                  CA    91361
REICHLE, DAVID                              ADDRESS ON FILE
REID PRODUCTS, INC.                         PO BOX 1507                                                          APPLE VALLEY              CA
REID, HARRY WILLIAM                         ADDRESS ON FILE
REILLY, SEAN                                ADDRESS ON FILE
RELEVANT SOLUTIONS, LLC                     9750 W. SAM HOUSTON PKWY STE 190                                     HOUSTON                   TX    77064
RELF, CHRISTOPHER GLENN                     ADDRESS ON FILE
RELIABLE AIR CONDITIONING & HEATING         P.O. BOX 2386                                                        CALIFORNIA CITY           CA    93504
RELIABLE COLD STORAGE, INC                  1301 S SUNKIST ST                                                    ANAHEIM                   CA    92806
RELIABLE RECYCLING, INC.                    10724 GARWICK PLACE                                                  SOUTH GATE                CA    90280

RELIABLE ROBOTICS CORPORATION (FKA R2AIR)   950 N RENGSTORFF AVE, STE E                                          MOUNTAIN VIEW             CA    94043
RELIANT AEROSPACE STRUCTURES, INC.          1040 N. BATAVIA ST. SUITE A                                          ORANGE                    CA    92867
RELIANT TESTING ENGINEERS                   3039 S. HARBOR BLVD                                                  SANTA ANA                 CA    92704
RELIANT TESTING ENGINEERS                   PO BOX 20080                                                         FOUNTAIN VALLEY           CA    92728
RELLIM                                      109 NW WILMINGTON AVENUE, SUITE E                                    BEND                      OR    97703‐1234
REMCO EQUIPMENT & SUPPLY                    2894 GUNDRY AVENUE                                                   SIGNAL HILL               CA    90755
RENCO CORPORATION                           BEAVER DAM RD., #6 P.O. BOX 412                                      MANCHESTER                MA    01944
RENDON, ERIC LOUIS                          ADDRESS ON FILE
RENEGADE MATERIALS CORPORATION              3363 SOUTH TECH BOULEVARD                                            MIAMISBURG                OH    45342
RENEGADE PICTURES (UK) LIMITED              200 GRAY'S INN ROAD                                                  LONDON                          WC1X 8XZ      UNITED KINGDOM
RENISHAW INC.                               5500 GRAND HAVEN ROAD                                                NORTON SHORES             MI    49441
REPELLA, BRETT DAVID                        ADDRESS ON FILE
RESCALE, INC.                               33 NEW MONTGOMERY STREET, STE 950                                    SAN FRANCISCO             CA    94105
RESIDENCE INN BY MARRIOTT, INC.             4111 EAST WILLOW STREET                                              LONG BEACH                CA    90815
RESIDENCE INN MARRIOTT                      RESIDENCE INN LONG BEACH ‐ LAXBH, P.O. BOX 741574                    ATLANTA                   GA    30374‐1574
RESODYN CORPORATION                         130 NORTH MAIN STREET, SUITE 600                                     BUTTE                     MT    59701
RESPIRATOR SOLUTIONS, INC.                  P.O. BOX 12338                                                       CHARLESTON                SC    29422
RESTOCRETE INC                              10851 BLOOMFIELD ST.                                                 LOS ALAMITOS              CA    90720
RETAMA, RUDY                                ADDRESS ON FILE

RETENTION KNOB SUPPLY & MFG. CO., INC.      4905 STATE ROUTE 274 WEST                                            HUNTSVILLE                OH    43324
RETHINK LABEL SYSTEMS                       2419 EAST WINSTON ROAD                                               ANAHEIM                   CA    92806
REVCHEM COMPOSITES                          P.O. BOX 333                                                         BLOOMINGTON               CA    92316
REVCO PRODUCTS, INC.                        7221 ACACIA AVENUE                                                   GARDEN GROVE              CA    92841
REXFORD INDUSTRIAL REALTY, INC.             12821 KNOTT STREET                                                   GARDEN GROVE              CA    92841




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REYES COCA‐COLA BOTTLING LLC.             3 PARK PLACE SUITE 600                                            IRVINE               CA     92614
REYES, ANDREW                             ADDRESS ON FILE
REYES, EDWIN                              ADDRESS ON FILE
REYNOSO, EDUARDO                          ADDRESS ON FILE
REZGUI, AMINE                             ADDRESS ON FILE
RHEATECH LTD.                             R71, RUTHERFORD APPLETON LABORATORY                               HARWELL‐DIDCOT             OX11 0QX      UNITED KINGDOM
RIAR, RAJVIR                              ADDRESS ON FILE
RIAR, RAJVIR SINGH                        ADDRESS ON FILE
RICARDO ROMERO                            ADDRESS ON FILE
RICHARDSON, DOWNIE STEVENS                ADDRESS ON FILE
RICHLAK, JAYNE                            ADDRESS ON FILE
RICHTER, SHANE                            ADDRESS ON FILE
RICKARD METALS, INC                       2043 ELM COURT                                                    ONTARIO              CA    91761
RIDE!                                     21 RUE DE TURIN                                                   PARIS                      75008         FRANCE
RIDELINKS, INC.                           1 S. FAIR OAKS AVE. STE 302                                       PASADENA             CA    91105
RIDLEY ENGINEERING, INC.                  601 E DAILY DR, SUITE 112                                         CAMARILLO            CA    93010
RIDLEY, DONNA                             ADDRESS ON FILE
RIDOUT PLASTICS CO., INC.                 5535 RUFFIN RD                                                    SAN DIEGO            CA    92123
RIGHT ASCENSION LLC                       11918 PALMS BLVD                                                  LOS ANGELES          CA    90066
RIG‐TECH, LLC                             10555 WEST LITTLE YORK                                            HOUSTON              TX    77041
RIGWORKS, INC.                            2801 CARLETON ST                                                  SAN DIEGO            CA    92106

RINGFEDER POWER TRANSMISSION USA CORP.    165 CARVER AVENUE                                                 WESTWOOD             NJ    07675
RINGHOFER, JONATHAN                       ADDRESS ON FILE
RINGUETTE, ROBYN F                        ADDRESS ON FILE
RITE AID CORPORATION                      RITE AID CORPORATION ‐ 90262, P.O. BOX 360321                     PITTSBURGH           PA    15250‐6321
RITE AID HDQTRS. CORP                     HUNTER LANE                                                       CAMP HILL            PA    17011
RIVERA, JOSUE ANTONIO                     ADDRESS ON FILE
RIVERA, LINDA                             ADDRESS ON FILE
RIVERA, SAUL                              ADDRESS ON FILE
RIVIAN AUTOMOTIVE                         40600 ANN ARBOR ROAD E STE 201                                    PLYMOUTH             MI    48170
RIZVI TRAVERSE CI MANAGER, LLC            575 MADISON AVENUE                                                NEW YORK             NY    10022
RLC ELECTRONICS, INC.                     83 RADIO CIRCLE                                                   MOUNT KISCO          NY    10549
RM MACHINING INC                          950 TERMINAL WAY                                                  SAN CARLOC           CA    94070
RMI LASER, LLC.                           106 LASER DR. BLDG 2                                              LAFAYETTE            CO    80026
ROB BAKER & ASSOCIATES, LLC               7317 TALIMENA TERRACE                                             PEYTON               CO    80831
ROBERT CHIAVETTA                          ADDRESS ON FILE
ROBERT HEELY CONSTRUCTION LP              5401 WOODMERE DRIVE                                               BAKERSFIELD          CA    93313
ROBERT JACKSON                            ADDRESS ON FILE
ROBERT L. RAMSAUER                        ADDRESS ON FILE
ROBERTS, E.V.                             ADDRESS ON FILE
ROBERTS, SAMUEL JOSEPH                    ADDRESS ON FILE
ROBINSON INDUSTRIAL                       811 N MAIN ST                                                     ORANGE               CA    92868
ROBINSON, AUSTEN                          ADDRESS ON FILE
ROBINSON, GREGORY LAWRENCE                ADDRESS ON FILE
ROBINSON, JASON                           ADDRESS ON FILE
ROBINSON, JOHN EDWARD                     ADDRESS ON FILE
ROBLES, EDGAR DANIEL                      ADDRESS ON FILE
ROCK IT DRYWALL, INC.                     39434 VIA MONSERATE                                               MURRIETA             CA    92563
ROCK SKY MARKET                           1207 W. GURLER RD                                                 ROCHELLE             IL    61068
ROCK STEADY PRODUCTIONS LLC               3251 E AIRPORT WAY                                                LONG BEACH           CA    90806
ROCKOFF, NICHOLAS MAXWELL                 ADDRESS ON FILE
ROCKY MOUNTAIN INSTITUTE                  2440 JUNCTION PLACE, STE 200                                      BOULDER              CO    80301
RODRIGUEZ MARTINEZ, LUIS                  ADDRESS ON FILE
RODRIGUEZ, ANDREW PHILLIP                 ADDRESS ON FILE
RODRIGUEZ, ANGELO MOLINA                  ADDRESS ON FILE
RODRIGUEZ, EDSON GABRIEL                  ADDRESS ON FILE
RODRIGUEZ, JAVIER                         ADDRESS ON FILE
RODRIGUEZ, SABRINA                        ADDRESS ON FILE
ROGERS, JOHN                              ADDRESS ON FILE
ROGERS, TRAFTON K                         ADDRESS ON FILE
ROGERS, XAVIER                            ADDRESS ON FILE
ROJAS, STEVEN JOSEPH                      ADDRESS ON FILE
ROLL FORMING CORPORATION                  1070 BROOKS LANE                                                  SHELBYVILLE          KY    40065
ROLLED ALLOYS, INC.                       125 W. STERNS ROAD                                                TEMPERANCE           MI    48182
ROLLED ALLOYS, INC.                       4942 W. ROSECRANS AVE.                                            HAWTHORNE            CA    90250
ROLLER BEARING COMPANY OF AMERICA, INC.
DBA TRANSPORT DYNAMICS                    102 WILLENBROCK ROAD, ONE TRIBOLOGY CENTER                        OXFORD               CT    06478
ROLLER BEARING COMPANY OF AMERICA, INC.
DBA TRANSPORT DYNAMICS                    3131 W. SEGERSTROM AVENUE                                         SANTA ANA            CA    92704
ROLLS‐ROYCE PLC                           VICTORY ROAD                                                      DERBY                      DE24 8BJ      UNITED KINGDOM
ROMA CONSTRUCTION COMPANY                 118 AS CHENA PLACE                                                BARRIGUADA                 96913         GUAM
ROMAN, LESLIE M                           ADDRESS ON FILE
ROMERO, ALEXANDRIA K                      ADDRESS ON FILE
ROMERO, RICARDO                           ADDRESS ON FILE
ROMERO, RICARDO                           ADDRESS ON FILE
ROMI INDUSTREIS                           25443 RYE CANYON ROAD                                             SANTA CLARITA        CA    91355
ROMSKEE, SONI SOUKE                       ADDRESS ON FILE
RONCELLI PLASTICS, INC.                   330 W. DUARTE ROAD                                                MONROVIA             CA    91016
RONNING, PATRICK C.                       ADDRESS ON FILE
ROPER WHITNEY LLC                         2833 HUFFMAN BLVD                                                 ROCKFORD             IL    61103
ROSALINA CASTILLO                         15857 VICTORY BLVD. #12                                           VAN NUYS             CA    91406
ROSE, CATHERINE                           ADDRESS ON FILE
ROSEMOUNT INC.                            6021 INNOVATION BLVD                                              SHAKOPEE             MN    55379‐0000
ROSENTHAL, DEVON SHARP                    ADDRESS ON FILE
ROSKIN, PAVEL L                           ADDRESS ON FILE
ROSMUS, JENS                              ADDRESS ON FILE
ROSS ACQUISITION CORP II                  2 PELICAN LANE                                                    PALM BEACH           FL    33480
ROSS AVIATION ‐ LGB                       3250 AIRFLITE WAY                                                 LONG BEACH           CA    90807
ROTATING MACHINERY ANALYSIS, INC          66 QUANV CT                                                       BREVARD              NC    28712
ROTH STAFFING COMPANIES, L.P.             PO BOX 60003                                                      ANAHEIM              CA    92812




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ROULO CONSULTING, INC.                   8605 SANTA MONICA BLVD # 61189                                    LOS ANGELES           CA     90069
ROVIERA PIER MICHELE                     12107 STONEY CREEK RD                                             POTOMAC               MD     20854
ROY, TANIKA                              ADDRESS ON FILE
ROY, TANIKA M                            ADDRESS ON FILE
ROYAL AIR FORCE TRAINING CADRE           RAF ST. MAWGAN                                                    ST. MAWGAN                  TR8 4HP       UNITED KINGDOM
ROYAL BUYING GROUP, INC.                 2100 WESTERN CT STE 80                                            LISLE                 IL    60532
ROYAL FLEX CIRCUITS, INC                 15505 CORNET STREET                                               SANTA FE SPRINGS      CA    90670
ROYAL INDUSTRIAL SOLUTIONS               2801 E. 208TH ST.                                                 CARSON                CA    90810
RPC MANUFACTURING, LLC                   11811 UPHAM ST., UNIT 5                                           BROOMFIELD            CO    80020
RPM TECHNOLOGY, LLC.                     2990 SUTRO STREET                                                 RENO                  NV    89512
RS AMERICAS, INC.                        P.O. BOX 841811                                                   DALLAS                TX    75284‐1811
RS HUGHES COMPANY, INC                   1219 S. ALLEC STREET                                              ANAHEIM               CA    92805
RS&H, INC.                               10748 DEERWOOD PARK BLVD. S.                                      JACKSONVILLE          FL    32256
RS&H, INC.                               115 ALMA BOULEVARD, SUITE 101                                     MERRITT ISLAND        FL    32953
RSG UNDERWRITING MANAGERS EUROPE
LIMITED, TRADING AS STARTPOINT           13TH FLOOR, 30 ST. MARY AXE                                       LONDON                      EC3A 8BF      UNITED KINGDOM
RSI PETROLEUM                            2481 DEAVER LANE                                                  MOJAVE                CA    93501
RSR TOOLING & MANUFACTURING, LLC         1409 E SAINT GERTRUDE PLACE                                       SANTA ANA             CA    92705
RST CRANES, INC                          701 BAILEY AVENUE                                                 TEHACHAPI             CA    93561
RSUI GROUP                               945 EAST PACES FERRY ROAD                                         ATLANTA               GA    30326
RT SPECIALTY, LLC                        500 W MONROE, 30TH FLOOR                                          CHICAGO               IL    60661
RTL CONTROL & INSTRUMENTATION LTD        9 LOWRY CLOSE                                                     SANDHURST                   GU47 0FJ      UNITED KINGDOM
RUAG SPACE GMBH                          STACHEGASSE 16                                                                                              AUSTRIA
RUAG SPACE USA ,INC.                     5690 DTC BLVD, 515E                                               GREENWOOD VILLAGE     CO    80111
RUAG SPACE USA INC.                      555 DISCOVERY DRIVE NW, SUITE 220                                 HUNTSVILLE            AL    35806
RUAN, RICHARD                            ADDRESS ON FILE
RUAN, RICHARD ALEX                       ADDRESS ON FILE
RUBBERCRAFT CORPORATION OF CALIFORNIA,
LTD.                                     3701 E CONANT ST.                                                 LONG BEACH            CA    90808
RUBIN PROPERTIES                         600 CHERRY LANE                                                   TEHACHAPI             CA    93561
RUBINA GOSWAMI                           4201 164TH PL SE                                                  BOTHELL               WA    98012
RUBIO, CEASAR ANTHONY                    ADDRESS ON FILE
RUBIO'S RESTAURANTS, INC.                2200 FARADAY AVENUE, SUITE 250                                    CARLSBAD              CA    92008

RUGGED SYSTEMS INC D/B/A CORE SYSTEMS    13000 DANIELSON ST.                                               POWAY                 CA    92064
RUIZ, RAMIRO                             ADDRESS ON FILE
RUIZ, RICHARD                            ADDRESS ON FILE
RUIZ, STEVE RALPH                        ADDRESS ON FILE
RUMZI, BILLY                             ADDRESS ON FILE
RUND, MEGAN SAMANTHA                     ADDRESS ON FILE
RUPTLY GMBH                              LENNESTRASSE 1                                                    BERLIN                      10785         GERMANY
RUSH GEARS INC.                          550 VIRGINIA DRIVE                                                FORT WASHINGTON       PA    19034
RUSSELL A. ELLIS CONSULTING              12970 BRANDYWINE DRIVE                                            SARATOGA              CA    95070
RUSSELL FABRICATION CORP. DBA AMERICAN
FABRICATION                              4940 GILMORE AVENUE                                               BAKERSFIELD           CA    93308
RUSSELL, KENDALL                         ADDRESS ON FILE
RUSSEY, BROOKELYNN                       ADDRESS ON FILE
RUSSEY, BROOKELYNN GAY                   ADDRESS ON FILE
RUTLAND FIRE CLAY COMPANY (DBA RUTLAND
PRODUCTS)                                1430 ENVIRON WAY                                                  CHAPEL HILL           NC    27517
RUVALCABA, BRADLEY                       ADDRESS ON FILE
RUVALCABA, CESAR                         ADDRESS ON FILE
RUVALCABA, HECTOR ADRIAN                 ADDRESS ON FILE
RUWAC USA, INC.                          54 WINTER STREET                                                  HOLYOKE               MA    01040
RUWAC, NC                                ADDRESS ON FILE
RVTOOLS                                  "SUBJECT TO CONTINUED DILIGENCE*"
RYAN HERCO PRODUCTS CORP D/B/A RYAN
HERCO FLOW SOLUTIONS                     3010 N SAN FERNANDO BLVD                                          BURBANK               CA    91504
RYAN JAMES OLLOS                         ADDRESS ON FILE
RYAN SHACKLEFORD                         ADDRESS ON FILE
S & B ROLLING INCORPORATED               600 ARROYO AVENUE                                                 SAN FERNANDO          CA    91340
S & F SONICS, INC. DBA OMEGA SONICS      330 EAST EASY STREET #A                                           SIMI VALLEY           CA    93065
SAALEX                                   811‐A CAMARILLO SPRING ROAD                                       CAMARILLO             CA    93012
SABIN‐CASAMALHUAPA, MAILEAHSA            ADDRESS ON FILE
SAEED JOLGHAZI                           ADDRESS ON FILE
NAME ON FILE                             ADDRESS ON FILE
SAFETY SYSTEMS TECHNOLOGY, INC           23986 ALISO CREEK ROAD, SUITE 311                                 LAGUNA NIGUEL         CA    92677
SAFETY‐KLEEN SYSTEMS, INC                PO BOX 650509                                                     DALLAS                TX    75265
SAFETY‐KLEEN SYSTEMS, INC                PO BOX 7170                                                       PASADENA              CA    91109‐170
SAFRAN DATA SYSTEMS                      5, AVENUE DES ANDES ‐ CS 90101, COURTABOEUF                       CEDEX                       91978         FRANCE
SAFRAN DATA SYSTEMS, INC.                3005 BUSINESS PARK DR                                             NORCOSS               GA    30071
SAFWAY SERVICES LLC                      601 W. 140TH STREET                                               GARDENA               CA    90248
SAGIS, KEVIN D                           ADDRESS ON FILE
SAHAGUN, AURORA                          ADDRESS ON FILE
SAHIN EMRE                               ADDRESS ON FILE
SAIC, INC.                               11951 FREEDOM DR                                                  RESTON                VA    20190‐5640
SAINT‐GOBAIN PERFORMANCE PLASTICS        1 LIBERTY ST                                                      HOOSICK FALLS         NY    12090
SAINT‐GOBAIN PERFORMANCE PLASTICS        31500 SOLON ROAD                                                  SOLON                 OH    44139
SAINT‐GOBAIN PERFORMANCE PLASTICS        386 METACOM AVENUE                                                BRISTOL               RI    02809
SAINT‐GOBAIN PERFORMANCE PLASTICS        7301 ORANGEWOOD AVE                                               GARDEN GROVE          CA    92841
SALATA, ERIK                             ADDRESS ON FILE
SALAZAR, ABRAHAM                         ADDRESS ON FILE
SALAZAR, CHRISTINE V.                    ADDRESS ON FILE
SALAZAR, JONATHAN                        ADDRESS ON FILE
SALEAE INC.                              408 N CANAL STREET STE A                                          SOUTH SAN FRANCISCO   CA    94080
SALESFORCE.COM, INC                      SAN FRANCISCO                                                     SAN FRANCISCO         CA    94105
SALINAS, MICHAEL                         ADDRESS ON FILE
SAL'S PROPANE, INC                       638 E. GAGE AVE                                                   LOS ANGELES           CA    90001
SAMAYOA, BRIAN                           ADDRESS ON FILE
SAMBLOTTE, MARIO ANDRES                  ADDRESS ON FILE
SAMTECH INTERNATIONAL INC.               1130 E DOMINGUEZ ST.                                              CARSON                CA    90746




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                   NAME                                                      ADDRESS                                               CITY      STATE   POSTALCODE       COUNTRY
SAN DIEGO COMPOSITES, INC. (DBA APPLIED
COMPOSITES SAN DIEGO)                          9220 ACTIVITY ROAD                                                     SAN DIEGO             CA       92126
SAN DIEGO PCB                                  9909 MIRA MESA BLVD., SUITE 250                                        SAN DIEGO             CA       92131
SANCHEZ, CONCEPCION                            ADDRESS ON FILE
SANCHEZ, DEENAH                                ADDRESS ON FILE
SANCHEZ, JOSEPH                                ADDRESS ON FILE
SANCHEZ, MARIO                                 ADDRESS ON FILE
SANCHEZ, MARIO A.                              ADDRESS ON FILE
SANDOVAL, FELIPE ROGELIO                       ADDRESS ON FILE
SANDVIK, INC.                                  1702 NEVINS ROAD                                                       FAIR LAWN             NJ       07410
SANKARAN KUTTY, SARATH                         ADDRESS ON FILE
SANMAR CNC                                     9950 INDIANA AVE, STE 3                                                RIVERSIDE             CA       92503
SANTA CATALINA ISLAND COMPANY                  4 PARK PLAZA, SUITE 420                                                IRVINE                CA       92614
SANTA CATALINA ISLAND COMPANY                  P.O. BOX 737                                                           AVALON                CA       90704
SANTA FE ENTERPRISES, INC.                     11654 PIKE STREET                                                      SANTA FE SPRINGS      CA       90670
SANTAMARIA, LEONARDO                           ADDRESS ON FILE
SANTAMARIA, LEONARDO                           ADDRESS ON FILE
SANTOS, RAUL                                   ADDRESS ON FILE
SANTOYO, ELIZABETH                             ADDRESS ON FILE
SANTOYO, JOSE                                  ADDRESS ON FILE
SARATECH                                       14 MONARCH BAY PLAZA #429                                              DANA POINT            CA       92629
SARATECH                                       26054 ACERO                                                            MISSION VIEJO         CA       92691
SARATECH                                       32932 PACIFIC COAST HIGHWAY, $14‐429                                   DANA POINT            CA       92629‐3424
SARATECH IS THE DBA FOR PAYDARFAR
INDUSTRIES, INC                                14 MONARCH BAY PLAZA #429                                              DANA POINT            CA       92629
SARES REGIS GROUP OPERATING INC.               3501 JAMBOREE RD SUITE 3000                                            NEWPORT BEACH         CA       92660
SARGENT, BRETT                                 ADDRESS ON FILE
SARGENT, BRETT ALAN                            ADDRESS ON FILE
SARRIS INTERIORS                               8225 ALONDRA BLVD.                                                     PARAMOUNT             CA       92660
SAS INSTITUTE INC.                             SAS CAMPUS DRIVE                                                       CARY                  NC       27513
SASMAL, ARITRA                                 ADDRESS ON FILE
SATCO, INC.                                    1601 E. EL SEGUNDO BLVD.                                               EL SEGUNDO            CA       90245
SATELLITE APPLICATIONS CATAPULT LTD.           ELECTRON BUILDING, FERMI AVENUE, HARWELL CAMPUS                        DIDCOT                         OX11 0QR     UNITED KINGDOM
SATREV, S.A.                                   STABLOWICKA 147                                                        WROCLAW                        54‐066       POLAND
SATROM, JOHN                                   ADDRESS ON FILE
SATSHOT AGRARIAN FRONTIERS                     1919 UNIVERSITY DR N, #421                                             FARGO                 ND       58102
SAURI, LLC                                     439 S. LE DOUX RD., 3                                                  LOS ANGELES           CA       90048
SAVELIO, ANNA                                  ADDRESS ON FILE
SAW SERVICE OF AMERICA                         8210 INDUSTRY AVE                                                      PICO RIVERA           CA       90660
SAY TECHNOLOGIES LLC                           85 WILLOW ROAD                                                         MENLO PARK            CA       94025
SC BEVERAGE INC                                2300 PECK ROAD                                                         WHITTIER              CA       90601
SCALAR CA, LLC                                 874 E PIONEER ROAD                                                     DRAPER                UT       84020
SCALAR CA, LLC                                 PO BOX 1031                                                            DRAPER                UT       84020
SCANIVALVE CORP                                1722 N MADSON ST                                                       LIBERTY LAKE          WA       99019
SCARLETT, CHRISTOPHER M                        ADDRESS ON FILE
SCARROTT METALLURGICAL COMPANY                 6371 ARIZONA CIRCLE                                                    LOS ANGELES           CA       90045
SCEPKO TUBE SWAGING & MACHINING LLC            2200 E. GLADWICK ST.                                                   RANCHO DOMINGUEZ      CA       90220
SCHAEFER, BRYCE                                ADDRESS ON FILE
SCHAFFER GRINDING COMPANY INC                  848 SOUTH MAPLE AVENUE                                                 MONTEBELLO            CA       90640
SCHEDMD, LLC                                   905 N 100 E                                                            LEHI                  UT       84043
SCHEIBLE, ERIKA MARIE                          ADDRESS ON FILE
SCHELETER, VALERIO                             ADDRESS ON FILE
SCHELL, JACQUELINE SOTRAIDIS                   ADDRESS ON FILE
SCHELL, NATHAN                                 ADDRESS ON FILE
SCHLAPFER, LEVI                                ADDRESS ON FILE
SCHLAPFER, LEVI LOUIS                          ADDRESS ON FILE
SCHLEE, KEITH                                  ADDRESS ON FILE
SCHLEGEL, KELLY                                ADDRESS ON FILE
SCHMID, BRIAN GLENN                            ADDRESS ON FILE
SCHMIDT, JASON                                 ADDRESS ON FILE
SCHMIDT, STEPHEN                               ADDRESS ON FILE
SCHMITT MEASUREMENT SYSTEMS, INC. ALSO
ACUITY LASER                                   2765 NORTHWEST NICOLAI ST                                              PORTLAND              OR       97210
SCHREIBER, OLIVIER                             ADDRESS ON FILE
SCHUCHMANN, JACOB                              ADDRESS ON FILE
SCHUH, GINA                                    ADDRESS ON FILE
SCHULZ, CHRIS                                  ADDRESS ON FILE
SCHULZ, JORDAN TYLER                           ADDRESS ON FILE
SCHWAB INDUSTRIES, INC                         50850 RIZZO DRIVE                                                      SHELBY TOWNSHIP       MI       48315
SCICON TECHNOLOGIES CORPORATION                27525 NEWHALL RANCH ROAD, UNIT #2                                      VALENCIA              CA       91355
SCIENCE APPLICATIONS INTERNATIONAL
CORPORATION                                    185 SOUTH DOUGLAS STREET                                               EL SEGUNDO            CA       90245
SCOT FORGE COMPANY                             8001 WINN ROAD                                                         SPRING GROVE          IL       60081
SCOTT FORTH                                    ADDRESS ON FILE
SCOTT, RONALD                                  ADDRESS ON FILE
SCOTT, TIMOTHY D                               ADDRESS ON FILE
SCREAMING CIRCUITS                             1140 NORTHWEST 3RD AVENUE                                              CANBY                 OR       97013
SCREEN PRINTING ON TIME INC.                   115 W VICTORIA ST                                                      GARDENA               CA       90248
SCULPTEO, INC.                                 1933 DAVIS STREET, SUITE 258                                           SAN LEANDRO           CA       94577
SEA BOX, INC.                                  1 SEA BOX DRIVE                                                        CINNAMINSON           NJ       08077
SEA WIRE AND CABLE, INC.                       451 LANIER ROAD                                                        MADISON               AL       35758
SEA‐LAP, LLC                                   2100 ARROW HWY, STE 110                                                LA VERNE              CA       91750
SEAN MORAN                                     ADDRESS ON FILE
SEARCHPROS STAFFING, LLC                       6363 AUBURN BLVD                                                       CITRUS HEIGHTS        CA       95621
SEARS                                          P.O. BOX 689134                                                        DES MOINES            IA       50368‐9134
SECOND ORDER EFFECTS, INC.                     711 HAWAII ST                                                          EL SEGUNDO            CA       90245
SECURE WORLD FOUNDATION                        525 ZANG STREET, SUITE D                                               BROOMFIELD            CO       80021
SECURITAS SECURITY SERVICES USA, INC.          16909 PARTHENIA STREET SUITE 202                                       NORTHRIDGE            CA       91343
SECURITIES & EXCHANGE COMMISSION               200 VESEY STREET, SUITE 400                                            NEW YORK              NY       10281

Securities & Exchange Commission ‐ NY Office   Attn: Bankruptcy Department, Brookfield Place, 200 Vesey Street, Ste 400 New York            NY       10281‐1022




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Securities & Exchange Commission ‐ Philadelphia
Office                                            Attn: Bankruptcy Department, One Penn Center, 1617 JFK Blvd, Ste 520   Philadelphia          PA       19103
Securities and Exchange Commission                Secretary of The Treasury, 100 F. Street NE                            Washington            DC       20549
SECURITY SOUTH WEST LTD                           ATLANTIC BUILDINGS                                                     MARITIME QUARTER               SA1 1TY      UNITED KINGDOM
SEGURITECH                                        BOSQUE DE ALISOS 45B                                                   PALO ALTO (GRANJAS)   CDMX                  MEXICO
SEI DYNAMIC SOLUTIONS, INC.                       12048 EVANSTON AVE. N                                                  SEATTLE               WA       98133
SEIF, JOSEPH                                      ADDRESS ON FILE
SEKO                                              7045 TROY HILL DRIVE, SUITE 300                                        ELKRIDGE              MD       21075
SEKO WORLDWIDE, LLC                               1501 E. WOODFIELD RD., STE. 210E                                       SCHAUMBURG            IL       60173
SELECT EQUIPMENT SALES, INC.                      6911 8TH STREET                                                        BUENA PARK            CA       90620
SELECT FABRICATORS INC                            5310 NORTH ST BLDG 5                                                   CANANDAIGUA           NY       14424
SELISKI, JOHN                                     ADDRESS ON FILE
SEMITORR GROUP, INC.                              10655 SW MANHASSET DRIVE                                               TUALATIN              OR       97062
SEN, AMIT                                         ADDRESS ON FILE
SENIOR AEROSPACE KETEMA                           790 GREENFIELD DRIVE                                                   EL CAJON              CA       92021
SENNE TECHNICAL SERVICES                          7841 FOOTHILL BOULEVARD                                                SUNLAND               CA       91040
SENNOTT, AUSTIN MICHAEL                           ADDRESS ON FILE
SENTEK DYNAMICS, INC.                             ATTN: JAMES ZHUGE, 2090 DUANE AVENUE                                   SANTA CLARA           CA       95054
SEPAHRAM, SIAMAK                                  ADDRESS ON FILE
SERMENO, PABEL ALEXANDER                          ADDRESS ON FILE
SERPA, MICAEEL                                    ADDRESS ON FILE
SERRA LASER CENTER LLC                            1740 N. ORANGETHORPE PARK                                              ANAHEIM               CA       92801
SERVER RACKS ONLINE                               11800 RIDGE PARKWAY, SUITE 140                                         BROOMFIELD            CO       80021
SERVICON                                          3965 LANDMARK STREET                                                   CULVER CITY           CA       90232
SERVU                                             263 SWALLOWTAIL LANE                                                   JUPITER               FL       33458
SETCO SALES COMPANY                               5880 HILLSIDE AVE                                                      CINCINNATI            OH       45233
SEWELL, REBECCA                                   ADDRESS ON FILE
SFS LOGISTICS                                     2425 MATHESON BLVD, 8TH FLOOR                                          MISSISSAUGA           ON       L4W 5K4      CANADA
SGL COMPOSITES INC.                               1551 W. 139TH STREET                                                   GARDENA               CA       90249
SGS NORTH AMERICA                                 201 ROUTE 17N, 7TH FLOOR                                               RUTHERFORD            NJ       07070
SGS NORTH AMERICA INC.                            135 TECHNOLOGY DRIVE.                                                  CHRISTIANSBURG        VA       24073
SHAFER, AUSTIN                                    ADDRESS ON FILE
SHAH, MICHAEL BHARAT                              ADDRESS ON FILE
SHAH, VIRAG                                       ADDRESS ON FILE
SHAMOKIN FILLER CO., INC.                         453 VENN ACCESS ROAD                                                   COAL TOWNSHIP         PA       17866
SHAMROCK SUPPLY COMPANY                           3366 E LA PALMA AVE                                                    ANAHEIM               CA       92806
SHANG L HSIUNG                                    ADDRESS ON FILE
SHANKAR MENON                                     401 HARRISON ST. APT 3                                                 WEST LAFAYETTE        IN       47906
SHAPERY, LEANNE D                                 ADDRESS ON FILE
SHARMA, MANU                                      ADDRESS ON FILE
SHARS TOOL COMPANY                                840 EQUITY DRIVE                                                       ST. CHARLES           IL       60174
SHATKARMA WELLNESS GROUP                          6324 E. PACIFIC COAST HIGHWAY STE E                                    LONG BEACH            CA       90803
SHATKIN, STEVEN                                   ADDRESS ON FILE
SHAW MOISTURE METERS USA, LLC                     882 S. MATLACK ST., STE 107                                            WEST CHESTER          PA       19382
SHAW STAINLESS & ALLOY                            3275 FLORENCE RD, BLDG 100                                             POWDER SPRINGS        GA       30127
SHEARER, REBECCA                                  ADDRESS ON FILE
SHELDAHL FLEXIBLE TECHNOLOGIES, INC.              1150 SHELDAHL ROAD                                                     NORTHFIELD            MN       55057
SHELF MASTER, INC.                                2837 E COLORADO ST.                                                    ANAHEIM               CA       92806

SHEPPARD MULLIN RICHTER & HAMPTON LLP             333 S. HOPE STREET, 43RD FLOOR                                         LOS ANGELES           CA       90071
SHER‐FAB UNLIMITED, INC                           1740 E MONTICELLO CT                                                   ONTARIO               CA       91761
SHERIFF MOHAMED                                   ADDRESS ON FILE
SHERLOCK, JACOB                                   ADDRESS ON FILE
SHERMAN, JAMES R                                  ADDRESS ON FILE
SHERPA DESIGN INC.                                6700 N. NEW YORK AVENUE, SUITE 231                                     PORTLAND              OR       97203
SHIN, JOSHUA SUNGJUN                              ADDRESS ON FILE
SHIN‐HSING CHEN                                   ADDRESS ON FILE
SHIOTANI, BUNGO                                   ADDRESS ON FILE
SHIP & SHORE ENVIRONMENTAL, INC.                  2474 N. PALM DRIVE                                                     SIGNAL HILL           CA       90755
SHOCKWATCH INC.                                   510 CORPORATE DRIVE                                                    GRAHAM                TX       76450
SHOOK, SCOTT                                      ADDRESS ON FILE
SHOPIFY                                           151 O'CONNOR STREET, GROUND FLOOR                                      OTTAWA                ON       K2P2L8       CANADA
SHORT, ANDREW RICHARD WILSON                      ADDRESS ON FILE
SHORT, DANIEL                                     ADDRESS ON FILE
SHOWMECABLES                                      115 CHESTERFIELD INDUSTRIAL BLVD.                                      CHESTERFIELD          MO       63005
SHRED‐IT USA, LLC.                                28161 N. KEITH DRIVE                                                   LAKE FOREST           IL       60045
SHRED‐IT USA, LLC.                                28883 NETWORK PLACE                                                    CHICAGO               IL       60673‐1288
SHRED‐IT USA, LLC.                                PO BOX 101007                                                          PASADENA              CA       91189‐1007
SICA                                              FINAL BULEVAR CANCILLERÍA                                              CIUDAD MERLIOT                              EL SALVADOR
SIDA, AHLAM                                       ADDRESS ON FILE
SIDA, JESUS ANTONIO                               ADDRESS ON FILE
SIDDHARTH DHING                                   ADDRESS ON FILE
SIDEPATH, INC.                                    22892 MILL CREEK DR.                                                   LAGUNA HILLS          CA       92653
SIDUS SPACE, INC.                                 150 NORTH SYKES CREEK PARKWAY, SUITE 200                               MERRITT ISLAND        FL       32953
SIEĆ BADAWCZA ŁUKASIEWICZ – INSTYTUT
LOTNICTWA                                         110/114, 02‐256 WARSZAWA, REGON NUMBER 387193275                       WARSAW                                      POLAND
SIEKER, JOHN                                      ADDRESS ON FILE
SIEKER, JOHN ERIC                                 ADDRESS ON FILE
SIEMENS INDUSTRY                                  10 TECHNOLOGY DRIVE                                                    LOWELL                MA       01851
SIEMENS PRODUCT LIFESTYLE MANAGEMENT
INC                                               5800 GRANITE PARKWAY, SUITE 600                                        PLANO                 TX       75024
SIERRA AUTOMATED VALVE SERVICES, INC.             39433 COLLEEN WAY                                                      TEMECULA              CA       92592

SIERRA CIRCUITS (DBA SIERRA PROTOEXPRESS)         1108 WEST EVELYN AVENUE                                                SUNNYVALE             CA       94086
SIERRA ENGINEERING & SOFTWARE, INC                3050 FITE CIRCLE, SUITE 212                                            SACRAMENTO            CA       95827‐1807
SIERRA INSTRUMENTS INC                            5 HARRIS CT, BLDG L                                                    MONTEREY              CA       93940
SIERRA NEVADA CORPORATION                         444 SALOMON CIRCLE                                                     SPARKS                NV       89434
SIERRA SPACE CORPORATION                          390 INTERLOCKEN CRESCENT, SUITE 500                                    BROOMFIELD            CO       80021
SIERRA VISTA                                      600 CHERRY LANE                                                        TEHACHAPI             CA       93561
SIERRA, SAMANTHA                                  ADDRESS ON FILE




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SIGMA GAMMA TAU LONG BEACH ROCKETRY      1212 BELLFLOWER BLVD, SUITE 229, A/C #370‐5464‐00                 LONG BEACH              CA       90815

SIGMA GAMMA TAU LONG BEACH ROCKETRY      1250 N BELLFLOWER BLVD                                            LONG BEACH              CA       90840
SIGMA‐ALDRICH                            PO BOX 535182                                                     ATLANTA                 GA       30353‐5182
SIGMA‐NETICS, INC.                       2 NORTH CORPORATE DRIVE                                           RIVERDALE               NJ       07457
SIGNARAMA                                2986 EAST SEVENTH STREET                                          LONG BEACH              CA       90804
SIGNICAST LLC                            11325 N COMMUNITY HOUSE ROAD, SUITE 300                           CHARLOTTE               NC       28277
SIGNICAST LLC                            1800 INNOVATION WAY                                               HARTFORD                WI       53027
SIGUYS                                   42917 COUNTRY CLUB DR. E.                                         OAKHURST                CA       93644
SIGUYS SIGNAL INTEGRITY CONSULTING
SERVICES                                 42917 COUNTRY CLUB DR W                                           OAKHURST                CA       93644
SILCHESTER CONTROL SYSTEMS LTD           5 MANSFIELD PARK                                                  FOUR MARKS                       GU34 5DR     UNITED KINGDOM
SILICON SENSING SYSTEMS, LIMITED         CLITTAFORD ROAD                                                   PLYMOUTH                         PL6 6DE      UNITED KINGDOM
SILICONE SOLUTIONS, LLC                  338 REMINGTON RD.                                                 CUYAHOGA FALLS          OH       44224
SILLS, ROBERT R                          ADDRESS ON FILE
SILMID                                   UNIT 1 & 2 ROMAN PARK                                             COLESHILL                        B46 1HG      UNITED KINGDOM
SIL‐MID LIMITED                          UNIT 1&2, ROMAN PARK, ROMAN WAY, CALESHILL                        BIRMINGHAM                       B461HG       UNITED KINGDOM
SILVA, JUAN                              ADDRESS ON FILE
SILVERMAN, LINDSAY                       ADDRESS ON FILE
SIMJEE, FARHAN                           ADDRESS ON FILE
SIMON SHUHAM                             ADDRESS ON FILE
SIMPSON, JAMES STEVEN                    ADDRESS ON FILE
SIMPSON, JEFFREY S                       ADDRESS ON FILE
SIMSARIAN, ARIS ELLIOTT                  ADDRESS ON FILE
SINFOROSO GALINDEZ                       ADDRESS ON FILE

SINGAPORE SPACE AND TECHNOLOGY ASSOC.    #02‐07/08 STRATHMORE BLOCK, 352 TANGLIN ROAD                      SINGAPORE                        247671       SINGAPORE
SINTAVIA, LLC.                           2500 SW 39TH STREET                                               HOLLYWOOD               FL       33312
SIRISHA BANDLA                           ADDRESS ON FILE
SISSON, KYLE                             ADDRESS ON FILE

SITAEL S.P.A                             ATTN: NICOLA ZACCHEO, VIA SAN SABINO, 21 ZONA INDUSTRIALE         MOLA DI BARI BA                  70042        ITALY
SJC VENTURES LLC (DBA JIMMY JOHNS
GOURMET SANDWICHES 3774)                 43615 10TH STREET WEST SUITE 105                                  LANCASTER               CA       93534
SJM INDUSTRIAL RADIO                     1212 E. IMPERIAL AVE                                              EL SEGUNDO              CA       90245
SKAFF CRYOGENICS                         48 PINE ROAD                                                      BRENTWOOD               NH       03833
SKETCHUP.COM                             ONLINE                                                            ONLINE                  CA       90001
SKF USA INC.                             890 FORTY FOOT ROAD                                               LANSDALE                PA       19446
SKY AND SPACE GLOBAL (UK) LTD            201 HAVERSTOCK HILL, SECOND FLOOR                                 LONDON                           NW3 4QG      UNITED KINGDOM
SKY CLIMBER                              1600 PITTSBURGH DRIVE                                             DELAWARE                OH       43015
SKY KIDS INCORPORATED                    11369 SOUTH COOL WATER DRIVE                                      GOODYEAR                AZ       85338‐9539
SKYDEL SOLUTIONS INC.                    1275 AVENUE DES CANADIENS‐DE‐MONTREAL, 5TH FLO                    MONTREAL                ON       H3B 0G4      CANADA
SKYE INNOVATION BERHAD                   31‐7‐25, LEBUH NIPAH 5, BUKIT JAMBUL                              BAYAN LEPAS, PENANG              11900        MALAYSIA
SKYGEEK.COM DBA STYLES LOGISTICS         30 AIRWAY DRIVE, SUITE 2                                          LANRANGEVILLE           NY       12540
SKYKRAFT PTY LTD                         216 NORTHBOURNE AVENUE                                            BRADDON                          2612         AUSTRALIA
SKYLARK NORTH                            16334 HARRIS ROAD/PO BOX 100                                      TEHACHAPI               CA       93561
SKYRORA LIMITED                          108 PRINCESS STREET, FLOOR 2                                      EDINBURGH                        EH2 3AA      UNITED KINGDOM
SKYWARD SERVICE COMPANY                  800 GESSNER ROAD SUITE 600                                        HOUSTON                 CA       77024
SL&C PALMDALE, LLC                       39325 TRADE CENTER DRIVE                                          PALMDALE                CA       93551
SL&C PALMDALE, LLC                       840 ROOSEVELT 2ND FLOOR                                           IRVINE                  CA       92620
SLAMA, ADAM                              ADDRESS ON FILE
SLANE, JOHN                              ADDRESS ON FILE
SLATE ADVISERS, INC                      FOUR EMBARCADERO CENTER, SUITE 1400                               SAN FRANCISCO           CA       94111
SLATE ADVISERS, INC.                     255 CONSTITUTION DRIVE                                            MENLO PARK              CA       94025
SLATER, JASON MATTHEW                    ADDRESS ON FILE
SLEEP DIRECT                             900 SW FIFTH AVE, STE 1825                                        PORTLAND                OR       97204

SLM SOLUTIONS NA, INC.                   48561 ALPHA DRIVE                                                 WIXOM, OAKLAND COUNTY   MI       48393‐3458
SMA, INC.                                18400 VON KARMAN AVE. STE 500                                     IRVINE                  CA       92612
SMALLEY STEEL RING COMPANY               555 OAKWOOD RD                                                    LAKE ZURICH             IL       60047
SMALLEY STEEL RING COMPANY               PO BOX 88663                                                      CHICAGO                 IL       60680
SMARTECH CONSULTING, INC.                330 GODDARD                                                       IRVINE                  CA       92618
SMARTSHEET INC.                          10500 NE 8TH STREET, SUITE 1300                                   BELLEVUE                WA       98004‐4312
SMC INDUSTRIES, INC                      3239 PHOENIXVILLE PIKE, BUILDING 1                                MALVERN                 PA       19355
SMG (DBA LONG BEACH CONVENTION &
ENTERTAINMENT CENTER)                    300 EAST OCEAN BLVD                                               LONG BEACH              CA       90802
SMI GROUP LTD                            GROUND FLOOR, INDIA HOUSE, 45 CURLEW STREET                       LONDON                           SE1 2ND      UNITED KINGDOM
SMILEBOOTH (DBA PHOTOTASTIC, LLC)        3191 LAS CASITAS AVE                                              LOS ANGELES             CA       90039
SMITH AND SEVERSON BUILDERS, LLC         21072 BAKE PARKWAY SUITE 106                                      LAKE FOREST             CA       92630
SMITH, ALEXANDER MATTHEW                 ADDRESS ON FILE
SMITH, CHARLES LESLIE                    ADDRESS ON FILE
SMITH, DAVE L.                           ADDRESS ON FILE
SMITH, HARRY R                           ADDRESS ON FILE
SMITH, JIMMY                             ADDRESS ON FILE
SMITH, RICK D                            ADDRESS ON FILE
SMS ENGINEERING, INC.                    2001 WILLIAMS DRIVE, SUITE 410                                    OXNARD                  CA       93036
SMT INDUSTRIES                           2540 ROSS STREET, PO BOX 766                                      SIDNEY                  OH       45365
SMT TOOLS, LLC                           85 E. SHAWNEE TRL                                                 WHARTON                 NJ       07885
SNAP‐ON INDUSTRIAL                       21755 NETWORK PLACE                                               CHICAGO                 IL       60673‐1217
SNAP‐ON INDUSTRIAL                       PO BOX 9004                                                       CRYSTAL LAKE            IL       60039
SNELLING                                 PO BOX 650765                                                     DALLAS                  TX       75265‐0765
SOBEL, ALEX                              ADDRESS ON FILE
SOBEL, ALEX                              ADDRESS ON FILE
SOCAL BIOMED, LLC                        P.O. BOX 1504                                                     LAKEVILLE               MN       55044
SOCAL FILTERS AND SERVICE INC.           3457 WEST EL SEGUNDO BLVD., UNIT A                                HAWTHORNE               CA       90250
SOCIETY OF SATELLITE PROFESSIONALS
INTERNATIONAL, INC                       250 PARK AVE, 7TH FLOOR                                           NEW YORK                NY       10177
SOCIETY OF WOMEN ENGINEERS               130 EAST RANDOLPH STREET, SUITE 3500                              CHICAGO                 IL       60601

SOFTWARE AND ENGINEERING ASSOCIATES, INC. PO BOX 19515                                                     RENO                    NV       89511




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SOLAR ATMOSPHERES OF CALIFORNIA            8606 LIVE OAK AVE.                                                FONTANA              CA     92335
SOLAR ELECTRONICS COMPANY                  10866 CHANDLER BLVD                                               NORTH HOLLYWOOD      CA     91601
SOLARWINDS WORLDWIDE, LLC                  7171 SOUTHWEST PARKWAY, BUILDING 400                              AUSTIN               TX     78735
SOLBES, ALBERT                             ADDRESS ON FILE
SOLDEVILLA, CLARENCE                       ADDRESS ON FILE
SOLEC CORPORATION                          129 WALTERS AVE                                                   EWING                NJ    08638

SO‐LOW ENVIRONMENTAL EQUIPMENT CO., INC    10310 SPARTAN DRIVE                                               CINCINNATI           OH    45215
SOLUKON MASCHINENBAU GMBH                  AULZHAUSENER STRASSE 14                                           AUGSBURG                   86165         GERMANY
SOMPO                                      1221 AVENUE OF THE AMERICAS                                       NEW YORK             NY    10020
SON HA                                     ADDRESS ON FILE
SORIA MURGUIA, JOSE DANIEL                 ADDRESS ON FILE
SOSA MENDOZA, JOSE                         ADDRESS ON FILE
SOSANYA, OLAKUNLE                          ADDRESS ON FILE
SOTH, BRYAN                                ADDRESS ON FILE
SOUNDCOAT COMPANY, INC.                    1 BURT DRIVE                                                      DEER PARK            NY    11729
SOUNDCOAT, INC.                            16901 ARMSTRONG AVENUE                                            IRVINE               CA    92606
SOURCEABILITY NORTH AMERICA LLC            2007 NW 84TH AVENUE                                               DORAL                FL    33122
SOUTH BAY CAD SERVICES, LLC                26756 MENOMINEE PLACE                                             RANCHO PALOS VERDE   CA    90275
SOUTH BAY FIRE INC.                        1068 AVIATION BLVD                                                HERMOSA BEACH        CA    90254

SOUTH BAY HEATING & AIR CONDITIONING, INC. 3300 EAST 59TH STREET                                             LONG BEACH           CA    90805

SOUTH CAROLINA DEPARTMENT OF REVENUE       300 A OUTLET POINTE BLVD                                          COLUMBIA             SC    29210

SOUTH CAROLINA DEPARTMENT OF REVENUE       PO BOX 125                                                        COLUMBIA             SC    29214‐0400
SOUTH COAST AIR QUALITY MANAGEMENT
DISTRICT                                   21865 COPLEY DRIVE                                                DIAMOND BAR          CA    91765
SOUTH COAST AIR QUALITY MANAGEMENT
DISTRICT                                   P.O. BOX 4943                                                     DIAMOND BAR          CA    91765‐0943
SOUTH COAST CIRCUITS, INC.                 3506 W. LAKE CENTER DRIVE, SUITE A                                SANTA ANA            CA    92704
SOUTH OF PASADENA                          3117 MINNESOTA ST                                                 LOS ANGELES          CA    90031
SOUTH STREET, INC. DBA FAB METAL SHOP      2231 E CURRY STREET                                               LONG BEACH           CA    90805
SOUTH WEST HIRE AND SALES LTD              2 STONEHOUSE STREET                                               PLYMOUTH                   PL1 3PE       UNITED KINGDOM
SOUTHEAST TEXAS INDUSTRIES, INC.           35911 US HWY 96 S                                                 BUNA                 TX    77612
SOUTHERN CALIFORNIA EDISON                 2 INNOVATION WAY, 1ST FLOOR                                       POMONA               CA    91768
SOUTHERN CALIFORNIA EDISON                 PO BOX 300                                                        ROSEMEAD             CA    91772‐0001
SOUTHERN CALIFORNIA EDISON                 PO BOX 800                                                        ROSEMEAD             CA    91770
SOUTHERN CALIFORNIA EDISON COMPANY         2244 WALNUT GROVE AVENUE                                          ROSEMEAD             CA    91770
SOUTHERN CALIFORNIA IMMEDIATE MEDICAL
CENTER                                     7300 ALONDRA BLVD. SUITE 101                                      PARAMOUNT            CA    90723
SOUTHERN CALIFORNIA LOGISTICS AIRPORT
AUTHORITY                                  18374 PHANTOM WEST                                                VICTORVILLE          CA    92394
SOUTHERN COUNTIES LUBRICANTS LLC           1825 W. COLLINS AVE                                               ORANGE               CA    92867
SOUTHERN COUNTIES OIL CO., A CA LIMITED
PARTNERSHIP                                1800 W KATELLA AVE SUITE 400                                      ORANGE               CA    92867
SOUTHERN RESEARCH INSTITUTE                2000 NINTH AVENUE SOUTH                                           BIRMINGHAM           AL    35205
SOUTHWEST HIRE AND SALES LTD.              THE OLD MOD STORE (A3059)                                         NEWQUAY                    TR8 4JT       UNITED KINGDOM
SOUTHWEST INDUSTRIAL ELECTRIC              4557 YORK BLVD                                                    LOS ANGELES          CA    90041
SOUTHWEST LOOS LIMITED                     ROSEMABER FARM, BREAGE                                            HELSTON, CORNWALL          TR12 9NE      UNITED KINGDOM
SOUTHWEST MOBILE STORAGE, INC.             1005 N. 50TH STREET                                               PHOENIX              AZ    85008
SOUTHWEST PUBLIC SAFETY                    9905 PERRIN BEITAL                                                SAN ANTONIO          TX    78217
SOUTHWEST RESEARCH INSTITUTE               6220 CULBERA RD                                                   SAN ANTONIO          TX    78238‐5166
SOUTHWEST RESEARCH INSTITUTE (SWRI)        6220 CULEBRA ROAD                                                 SAN ANTONIO          TX    78238‐5166
SOUTHWESTERN INDUSTRIES, INC (DBA TRAK
MACHINE TOOLS)                             2615 HOMESTEAD PLACE                                              RANCHO DOMINGUEZ     CA    90220
SOWERS, DON                                ADDRESS ON FILE
SPACE FLORIDA                              505 ODYSSEY WAY, SUITE 300                                        EXPLORATION PARK     FL    32953
SPACE FORGE LIMITED                        40 TARRAGON PLACE                                                 BRISTOL                    BS32 8TP      UNITED KINGDOM
SPACE FOUNDATION                           4425 ARROWSWEST DRIVE                                             COLORADO SPRINGS     CO    80907
SPACE FRONTIER FOUNDATION                  1900 S EADS, APT 430                                              ARLINGTON            VA    22202
SPACE FRONTIER FOUNDATION                  9318 WARREN ST                                                    SILVER SPRING        MD    20910
SPACE GENERATION ADVISORY COUNCIL          700 12TH ST. N.W SUITE 700 PMB 92216                              WASHINGTON           DC    20005
SPACE GENERATION ADVISORY COUNCIL          SCHWARZENBERGPLATZ 6                                              VIENNA                     1030          AUSTRIA
SPACE NEWS                                 1414 PRINCE ST, STE 204                                           ALEXANDRIA           VA    22314
SPACE NORWAY AS                            DRAMMENSVEIEN 165                                                 OSLO                       N‐0277        NORWAY
SPACE STRATEGIES CONSULTING LTD            260 HEARST WAY SUITE 401                                          KANATA               ON    K2L 3H1       CANADA
SPACE TANGO, INC.                          611 WINCHESTER RD.                                                LEXINGTON            KY    40505

SPACE TECH EXPO USA                        LONG BEACH CONVENTION CENTRE, 300 EAST OCEAN BOULEVARD            LONG BEACH           CA    90802
SPACE TRANSPORTATION ASSOCIATION           6803 HAMPSHIRE RD                                                 MCLEAN               VA    22101
SPACE VECTOR CORPORATION                   ATTN: ERIC GRABOW, 20520 NORDHOFF STREET                          CHATSWORTH           CA    91311
SPACEALPHA INSIGHTS CORPORATION            100‐1050 HOMER STREET                                             VANCOUVER            BC    V6B 2W9       CANADA
SPACECOM CONFERENCE AND EXPOSITION         C/O NTP, 313 S. PATRICK STREET                                    ALEXANDRIA           VA    22314
SPACEFLIGHT, INC.                          ATTN: CURT BLAKE, 1505 WESTLAKE AVE N                             SEATTLE              WA    98109
SPACEIQ, LLC                               850 EAST PACE FERRY ROAD, N.E., SUITE 800                         ATLANTA              GA    30326
SPACE‐LOK, INC.                            13306 HALLDALE AVE                                                GARDENA              CA    90247
SPACEPORT CANADA                           15 RUE JOS‐MONTFERRAND GATINEAU                                   QUEBEC               QC    J8X 0C2       CANADA
SPACEPORT CORNWALL                         CHI AN LORELL, SECTOR 2, AEROHUB BUSINESS PARK                    ST MAWGAN                  TR8 4RZ       UNITED KINGDOM
SPACEWORKS ENTERPRISES, INC.               1050 CROWN POINTE PARKWAY SUITE 1400                              ATLANTA              GA    30338
SPANOS, ALEX J                             ADDRESS ON FILE
SPARKS, ALLEN                              ADDRESS ON FILE
SPCEBELT                                   10850 WILSHIRE BOULEVARD, SUITE 1125                              LOS ANGELES          CA    90024‐4673
SPEAK EASY PRODUCTIONS                     1300 PARKVIEW AVE. #132                                           MANHATTAN BEACH      CA    90266
SPEARS, BRIAN                              ADDRESS ON FILE
SPEC INNOVATIONS                           10440 BALLS FORD RD., SUITE 230                                   MANASSAS             VA    20109
SPECIALIZED COATINGS                       5862 RESEARCH DR                                                  HUNTINGTON BEACH     CA    92649‐1348
SPECIALIZED SALES CORPORATION (DBA
AMERICAN RUBBER PRODUCTS)                  1521 E. MCFADDEN AVE, STE H                                       SANTA ANA            CA    92705
SPECIALTY CARGO, INC.                      246 SW 43RD STREET                                                RENTON               WA    98057
SPECIALTY DOORS AND AUTOMATION INC.        4700 LONG BEACH BLVD.                                             LONG BEACH           CA    90805




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SPECIALTY FLUID COMPONENTS
MANUFACTURING                             7181 OLD HIGHWAY 105W                                               CONROE                TX       77304
SPECIALTY HOSE CORPORATION                7800 FREEDOM AVE. NW                                                NORTH CANTON          OH       44720
SPECTRUM CONTROL, INC.                    5305 SPECTRUM DRIVE                                                 FREDERICK             MD       21703
SPECTRUM MECHANICAL, INC.                 9760 RESEARCH DRIVE                                                 IRVINE                CA       92618
SPECTRUM TECHNOLOGIES LTD.                WESTERN AVENUE                                                      BRIDGEND                       CF31 3RT     UNITED KINGDOM
SPECTRUM TECHNOLOGIES USA, INC.           3934 SANDSHELL DRIVE                                                FORT WORTH            TX       76137
SPEED PRECISION MACHINE, LLC              1200 MEADOWLAKES DR                                                 AZLE                  TX       76020
SPEED PRECISION MACHINE, LLC              1550 SCHWAB ST. STE 1                                               RED BLUFF             CA       96080
SPEEDGOAT INC.                            209 WEST CENTRAL STREET, STE 215                                    NATICK                MA       01760
SPENCER AIRCRAFT                          16911 103RD AVE E UNIT 102                                          PUYALLUP              WA       98374
SPHERA SOLUTIONS, INC.                    180 E RANDOLPH STREET, STE. 2900                                    CHICAGO               IL       60601
SPIKA DESIGN & MANUFACTURING, INC.        254 COTTONWOOD CREEK ROAD                                           LEWISTOWN             MT       59457
SPIN IMAGING                              1379 OBISPO AVENUE                                                  LONG BEACH            CA       90804
SPIRA MANUFACTURING CORPORATION           650 JESSIE STREET                                                   SAN FERNANDO          CA       91340
SPIRE FLIGHT SOLUTIONS DBA WORLD FUEL
SERVICES                                  950S CHERRY ST                                                      DENVER                CO       80236
SPIRE GLOBAL INC.                         33 NORFOLK STREET                                                   SAN FRANCISCO         CA       94103

SPIRE GLOBAL SUBSIDIARY INC.              ATTN: PETER PLATZER, 8000 TOWERS CRESCENT DRIVE, SUITE 1100         VIENNA                VA       22182
SPIRE GLOBAL SUBSIDIARY, INC.             575 FLORIDA STREET,SUITE 150                                        SAN FRANCISCO         CA       94110
SPOSTEK LLC                               320 SW CENTURY DRIVE, STE 405‐239                                   BEND                  OR       97702
SPRINGER NATURE SWITZERLAND AG            GEWERBESTR. 11                                                      CHAM                           6330         SWITZERLAND
SPRINGHILL SUITES LANCASTER               1811 WEST AVE J‐12                                                  LANCASTER             CA       93534
SRC ELASTOMERICS INC. (DBA STOCKWELL
ELASTOMERICS INC.)                        4749 TOLBUT STREET                                                  PHILADELPHIA          PA       19136
SSC SPACE US, INC.                        417 CAREDEAN DR                                                     HORSHAM               PA       19044
SSP, INC.                                 2895 SOUTH 300 WEST                                                 SALT LAKE CITY        UT       84115
SST SENSING LTD.                          5 HAGMILL CRESCENT, SHAWHEAD INDUSTRIAL ESTATE                      COATBRIDGE                     ML54NS       UNITED KINGDOM
ST ENGINEERING ADVANCED NETWORKS &
SENSORS PTE. LTD                          100 JURONG EAST STREET 21                                           SINGAPORE                      609602       SINGAPORE
STABOND CORPORATION                       1722 W. 139TH STREET                                                GARDENA               CA       90249
STACK METALLURGICAL GROUP                 5938 N BASIN AVE                                                    PORTLAND              OR       97217
STADCO, INC                               107 S. AVENUE 20                                                    LOS ANGELES           CA       90031
STALEY, WILLIAM K                         ADDRESS ON FILE
STANCIL CORPORATION                       2644 S. CRODDY WAY                                                  SANTA ANA             CA       92704
STANDRIDGE GRANITE CORP.                  9437 SANTE FE SPRINGS ROAD                                          SANTA FE SPRINGS      CA       90670
STANLEY M. PROCTOR COMPANY                2016 MIDWAY DRIVE                                                   TWINSBURG             OH       44087
STANNARD, MATTHEW                         ADDRESS ON FILE
STAPLES                                   PO BOX 660409 ‐ DEPT LA                                             DALLAS                TX       75266‐0409
STAPLES                                   POST OFFICE BOC 105638                                              ATLANTA               GA       30348‐5638
STAR METALS, INC.                         1946 E. CEDAR ST.                                                   ONTARIO               CA       91761
STAR SATELLITE COMMUNICATIONS COMPANY,                                                                                                                    UNITED ARAB
PJSC                                      P.O. BOX 93693                                                      ABU DHABI                                   EMIRATES
STARFIRE SYSTEMS, INC.                    8 SAMOWSKI DRIVE                                                    GLENVILLE             NY       12302
STARKS, NATASHA                           ADDRESS ON FILE
STARKS, NATASHA MARIA                     ADDRESS ON FILE
STARR                                     399 PARK AVENUE                                                     NEW YORK              NY       10022
STARR AVIATION AGENCY, INC.               3353 PEACHTREE ROAD, NE SUITE 1000                                  ATLANTA               GA       30326
STARR INSURANCE HOLDINGS, INC.            399 PARK AVENUE, 3RD FLOOR                                          NEW YORK              NY       10022
STARRAG USA INC.                          SKYPORT BUSINESS PARK, 2379 PROGRESS DRIVE                          HEBRON                KY       41048
STARS + STRIPES TEAM USA                  "SUBJECT TO CONTINUED DILIGENCE*"
STARTEX SOFTWARE LLC                      800 TOWN AND COUNTRY BLVD.                                          HOUSTON               TX       77024
STARZYK, JANICE MARIE                     ADDRESS ON FILE
STAT PADS, LLC                            3597 E. MONARCH SKY LANE #200                                       MERIDIAN              ID       83646
STATE CRANE LLC DBA RUSSELLS CRANE        1645 W. ORANGEWOOD AVE                                              ORANGE                CA       92868
STATE OF CALIFORNIA EMPLOYMENT TRAINING
PANEL                                     SACRAMENTO CENTRAL OFFICE, 1100 J STREET, 4TH FLOOR                 SACRAMENTO            CA       95814
STATE OF DELAWARE DIVISION OF
CORPORATIONS                              401 FEDERAL ST #4                                                   DOVER                 DE       19901

STATE WATER RESOURCES CONTROL BOARD       ATTN: STORM WATER SECTION, P.O. BOX 1977                            SACRAMENTO            CA       95812‐1977

STATE WATER RESOURCES CONTROL BOARD       P.O. BOX 1888                                                       SACRAMENTO            CA       95812‐1888
STATERA, INC.                             5619 DTC PARKWAY, SUITE 900                                         GREENWOOD VILLAGE     CO       80111
STAVROSITU, ANDRE                         ADDRESS ON FILE
STEADY BREWING, LLC                       3251 E. AIRPORT WAY                                                 LONG BEACH            CA       90806
STEBBINS, SPENCER                         ADDRESS ON FILE
STEEL PARTNERS HOLDINGS L.P.              590 MADISON AVE., 32ND FLOOR                                        NEW YORK              NY       10022
STEEL SERVICES CO., INC.                  5637 DISTRICT BLVD.                                                 LOS ANGELES           CA       90058
STEICO INDUSTRIES, INC.                   1814 ORD WAY                                                        OCEANSIDE             CA       92056
STEIN, MICHAEL                            ADDRESS ON FILE
STEINERT, JACOB ALEXANDER                 ADDRESS ON FILE
STEINHORST GROUP                          17440 DALLAS PKWY, #204                                             DALLAS                TX       75287
STELLAR INDUSTRIAL SUPPLY, INC            711 E 11TH STREET                                                   TACOMA                WA       98421‐2403
STELLAR SOLUTIONS, INC                    4511 PRIME PARKWAY                                                  MCHENRY               IL       60050
STELLAR SOLUTIONS, INC.                   250 CAMBRIDGE AVENUE, SUITE 204                                     PALO ALTO             CA       94306
STELLAR TECHNOLOGY                        237 COMMERCE DRIVE                                                  AMHERST               NY       14228
STEPHEN D. BAKER                          ADDRESS ON FILE
STEPHENS, DEVIN                           ADDRESS ON FILE
STERLEN, FRANKLIN CHARVEY                 ADDRESS ON FILE
STERLING INSPECTION LLC                   1450 EAST 33RD ST.                                                  SIGNAL HILL           CA       90755
STERLING LANE LLC                         23 STERLING LN                                                      PORT WASHINGTON       NY       11050
STERLING MACHINERY EXCHANGE               9310 GARREY AVE.                                                    SOUTH EL MONTE        CA       91733
STERN & STERN INDUSTRIES, INC             188 THACHER STREET                                                  HORNELL               NY       14843
STEVEN A BOULEY CONSULTING, LLC           5307 MOONSHADOW STREET                                              SIMI VALLEY           CA       93063
STEVEN CRANE                              ADDRESS ON FILE
STEVEN PARK                               ADDRESS ON FILE

STEVEN SCOTT BARR (DBA EXOTIC WELDING)    27228 SHILOH LANE                                                   VALLEY CENTER         CA       92082
STEVENS, MICHAEL                          ADDRESS ON FILE




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STEVENS, MICHAEL JOSEPH                       ADDRESS ON FILE
STEWART & CO CHARTERED ACCOUNTS               KNOLL HOUSE, CAMBERLEY                                              SURREY                       GU15 3SY     UNITED KINGDOM
STEWART & CO. LLP                             KNOLL HOUSE, KNOLL ROAD                                             CAMBERLEY                    GU15 3SY     UNITED KINGDOM
STEWARTS USA, LLC                             6786 TIPPERANY                                                      HOUSTON             TX       77061

STEYER ASSOCIATES, INC (DBA STEYER CONTENT)   115 HALL BROTHERS LOOP SUITE 104                                    BAINBRIDGE ISLAND   WA       98110
STIFEL, NICOLAUS & COMPANY, INC.              787 7TH AVENUE, 12TH FLOOR                                          NEW YORK            NY       10019
STILES CONSULTING FIRM, LLC                   7 CONYERS LANE                                                      LADERA RANCH        CA       92694
STIRLITZ MEDIA SP. ZO.O.                      BELGIJSKA 11/11                                                     WARSAW                       02‐511       POLAND
STIS, INC.                                    3127 TEXAS AVE.                                                     BRIDGE CITY         TX       77611
STMA, INC.                                    18732 SAGINAW DRIVE                                                 IRVINE              CA       92603
STOCKWELL, TOBIE CHRISTINE                    ADDRESS ON FILE
STONE ENVIRONMENTAL SERVICES                  6151 LAKE OSPREY DRIVE                                              SARASOTA            FL       34240
STONE ROOFING CO.                             730 N CONEY AVE                                                     AZUSA               CA       91702
STONE, BONNIE                                 ADDRESS ON FILE
STRAINSERT COMPANY                            12 UNION HILL ROAD                                                  WEST CONSHOHOCKEN   PA       19428
                                                                                                                                                            UNITED ARAB
STRATA MANUFACTURING PJSC                     PO BOX 86519                                                        AL AIN                                    EMIRATES
STRATASYS DIRECT, INC                         28309 AVENUE CROCKER                                                VALENCIA            CA       91355
STREAMLINED MANUFACTURING                     31776 YUCAIPA BLVD STE. 3                                           YUCAIPA             CA       92399
STREHLE, MAXIM G.                             ADDRESS ON FILE
STRESS LESS, LLC.                             5319 UNIVERSITY DRIVE, #253                                         IRVINE              CA       92612
STRETCH FORMING CORPORATION                   804 SOUTH REDLANDS AVE                                              PERRIS              CA       92570
STRUDER, CLINT                                ADDRESS ON FILE
STRUERS, INC.                                 24766 DETROIT ROAD                                                  WESTLAKE            CA       44145
STS AVIATION SERVICES UK LIMITED              GATE 6, AEROHUB 2, ST MAWGAN                                        NEWQUAY                      TR8 4GP      UNITED KINGDOM
STS AVIATION SERVICES UK LIMITED              HANGAR 5, BIRMINGHAM AIRPORT                                        BIRMINGHAM                   B26 3QN      UNITED KINGDOM
STUART ALAN COLE(DBA FLOWMAXX)                13900 ALLEN TRAIL                                                   ROANOKE             TX       76262
STUDENTS FOR THE EXPLORATION AND
DEVELOPMENT OF SPACE (SEDS)                   3842 JENNINGS ST                                                    SAN DIEGO           CA       92106
STUDIO 637 LLC                                637 CYPRESS AVENUE                                                  HERMOSA BEACH       CA       90254
STUMP FENCE CO.                               400 W. FOOTHILL BLVD                                                GLENDORA            CA       91741

STURBRIDGE METALLURGICAL SERVICES, INC        8 PICKER ROAD                                                       STURBRIDGE          MA       01566
SUEZ WTS SERVICES USA, INC.                   5900 SILVER CREEK VALLEY ROAD                                       SAN JOSE            CA       95138
SUEZ WTS SERVICES USA, INC.                   7777 INDUSTRY AVE                                                   PICO RIVERA         CA       90660
SUGANO, GREGORY SCOTT                         ADDRESS ON FILE
SULLIVAN, RYAN                                ADDRESS ON FILE
SUMITOMO MITSUI FINANCE AND LEASING CO.,
LTD                                           666 THIRD AVENUE                                                    NEW YORK            NY       10017
SUMME, GREGORY L.                             ADDRESS ON FILE
SUMMER, ALAN E                                ADDRESS ON FILE
SUMMIT COLLECTIVE LLC                         1401‐D DIGGS DRIVE                                                  RALEIGH             NC       27603
SUMMIT FLUID TECHNOLOGIES LLC                 P.O. BOX 4337                                                       WHITTIER            CA       90607
SUMMIT HELICOPTER, INC.                       12653 OSBORNE STREET, BOX 35                                        PACOIMA             CA       91331
SUN HYDRAULICS                                1500 WEST UNIVERSITY PARKWAY                                        SARASOTA            FL       34243
SUNBELT RENTALS LIMITED                       100 CHEAPSIDE                                                       LONDON                       EC2V 6DT     UNITED KINGDOM
SUNBELT RENTALS LIMITED                       7‐8A, COOKSLAND INDUSTRIAL ESTATE                                   BODMIN                       PL311 2QB    UNITED KINGDOM
SUNBELT RENTALS, INC.                         2341 DEERFIELD DRIVE                                                FORT MILL           SC       29715
SUNSEEKER ENTERPRISES, INC.                   4300 PROMENADE WAY, #116                                            MARINA DEL REY      CA       90292
SUNSTONE CIRCUITS                             13626 S. FREEMAN ROAD                                               MULINO              OR       97042
SUPER RADIATOR COILS                          2610 S 21ST. ST.                                                    PHOENIX             AZ       85034
SUPERALLOY MANUFACTURING SOLUTIONS
CORPORATION (SMSC)                            11230 DEERFIELD ROAD                                                CINCINNATI          OH       45242
SUPERCLUSTER LLC                              31 W. 27TH STREET, 11TH FLOOR                                       NEW YORK            NY       10001
SUPERCLUSTER LLC                              49 BLEECKER STREET                                                  NEW YORK            NY       10012
SUPERIOR 3D SOLUTIONS, LLC                    12223 HIGHLAND AVE. STE. 106‐772                                    RANCHO CUCAMONGA    CA       91739
SUPERIOR LIGHTING                             3530 NW 53RD STREET                                                 FORT LAUDERDALE     FL       33309
SUPERIOR MASONRY STRUCTURES                   9206 BROADWAY AVE.                                                  BAKERSFIELD         CA       93311
SUPERIOR THREAD ROLLING                       12801 WENTWORTH ST                                                  ARLETA              CA       91331
SUPERIOR TOOL SERVICE, INC.                   722 E ZIMMERLY ST                                                   WICHITA             KS       67211
SUPERIOR VALVE CO.                            8730 LAMBRIGHT                                                      HOUSTON             TX       77075
SUPERLOGICS, INC.                             9 MERCER RD                                                         NATICK              MA       01760
SUPPLY HOUSE                                  P.O. BOX 416                                                        FARMINGDALE         NY       11735
SURBAUGH, HALLE MARLO                         ADDRESS ON FILE
SUREVERA LLC                                  27762 ANTONIO PARKWAY, L1‐305                                       LADERA RANCH        CA       92694
SURFACE OPTICS CORPORATION                    11555 RANCHO BERNARDO RD                                            SAN DIEGO           CA       92127
SURFACE PREPARATION SOLUTIONS, LLC            3131 NORTH FRANKLIN ROAD, SUITE D                                   INDIANAPOLIS        IN       46226
SURREY SATELLITE TECHNOLOGY LIMITED           TYCHO HOUSE 20 STEPHENSON ROAD, SURREY RESEARCH PARK                GUILDFORD                    GU2 7YE      UNITED KINGDOM
SURVEILLANCE AUSTRALIA PTY LTD DBA
COBHAM                                        NATIONAL DRIVE                                                      ADELAIDE AIRPORT    SA       5950         AUSTRALIA
SUSAN NELSON                                  ADDRESS ON FILE
SUSAN NELSON                                  ADDRESS ON FILE
SUSE LLC                                      1800 SOUTH NOVELL PLACE                                             PROVO               UT       84606
SUSTAINABLE CAPITAL LLC                       634 LOWELL AVENUE                                                   PALO ALTO           CA       94301
SUTHERLAND, LII                               ADDRESS ON FILE
SVTRONICS, INC                                3465 TECHNOLOGY DR                                                  PLANO               TX       75074
SWAG PROMO                                    1650 BLUEGRASS LAKES PKWY                                           ALPHARETTA          GA       30004‐7714
SWARM TECHNOLGOIES                            845 MADONNA WAY                                                     LOS ALTOS           CA       94024
SWARM TECHNOLOGIES, INC.                      435 N WHISMAN RD, SUITE 100                                         MOUNTAIN VIEW       CA       94043
SWEDISH SPACE CORPORATION                     TORGGATEN 15 SE‐17104                                               SOLNA                                     SWEDEN
SWEENEY, RYAN                                 ADDRESS ON FILE
SWEETRUSH, INC.                               1728 OCEAN AVE, #366                                                SAN FRANCISCO       CA       94112
SWIFT ENGINEERING, INC.                       1141‐A VIA CALLEJON                                                 SAN CLEMENTE        CA       92673
SWISS WIRE EDM                                3505 CADILLAC AVENUE, UNIT J‐1                                      COSTA MESA          CA       92626
SWITCH, LTD                                   PO BOX 674592                                                       DALLAS              TX       75267‐4592
SYNCRONESS, INC.                              10875 DOVER ST SUITE 500                                            WESTMINSTER         CO       80021
SYNOPSYS, INC                                 690 EAST MIDDLEFIELD ROAD                                           MOUNTAIN VIEW       CA       94043
SYNQOR, INC.                                  155 SWANSON ROAD                                                    BOXBOROUGH          MA       01719
SYNSPECTIVE, INC.                             THE BREW KIYOSUMISHIRAKAWA 1F                                       TOKYO                        3‐10‐3       JAPAN
SYNTAX SYSTEMS LIMITED LLC                    100 FIELDCREST AVENUE                                               Edison              NJ       08837




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SYNTONY CORP                               1251 AVENUE OF THE AMERICAS, 3RD FLOOR                           NEW YORK              NY     10020
SYSKA HENNESY GROUP, INC                   800 CORPORATE POINTE, SUITE 200                                  CULVER CITY           CA     90230
SYSTEM INTEGRITY ENGINEERING               9525 VASSAR AVENUE                                               CHATSWORTH            CA     91311
SZAMBORSKI, TIM                            ADDRESS ON FILE
SZENDRO, KYLE N                            ADDRESS ON FILE
T&F SHEET METAL FABRICATION & MACHINING,
INC                                        15607 NEW CENTURY DRIVE                                          GARDENA               CA    90248
TA INSTRUMENTS ‐ WATERS LLC                159 LUKENS DRIVE                                                 NEW CASTLE            DE    19720
TABLEAU SOFTWARE, INC.                     1621 N. 34TH ST.                                                 SEATTLE               WA    98103
TABLEAU SOFTWARE, LLC.                     1621 N. 34TH ST.                                                 SEATTLE               WA    98103
TABLESIDE                                  65 PINE AVE, STE.188                                             LONG BEACH            CA    90802
TABONG, ADDISS BAUTISTA                    ADDRESS ON FILE
TACTICAL FIBER SYSTEMS INC.                1525 NW 3RD ST STE 12                                            DEERFIELD BEACH       FL    33442
TACZA, VICTOR                              ADDRESS ON FILE
TAFOLLA, MELISSA ANN                       ADDRESS ON FILE
TAILWIND ACQUISITION CORP.                 1545 COURTNEY AVE                                                LOS ANGELES           CA    90046
TAILWIND TWO ACQUISITION CORP.             150 GREENWICH STREET, 29TH FLOOR                                 NEW YORK              NY    10006
TAIWO, OLUSEUN A                           ADDRESS ON FILE
TALAMANCHI, SWETHA                         ADDRESS ON FILE
TALENT ADVISORY GROUP LLC                  1110 E PENNSYLVANIA ST                                           TUCSON                AZ    85714
TALENT LINK, LLC                           1999 AVE OF THE STARS                                            CENTURY CITY          CA    90067
TALENT LINK, LLC                           6756 GILL WAY                                                    LOS ANGELES           CA    90068
TALENTWISE SOLUTIONS LLC                   PO BOX 3876                                                      SEATTLE               WA    98124‐3876
TALLEY, INC                                12976 SANDOVAL STREET                                            SANTA FE SPRINGS      CA    90670
TAM, VERNON                                ADDRESS ON FILE
TAMSHELL CORPORATION                       237 GLIDER CIRCLE                                                CORONA                CA    92878
TAN, BENITO                                ADDRESS ON FILE
TAN, BENITO MANCHA                         ADDRESS ON FILE
TAN, JESSE                                 ADDRESS ON FILE
TANDEMLOC, INC.                            824 FONTANA BLVD, HIGHWAY 101                                    HAVELOCK              NC    28532
TANZINI, MICHAEL                           ADDRESS ON FILE
TASCI, PAULINE                             ADDRESS ON FILE
TAUB, RUSSELL                              ADDRESS ON FILE
TAVIS CORPROATION                          3636 HIGHWAY 49 SOUTH                                            MARIPOSA              CA    95338
TAYLOR & PATCHEN LLP                       ONE FERRY BUILDING, SUITE 355                                    SAN FRANCISCO         CA    94111
TAYLOR HOBSON INC.                         27755 DIEHL ROAD, SUITE 300                                      WARRENVILLE           IL    60555
TAYLOR, ANNE                               ADDRESS ON FILE
TAYLOR, BRANDON MATTHEW                    ADDRESS ON FILE
TAYLOR, RICHARD J                          ADDRESS ON FILE
TC‐TECHNICAL SOLUTIONS, LLC                4728 RHAPSODY DRIVE                                              OAK PARK              CA    91377
TDA USA LLC.                               3389 NW 97TH AVENUE                                              MIAMI                 FL    33172
TDI INTERNATIONAL, INC.                    3351 EAST HEMISPHERE LOOP                                        TUCSON                AZ    85706
TE CONNECTIVITY CORPORATION                1000 LUCAS WAY                                                   HAMPTON               VA    23666
TE CONNECTIVITY CORPORATION                45738 NORTHPORT LOOP WEST                                        FREMONT               CA    94538
TE CONNECTIVITY CORPORATION                ATTN: TERRENCE R CURTIN, 45738 NORTHPORT LOOP WEST               ALAMEDA               CA    94538
TE WIRE AND CABLE LLC                      107 N. 5TH STREET                                                SADDLE BROOK          NJ    07663
TEAM JESS LIMITED                          97 HOLMBUSH ROAD                                                 ST. AUSTELL                 PL25 3LL      UNITED KINGDOM
TEAM VENTI                                 11801 DOMAIN BLVD                                                AUSTIN                TX    78728
TEC LEIMERT                                4154 LOCKLAND PL, APT 5                                          LOS ANGELES           CA    90008
TECH MET, INC.                             15 ALLEGHENY SQUARE                                              GLASSPORT             PA    15045
TECH STEEL & MATERIALS L.L.C.              1180 LINCOLN AVE                                                 HOLBROOK              NY    11741
TECHCORR USA MANAGEMENT, LLC               1485 E SAM HOUSTON PKWY SOUTH, STE 160                           PASADENA              TX    77503

TECHMAR CORP. (DBA TECHMAR ENCLOSURES)     19205 PARTHENIA ST. UNIT F                                       NORTHRIDGE            CA    91324
TECH‐MAX MACHINE, INC.                     1170 ARDMORE AVENUE                                              ITASCA                IL    60143
TECHMETALS, INC                            345 SPRINGFIELD STREET                                           DAYTON                OH    45403
TECHNA NDT, LLC.                           6707 S 216TH ST                                                  KENT                  WA    98032
TECHNETICS GROUP                           1700 E. INTERNATIONAL SPEEDWAY BLVD.                             DELAND                FL    32724
TECHNETICS GROUP                           3125 N DAMON WAY                                                 BURBANK               CA    91505
TECHNETICS GROUP                           PO BOX 9889                                                      COLUMBIA              SC    29290

TECHNICAL MANUFACTURING CORPORATION        645 NEW HAVEN ROAD                                               DURHAM                CT    06422
TECHNICAL SCREEN PRINTING, INC.            677 N. HARITON STREET                                            ORANGE                CA    92868
TECHNIFAB PRODUCTS INC.                    10339 N. INDUSTRIAL PARK DR.                                     BRAZIL                IN    47834
TECHNIFAB, INC.                            1355 CHESTER INDUSTRIAL PKWY                                     AVON                  OH    44011
TECHNI‐TOOL TESTEQUITY COMPANY             1547 N. TROOPER ROAD                                             WORCESTER             PA    19490‐1117
TECHNOLOGY MARKETING, INC.                 6122 STRATLER STREET                                             SALT LAKE CITY        UT    94107
TECHNOSSUS LLC                             17885 VON KARMAN AVE STE 210                                     IRVINE                CA    92614
TECHSMITH CORPORATION                      2405 WOODLAKE DRIVE                                              OKEMOS                MI    48864
TECHSOLVE, INC.                            6705 STEGER DRIVE                                                CINCINNATI            OH    45237
TECHSOUTH INC                              PO BOX 1799                                                      MATTHEWS              NC    28106
TECMA, INC.                                1812 SILICA AVENUE                                               SACRAMENTO            CA    95815
TECPLOT INC                                3535 FACTORIA BLVD SE, SUITE 530                                 BELLEVUE              WA    98006
TEEM TECHNOLOGIES, INC                     224 S. 200 W. SUITE 100                                          SALT LAKE CITY        UT    84101
TEGUAR CORPORATION                         4235 SOUTH STREAM BLVD SUITE L‐130                               CHARLOTTE             NC    28217
TEHRANI, SOHARE                            ADDRESS ON FILE
TEIJIN CARBON AMERICA, INC                 121 CARDIFF VALLEY ROAD                                          ROCKWOOD              TN    37854‐4134
TEKNA ADVANCED MATERIALS                   2895 BOUL, INDUSTRIEL                                            SHERBROOKE                  J1L 2T9       CANADA
TEKTRONIX, INC                             14150 SW KARL BRAUN DRIVE, PO BOX 500                            BEAVERTON             OR    97077
TELECOMMUNICATION SYSTEMS, INC.            275 WEST STREET                                                  ANNAPOLIS             MD    21401
TELEDYNE WIRELESS, LLC                     1274 TERRA BELLA AVENUE                                          MOUNTAIN VIEW         CA    94043
TELEFLEX LLC                               3015 CARRINGTON MILL BLVD                                        MORRISVILLE           NC    27560
TELEGUAM HOLDINGS, LLC DBA: GTA            624 NORTH MARINE CORPS DRIVE                                     TAMUNING              GU    96913
TELFORD, KEN                               ADDRESS ON FILE
TELL STEEL, INC.                           2345 W 17TH STREET                                               LONG BEACH            CA    90813
TELLES, MADISON YVONNE                     ADDRESS ON FILE
TELLO, CESAR JAVIER                        ADDRESS ON FILE
TEMASEK INTERNATIONAL (USA) LLC            28 LIBERTY ST.                                                   NEW YORK              NY    10005
TEMPCO ELECTRIC HEATER CORPORATION         607 N CENTRAL AVENUE                                             WOOD DALE             IL    60191‐1452
TEMPO AUTOMATION INC.                      2460 ALAMEDA STREET                                              SAN FRANCISCO         CA    94103
TEMPRESCO, INC.                            6928 SIERRA COURT                                                DUBLIN                CA    94568




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TEMPRESCO, INC.                              P.O. BOX 2342                                                          DUBLIN               CA     94568
TEN TECH LLC                                 5777 W. CENTURY BLVD., SUITE 830                                       LOS ANGELES          CA     90045‐5664
TENARI, TENARI                               ADDRESS ON FILE
TENNANT                                      PO BOX 71414                                                           CHICAGO              IL    60694
TENNESSEE DEPARTMENT OF LABOR AND
WORKFORCE DEVELOPMENT                        FRENCH LANDING DRIVE, 3‐B                                              NASHVILLE            TN    37243‐1002
TENNESSEE DEPARTMENT OF REVENUE              500 DEADERICK STREET                                                   NASHVILLE            TN    37242
TENTCRAFT, INC.                              2662 CASS RD                                                           TRAVERSE CITY        MI    49684
TERMINAL VELOCITY AEROSPACE, LLC             1040 CROWN POINTE PARKWAY, STE 950                                     ATLANTA              GA    30338‐4741
TERRA UNIVERSAL, INC.                        800 S. RAYMOND AVENUE                                                  FULLERTON            CA    92831‐5234
TERRA‐PETRA                                  700 S FLOWER CT #2580                                                  LOS ANGELES          CA    90017
TESCOM                                       12616 INDUSTRIAL BLVD                                                  ELK RIVER            MN    55330
TESLA, INC.                                  3500 DEER PARK ROAD                                                    PALO ALTO            CA    94304
TEST EQUIPMENT DISTRIBUTORS LLC              1370 PIEDMONT                                                          TROY                 MI    48083
TEST EQUIPMENT DISTRIBUTORS LLC              PO BOX 675183                                                          DETROIT              MI    48267‐5183
TESTEQUITY LLC                               6100 CONDOR DRIVE                                                      MOORPARK             CA    93021
TESTERMAN, CHRISTOPHER M                     ADDRESS ON FILE
TESTRESOURCES INC.                           701 CANTERBURY RD S                                                    SHAKOPEE             MN    55379
TETHER, ANTHONY J                            ADDRESS ON FILE
TETHERS UNLIMITED, INC.                      11711 N CREEK PKWY S, STE D‐113                                        BOTHELL              WA    98011
TETRA RESEARCH CORPORATION                   420 PARK AVENUE W                                                      PRINCETON            IL    61356
TEXAS ALMET, LP                              2800 E. RANDOLL MILL RD                                                ARLINGTON            TX    76011
TEXAS FLANGE & FITTING SUPPLY, INC.          4004 W. JASMINE                                                        PEARLAND             TX    77581
TEXAS INSTRUMENTS                            P.O. BOX 660199                                                        DALLAS               TX    75266‐0199
TEXAS INSTRUMENTS INC                        12500 TI BOULEVARD                                                     DALLAS               TX    75243
TEXAS PIPE AND SUPPLY COMPANY LTD (DBA
ENERGY METALS, LLC)                          2328 BELLFORT                                                          HOUSTON              TX    77051
TEXAS TECHNOLOGIES, INC.                     3600 WEST SHITESTONE BLVD.                                             CEDAR PARK           TX    78613
TEXTUM OPCO, LLC                             3 CALDWELL DRIVE                                                       BELMONT              NC    28012
TFAB DEFENSE SYSTEMS, LLC (TYONEK
MANUFACTURING GROUP)                         229 PALMER ROAD                                                        MADISON              AL    35758
TFORCE FREIGHT, INC                          1000 SEMMES AVE                                                        RICHMOND             VA    23218‐1216
THE AEROSPACE CORPORATION                    2310 EAST EL SEGUNDO BLVD                                              LOS ANGELES          CA    90245
THE AEROSPACE CORPORATION                    ATTN: STEVEN J. ISAKOWITZ, 2310 E EL SEGUNDO BOULEVARD                 EL SEGUNDO           CA    90245
THE ASSOCIATED PRESS                         200 LIBERTY STREET                                                     NEW YORK             NY    10281
THE BIG GREEN BOX                            265 QUARRY ROAD SE                                                     LANCASTER            OH    43130
THE BOATHOUSE ON THE BAY                     190 N. MARINA DRIVE                                                    LONG BEACH           CA    90803
THE BOEING COMPANY                           ADDRESS ON FILE
THE BOEING COMPANY                           100 N. RIVERSIDE, MC 5003‐4549                                         CHICAGO              CA    60606‐1596
THE BOEING COMPANY                           1301 SOUTHWEST 16TH STREET                                             RENTON               WA    98055
THE BOEING COMPANY                           ATTN: B. MARC ALLEN, 100 N. RIVERSIDE PLAZA                            CHICAGO              IL    60606
THE BOEING COMPANY                           PO BOX 3707                                                            SEATTLE              WA    98124‐2207
THE BROADMOOR HOTEL                          PO BOX 880402, DEPT 880402                                             PHOENIX              AZ    85038‐9650
THE CHESLEY GROUP, LLC                       1225 S CHURCH STREET                                                   GEORGETOWN           TX    78626
THE CHESLEY GROUP, LLC                       1226 S CHURCH ST.                                                      GEORGETOWN           TX    78626
THE COCA‐COLA COMPANY                        P.O. BOX 102703                                                        ATLANTA              GA    30368
THE COMPOSITES STORE                         P.O. BOX 622                                                           TEHACHAPI            CA    93581‐0622

THE COMPUTING TECHNOLOGY (DBA COMPTIA)       3500 LACY ROAD, SUITE 100                                              DOWNERS GROVE        IL    60515
THE CORNWALL COUNCIL                         NEW COUNTY HALL, TREYEW ROAD                                           TRURO, CORNWALL            TR1 3AY       UNITED KINGDOM
THE ELY CO. INC.                             3046 KASHIWA STREET                                                    TORRANCE             CA    90505
THE EMC SHOP LLC                             7401 GALILEE RD #160                                                   ROSEVILLE            CA    95678
THE ESAB GROUP INC. DBA ESAB WELDING &
CUTTING PRODUCTS                             2800 AIRPORT ROAD                                                      DENTON               TX    76207
THE ESAB GROUP INC. DBA ESAB WELDING &
CUTTING PRODUCTS                             9457 DE SOTO AVE                                                       CHATSWORTH           CA    95051
THE ESAB GROUP, INC.                         2301 AIRPORT ROAD                                                      DENTON               TX    76207
THE EXECUTIVE ADVISORY, LLC                  16830 VENTURA BLVD., SUITE 343                                         ENCINO               CA    91436
THE FITTING SOURCE, INC                      19631 PRAIRIE STREET                                                   NORTHRIDGE           CA    91324
THE FLAME BROILER THE RICE BOWL KING         3349 BROU LN                                                           RIVERSIDE            CA    92503
THE FLASHDANCE, INC.                         249 S. MISSION ROAD                                                    LOS ANGELES          CA    90033
THE FLIGHT SHOP, INC.                        1780 N 2000 W STE 21                                                   BRIGHAM CITY         UT    84302
THE GAS COMPANY                              1801 S. ATLANTIC BLVD.                                                 MONTEREY PARK        CA    91754
THE GAS COMPANY                              PO BOX C                                                               MONTEREY PARK        CA    91756‐5111
THE GILL CORPORATION                         4056 EASY STREET                                                       EL MONTE             CA    91731
THE GILL CORPORATION ‐ MARYLAND              1502 QUARRY DRIVE                                                      EDGEWOOD             MD    21040
THE GRAND                                    4101 E WILLOW ST                                                       LONG BEACH           CA    90815
THE GUARDIAN LIFE INSURANCE COMPANY OF
AMERICA                                      10 HUDSON YARDS                                                        NEW YORK             NY    10001
THE GUTHRIE GROUP                            3857 BIRCH ST., SUITE 464                                              NEWPORT BEACH        CA    92660
THE GUTHRIE GROUP                            4019 WESTERLY PL # 203                                                 NEWPORT BEACH        CA    92660
THE HARTFORD                                 ONE HARTFORD PLAZA                                                     HARTFORD             CT    06155
THE HASKELL COMPANY                          101 W. BROADWAY, STE. 1240                                             SAN DIEGO            CA    92101
THE HASKELL COMPANY                          111 RIVERSIDE AVENUE                                                   JACKSONVILLE         FL    32202
THE HIRE AGENCY INC                          13955 TAHITI WAY #256                                                  MARINA DEL REY       CA    90292
THE INN AT LAGUNA BEACH, LLC DBA THE INN
AT LAGUNA BEACH                              211 N. COAST HIGHWAY                                                   LAGUNA BEACH         CA    92621
THE INSTITUTE FOR Q‐SHU PIONEERS OF SPACE,                                                                          CHUO‐KU 810‐0001
INC (IQPS)                                   5F 1‐15‐35 TENJIN                                                      FUKUOKA                    810‐0001      JAPAN
THE INSTITUTION OF ENGINEERING AND
TECHNOLOGY                                   SAVOY PLACE, 2 SAVOY PLACE                                             LONDON                     WC2R 0BL      UNITED KINGDOM
THE LAB MATERIALS TESTING, INC.              11150 WHITE BIRCH DRIVE                                                RANCHO CUCAMONGA     CA    91730
THE LAUNCH COMPANY, LLC                      601 W 5TH AVE FLOOR 2                                                  ANCHORAGE            AK    99501
THE LAUNCH COMPANY, LLC                      721 DEPOT DRIVE, SUITE 100                                             ANCHORAGE            AK    99501
THE LEE COMPANY                              2 PETTIPAUG ROAD                                                       WESTBROOK            CT    06488
THE LOGICAL CHOICE                           UNITS 1 ‐ 3 CHI AN LORELL SECTOR 2,                                    ST MAWGAN                  TR8 4RZ       UNITED KINGDOM
THE M&P LAB, INC. (DBA LUCIDEON M+P)         2190 TECHNOLOGY DRIVE                                                  SCHENECTADY          NY    12308
THE MATHWORKS, INC.                          3 APPLE HILL DRIVE                                                     NATICK               MA    01760‐2098
THE MELINA E HIGGINS 2008 FAMILY TRUST
1/17/2008                                    ADDRESS ON FILE
THE MODAL SHOP, INC.                         10310 AEROHUB BLVD                                                     CINCINNATI           OH    45215




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THE MODAL SHOP, INC.                        3149 E. KEMPER ROAD                                                 CINCINNATI               OH     45241
THE MUSIC BED, LLC                          9555 HARMON RD                                                      FORT WORTH               TX     76177
THE NASDAQ STOCK MARKET LLC                 151 W. 42ND STREET                                                  NEW YORK                 NY     10036

THE NATIONAL SOCIETY OF BLACK ENGINEERS     205 DAINGERFIELD RD                                                 ALEXANDRIA               VA    22314

THE NATIONAL SPACE CLUB & FOUNDATION        515 2ND STREET, NE                                                  WASHINGTON               DC    20002
THE OAKS ENTERTAINMENT, LLC                 15455 SHERMAN WAY, #7                                               VAN NUYS                 CA    91406
THE ORCHARD APTS                            420 N. MILL ST, TEHACHAPI                                           TEHACHAPI                CA    93561
THE PAINTED TURTLE                          1300 4ST ST, STE 300                                                SANTA MONICA             CA    90401
THE PRINT SOURCE, INC.                      404 S TRACY                                                         WICHITA                  KS    67277
THE REGENTS OF THE UNIVERSITY OF
CALIFORNIA                                  1111 FRANKLIN ST                                                    OAKLAND                  CA    94607
THE RITZ‐CARLTON HOTEL COMPANY LLC DBA
THE RITZ‐CARLTON, MARINA DEL REY            4375 ADMIRALTY WAY                                                  MARINA DEL REY           CA    90292
THE SAGE GROUP PLC                          271 17TH STREET NORTHWEST                                           ATLANTA                  GA    30363

THE SECRETARY OF STATE FOR DEFENCE OF THE
GOVERNMENT OF THE UNITED KINGDOM OF
GREAT BRITAIN AND NORTHERN IRELAND
ACTING THROUGH THE ROYAL AIR FORCE         HIGH WYCOMBE                                                         BUCKINGHAMPLACE                HP14 4UF      UNITED KINGDOM
THE SNELL GROUP                            322 NORTH MAIN ST. SUITE 8                                           BARRE                    VT    05641
THE SPACESHIP COMPANY, LLC                 1223‐A SABOVICH STREET BLDG 79                                       MOJAVE                   CA    93501
THE TELEVISION CONSULTANCY LIMITED         14‐15 MANDELA STREET                                                 CAMDEN                         NW1 0DU       UNITED KINGDOM
THE TELEVISION CONSULTANCY LIMITED (TVC OR
TVC GROUP)                                 THE ADELPHI, 1 ‐ 11 JOHN ADAM STREET                                 LONDON                         WC2N 6HT      UNITED KINGDOM
THE THAI RESTAURANT                        44759 SIERRA HWY                                                     LANCASTER                CA    93534
THE TORNANTE COMPANY LLC                   2140 S DUPONT HWY                                                    CAMDEN                   DE    19934
THE ULTIMATE SOFTWARE GROUP, INC.          1485 NORTH PARK DRIVE                                                WESTON                   FL    33326
THE ULTIMATE SOFTWARE GROUP, INC.          2000 ULTIMATE WAY                                                    WESTON                   FL    33326
THE UNIVERSITY OF TENNESSEE SPACE
INSTITUTE                                  201 ANDY HOLT TOWER                                                  KNOXVILLE                TN    37996
THE UNIVERSITY OF TEXAS AT AUSTIN          110 INNER CAMPUS DRIVE, STOP K5300                                   AUSTIN                   TX    78712
THE UNIVERSITY OF TEXAS AT AUSTIN          2617 WICHITA STREET                                                  AUSTIN                   TX    78712
THE UNIVERSITY OF TEXAS AT AUSTIN          3925 WEST BRAKER LANE,, SUITE 3.340                                  AUSTIN                   TX    78759
THE VILLAGE MARKETING GROUP                133C SOUTH GAY ST                                                    KNOXVILLE                TN    37902
THE WEATHER REPORTER, LLC                  101 S COURTENAY PKWY, SUITE 206                                      MERRITT ISLAND           FL    32952
THE WEATHER REPORTER, LLC                  1715 REEF CT.                                                        MERRITT ISLAND           FL    32952‐5923
THE YARD STORE                             715 E 10TH ST N                                                      WICHITA                  KS    67214
THEBEAULT, JOSEPH HENRY                    ADDRESS ON FILE
THERMAL CARE, INC.                         5680 W. JARVIS AVE                                                   NILES                    IL    60714
THERMAL PRODUCTS COMPANY                   4520 S. BERKELEY LAKE ROAD                                           BERKELEY LAKE            GA    30071
THERMAL TECHNOLOGY, LLC                    1911 AIRPORT BLVD                                                    SANTA ROSA               CA    95403
THERMAL WAVE IMAGING, INC.                 845 LIVERNOIS STREET                                                 FERNADALE                MI    48220‐2308
THERMAL WIRE AND CABLE, LLC                5410 JAEGER RD                                                       NAPLES                   FL    34109
THERMAL‐VAC TECHNOLOGY, INC (DBA CITY
STEEL HEAT TREATING)                       1221 W. STRUCK AVENUE                                                ORANGE                   CA    92867
THERMAXX, LLC                              14 FARWELL STREET, BUILDING 2B                                       WEST HAVEN               CT    06516
THERMCRAFT, INC.                           3950 OVERDALE ROAD                                                   WINSTON SALEM            NC    27107
THERMO ELECTRON NORTH AMERICA LLC          1400 NORTHPOINT PARKWAY, SUITE 10                                    WEST PALM BEACH          FL    33407

THERMO FISHER SCIENTIFIC (ASHEVILLE) LLC    28 SCHENCK PKWY, BLDG 2B STE 400                                    ASHEVILLE                NC    28803
THERMO FISHER SCIENTIFIC, INC.              81 WYMAN STREET                                                     WALTHAM                  MA    02451
THERMOFUSION, INC                           2342 AMERICAN AVENUE                                                HAYWARD                  CA    94545
THERMOMETRICS COMPANY                       18714 PARTHENIA ST                                                  NORTHRIDGE               CA    91324
THERMOMETRICS CORPORATION                   18714 PARTHENIA STREET                                              NORTHRIDGE               CA    91324‐3813
THERMOTRON INDUSTRIES                       PO BOX 689590                                                       CHICAGO                  IL    60695‐9590
THERMTEST INC.                              34 MELISSA STREET, UNIT 1                                           FREDERICTON              NB    E3A6W1        CANADA
THIEL, ANDREW                               ADDRESS ON FILE
THIEL, ANDREW                               ADDRESS ON FILE
THIRUMADHAVAN RAVEENDRAN                    1611 XIMENO AVENUE, APT#142                                         LONG BEACH               CA    90804
THK AMERICA, INC.                           34 EXECUTIVE PARK, SUITE 215                                        IRVINE                   CA    92614

THOMAS I. GREER (DBA GREER MACHINERY CO.)   18831 GOTHARD ST                                                    HUNTINGTON BEACH         CA    92648
THOMAS, MICHAELYN                           ADDRESS ON FILE
THOMAS, MICHAELYN LESLIE                    ADDRESS ON FILE
THOMPSON GUNDRILLING INC.                   13840 SATICOY STREET                                                VAN NUYS                 CA    91402‐6520
THOMPSON, RYAN SCOTT                        ADDRESS ON FILE
THOMSON REUTERS ‐ WEST                      P.O. BOX 6292                                                       CAROL STREAM             IL    60197‐6292
THOMSON REUTERS CORPORATION                 334 BAY ST #400                                                     TORONTO                  QC    M5H 2T5       CANADA
THOMSON, CHRISTOPHER                        ADDRESS ON FILE
THOMSON, CHRISTOPHER R                      ADDRESS ON FILE
THOR PERFORMANCE PRODUCTS, INC.             2640 US ROUTE 9W                                                    CORNWALL                 NY    12518
THORIUM SPACE TECHNOLOGIES                  7‐59 BIERUTOWSKA STREET                                             WROCLAW                        51‐317        POLAND
THREE BODY SOLUTIONS LLC                    10311 BRITTENFORD DR                                                VIENNA                   VA    22182
THREE DEE BEE PTY LIMITED                   "SUBJECT TO CONTINUED DILIGENCE*"
THUNDERBIRD INTERNATIONAL CORP              PO BOX 360, 9 POLARIS WAY                                           EMIGRANT, PARK           MT    59027
THUNDERBIRD INTERNATIONAL CORP (DBA
SPECTEC)                                    9 POLARIS WAY                                                       EMIGRANT                 MT    59027
THYSSENKRUPP ONLINE METALS, LLC             1848 WESTLAKE AVE STE A                                             SEATTLE                  WA    98109

TIDYCO LTD                                  UNIT 2 PENTAGON ISLAND                                              NOTTINGHAM ROAD, DERBY         DE21 6BW      UNITED KINGDOM
TIFFANY AND COMPANY                         200 5TH AVENUE                                                      NEW YORK                 NY    10010
TIMES MICROWAVE SYSTEMS, INC.               358 HALL AVE.                                                       WALLINGFORD              CT    06492
TIMES MICROWAVE SYSTEMS, INC.               P.O. BOX 772601                                                     DETROIT                  MI    48277‐2601
TIMKEN AURORA BEARING COMPANY               901 AUCUTT RD                                                       MONTGOMERY               IL    60538
TIMOTION USA, INC.                          1535 CENTER PARK DRIVE                                              CHARLOTTE                NC    28217
TISCHNER, CHRISTOPHER ERIC                  ADDRESS ON FILE
TIVE INC.                                   56 ROLAND STREET, SUITE #100A                                       BOSTON                   MA    02129
TJ AEROSPACE, INC.                          12601 MONARCH                                                       GARDEN GROVE             CA    92841
TLD AMERICA CORPORATION                     812 BLOOMFIELD AVE                                                  WINDSOR                  CT    06095




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TLG AEROSPACE, LLC                      1700 WESTLAKE AVE. NORTH, STE 430                                     SEATTLE             WA       98109
T‐LON PRODUCTS INC.                     1110 RICHARDS RD                                                      HARTLAND            WI       53029
T‐MOBILE USA, INC.                      12920 SE 38TH ST.                                                     BELLEVUE            WA       98006
TMX ENGINEERING                         2141 S. STANDARD AVE                                                  SANTA ANA           CA       92707
TOACHE, ANDREW                          ADDRESS ON FILE
TOACHE, ANDREW                          ADDRESS ON FILE
TODD ERICSON                            ADDRESS ON FILE
TODD PIPE & SUPPLY, LLC                 1005 NORTH EDWARD COURT                                               ANAHEIM             CA       92806
                                        TOKIO MARINA SPECIALTY INSURANCE COMPANY, ONE BALA PLAZA, STE
TOKIO MARINE AMERICA COMPANY            100                                                                   BALA CYNWYD         PA       19004

TOKIO MARINE AMERICA COMPANY            TOKIO MARINE SPECIALTY INC CO, 401 EDGEWATER PLACE, STE 400           WAKEFILED           MA       01880
                                        WILLIS TOWERS WATSON INSURANCE SERVICES WEST, INC., 801 S
TOKIO MARINE AMERICA COMPANY            FIGUEROA ST, STE 800                                                  LOS ANGELES         CA       90017
TOLENTINO, NORMAN                       ADDRESS ON FILE
TOLENTINO, RONALD                       ADDRESS ON FILE
TOLOSA, ALLYN MIRANDA                   ADDRESS ON FILE
TOM DONAHUE PLUMBING                    6726 EAST PARAPET STREET                                              LONG BEACH          CA       90808
TOMASZEWSKI, STEPHEN                    ADDRESS ON FILE
TOMI ENGINEERING, INC.                  414 E. ALTON AVE                                                      SANTA ANA           CA       92707
TOMORROW.IO                             9 CHANNEL CENTER ST,, 7TH FLOOR                                       BOSTON              MA       02210
TONNAGE INDUSTRIAL                      2130 W COWLES ST                                                      LONG BEACH          CA       90813
TOOLS FOR BENDING                       194 WEST DAKOTA AVE                                                   DENVER              CO       80223
TOOSI, SIAVASH                          ADDRESS ON FILE
TOPPAN MERRILL LLC                      1501 ENERGY PARK DRIVE                                                ST. PAUL            MN       55108
TORAY ADVANCED COMPOSITES               18410 BUTTERFIELD BLVD.                                               MORGAN HILL         CA       95037
TORAY ADVANCED COMPOSITES               2450 CORDELIA ROAD                                                    FAIRFIELD           CA       94534
TORAY ADVANCED COMPOSITES               ATTN: HIDEO MORI, 18255 SUTTER BOULEVARD                              MORGAN HILL         CA       95037
TORAY ADVANCED COMPOSITES USA, INC.     18255 SUTTER BLVD.                                                    MORGAN HILL         CA       95037
TORAY COMPOSITES(AMERICA), INC.         19002 50TH AVE. E                                                     TACOMA              WA       98446
TORMACH, INC.                           1071 UNIEK DRIVE                                                      WAUNAKEE            WI       53597
TORR TECHNOLOGIES, INC                  1435 22ND ST., NW                                                     AUBURN              WA       98001
TORRES, DAVID C. T.                     ADDRESS ON FILE
TORRES, GIOVANNI                        ADDRESS ON FILE
TORRES, JAMES                           ADDRESS ON FILE
TORRES, MARIO                           ADDRESS ON FILE
TORRES, ROBERT                          ADDRESS ON FILE

TOTAL ENVIRONMENTAL MANAGEMENT, INC.    1415 N BURTON PLACE                                                   ANAHEIM             CA       92806
TOTAL PRODUCTION GROUP                  10754 ARTESIA BLVD                                                    CERRITOS            CA       90703
TOTAL QUALITY LOGISTICS, LLC            4289 IVY POINTE BLVD.                                                 CINCINNATI          OH       45245
TOTAL REWARDS SOFTWARE, INC.            201 CREEKSIDE RIDGE CT., SUITE 190                                    ROSEVILLE           CA       95678
TOTAL TRANSPORTATION LOGISTICS          4325 ETIWANDA AVE.                                                    MIRA LOMA           CA       91752
TOTALSHIELD, INC.                       1221 47TH AVE                                                         SWEET HOME          OR       97386
TOTALSHIELD, INC.                       380 EVERGREEN DRIVE PO BOX 201                                        NORTH BONNEVILLE    WA       98639
TOTUM LABS, INC.                        3990 OLD TOWN AVE, SUITE A204                                         SAN DIEGO           CA       92110
TOUCHSTONE RESEARCH LABORATORY          1142 MIDDLE CREEK ROAD                                                TRIADELPHIA         WV       26059
TOUCHSTONE TESTING LABORATORY LLC       147, 11TH AVENUE                                                      SOUTH CHARLESTON    WV       25303
TOWER MFG. CO., INC.                    22426 AVALON BLVD                                                     CARSON              CA       90745
TOWNE PLACE SUITES BY MARRIOTT ‐
TEHACHAPI                               1052 MAGELLAN DR.                                                     TEHACHAPI           CA       93561
TOWNE, TRAVIS NATHANIEL                 ADDRESS ON FILE
TOWNEPLACE SUITES BY MARRIOTT           1052 MAGELLAN DRIVE                                                   TEHACHAPI           CA       93561
TOWNEPLACE SUITES MARRIOT               2024 WEST AVE J‐8                                                     LANCASTER           CA       93536
TOYON RESEARCH CORPORATION              6800 CORTONA DRIVE                                                    GOLETA              CA       93117
TPS STEEL & AIRCRAFT                    14399 AUBURN CT                                                       CHINO HILLS         CA       91709
TPS, LLC                                2821 OLD ROUTE 15                                                     NEW COLUMBIA        PA       17856
TRABUCO CANYON ADVISORS LLC             23242 VIA DORADO                                                      TRABUCO CANYON      CA       92679
TRACE3, LLC                             7565 IRVINE CENTER DRIVE #200                                         IRVINE              CA       92618
TRADEMARK HOIST & CRANE                 1369 RIDGEWAY STREET                                                  POMONA              CA       91769
TRAFFIC TECH INC.                       910 HALE PLACE, #910                                                  CHULA VISTA         CA       91914
TRAINING FUNDING SOURCE                 1211 ELECTRIC AVE                                                     SEAL BEACH          CA       90740
TRAK MACHINE TOOLS                      2615 HOMESTEAD PLACE                                                  RANCHO DOMINGUEZ    CA       90220
TRALIANT, LLC                           40 EAGLE NEST ROAD                                                    MORRISTOWN          NJ       07960
TRAN, BAO                               ADDRESS ON FILE
TRAN, JACKY                             ADDRESS ON FILE
TRAN, JOHN KHIEM                        ADDRESS ON FILE
TRAN, JOSHUA                            ADDRESS ON FILE
TRAN, QUAN DINH                         ADDRESS ON FILE
TRANS FX INC.                           2361 EASTMAN AVE                                                      OXNARD              CA       90808
TRANSCAT, INC                           35 VANTAGE POINT DRIVE                                                ROCHESTER           NY       14624
TRANSGROUP WORLDWIDE LOGISTICS          18850 8TH AVE S., #100                                                SEATTLE             WA       98148
TRANSPAK                                520 NORTH MARBURY WAY                                                 SAN JOSE            CA       95133
TRANSPAK, INC.                          2601 S. GARNSEY STREET                                                SANTA ANA           CA       92707
TRANSPEC FASTENERS, INC                 2700 HANDLEY EDERVILLE RD                                             FORT WORTH          TX       76118
TRAPP, THOMAS                           ADDRESS ON FILE
TRAVERSE, LLC                           25 ORION WAY                                                          TRABUCO CANYON      CA       92679
TRAVIS PERKINS PLC                      UNIT 12A, TRELOGGAN INDUSTRIAL ESTATE                                 NEWQUAY                      TR7 2SX       UNITED KINGDOM
TREASURE DRYWALL                        3405 CERRITOS AVENUE                                                  LOS ALAMITOS        CA       90720
TRELLEBORG SEALING SOLUTIONS US, INC.   2531 BREMER DRIVE                                                     FORT WAYNE          IN       46801
TRENCH PLATE RENTAL                     13217 LAURELDALE AVE                                                  DOWNEY              CA       90242
TREPANNING SPECIALTIES, INC             16201 ILLINOIS AVE                                                    PARAMOUNT           CA       90723
TREVOR FRITZ                            2970 EDGEWICK DR                                                      GLENDALE            CA       91206
TRI MODELS, INC                         5191 OCEANUS DRIVE                                                    HUNTINGTON BEACH    CA       92649
TRI STAR INDUSTRIAL LLC                 1645 WEST BUCKEYE ROAD                                                PHOENIX             AZ       85007‐3518
TRI TOOL INC                            3041 SUNRISE BLVD                                                     RANCHO CORDOVA      CA       95742
TRIAD PROCESS EQUIPMENT, INC            4922 TECHNICAL DRIVE                                                  MILFORD             MI       48381
TRIDENT CALIBRATION LABS                1725 E ROBIN LANE                                                     PHOENIX             AZ       85024
TRIDENT CALIBRATION LABS                9005 ETON AVE STE B                                                   CANOGA PARK         CA       91304
TRIMACK PLASTICS, INC.                  66 TUPELO STREET                                                      BRISTOL             RI       02809
TRIMBLE INC                             4450 GIBSON DRIVE                                                     TIPP CITY           OH       45371




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TRIMBLE INC.                              935 STEWART DRIVE                                                 SUNNYVALE          CA       94085
TRIM‐LOK, INC.                            6855 HERMOSA CIRCLE                                               BUENA PARK         CA       90622
TRINITY CONSULTANTS, INC.                 20 CORPORATE PARK SUITE 200                                       IRVINE             CA       92606
TRINITY MACHINERY SERVICE                 6336 ANABEL ST                                                    RIVERSIDE          CA       92509
TRIPLE CROWN CONSULTING, LLC              10814 JOLLYVILLE RD, SUITE 100                                    AUSTIN             TX       78759
TRISEPT CORPORATION                       15036 CONFERENCE CTR. DRIVE SUITE 500                             CHANTILLY          VA       20151
TRI‐STATE MOTOR TRANSIT                   DEPT 8509                                                         LOS ANGELES        CA       90084‐8509
TRIUMF                                    4004 WESBROOK MALL                                                VNACOUVER          BC       V6T 2A3     CANADA
TRIUMPH ACTUATION SYSTEMS ‐ YAKIMA        2720 WEST WASHINGTON AVE                                          YAKIMA             WA       98903
TRIUMPH ACTUATION SYSTEMS, LLC            2626 GLENWOOD AVE, STE 550                                        RALEIGH            NC       27608
TRIVEDI, AMIT JAGDISH                     ADDRESS ON FILE
TRL SYSTEMS, INC.                         9531 MILLIKEN AVE.                                                RANCHO CUCAMONGA   CA       91730
TRNDSTTRS MEDIA LLC                       2711 W 131ST                                                      LEAWOOD            KS       66209
TROIANI, ALEXANDER                        ADDRESS ON FILE
TROOP COLLECTIVE                          2301 E 7TH ST. #E‐103                                             LOS ANGELES        CA       90023
TROY GAYNIER                              ADDRESS ON FILE
TRUE ANOMALY, INC.                        524 S TEJON ST., STE 6                                            COLORADO SPRINGS   CO       80903
TRUE POSITION TECHNOLOGIES                24900 AVENUE STANFORD                                             VALENCIA           CA       91355
TRUE TUBE INC.                            1160 RAMADA DRIVE                                                 PASO ROBLES        CA       93446
TRUPART MANUFACTURING, INC.               4450‐A DUPONT COURT                                               VENTURA            CA       93035
TSJ COMMUNICATIONS                        7490 JURUPA AVENUE                                                RIVERSIDE          CA       92504
TSO VENTURES (SW) LTD.                    3 COINAGE OPE                                                     HELSTON                     TR13 9HL     UNITED KINGDOM

TSO VENTURES LTD DBA TSO LIVESTREAMING    REGENT HOUSE FORE STREET, PORTHLEVEN                              CORNWALL           CA       TR13 9HL     UNITED KINGDOM
TSTI                                      14 VIA PIEDRAS                                                    MANITOU SPRINGS    CO       80829
TTI OIL, INC.                             6438 LONG DRIVE                                                   HOUSTON            TX       77087
TTI, INC                                  2441 NORTHEAST PARKWAY                                            FORT WORTH         TX       76106
TTM TECHNOLOGIES, INC.                    2630 S. HARBOR BLVD                                               SANTA ANA          CA       92704
TTTECH NORTH AMERICA                      300 BRICKSTONE SQUARE                                             ANDOVER            MA       01810
TUBE BENDING TECHNOLOGY, LLC              13356 MANHASSET RD                                                APPLE VALLEY       CA       92308
TUBE SERVICE CO.                          9351 S. NORWALK BLVD.                                             SANTA FE SPRINGS   CA       90670
TUBE SERVICE CO.                          P.O. BOX 748542                                                   LOS ANGELES        CA       90074‐8542
TUBE‐LINE TECHNOLOGIES                    340 VIA EL CENTRO.                                                OCEANSIDE          CA       92058
TUCK, ROCKY ROBERT                        ADDRESS ON FILE
TUCKER, ROMALLIS D                        ADDRESS ON FILE
TUONG BILL LY                             ADDRESS ON FILE
TURBINEAERO ENGINES TECHNICS, INC         2001 W. CAMPUS DRIVE                                              TEMPE              AZ       85282
TURBINEAERO INC.                          50 S 56TH STREET                                                  CHANDLER           AZ       85226
TURBINES, INCORPORATED                    15935 US HWY 283 N                                                ALTUS              OK       73521
TURBOCAM INC.                             607 CALEF HIGHWAY SUITE 200                                       BARRINGTON         NH       03825
TURION SPACE CORP                         14410 LILY LN #3, APT 3                                           GARDENA            CA       90247
TURMAN, JEFFERY THOMAS                    ADDRESS ON FILE
TURNER, CASEY                             ADDRESS ON FILE
TUTCO, INC.                               129 PORTMOUTH AVE                                                 EXETER             NH       03833
TUTERA, DOMENICK                          ADDRESS ON FILE
TW METALS                                 2211 TUBEWAY AVE.                                                 COMMERCE           CA       90040
TW METALS                                 235 TUBEWAY                                                       CAROL STREAM       IL       60188
TWELVE BENEFIT CORPORATION                BANCROFT WAY                                                      BERKELEY           CA       94720
TWO BIT CIRCUS DTLA, LLC                  634 MATEO STREET                                                  LOS ANGELES        CA       90021
TWO FURNISH                               2500 DE LA CRUZ BLVD                                              SANTA CLARA        CA       95050
TYVAK INTERNATIONAL                       VIA ORVIETO 19                                                    TORINO                      10149        ITALY
TYVAK NANO‐SATELLITE SYSTEMS INC.         15330 BARRANCA PARKWAY                                            IRVINE             CA       92618
U.S. AIR TOOL, CO. USE #6421              1219 W. MAHALO PLACE                                              RANCHO DOMINGUEZ   CA       90220‐5446
U.S. BELLOWS                              3701 HOLMES ROAD                                                  HOUSTON            TX       77051
U.S. CHEMICAL STORAGE, LLC                1806 RIVER STREET                                                 WILKESBORO         NC       28697
U.S. HOSE CORPORATION                     815 FORESTWOOD DRIVE                                              ROMEOVILLE         IL       60446
U.S. METALS, INC.                         PO BOX 90520                                                      HOUSTON            TX       77290‐0520
U.S. PLASTIC CORP                         1390 NEUBRECHT ROAD                                               LIMA               OH       45801
U.S. TOOL GRINDING, INC. (DBA US TOOL
GROUP)                                    2000 PROGRESS DRIVE                                               FARMINGTON         MO       63640
U.S. TOOL GRINDING, INC. (DBA US TOOL
GROUP)                                    ATTN: BRUCE WILLIAMS, 2000 PROGRESS DRIVE                         FARMINGTON         MO       63640
UATHAVIKUL, VINCENT                       ADDRESS ON FILE
UBS SECURITIES LLC                        1285 AVENUE OF THE AMERICAS                                       NEW YORK           NY       10019
UCEDA, JUAN                               ADDRESS ON FILE
UDUPA, SHREYA                             ADDRESS ON FILE

UEG, INC. DBA UNITEK ENVIRONMENTAL GUAM   P.O. BOX 24607                                                    BARRIGADA          GU       96921
UK CIVIL AVIATION AUTHORITY               AVIATION HOUSE, BEEHIVE RING ROAD                                 CRAWLEY                     RH6 0YR      UNITED KINGDOM
UK HYDROGRAPHIC OFFICE                    ADMIRALTY WAY, TA1 2DN, UK                                        TAUNTON, TAUNTON            TA1 2DN      UNITED KINGDOM
UK SPACE AGENCY                           POLARIS HOUSE, NORTH STAR AVENUE                                  SWINDON                     SN2 1SZ      UNITED KINGDOM
UKG INC.                                  900 CHELMSFORD ST                                                 LOWELL             MA       01851
UKSPACE TRADE ASSOCIATION LTD             60 BARBADOS ROAD, BORDON                                          HAMPSHIRE                   GU35 0FX     UNITED KINGDOM
ULINE                                     12575 ULINE DRIVE                                                 PLEASANT PRAIRIE   WI       53158
ULTIMATE SOFTWARE                         2000 ULTIMATE WAY                                                 WESTON             FL       33326
ULTRA CLEAN TECHNOLOGIES CORP             1274 HWY 77                                                       BRIDGETON          NJ       08302
ULTRA MOTION LLC                          22355 COUNTY ROAD 48, #21                                         CUTCHOGUE          NY       11935
ULTRAMET                                  12173 MONTAGUE STREET                                             PACOIMA            CA       91331
ULTRASONIC POWER CORPORATION              239 E. STEPHENSON ST.,                                            FREEPORT           IL       61032
ULTRATAPE INDUSTRIES, INC.                9770 SW WILSONVILLE RD., SUITE 400                                WILSONVILLE        OR       97070
ULTREX                                    1400 EASTON DRIVE ‐ SUITE #140                                    BAKERSFIELD        CA       93309
UMBRA LAB INC.                            27 E. COTA ST                                                     SANTA BARBARA      CA       93101
UMECO STRUCTRUAL MATERIALS (CA) INC       14520 DELTA LANE #101                                             HUNTINGTON BEACH   CA       92647
UMPCO INC                                 7100 LAMPSON AVE                                                  GARDEN GROVE       CA       92841
UNCF                                      1805 7TH STREET, NW                                               WASHINGTON         DC       20001
UNDERWOOD, AUSTIN                         ADDRESS ON FILE
UNDERWOOD, HEIDI RUEFF                    ADDRESS ON FILE
                                          ARTHUR J. GALLAGHER (UK) LIMITED, THE WALBROOK BUILDING, 25
UNDERWRITERS AT LLOYD'S LONDON            WALBROOK                                                          LONDON                      EC4N 8AW     UNITED KINGDOM
                                          LLOYD'S AMERICA, INC., ATTN: LEGAL DEPARTMENT, 280 PARK AVENUE,
UNDERWRITERS AT LLOYD'S LONDON            EAST TOWER, 25TH FLOOR                                            NEW YORK           NY       10017




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                                            LLOYD'S AMERICA, INC., C/O FOLEY & LARDNER, 555 CALIFORNIA STREET,
UNDERWRITERS AT LLOYD'S LONDON              SUITE 1700                                                                  SAN FRANCISCO        CA       94194‐1520
UNHOLTZ‐DICKIE CORPORATION                  6 BROOKSIDE DRIVE                                                           WALLINGFORD          CT       06492
UNICORN LOGISTICS LTD                       PARAGON BUSINESS PARK                                                       BOLTON                        BL6 6HG      UNITED KINGDOM
UNIFORCE SALES AND ENGINEERING              39899 BALENTINE DRIVE STE 335, X104                                         NEWARK               CA       94560
UNISAN PRODUCTS, LLC.                       5450 W. 83RD STREET                                                         LOS ANGELES          CA       90045
                                                                                                                                                                   UNITED ARAB
UNITED ARAB EMIRATES UNIVERSITY (NSSTC)     15551, AL AIN,                                                              AL AIN                                     EMIRATES
UNITED CNC MACHINING                        1597 ATLANTIC BLVD.                                                         AUBURN HILLS         MI       48326
UNITED DRILL BUSHING CORPORATION            12200 WOODRUFF AVE                                                          DOWNEY               CA       90241

UNITED GEAR AND MACHINE COMPANY, INC.       1087 EAST STREET SOUTH                                                      SUFFIELD             CT       06078
UNITED LENS COMPANY, INC.                   259 WORCESTER STREET                                                        SOUTHBRIDGE          MA       01550
UNITED MATERIAL HANDLING                    1190 HARLEY KNOX BLVD                                                       PERRIS               CA       92571
UNITED PACIFIC ELECTRONICS, INC.            2075 CORTE DEL NOGAL, SUITE K                                               CARLSBAD             CA       92011
UNITED PACIFIC INDUSTRIES                   3788 E. CONANT ST.                                                          LONG BEACH           CA       90808
UNITED PARCEL SERVICE OF AMERICA, INC.      55 GLENLAKE PARKWAY NE                                                      ATLANTA              GA       30328
UNITED PERFORMANCE METALS, LLC.             2311 HIGHLAND AVE S, SUITE 200                                              BIRMINGHAM           AL       35205
UNITED RENTALS                              1241 WEST INYOKERN ROAD                                                     RIDGECREST           CA       93555
UNITED RENTALS                              3455 SAN GABRIEL RIVER PARKWAY                                              PICO RIVERA          CA       90660
UNITED RENTALS                              43631 SIERRA HWY, BRANCH 561                                                LANCASTER            CA       93534‐5030
UNITED RENTALS                              5860 PARAMOUNT BLVD                                                         LONG BEACH           CA       90805‐3708
UNITED RENTALS                              7725 SOMERSET BLVD, BRANCH 18D                                              PARAMOUNT            CA       90723‐4104
UNITED RENTALS                              9606 EAST FIRESTONE BLVD, BRANCH H45                                        DOWNEY               CA       90241
UNITED RIGGERS & ERECTORS, INC.             4188 VALLEY BLVD                                                            WALNUT               CA       91789
UNITED STATES AIR FORCE                     1690 AIR FORCE PENTAGON                                                     WASHINGTON           DC       20330
UNITED STATES AIR FORCE ACADEMY             2354 FAIRCHILD DRIVE, SUITE 6H101                                           USAF ACADEMY         CO       80840

UNITED STATES FIRE INSURANCE COMPANY        305 MADISON AVENUE                                                          MORRISTOWN           NJ       07960
UNITED STATES GOVERNMENT                    ADVOCACY CENTER, OMB CONTROL NO. 0625‐0143                                  WASHINGTON           DC       20001
UNITED STATES PLASTIC CORPORATION           1390 NEUBRECHT RD.                                                          LIMA                 OH       45801
                                            ATTN: B. CHANCE SALTZMAN, 2020 U.S. SPACE FORCE PENTAGON, STE
UNITED STATES SPACE FORCE                   4E858                                                                       WASHINGTON           DC       20330‐2000
UNITED STATES TREASURY                      DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE                        OGDEN                UT       84201‐0009
UNITED STATES TREASURY                      DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE                       CINCINNATI           OH       45999‐0039
UNITED SURFACE SOLUTIONS LLC                11901 BURKE STREET                                                          SANTA FE SPRINGS     CA       90670
UNITED WESTERN ENTERPRISES                  850 FLYNN ROAD                                                              CAMARILLO            CA       93012
UNITED WESTERN TECHNOLOGIES CORP. DBA
UNIWEST                                     122 S. 4TH AVENUE                                                           PASCO                WA       99301
UNIVAR USA INC.                             3075 HIGHLAND PKWY                                                          DOWNERS GROVE        IL       60515
UNIVAR USA INC.                             PO BOX 740896                                                               LOS ANGELES          CA       90074‐0896
UNIVERSAL MUSIC ENTERPRISE                  62910 COLLECTION CENTER DRIVE                                               CHICAGO              IL       60693‐0629
UNIVERSAL MUSIC GROUP, INC. DBA UNIVERSAL
MUSIC ENTERPRISES                           2220 COLORADO AVENUE                                                        SANTA MONICA         CA       90404
UNIVERSAL NDT, INC.                         1844 W. 11TH STREET, UNIT F                                                 UPLAND               CA       91786
UNIVERSAL SHIELDING CORP.                   20 WEST JEFRYN BLVD.                                                        DEAR PARK            NY       11729

UNIVERSAL TECHNICAL SYSTEMS, INC. (UTS)     4053 N PERRYVILLE RD                                                        LOVES PARK           IL       61111
UNIVERSAL TRUCKLOAD, INC.                   PO BOX 932994                                                               CLEVELAND            OH       44193
UNIVERSITY OF CALIFORNIA, DAVIS             ONE SHIELDS AVE                                                             DAVIS                CA       95616
UNIVERSITY OF CALIFORNIA, IRVINE            1001 HEALTH SCIENCES RD                                                     IRVINE               CA       92617
UNIVERSITY OF SOUTHERN CALIFORNIA           3670 TROUSDALE PKWY, (MBA PROGRAM)                                          LOS ANGELES          CA       90089
UNIVERSITY OF SOUTHERN CALIFORNIA           UNIVERSITY GARDENS, BLDG STE 205                                            LOS ANGELES          CA       90089‐8006
UNIVERSITY OF TORONTO INSTITUTE FOR
AEROSPACE STUDIES SPACE FLIGHT
LABORATORY                                  4925 DUFFERIN STREET                                                        TORONTO              ON       M3H 5T6      CANADA
UPKEEP TECHNOLOGIES, INC.                   10880 WILLSHIRE BLVD                                                        LOS ANGELES          CA       90024
UPLAND FAB, INC.                            1445 W. BROOKS STREET, UNIT L                                               ONTARIO              CA       91762
UPS                                         PO BOX 894820                                                               LOS ANGELES          CA       90189‐4820
UPS FREIGHT                                 28013 NETWORK PLACE                                                         CHICAGO              IL       60673‐1280
UPS FREIGHT                                 P.O. BOX 650690                                                             DALLAS               TX       75265‐0690
UPS SUPPLY CHAIN SOLUTIONS, INC             28013 NETWORK PLACE                                                         CHICAGO              IL       60673‐1280
URIARTE, OSCAR ARMANDO                      ADDRESS ON FILE
URIBE FAUSTO, ROBERTO                       ADDRESS ON FILE
URRIBARRI, ABHAYCHARAN                      ADDRESS ON FILE
URRIBARRI, ABHAYCHARAN                      ADDRESS ON FILE
URSA MAJOR TECHNOLOGIES, INC.               19750 WELD COUNTY RD 7                                                      BERTHOUD             CO       80513
                                            Attn: David C. Weiss & Ellen Slights, US Attorney's Office, 1313 N Market
US Attorney for Delaware                    St., Ste 400                                                                Wilmington           DE       19801
US BANK EQUIPMENT FINANCE                   1310 MADRID STREET                                                          MARSHALL             MN       56258
US COMFORT BUILDING SERVICES                12601 VAN NUYS BLVD UNIT 211                                                PACOIMA              CA       91331
US CONVERTERS LLC                           1321 UPLAND DR., SUITE 5462                                                 HOUSTON              TX       77043
US DEPT OF STATE                            HARRY S TRUMAN BUILDING, 2201 C STREET, NORTHWEST                           WASHINGTON           DC       20520
US SHOP TOOLS                               1340 S. ALLEC ST                                                            ANAHEIM              CA       92805
US TECHNICAL CONSULTANTS, INC.              2461 E. ORANGETHORPE AVE., STE.105                                          FULLERTON            CA       92831
US TECHNOLOGIES WEST                        18690 HALE AVE                                                              MORGAN HILL          CA       95037
US TREASURY                                 C/O US AIR FORCE, 195 E POPSON AVE., BLDG 2750                              EDWARDS              CA       93524
US WATER SYSTEMS, INC.                      1209 COUNTRY CLUB RD                                                        INDIANAPOLIS         IN       46234
USA MACHINE                                 2503 CIRCLE DR.                                                             ROYSE CITY           TX       75189
USTINOVA, ANYA                              ADDRESS ON FILE
UTAH FOAM PRODUCTS, INC                     295 W. 400 S.                                                               NEPHI                UT       84648
UTAH STATE TAX COMMISSION                   100 SOUTH 5300 WEST                                                         HURRICANE            UT       84737
UTAH STATE TAX COMMISSION                   150 EAST CENTER #1300                                                       PROVO                UT       84606
UTAH STATE TAX COMMISSION                   210 NORTH 1950 WEST                                                         SALT LAKE CITY       UT       84116
UTAH STATE TAX COMMISSION                   2540 WASHINGTON BLVD. 6TH FLOOR                                             OGDEN                UT       84401
UTC AEROSPACE SYSTEMS                       850 LAGOON DRIVE                                                            CHULA VISTA          CA       91910
V&T TOOLING                                 42420 WINCHESTER ROAD                                                       TEMECULA             CA       92590
VACCO INDUSTRIES                            1050 VACCO STREET                                                           SOUTH EL MONTE       CA       91733
VACUUM ATMOSPHERES COMPANY                  4652 WEST ROSECRANS AVE                                                     HAWTHORNE            CA       90250
VAISALA INC                                 194 SOUTH TAYLOR AVE.                                                       LOUISVILLE           CO       80027‐3024
VALADEZ, ADRIAN                             ADDRESS ON FILE




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VALCOR ENGINEERING CORPORATION             2 LAWRENCE RD                                                       SPRINGFIELD TOWNSHIP   NJ     07081
VALDEZ, STEPHANIE                          ADDRESS ON FILE
VALDIVIEZO, ALEXANDRO                      ADDRESS ON FILE
VALDIVIEZO, ALEXANDRO                      ADDRESS ON FILE
VALENCE SURFACE TECHNOLOGIES               1790 HUGHES LANDING BLVD STE.300                                    THE WOODLANDS          TX    77380
VALENCIA, JOSE                             ADDRESS ON FILE
VALERIE WILSON TRAVEL                      475 PARK AVENUE SOUTH                                               NEW YORK               NY    10016
VALEX CORP                                 6080 LELAND STREET                                                  VENTURA                CA    93003
VALHALLA SCIENTIFIC, INC.                  12127 KIRKHAM ROAD                                                  POWAY                  CA    92064
VALIANT PEREGRINE FUND, L.P.               ADDRESS ON FILE
VALIN CORPORATION                          245 NORTH 700 WEST                                                  NORTH SALT LAKE        UT    84054
VALIN CORPORATION                          5225 HELLYER AVE, SUITE 250                                         SAN JOSE               CA    95138
VALLES, GABRIEL                            ADDRESS ON FILE
VALLES, GABRIEL A                          ADDRESS ON FILE
VALLEY SEAL COMPANY                        6430 VARIEL AVENUE SUITE 106                                        WOODLAND HILLS         CA    91367
VALLEY, GLEN DALE                          ADDRESS ON FILE
VALTORC INTERNATIONAL                      3105 CARTER CIRCLE                                                  KENNESAW               GA    30144
VALTORC INTERNATIONAL                      P.O. BOX 1928                                                       KENNESAW               GA    30156
VAN METRE ELECTRIC                         20915 MEWLO AVE                                                     TORRANCE               CA    90502
VAN SANT ENTERPRISES, INC                  80 TRUMAN ROAD                                                      PELLA                  IA    50219
VANDER PUTTEN, KEITH R                     ADDRESS ON FILE
VANDERVEER INDUSTRIAL PLASTICS LLC         515 S MELROSE STREET                                                PLACENTIA              CA    92870
VANTAGE POINT SERVICES, LLC                22513 MARINE VIEW DRIVE, SUITE 200                                  DES MOINES             WA    98198

VANTAGE RISK SPECIALTY INSURANCE COMPANY 444 W. LAKE STREET, RIVER POINT, 17TH FLOOR                           CHICAGO                IL    60606
VARELA, OTTO M.                          ADDRESS ON FILE
VARGAS, CHRISTOPHER                      ADDRESS ON FILE
VARONIS SYSTEMS, INC.                    1250 BROADWAY 29TH FLOOR                                              NEW YORK               NY    10001
VASQUEZ, JOSE                            ADDRESS ON FILE
VASQUEZ, JOSE                            ADDRESS ON FILE
VASQUEZ, MANNY                           ADDRESS ON FILE
VASQUEZ, MANUEL                          ADDRESS ON FILE
VASQUEZ, MARCO E.                        ADDRESS ON FILE
VASQUEZ, ROBERTO JOSE                    ADDRESS ON FILE
VAUGHN, SAMUEL                           ADDRESS ON FILE
VAZQUEZ CABRERA, EDGAR E                 ADDRESS ON FILE
VEGA AMERICAS, INC                       4170 ROSSLYN DRIVE                                                    CINCINNATI             OH    45209
VEGA, JESUS                              ADDRESS ON FILE
VEGA, KEVIN ALEXANDER                    ADDRESS ON FILE
VEGA, MANUEL FEREGRINO                   ADDRESS ON FILE
VEHICLE REGISTRATION COLLECTIONS         FRANCHISE TAX BOARD, PO BOX 419001                                    RANCHO CORDOVA         CA    95741‐9001
VELASQUEZ, AURORA                        ADDRESS ON FILE
VELASQUEZ, RAUL ARMANDO                  ADDRESS ON FILE
VELAZQUEZ, ARTURO                        ADDRESS ON FILE
VELEZ, HANEL                             ADDRESS ON FILE
VELO3D, INC.                             511 DIVISION STREET                                                   CAMPBELL               CA    95008
VELOCITY AEROSPACE                       2840 NORTH ONTARIO STREET                                             BURBANK                CA    91504
VELOS LLC                                726 SECOND STREET, SUITE 3B                                           ANNAPOLIS              MD    21403
VENABLE LLP                              750 E. PRATT STREET SUITE 900                                         BALTIMORE              MD    21202
VENEGAS, HUGO MOISES                     ADDRESS ON FILE
VENKEL LTD                               5900 SHEPHERD MOUNTAIN COVE                                           AUSTIN                 TX    78730
VENTURA ENERGY SYSTEMS LLC               5362 BOLSA AVE, SUITE G                                               HUNTINGTON BEACH       CA    92649
VENTURA, DAVID                           ADDRESS ON FILE
VENTUREDYNE LTD D/B/A CLIMET INSTRUMENTS
COMPANY                                  1320 W COLTON AVE                                                     REDLANDS               CA    92374

VERITAS CAPITAL FUND MANAGEMENT, LLC       9 WEST 57TH STREET, 32ND FLOOR                                      NEW YORK               NY    10019
VERIZON BUSINESS                           1095 AVENUE OF THE AMERICAS                                         NEW YORK               NY    10036
VERIZON BUSINESS                           PO BOX 15043                                                        ALBANY                 NY    122125043
VERIZON WIRELESS                           PO BOX 4003                                                         ACWORTH                GA    30101
VERONICA FOREMAN                           ADDRESS ON FILE
VERSABUILT, INC.                           12000 W. FRANKLIN RD                                                BOISE                  ID    83709
VERSARE SOLUTIONS, LLC                     3236 CALIFORNIA STREET NE                                           MINNEAPOLIS            MN    55418
VERTICAL LABORATORIES LLC                  1805 FLOWER STREET                                                  GLENDALE               CA    91201
VERUS WORKS LLC                            4701 COUNTY ROAD 30                                                 FLORENCE               AL    35634
VEST, INC                                  3250 W BIG BEAVER RD SUITE 440                                      TROY                   MI    48084
VI SHOTS, LLC                              2121 IROULA WAY                                                     TRACY                  CA    95377
VIAVID BROADCASTING CORP                   700 EAST LAKE COOK ROAD                                             BUFFALO GROVE, LAKE    IL    60089
VIBRO DYNAMICS LLC                         2443 BRAGA DRIVE                                                    BROADVIEW              IL    60155
                                                                                                                                                          BRITISH VIRGIN
VIECO 10 LIMITED                           CRAIGMUIR CHAMBERS, P.O. BOX 71, ROAD TOWN                          TORTOLA                      D8 VG1110     ISLANDS
VIKTOR CORRALES                            ADDRESS ON FILE
VILLA, MARCO                               ADDRESS ON FILE
VILLA, MARIO ALBERTO                       ADDRESS ON FILE
VILLA, MIGUEL                              ADDRESS ON FILE
VILLALOBOS, NICHOLAS                       ADDRESS ON FILE
VILLEGAS ROBLEDO, LAURA VANESSA            ADDRESS ON FILE
VINCENTBENJAMIN GROUP LLC                  2415 E CAMELBACK RD STE 1000                                        PHOENIX                AZ    85016
VINSON & ELKINS LLP                        PO BOX 301019                                                       DALLAS                 TX    75303
VIOLANTE BROTHERS INC. (DBA JERSEY MIKES
SUBS)                                      39916 MARBRISSA AVENUE                                              PALMDALE               CA    93551
VIOLETTI, ANIELLO                          ADDRESS ON FILE
VIPER IMAGING, LLC                         2406 VALLEYDALE ROAD                                                BIRMINGHAM             AL    35244
VIPTOGO AKA JOHN TO GO, INC.               4 CAROL AVENUE                                                      WEST HAVERSTRAW        NY    10993
VIRGIN ATLANTIC AIRWAYS LIMITED            THE VHQ, FLEMING WAY                                                CRAWLEY                      RH10 9DF      UNITED KINGDOM
VIRGIN CRUISES INTERMEDIATE LIMITED (T/A
VIRGIN VOYAGES)                            1000 SOUTH PINE ISLAND ROAD, SUITE 600                              PLANTATION             FL    33324
VIRGIN ENTERPRISES LIMITED                 THE BATTELSHIP BUILDING, 179 HARROW ROAD                            LONDON                       W2 6NB        UNITED KINGDOM
VIRGIN GALACTIC HOLDINGS, INC.             166 NORTH ROADRUNNER PARKWAY                                        LAS CRUCES             NM    88011

Virgin Investments Limited                 Attn: President or General Counsel, Craigmuir Chambers, Road Town   Tortola                      VG 1110       British Virgin Islands




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VIRGIN INVESTMENTS LIMITED                C/O VIRGIN MANAGEMENT USA INC, 65 BLEECKER ST, 6TH FLOOR              NEW YORK                NY      10012

VIRGIN INVESTMENTS LIMITED                CRAIGMUIR CHAMBERS, PO BOX 71                                         ROAD TOWN TORTOLA, D8           VG1110        VIRGIN ISLANDS
VIRGIN INVESTMENTS LIMITED                LA MOTTE CHAMBERS                                                     ST HELIER, Y9                   X0 JE1 1BJ    JERSEY
VIRGIN MANAGEMENT LIMITED                 THE BATTLESHIP BUILDING, 179 HARROW ROAD                              LONDON                  AL      W2 6NB        UNITED KINGDOM
VIRGIN MANAGEMENT USA, INC.               65 BLEECKER STREET, 6TH FLOOR                                         NEW YORK                NY      10012
Virgin Management USA, Inc.               Attn: General Counsel, 65 Bleecker Street, 6th Floor                  New York                NY      10012
VIRGIN ORBIT BRASIL LIMITADA              R CONS BROTERO 528                                                    BARRA FUNDA             SP                    BRAZIL
VIRGIN ORBIT BRASIL LTDA                  R CONS BROTERO 528                                                    BARRA FUNDA             SP      CONJ 1501     BRAZIL
VIRGIN ORBIT LLC POLITICAL ACTION
COMMITTEE                                 1800 M ST NW, SUITE 525S                                              WASHINGTON              DC      20036
VIRGIN ORBIT NATIONAL SYSTEMS, LLC        1960 E GRAND AVENUE                                                   EL SEGUNDO              CA      90245
VIRGIN ORBIT UK LTD.                      66 PORCHESTER ROAD                                                    LONDON                          W2 6ET        UNITED KINGDOM
VIRGIN RED LIMITED                        66 PORCHESTER RD.                                                     LONDON                  CA      W2 6ET        UNITED KINGDOM
VIRGIN.COM LIMITED                        THE BATTLESHIP BUILDING, 179 HARROW ROAD                              LONDON                          W2 6NB        UNITED KINGDOM
VIRGINIA PANEL CORPORATION                1400 NEW HOPE ROAD                                                    WAYNESBORO              VA      22980
VIRTEK VISION INTERNATIONAL, INC          785 BRIDGE STREET                                                     WATERLOO                ON      N2V 2K1       CANADA
VIRTUSAERO LLC                            11108 86TH AVENUE NORTH                                               MAPLE GROVE             MN      55369
VIRTUSAERO LLC                            111108 86TH AVE. N.                                                   MAPLE GROVE             MN      55369
VISAGE, INC.                              180 SANSOME ST, 2ND FLOOR                                             SAN FRANCISCO           CA      94104
VISHAY MEASUREMENTS GROUP, INC            PO BOX 27777                                                          RALEIGH                 NC      27611
VISHWANATH, RAHUL                         ADDRESS ON FILE
VISION ENGINEERING INC.                   570 DANBURY ROAD                                                      NEW MILFORD             CT      06776
VISION RESEARCH, INC.                     100 DEY RD                                                            WAYNE                   NJ      07470
VISIONEERING INC.                         2055 TAYLOR ROAD                                                      AUBURN HILLS            MI      48326
VISIONEERING, LLC                         2055 TAYLOR ROAD                                                      AUBURN HILLS            MI      48326
VISIPLEX INC.                             1287 BARCLAY BLVD                                                     BUFFALO GROVE, COOK     IL      60089
VISTEON CORPORATION                       ONE VILLAGE CENTER DRIVE                                              VAN BUREN TWP           MI      48111
VISUAL INSTRUMENTATION CORP               1110 WEST AVENUE L‐12, UNIT #2                                        LANCASTER               CA      93534
VITACARE MEDICAL ASSOCIATES               966 S. WESTERN AVENUE, #201                                           LOS ANGELES             CA      90006
VJ TECHNOLOGIES INC                       89 CARLOUGH ROAD                                                      BOHEMIA                 NY      11716
VLNKA, IGOR                               ADDRESS ON FILE
VMWARE, INC.                              3401 HILLVIEW AVENUE                                                  PALO ALTO               CA      94304
VO, DAVID                                 ADDRESS ON FILE
VO, DAVID TUAN‐HOANG                      ADDRESS ON FILE
VOGEL ENGINEERS, INC.                     300 PASEO TESORO                                                      WALNUT                  CA      91789
VOGEL PROPERTIES, INC.                    300 PASEO TESORO                                                      WALNUT                  CA      91789
VOICEPATH LIMITED                         30 CHALKS ROAD                                                        BRISTOL                         BS5 9EP       UNITED KINGDOM
VOLANTE GLOBAL SERVICES LTD               30 ST. MARY AXE                                                       LONDON                          EC3A 8BF      UNITED KINGDOM

VOLANTE INTERNATIONAL LTD (AESIR SPACE)   30 ST. MARY AXE                                                       LONDON                          EC3A 8BF      UNITED KINGDOM
VOLLBRECHT, JONATHAN                      ADDRESS ON FILE
VON RICKENBACH, JOSEF                     ADDRESS ON FILE
VORAGO TECHNOLOGIES                       1501 S. MOPAC EXPY, SUITE #350                                        AUSTIN                  TX      78746
VORTEX CONSTRUCTION                       320 BUTTE STREET                                                      BAKERSFIELD             CA      93305
VORTEX INDUSTRIES, INC.                   20 ODYSSEY                                                            IRVINE                  CA      92618
VOSS INDUSTRIES, INC                      1000 W. BAGLEY                                                        BEREA                   OH      44017
VOSSLER CO.                               4917 LANKERSHIM BL.                                                   NORTH HOLLYWOOD         CA      91601
VOSSLER CO.                               704 SW 10TH STREET                                                    BLUE SPRINGS            MO      64015
VOTAW PRECISION TECHNOLOGIES, INC.        13153 LAKELAND ROAD                                                   SANTA FE SPRINGS        CA      90670
VPT, INC.                                 1971 KRAFT DRIVE, SUITE 1000                                          BLACKSBURG              VA      24060
VT SA AEROSPACE                           9800 JOHN SAUNDERS ROAD                                               SAN ANTONIO             TX      78216
VU, KENNY H                               ADDRESS ON FILE
VU, KENT K                                ADDRESS ON FILE
VU, NAM                                   ADDRESS ON FILE
VULCAN SPRING & MFG. CO.                  501 SCHOOLHOUSE ROAD                                                  TELFORD                 PA      18969
W&K CONATINER, INC.                       230 ELDRIDGE AVE.                                                     MILL VALLEY             CA      94941
W. ELKMAN ENGINEERING, INC.               3400 LAUREL AVE.                                                      MANHATTAN BEACH         CA      90266
W.F. LAKE CORP                            65 PARK ROAD                                                          GLENS FALLS             NY      12804
W5 TEST SOLUTIONS, INC.                   4001 INGLEWOOD AVE, BLDG 101 #339                                     REDONDO BEACH           CA      90278
WACHS, E.H.                               ADDRESS ON FILE
WACO FILTERS CORPORATION                  2546 GENERAL ARMISTED AVE.                                            NORRISTOWN              PA      19403
WAGNER CORPORATION                        1 AIRPORT DRIVE, 1511 TOOWOOMBA CECIL PLAINS ROAD                     WELLCAMP                        4350          AUSTRALIA
WAHABZADA, FARID                          ADDRESS ON FILE
WALDO JOSUE PEREZ REGALADO                4022 E CONANT                                                         LONG BEACH              CA      90808
WALKER BROTHER MACHINERY MOVERS           3839 E. CORONADO STREET                                               ANAHEIM                 CA      92807
WALKER, DARRON REZELL                     ADDRESS ON FILE
WALKER, MICHAEL ELVIN                     ADDRESS ON FILE
WALL, KATHRYN ELIZABETH                   ADDRESS ON FILE
WALLACE & SMITH CONTRACTORS               3325 LANDCO DRIVE                                                     BAKERSFIELD             CA      93308
WALTER G LEGGE COMPANY, INC               444 CENTRAL AVENUE                                                    PEEKSKILL               NY      10566
WALTERS WHOLESALE ELECTRIC CO             200 N BERRY ST                                                        BREA                    CA      92821
WALTON, BRANDT DESMOND                    ADDRESS ON FILE
WANG, LINGHE                              ADDRESS ON FILE
WANG, TOM                                 ADDRESS ON FILE
WANSHIP ENTERPRISES LLC                   455 W 1100 N                                                          NORTH SALT LAKE         UT      84054
WARD, BRENT MAXWELL                       ADDRESS ON FILE
WARD, MAX                                 ADDRESS ON FILE
WARD/DAVIS ASSOCIATES, INC                2623 MANHATTAN BEACH BLVD.                                            REDONDO BEACH           CA      90278
WARMELIN PRECISION PRODUCTS               12705 DAPHNE AVE                                                      HAWTHORNE               CA      90250‐3311
WARNER, CAREY ANDREW                      ADDRESS ON FILE
WARP 4D PLM, INC.                         3751 W. 136TH AVE, SUITE V2                                           BROOMFIELD              CO      80023
WARREN, ROBERT SCOTT                      ADDRESS ON FILE
WARRENT WILLIAMS                          ADDRESS ON FILE

WASHINGTON SPACE BUSINESS ROUNDTABLE      515 2ND STREET, NE                                                    WASHINGTON              DC      20002
WASTE MANAGEMENT                          PO BOX 541065                                                         LOS ANGELES             CA      90054
WATER TOWER RESEARCH, LLC                 200 2ND AVE SOUTH, SUITE 718                                          ST PETERSBURG           FL      33701
WATERS, JACOB COY                         ADDRESS ON FILE




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WATLOW ELECTRIC MANUFACTURING
COMPANY                                     12001 LACKLAND ROAD                                              ST. LOUIS             MO      63146
WATSON, CHRISTOPHER                         ADDRESS ON FILE
WATSON, PERRY                               ADDRESS ON FILE
WATT, INC. DBA NORTHSTAR                    8605 SANTA MONICA BLVD                                           HOLLYWOOD             CA      90069
WATTS, PAUL DAVIS                           ADDRESS ON FILE
WAVE SIX, LLC                               11975 EL CAMINO REAL, 102                                        SAN DIEGO             CA      92130
WAX, ALAN                                   ADDRESS ON FILE
WAX, ALAN BRADLEY                           ADDRESS ON FILE
WB PARTS, INC.                              2300 COMMERCE PARK DRIVE, UNIT 16                                PALM BAY              FL      32905
WB PROMOS, LLC.                             510 S GRAND AVE SUITE 302                                        GLENDORA              CA      91741
WEATHER‐PROJECTS                            1340 E 6TH ST, STE 512                                           LOS ANGELES           CA      90021
WEAVER, ROBERT LEE                          ADDRESS ON FILE
WEB INDUSTRIES                              410 HORIZON DRIVE                                                SUWANEE               GA      90024
WEB INDUSTRIES INC                          377 SIMARANO DRIVE                                               MARLBORO              MA      01752
WEB INDUSTRIES INC                          ATTN: MARK PIHL, 700 NICKERSON ROAD, SUITE 250                   MARLBOROUGH           MA      01752
WEBB MACHINERY CORP. DBA WEBB
MACHINERY                                   17925 COLLIER AVE                                                LAKE ELSINORE         CA      92530
WEBB, MARK                                  ADDRESS ON FILE
WEBER, BRYAN K.                             ADDRESS ON FILE
WEDDLE, MATTHEW                             ADDRESS ON FILE
WEDDLE, MATTHEW                             ADDRESS ON FILE
WEHNER, MATTHEW                             ADDRESS ON FILE
WEI, WEI                                    ADDRESS ON FILE
WEINER, STEPHEN                             ADDRESS ON FILE
WEINTRAUB TOBIN                             10250 CONSTELLATION BLVD, STE 2900                               LOS ANGELES           CA      90067
WEISS, HERLANN ROY                          ADDRESS ON FILE
WELCH, ELIZABETH                            ADDRESS ON FILE
WELDALOY PRODUCTS COMPANY                   24011 HOOVER ROAD                                                WARREN                MI      48089
WELDING OUTLETS, INC.                       1341 HILL ROAD                                                   HOUSTON               TX      77039
WELDMAC MFG. CO.                            1533 NORTH JOHNSON AVE.                                          EL CAJON              CA      92020
WELDSHIP INDUSTRIES                         225 W. SECOND STREET                                             BETHLEHEM             PA      18015
WELLNITZ, ERICA                             ADDRESS ON FILE
WELLS INDEX                                 701 W. CLAY AVE.                                                 MUSKEGON              MI      49440
WELLS, JONATHAN                             ADDRESS ON FILE
WELLS‐JEKABSONS ENGINEERING, LLC            8401 N ATLANTIC AVE                                              CAPE CANAVERAL        FL      32920
WENZLAU ENGINEERING, INC.                   2950 EAST HARCOURT STREET                                        RANCHO DOMINGUEZ      CA      90221
WENZLER, NICOLE                             ADDRESS ON FILE
WERLATONE INC.                              17 JON BARRETT RD                                                PATTERSON             NY      12563
WERNER AERO SERVICES, LLC                   19 INDUSTRIAL AVE.                                               MAHWAH                NJ      07430
WERNIMONT, ERIC                             ADDRESS ON FILE
WES HARDMETAL ENGINEERING                   TRELEIGH INDUSTRIAL ESTATE                                       REDRUTH                       TR16 4AX      UNITED KINGDOM
WESCO AIRCRAFT ELECTRONIC PRODUCTS
GROUP                                       3851 N. WEBB RD                                                  WICHITA               KS      67226
WESCO INTERNATIONAL, INC                    2301 EAST TRUMAN RD                                              KANSAS CITY           MO      64127
WESLEY SULLIVAN                             ADDRESS ON FILE
WEST ELECTRONIC SOLUTIONS                   333 S. ANITA DRIVE #760                                          ORANGE                CA      92868
WEST PUBLISHING CORPORATION D/B/A
SERENGETI LAW, A THOMSON REUTERS
BUSINESS                                    610 OPPERMAN DRIVE, P.O. BOX 64833                               ST. PAUL              MN      55164‐1803
WEST, EBER EUGENE                           ADDRESS ON FILE
WESTAIR GASES AND EQUIPMENT, INC            2506 MARKET STREET                                               SAN DIEGO             CA      92102
WESTERFER, NICHOLAS                         ADDRESS ON FILE
WESTERN AMERICAN SPECIALTIES INC            4731 W JEFFERSON BLVD                                            LOS ANGELES           CA      90016
WESTERN FILTRATION TECHNOLOGIES             1819 DANA STREET, UNIT D                                         GLENDALE              CA      91201
WESTERN FIRST AID & SAFETY, LLC             115 NORTH FIRST ST.                                              BURBANK               CA      91502
WESTERN HOSE & RUBBER SUPPLY, A WESTFLEX,
INC. COMPANY                                12600 CHADRON AVE                                                HAWTHORNE             CA      90250

WESTERN INTEGRATED TECHNOLOGIES, INC.       7651 S 190TH ST                                                  KENT                  WA      98032
WESTERN OILFIELDS SUPPLY COMPANY DBA
RAIN FOR RENT                               3404 STATE ROAD                                                  BAKERSFIELD           CA      93308
WESTERN STATES SALES INC. (DBA CLEANROOM
WORLD)                                      6950 S TUCSON WAY UNIT F                                         CENTENNIAL            CO      80112
WESTERN TOOL & SUPPLY                       PO BOX 2420                                                      LIVERMORE             CA      94551

WESTFIELD SPECIALTY INSURANCE COMPANY       ONE PARK CIRCLE                                                  WESTFIELD CENTER      OH      44251
WESTFIELD TRANSPORT LTD.                    KERLEY PADDOCK, CHACEWATER                                       TRURO, CORNWALL               TR4 8JY       UNITED KINGDOM
WESTMORELAND MECHANICAL TESTING &
RESEARCH, INC.                              221 WESTMORELAND DRIVE                                           YOUNGSTOWN            PA      15696
WESTON AVIATION SUPPORT LIMITED             GLOUCESTERSHIRE AIRPORT,                                         CHELTENHAM                    GL51 6SP      UNITED KINGDOM
WESTPORT CORPORATION                        510 MONTAUK HIGHWAY                                              WEST ISLIP            NY      11795
WESTSIDE BUILDING LANCASTER, LLC            1050 W AVE L‐12                                                  LANCASTER             CA      93534
WESTWAYS FILLING STATION                    TREGASWITH                                                       CORNWALL                      TR8 4JQ       UNITED KINGDOM
WETZEL, TODD A                              ADDRESS ON FILE
WFL MILLTURN TECHNOLOGIES, INC.             48152 WEST RD.                                                   WIXOM                 MI      48393
WHA INTERNATIONAL, INC.                     5605 DONA ANA ROAD                                               LAS CRUCES            NM      88007
WHALEN, HOLLY                               ADDRESS ON FILE

WHEELER & CO. LLC DBA PRECISION EXPEDITED   32422 ALIPAZ ST. SUITE A2                                        SAN JUAN CAPISTRANO   CA      92675
WHELAN, DAVID                               ADDRESS ON FILE
WHITES, GERALD W.                           ADDRESS ON FILE
WHITESIDES, GEORGE                          ADDRESS ON FILE
WHITESIDES, LORETTA                         ADDRESS ON FILE
WHITESIDES, LORETTA                         ADDRESS ON FILE
WHITMOR WIRENETICS LLC                      27737 AVENUE HOPKINS                                             VALENCIA              CA      91355
WHITNEY, RICHARD DESMOND                    ADDRESS ON FILE
WHITTINGHILL AEROSPACE LLC                  265 DURLEY AVE, STE 208                                          CAMARILLO             CA      93010
WHOLESALE SOLAR, INC.                       412 N. MT. SHASTA BLVD                                           MT. SHASTA            CA      96067
WIERMAN, MATTHEW KENNETH                    ADDRESS ON FILE
WILBERT, DWAYNE                             ADDRESS ON FILE




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WILCOX, DAVID GRANT                       ADDRESS ON FILE
WILCOX, KATHLEEN                          ADDRESS ON FILE
WILDANET LTD                              WESTBOURNE HOUSE                                                    LISKEARD                      PL14 6BT     UNITED KINGDOM
WILDFACTORY                               4656 ADOHR LANE                                                     CAMARILLO            CA       93012
WILEY REIN LLP (AKA SIGNAL GROUP
CONSULTING, LLC)                          1776 K STREET, NW                                                   WASHINGTON           DC       20006
WILKINS, MARK FORBES                      ADDRESS ON FILE
WILLIAMS SCOTSMAN, INC                    901 SOUTH BOND STREET, SUITE 600                                    BALTIMORE            MD       21231
WILLIAMS SHIPPING LIMITED (DBA WILLBOX
TOUGH STORAGE)                            MANOR HOUSE AVENUE                                                  SOUTHAMPTON                   SO15 0LF     UNITED KINGDOM
WILLIAMS, ALEXANDER                       ADDRESS ON FILE
WILLIAMS, WARRENT                         ADDRESS ON FILE
WILLICK ENGINEERING COMPANY, INC.         12516 LAKELAND RD                                                   SANTA FE SPRINGS     CA       90670
WILLIS LIMITED                            51 LIME STREET                                                      LONDON                        EC3M 7DQ     UNITED KINGDOM
WILLIS OF NEW YORK, INC                   P.O. BOX. 4557                                                      NEW YORK             NY       10249‐4557
WILLIS TOWERS WATSON INSURANCE SERVICES
WEST, INC.                                801 S. FIGUEROA STREET, STE# 800                                    LOS ANGELES          CA       90017
WILLIS, ALEXIS                            ADDRESS ON FILE
WILSON COMPANY                            16301 ADDISON ROAD                                                  ADDISON              TX       75001
WILSON, SHERI A                           ADDRESS ON FILE
WINDELINCKX, STEPHANIE                    ADDRESS ON FILE
WINDHORSE ADVISORS LLC                    64 INDIGO WAY                                                       CASTLE ROCK          CO       80108
WING, ELIYA                               ADDRESS ON FILE
WING, ELIYA                               ADDRESS ON FILE

WINKELMANN FLOWFORM TECHNOLOGY, LP.       229 TEAGUE COURT                                                    AUBIRN               AL       36832
WINSOFT INC.                              1932 E. DEERE AVE, SUITE 110                                        SANTA ANA            CA       92705
WINSUPPLY OF SILICON VALLEY CO.           2900 MEAD AVENUE                                                    SANTA CLARA          CA       95051‐0805
WINTEK INDUSTRIAL SYSTEMS, INC.           7 MIDDLEBUR BLVD, SUITE 2                                           RANDOLPH             NJ       07869
WINTER TECHNOLOGIES LLC                   1464 HOELZER COURT                                                  PACIFIC              MO       63069
WIRE CUT COMPANY INC                      6750 CABALLERO BLVD.                                                BUENA PARK           CA       90620
WIRE RITE INC                             1720 W. AVENUE L4                                                   LANCANSTER           CA       93534
WIRECARE                                  PO BOX 11                                                           LAFAYETTE            NJ       07848
WIREMASTERS, INC                          P.O. BOX 1000, DEPT #207                                            MEMPHIS              TN       38148‐0207
WIREMASTERS, INC.                         1788 NORTHPOINTE ROAD                                               COLUMBIA             TN       38401
WISE CONSULTING ASSOCIATES, INC.          54 SCOTT ADAM RD., STE 206                                          HUNT VALLEY          MD       21030
WITHIEL COMMERCIALS LTD.                  WITHIEL TURN, ROCHE                                                 ST.AUSTELL                    PL268LH      UNITED KINGDOM
WITZENMANN GMBH                           ÖSTLICHE KARL‐FRIEDRICH‐STR. 134                                    PFORZHEIM                     75175        GERMANY
WOERNER, DAVID                            ADDRESS ON FILE
WOJSKOWA AKADEMIA TECHNICZNA IM.
JAROSŁAWA DĄBROWSKIEGO                    S. KALISKIEGO 2, 00 ‐908 WARSZAWA, REGON NUMBER 012122900           WARSAW                                     POLAND
WOLFF, PAYTON                             ADDRESS ON FILE
WOLPE, ALEXANDER M                        ADDRESS ON FILE
WOMEN IN AEROSPACE                        204 E STREET, N.E.                                                  WASHINGTON           DC       20002
WONG, ALFRED                              ADDRESS ON FILE
WONG, ANDREW                              ADDRESS ON FILE
WONG, THOMAS                              ADDRESS ON FILE
WOODARD, ALAN MAX                         ADDRESS ON FILE
WOODWARD HRT                              1081 WOODWARD WAY                                                   FORT COLLINS         CO       80524
WOOLLEY, RYAN                             ADDRESS ON FILE
WOOLLEY, WILLIAM                          ADDRESS ON FILE
WORKIVA INC.                              2900 UNIVERSITY BLVD.                                               AMES                 IA       50010
WORKIVA INTERNATIONAL LLC                 2900 UNIVERSITY BLVD                                                AMES                 IA       50010
WORLD FASTENERS, INC.                     314 HANOVER PIKE                                                    HAMPSTEAD            MD       21074
WORLD FUEL SERVICES CORP                  9800 NW 41ST STREET, SUITE 400                                      MIAMI                FL       33178
WORM, LLC                                 1624 NE TILLAMOOK STREET #8                                         PORTLAND             OR       97212
WORTHINGTON FORD INC                      2950 N BELLFLOWER BLVD                                              LONG BEACH           CA       90815
WOSTENBERG, ERIC D                        ADDRESS ON FILE
WOWZA MEDIA SYSTEMS, LLC.                 523 PARK POINT DRIVE, STE 300                                       GOLDEN               CO       80401
WPENGINE, LLC                             504 LAVACA ST, SUITE 1000                                           AUSTIN               TX       78701
WRIGHT, AARON                             ADDRESS ON FILE
WTW TRACKING ANTENNAS LLC                 4903 MORENA BLVD, SUITE 1216                                        SAN DIEGO            CA       92117
WULLAERT, MELANIE                         ADDRESS ON FILE
WYNDEN STARK, LLC (DBA GQR GLOBAL
MARKETS)                                  1038 PRINCETON DRIVE, SUITE B                                       MARINA DEL REY       CA       10017
WYOMING TEST FIXTURES, INC                2960 E. MILLCREEK ROAD                                              SALT LAKE CITY       UT       84109
WYROZYNSKI, PAUL                          ADDRESS ON FILE
XERO SOLAR, LLC                           358 CORAL CIRCLE                                                    EL SEGUNDO           CA       90245
XJRK MANAGEMENT                           PO BOX 396                                                          SUBIACO                       6904         AUSTRALIA
XL CATLIN SERVICES SE                     61 RUE MSTISLAV ROSTROPOVITCH                                       PARIS                         75017        FRANCE
XL SPECIALTY INSURANCE COMPANY            BROOKFIELD PLACE 200 LIBERTY STREET, 25TH FLOOR                     NEW YORK             NY       10281
XOMETRY, INC                              7951 CESSNA AVENUE                                                  GAITHERSBURG         MD       20879
XP4D, LLC                                 3101 NASA PARKWAY, SUITE L                                          SEABROOK             TX       77586
XP4D, LLC                                 3931 SOUTHSAND DR                                                   PEARLAND             TX       77584
XPLORE INC.                               6742 185TH AVE NE                                                   REDMOND              WA       98052
XTENTI, LLC                               DOMINION PLAZA, 17304 PRESTON ROAD, SUITE 800                       DALLAS               TX       75252
Y&Y MEDICAL INC. (DBA VITACARE MEDICAL
ASSOCIATES)                               966 S. WESTERN AVE., STE 201                                        LOS ANGELES          CA       90006
YA GLOBAL II SPV, LLC                     1012 SPRINGFIELD AVE                                                MOUNTAINSIDE         NJ       07092
                                          ATTN: MARK ANGELO, C/O YORKVILLE ADVISORS GLOBAL, LLC, 1012
YA II PN, LTD                             SPRINGFIELD AVENUE                                                  MOUNTAINSIDE         NJ       07092

YALE/CHASE EQUIPMENT AND SERVICES, LLC    2615 PELLISSIER PLACE                                               WHITTIER             CA       90601
YAMA SEIKI USA INC                        5788 SCHAEFER AVE                                                   CHINO                CA       91710
YAMAGATA, DAVID FUMIAKI                   ADDRESS ON FILE
YAMAMI, JOSHUA                            ADDRESS ON FILE
YAMASHITA, RYAN                           ADDRESS ON FILE
YAN, JANE                                 ADDRESS ON FILE
YANEZ, JOSE LUIS                          ADDRESS ON FILE

YANKA INDUSTRIES, INC. DBA MASTERCLASS    660 4TH STREET, #443                                                SAN FRANCISCO        CA       94107




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                                                                    Virgin Orbit Holdings, Inc., et al.
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                                                                       Consolidated List of Creditors

                   NAME                                           ADDRESS                                            CITY     STATE   POSTALCODE       COUNTRY
YAO, BENJAMIN                          ADDRESS ON FILE
YATES, AUBREY                          ADDRESS ON FILE
YATES, AUBREY MICHAEL                  ADDRESS ON FILE
YAZDANI, NEGIN                         ADDRESS ON FILE
YEE, STEVEN                            ADDRESS ON FILE
YEN, HSIN‐YI                           ADDRESS ON FILE
YEUNG, ERNEST                          ADDRESS ON FILE
YEUNG, ERNEST CHI‐HONG                 ADDRESS ON FILE
YOKOGAWA FLUID IMAGING TECHNOLOGIES,
INC.                                   200 ENTERPRISE DRIVE                                             SCARBOROUGH           ME      04074
YOKOO, TYLER                           ADDRESS ON FILE
YOON, JASON                            ADDRESS ON FILE
YORK SPACE SYSTEMS LLC                 1449 7TH STREET SUITE 425                                        DENVER                CO      80204
YORKE ENGINEERING, LLC                 31726 RANCHO VIEJO ROAD, SUITE 218                               SAN JUAN CAPISTRANO   CA      92675
YORKVILLE ADVISORS GLOBAL, LP          1012 SPRINGFIELD AVENUE                                          MOUNTAINSIDE          NJ      07092
YOUNG, KANDACE                         ADDRESS ON FILE
YOUNG, MIKE                            ADDRESS ON FILE
YRC FREIGHT                            P.O. BOX 7914                                                    OVERLAND PARK         KS      66207‐0914
YU CHEN, ANICIA                        ADDRESS ON FILE
YURI'S NIGHT                           1523 PARTRIDGE COURT                                             SANTA ROSA            CA      95403
YURI'S NIGHT                           340 S LEMON AVE, SUITE 6104                                      WALNUT                CA      91789
YURUS, DANIEL                          ADDRESS ON FILE
ZACHARY FOREST KERTESZ                 50 HASKELL RD                                                    WESTPORT ISLAND       ME      04578
ZACHARY KERTESZ (FREELANCE)            ADDRESS ON FILE
ZAGORSKI, KEVIN                        ADDRESS ON FILE
ZAGORSKI, KEVIN D                      ADDRESS ON FILE
ZAHNTER, RONALD DEE                    ADDRESS ON FILE
ZARBO, NICHOLAS                        ADDRESS ON FILE
ZAREMBA, JUSTIN                        ADDRESS ON FILE
ZAVALA, EMMANUEL                       ADDRESS ON FILE
ZAYO GROUP HOLDINGS INC. (DBA ZAYO
GROUP, LLC)                            1821 30TH STREET UNIT A                                          BOULDER               CO      80301
ZEIGHAMI, FARRID                       ADDRESS ON FILE
ZEITFRACHT GMBH & CO. KGAA             BOCKENHEIMER LANDSTRAßE 13                                       FRANKFURT A.M.                60325        GERMANY
ZEMARC CORPORATION                     6431 FLOTILLA STREET                                             LOS ANGELES           CA      90040
ZENBOOTH, INC.                         650 UNIVERSITY AVE #10                                           BERKELEY              CA      94710
ZENSTOP                                5650 WINDSOR WAY, APT 201                                        CULVER CITY           CA      90230
ZENT, ZANE                             ADDRESS ON FILE
ZENTEC GROUP                           26190 ENTERPRISE WAY, BLDG 200                                   LAKE FOREST           CA      92630
ZEPEDA, JOSE                           ADDRESS ON FILE
ZEPEDA, JOSE MATTHEW                   ADDRESS ON FILE
ZERO GRAVITY CONSULTING                345 S CANON DR                                                   BEVERLY HILLS         CA      90212
ZERO POINT FRONTIERS                   HUNTSVILLE, PO BOX 2735                                          HUNTSVILLE            AL      35804
ZHANG, CHERRY                          ADDRESS ON FILE
ZHANG, STEPHEN                         ADDRESS ON FILE
ZHANG, XIYUE                           ADDRESS ON FILE
ZHENG, BILL                            ADDRESS ON FILE
ZHENG, BILL                            ADDRESS ON FILE
ZHENG, JING                            ADDRESS ON FILE
ZHENG, MINGXI                          ADDRESS ON FILE
ZIA PROMOTIONAL PRODUCTS               1065 SOUTH MAIN STREET, BUILDING D, SUITE D                      LAS CRUCES            NM      88005
ZIBRA CORPORATION                      640 AMERICAN LEGION HWY                                          WESTPORT              MA      02790
ZICCARDI, ANGELA                       ADDRESS ON FILE
ZINS, JOHN WILLIAM                     ADDRESS ON FILE
ZODIAC DATA SYSTEMS, INC               3005 BUSINESS PARK DR                                            NORCROSS              GA      30071
ZOHO CORPORATION USA                   4141 HACIENDA DRIVE                                              PLEASANTON            CA      94588
ZOHO CORPORATION USA                   PO BOX 894926                                                    LOS ANGELES           CA
ZONA TECHNOLOGY, INC.                  9489 E. IRONWOOD SQUARE DR.                                      SCOTTSDALE            AZ      85258‐4578
ZONES, INC                             1102 15TH STREET SW, SUITE 102                                   AUBURN                WA      98001‐6509
ZOOK ENTERPRISES LLC                   16809 PARK CIRCLE DR                                             CHAGRIN FALLS         OH      44022
ZOOM VIDEO COMMUNICATIONS, INC.        55 ALMADEN BLVD., 6TH FLOOR                                      SAN JOSE              CA      95113
ZORO TOOLS, INC                        P.O. BOX 481193                                                  NILES                 IL      60714‐6193
ZORO TOOLS, INC                        PO BOX 5233                                                      JANESVILLE            WI      53547‐5233
Z'S FIT KITCHEN                        28238 TANGERINE LN                                               SANTA CLARITA         CA      91350
ZUBIETA, EDUARDO                       ADDRESS ON FILE
ZUBIETA, EDUARDO CRIS                  ADDRESS ON FILE
ZUBIK, KITT ALAN                       ADDRESS ON FILE
ZUKEN USA INC.                         238 LITTLETON ROAD, SUITE 100                                    WESTFORD              MA      01886
ZURFLUH, KEVIN DAVID                   ADDRESS ON FILE
ZURICH                                 1299 ZURICH WAY, 1299 ZURICH WAY                                 SCHAUMBURG            IL      60196
ZURICH                                 2375 E. CAMELBACK ROAD, SUITE 600                                PHOENIX               AZ      85016
                                       4 WORLD TRADE CENTER, 4 WORLD TRADE CENTER, 150 GREENWICH ST,
ZURICH                                 53RD FLOOR                                                       NEW YORK              NY      10007
ZURICH                                 AON RISK INSURANCE SERVICES WEST INC, PO BOX 19640               IRVING                CA      92623
ZURICH AMERICAN INSURANCE COMPANY      1299 ZURICH WAY                                                  SCHAUMBURG            IL      60196
ZWEIGE, MATTHEW                        ADDRESS ON FILE




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